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                   EXHIBIT 4
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Silk Road forums

Discussion => Drug safety => Topic started by: DoctorX on 14 April 2013, 01:16:45



Title: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 01:16:45

      Hello,
      I am a Spanish Family Physician working in fields like risk reduction associated to
      drug use, club drugs, new synthetic drugs, cannabis therapeutic and steroids
      since 1999. I would like to contribute to this forum offering professional advice in
      topics related to drug use and health: pharmacological interactions, risks of drug
      use in particular conditions (specific diseases, problems of health…),
      contraindications, adverse effects and toxicity, risk reduction measures…
      This advice cannot replace a complete face-to-face medical evaluation, but I
      know how difficult can be to talk frankly about these things. You can see my CV
      in my personal web-page http://www.doctorcaudevilla.com/
      You can also use PM for personal questions or video-conference in my web.
      I will try to answer all your questions (if I know the answers) but I have limited
      time
      DoctorX

      (03/05/13) Please use only PM and PGP for personal questions. Most of the
      questions can be answered in general forum and can be useful to other people

      (05/07/13) Thanks to user cleansober, who is helping me editing my awful English



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b3tterliving on 14 April 2013, 02:30:22

      Hey doctor thanks so much for offering your advice! I have type 1 diabetes and i
      am wondering if there is any information connected to MDMA and its effect on
      blood sugar? I have never done MDMA but am interested in exploring it. Would i
      have enough control over myself to realize "i need to test" or should a trip sitter
      be there to remind me? Secondly, I have tripped in the past on LSD and
      mushrooms but that was before my diagnosis...now that i know i have to monitor
      my sugar levels to avoid issues im afraid i might become afraid or paranoid of my
      glucometer or my insulin injections under the influence..any recommendations on
      how to deal with this?




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 10:54:58

      In non-diabetic persons MDMA does not have a significant effect on glucose blood
      levels. There are no specific studies on diabetic persons but, according to MDMA
      pharmacology, dramatic changes in glucose are not expected.
      In fact, alcohol is the most altering glucose drug in diabetics. For the rest of
      substances, it is more important “what are you doing” that “what substance did
      you take”. If you are dancing, doing exhausting exercise or you forget to eat are
      important aspects that can affect glycaemia. Some drugs make you hungry
      (cannabis), other diminish appetite (stimulants).
      Most people feel like, on MDMA, it is easy to keep control on what you feel, what
      you think and what you do (or at least easier than other drugs). But the positive
      mood could make you feel forgetful and carefree. As MDMA effects last for 4-6
      hours, one possible strategy is to set an alarm clock in hour 2-4 to remind you of
      test your sugar. I think with that it should be enough. If you are with some
      friends that know what you are doing it should be great. You should use
      moderate doses first times (60-80 mg) and be cautious with dosage in general
      (not over 120 mg) as diabetes can affect cardiovascular health. One important
      thing to remember is that MDMA decreases appetite: you should keep with you
      sweat soft food as milkshakes or fruit.
      Some diabetic MDMA users have told me that MDMA makes them feel more
      conscious about their own body, so they can notice better if there is hyper or
      hypoglycaemias. On the other hand, ketamine is a drug not recommendable for
      diabetics, as it alters self-perception of body.
      I don´t know how long have you been diagnosed of diabetes, but if it is a recent
      diagnosis you should wait to know well how to use insulin and “get used” to your
      condition and then after experiment with substances. I think worries and
      paranoias are less probable with MDMA than psychedelics. But as you learn to
      live a normal life with diabetes worries will disappear.
      DoctorX



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zvp1014 on 14 April 2013, 11:01:47

      Do you have any information on the Dissociative Fugue experienced by those on
      prescription Lithium or Tricyclics with LSD? Is it unpleasant, and should it be
      avoided?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: onezero32 on 14 April 2013, 12:01:42

      dar la bienvenida Dr Caudevilla!

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      It's fantastic that you've joined us and are offering your knowledge towards harm
      reduction, thank you! +1

      I noticed on your page that you accept bitcoin donations, so I hope anybody
      that's financially able and who also takes benefit from your information to donate
      as a token of thanks.

      estoy agredecido



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 12:32:03

      A dissociative fugue is a kind of amnesia in which, the person who suffers it,
      experiments an "escape" of his own personality, and so he is not able to
      remember a part or the whole of his previous life. He is not able to remember
      who he or she is and, in some times, it produces the creation of a new identity.
      In most cases it is a temporal state, lasting hours to days or months.
      In relation to LSD, lithium and tricyclics I only know some reports in Internet
      forums, but, as far as I know there are no scientific data about it. I think very
      high doses of LSD or other psychedelics could rarely trigger dissociative states in
      predisposed individuals. I don´t know if lithium or triciclycs raise this probability.
      From a medical point of view, dissociative fugue is considered a psychiatric
      condition and, in my personal opinion, is an unpleasant and non-adaptative state.
      Some psychonauts like to explore these mind-states but I would not personally
      recommend that.
      DoctorX



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b3tterliving on 14 April 2013, 14:04:08

      Thank you! If i could it would definitely be +1!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flyinghigh1660 on 14 April 2013, 15:17:56

      Hi Doc,

      Great that you are giving out advice.

      What are your thoughts on the neuro toxicity of 2C-B and other 2C drugs?



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      Cheers

      FH



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b3tterliving on 14 April 2013, 19:40:35

      Hey doc after tapering my lexapro down to zero how long should i wait before
      taking MDMA to feel its full effects?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zipstyle on 14 April 2013, 20:03:32


Quote from: flyinghigh1660 on 14 April 2013, 15:17:56
Hi Doc,

Great that you are giving out advice.

What are your thoughts on the neuro toxicity of 2C-B and other 2C drugs?

Cheers

FH



Bumping this question. ^

Also: What suggestions would you have for stimulant users (never more than 25 mg
meth or 30 mg dextroamphetamine used at a time) that want to avoid weight loss or
want to re-gain the weight that was lost during routine stimulant use? I am prescribed
an extended-release form of dextroamphetamine and sometimes take low doses of
methamphetamine on days that I wake up too late to take the meds and need to keep
up productivity. The doctor hasn't wanted to prescribe an instant release form in
addition to my extended-release. I have lost some notable body mass and I'm already
slim/athletic build to begin with. What are your suggestions for re-gaining weight
while still on the medication?

Thank you for providing this to the community!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 20:08:20

      2C-B and 2C-X
      Amphetamines and ring substituted methylenedioxyamphetamines are known to


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      be neurotoxic in animals in high doses. This is a problem with MDMA, MDA or
      meth and has been studied and described for decades. 2C-B is structurally
      related to mescaline, not to MDMA or amphetamines. And mescaline is a
      molecule known since a century and there are no studies showing neurotoxicity in
      animals or humans. So it is not likely that 2C-B has significant neurotoxic
      potential.
      Our working team published last year the first study on subjective effects of 2C-B
      users. The sample was small but we did not find any adverse effects or toxicity
      ( motor problems, memory complains) suggestive of neurotoxicity.
      http://www.slideshare.net/fernandocaudevilla/2cb
      On the other hand, and in terms of general toxicity, 2C-B is known since the 70s
      and has been widely used. Adverse effects seem well known and not important. It
      is a well known molecule. But there are some other derivatives with atoms that
      are not typical in human pharmacology (2C-F, 2C-C...). Maybe any of these
      lesser-known drugs are potentially more dangerous



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 20:27:08

      MDMA and Lexapro

      In theory, two or three weeks after finishing escitalopram, your neurorreceptors
      would be in a state similar to how you felt before Lexapro. But life is much more
      complex than neurochemistry. It depends also on your expectations, feelings,
      mood, personal experiences...I suppose that you have been taking Lexapro for a
      mental health or psychological condition. The best way to have a positive
      experience with any drug is to be in good state of mind before taking it. Until you
      are feeling 100% and able to abandon your medication it will be difficult for you
      to feel the full effects of MDMA.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 20:36:29

      Stimulants and weight loss
      Like therapeutic effects, some adverse effects of drugs are inherent to them and
      difficult to avoid. Loss of appetite is a well-known effect of amphetamines, in fact
      some people take them to lose weight , the opposite as you wish. The only way I
      think you could win or re-win some weight is increasing protein and
      carbohydrates intake. I think many formula used in bodybuilding (50% protein +
      50% carbohydrate, for example) could make you gain some weight if you get
      used to use it daily.




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: valakki on 14 April 2013, 21:17:56

      I love this thread! Thank you!

      So my question is..... Whats your favorite drug and why? Which one do you
      consider the most harmless and why?
      Which one do you consider the most dangerous?
      Which one causes the most problems?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 April 2013, 22:04:22

      Dangers of drugs.

      All drugs are absolutely harmless. If you leave cocaine, MDMA, meth or 4-AcO-
      DMT on a table, they won´t try to assault you, rape you or hit your balls.
      To consider potential of harm of psychoactives you should keep in mind factors as
      individual, doses, patterns of use, frequency, motivation and context of use. This
      seems obvious but it is very important, it is no sense talking about harms of
      drugs in abstract.
      From an objective point of view and in a Public Health perspective, legal drugs
      (alcohol and tobacco) causes much more problems (health, familiar, social...)
      than all the other illegal together.
      Scientific studies trying to answer this question point that alcohol, heroin and
      crack cocaine are the most harmful substances
      http://www.fcaglp.unlp.edu.ar/~mmiller/espanol/Variedades,%20politica/
      drogas_Journal.pdf




Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ModalSoul on 15 April 2013, 00:57:46

      As an 18 year old with a still developing brain, what do you think the possible
      consequences of frequent psychedelic use could be?

      About mid-December, I took MDMA for the first and only time and absolutely
      loved it. I plan on doing it once or twice more this summer, but have not come
      back to it yet due to it's known neurotoxicity. Since that time though, I have
      done LSD, mushrooms, threshold doses of DMT, and 4-aco-DMT a handful of
      times, tripping an average of 2-3 times a week, but even more so in the last two
      weeks. I've also tried 25-I twice but the iodine molecule scares me so I won't be
      going back to that.


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      I've decided that I'll be spacing my trips out more now. I'm taking LSD on the
      19th for Bicycle Day and waiting until a concert on May 4th to trip again. From
      there, I'll try to space out trips by at least a week over the summer, and then
      stop for a few months or more when school starts back up.

      So what I'm wondering is, do you know what sort of effects, long or short-term,
      on the brain my frequent use of psychedelics over the last four months may have
      caused? And would you suggest waiting longer than a week between trips over
      the summer?

      Any info you have would be really appreciated, as I do care about myself and
      don't want to continue tripping like this if it means something serious could come
      from it. Thank you.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ThisSHITScrazyman on 15 April 2013, 05:43:32

      I was wondering if it is more harmful if say taking .3 of MDMA or MDA and then
      take anther .2 say 3 hours later? or would it be more dangerous to take the .5 all
      at once
      ive heard that redosing is bad and i know .5 seems like a lot but idk i roll balls
      every once in a while :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: grdr on 15 April 2013, 06:46:42


Quote from: DoctorX on 14 April 2013, 22:04:22
Dangers of drugs.

All drugs are absolutely harmless. If you leave cocaine, MDMA, meth or 4-AcO-DMT on a table, they
won´t try to assault you, rape you or hit your balls.
To consider potential of harm of psychoactives you should keep in mind factors as individual, doses,
patterns of use, frequency, motivation and context of use. This seems obvious but it is very
important, it is no sense talking about harms of drugs in abstract.
From an objective point of view and in a Public Health perspective, legal drugs (alcohol and tobacco)
causes much more problems (health, familiar, social...) than all the other illegal together.
Scientific studies trying to answer this question point that alcohol, heroin and crack cocaine are the
most harmful substances
http://www.fcaglp.unlp.edu.ar/~mmiller/espanol/Variedades,%20politica/drogas_Journal.pdf


yeah but powder sold as heroin which is carfentanil is definetely dangerous because
how the hell does one cut up evenly such potent substance as carfentanil ? just saying
it because it was seized ready for the streets. You might buy 1 dose and not get high ,


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you might buy 3 doses don't get high, you might buy 1 dose once more and OD. Still
pure carfentanil 100x more potent than fentanyl I wonder if media didn't blew out this
of proportion.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 April 2013, 08:47:54

      ModalSoul:
      In my opinion tripping 2-3 times a week is too much, regardless of your age and
      any other factor. "Classical" psychedelics (LSD, mushrooms, DMT...) have a very
      low organic toxicity, but are substances that can make feel very strong changes
      in the way we perceive the world and reality. I think it is good to have enough
      time to integrate these experiences. Some people that take psychedelics with
      frequency they finally wonder if is this world real or the psychedelic one. Or have
      difficulties to handle with real world. Or, simply, get bored of psychedelics (when
      you repeat the same thing a lot of times you finally get bored of it). I think once
      a month could be a reasonable pattern of use for psychedelics. Too frequent use
      will lead to tolerance, and you will need to increase dose. You should think about
      the objective of your psychedelic use (fun?, self-knowledge?, experimentation?,
      If you are worried about negative effects, I strongly advise you against new
      synthetic psychedelics (bromo dragonfly, 25-I-NBOME...) We know almost
      everything about LSD, ayahuasca, DMT, mushrooms... but these new substances
      have not been studied in humans and risks are unknown and potentially high.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 April 2013, 08:56:08

      ThisSHITScrazyman

      0.5 gr of MDMA is too much MDMA in any case. Studies in human pharmacology
      and studies of psychoterapeutic use of MDMA in the 1970s show that 120-150 mg
      is the highest rank. A re-dose of the half (60-75 mg) 2-3 hours later extends the
      experience with not too many adverse effects. If you take higher doses or
      frequencies you will multiply adverse and negative after effects. Women and first
      time users should use smaller quantities (70-100 mg).



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 April 2013, 09:02:01

      Grdr

      You are right, I agree with you. One of the conditionants for the dangerousness
      of drugs is the fact that they are legal or not. Illegal drugs are far more
      dangerous because they are not sanitary controlled. Some scientist have

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      criticized that study in the same way you´ve done.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ChemCat on 15 April 2013, 09:27:48


Quote from: DoctorX on 15 April 2013, 09:02:01
Illegal drugs are far more dangerous because they are not sanitary controlled.
[/quote

**NOT**

come on now "Doctor"            (rolls eyes)

look at public records...alcohol related accidents..compared to marijuana related accidents...
personally..i've never seen anyone smoke a joint..freak out and have to kill someone for another hit...


oh well .. i'm no "Doctor" :P

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 April 2013, 14:23:19

      ChemCat:
      The original question was "Which one do you consider the most harmless and
      why? Which one do you consider the most dangerous?". I tried to explain that
      harms and dangers not depend only on the substance but other factors like
      individuals, patterns of use and context of use. And it depends on the kind of
      danger we consider. If we measure "accidents" alcohol would be more harmul
      than marijuana, obviously. If we measure "effects on short time memory"
      cannabis would be more dangerous than tobacco, for example. And I answered
      "Illegal drugs are far more dangerous because they are not sanitary controlled" in
      response to a remark about heroin adulterants (carfentanil)
      By the way, I don´t underestimate your comments by the fact you are a "doctor"
      or not. So I ask you to do the same with me, please ;D ;D ;D



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ChemCat on 15 April 2013, 16:34:12

      No Worries :)

      debates and goos conversation is welcomed :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: astor on 15 April 2013, 19:38:49


Quote from: DoctorX on 15 April 2013, 08:56:08
Studies in human pharmacology and studies of psychoterapeutic use of MDMA in the 1970s show that
120-150 mg is the highest rank. A re-dose of the half (60-75 mg) 2-3 hours later extends the
experience with not too many adverse effects.


This has been my formula for a long time, except I do 180 followed by 120. :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: valakki on 15 April 2013, 21:32:01

      "All drugs are absolutely harmless. If you leave cocaine, MDMA, meth or 4-AcO-
      DMT on a table, they won´t try to assault you, rape you or hit your balls."
      Priceless. you know the movie Torrente? ;)

      Thanks for the answer!
      So you don't use anything? (no favorite) thats cool.

      I got another one. What do you think about the current synthetic (rc) scene?
      (bigone i know. Im thinking nbome-s, cathiones, mdpv, etc)
      How long can we play this grey area game? there seems to be no end to it. New
      substances pop up every 2 years.

      What do you think about legalization? Decriminalization? (not just cannabis)

      I'm gonna send some more karma your way when i can ;)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 April 2013, 09:05:57

      Valakki

      Torrente rules!
      I don´t think my personal use of drugs has any interest, but, if you insist, I´ll tell
      that MDMA is my favourite, although now I do it only 3-4 times a year.
      I think the new synthetic scene can be very problematic. During all the nineties,
      media and antidrug scientists used the images of "Russian roulette" or
      "laboratory guinea pigs" to talk about risks of MDMA and other syntethic drugs.
      And that was absolutely false, as drugs like MDMA, psilocibin, ketamine, GHB,
      amphetamines, LSD, mescaline, MDA, DMT, opiates, cocaine...have been studied
      during decades and we know almost everything about their pharmacology and
      risks.
      Otherwise, these new synthetic drugs have not been tested in human or animals
      in most cases. Their risks are unknown but potentially much greater than classic

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      drugs. As you say new substances appear because older are fiscalized. But, in
      terms of chemistry and pharmacology, they are even more bizarre and dangerous
      than previous. But they are "legal", and some people can think that, if they are
      legal it is because they are harmless. It is curious the fact that, in SR, they are
      rarely among the "bestselling", probably because SR users have better
      information about drugs than general population.
      I think that legalization of all substances is the only solution to the called "drug
      problem"



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: White 0ut on 16 April 2013, 09:37:21

      Loving this thread!!! ;D

      To all the members asking questions I would be careful posting specifics. We
      might have a doctor in the house, but there are 15 more LEO to go with him!

      Doc, let me ask it like this.

      If you had a 21 year old son who had never experimented with any drugs but
      was bound to dabble in them no matter what, and he asked your opinion which
      would you approve/suggest of him experimenting/using recreationally?

      Meaning what drugs sold here on SR would you suggest as far as his health being
      the main concern.

      Top 5 please?

      Sorry if this sounds odd I am just curious to hear a Doc's personal standpoint not
      his professional.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zvp1014 on 16 April 2013, 10:20:38


Quote from: ModalSoul on 15 April 2013, 00:57:46
As an 18 year old with a still developing brain, what do you think the possible consequences of
frequent psychedelic use could be?
My own personal thoughts on the matter- as an adolescent / young adult, you literally
get high off of getting high- when you use drugs, regardless of their method of action,
your brain releases excess dopamine not found in adults.

Furthermore, most studies of illicit drugs and side effects (if any) were done on adults.



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But, given how you're on Silk Road coupled with the mannerism of your speaking- be
careful and I feel you'll be fine. Stick to psychedelics, give your self time between drug
use, and especially give yourself a barrier between use of MDMA or Ecstasy pills; they
can be neurotoxic and multiple uses can result in bad mood swings from serotonin
depletion. I'm sure you know this from your own research; stay careful.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 April 2013, 10:58:45

      White Out:
      I understand your question but it seems very difficult to me to answer it in a
      general way. Most 21 years old persons have tried alcohol and tobacco, it would
      be very strange to find such a person. But I believe that, in drugs, advice should
      always be personalized. Why does this person want to try drugs? How is his
      personality? What are his motivations? What does he think/beleive/know about
      drugs? How does he work in his personal/familiar/social life? Is he looking for
      stimulants/depressors/psychedelics? Why? One important thing is to have access
      to objective, true, reliable information about positive and negative possible
      consequences and the way to handle it (in English, www.erowid.org is the gold
      standard, in my opinion).I´m not trying to avoid to answer your question but I
      think is impossible to have a "Top 5" for everyone. I would avoid all "research
      chemicals" and "legal highs" as I explained in previous messages. Intravenous
      route and high-potential dependence drugs as opiates or tobacco would not be
      recommended for beginners, also.
      In general, I agree with the advices of zvp1014
      And I didn´t understand the meaning of this sentence "We might have a doctor in
      the house, but there are 15 more LEO to go with him!" (What does LEO mean,
      sorry my English is limited)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: White 0ut on 16 April 2013, 11:13:48


Quote from: DoctorX on 16 April 2013, 10:58:45
White Out:
I understand your question but it seems very difficult to me to answer it in a general way. Most 21
years old persons have tried alcohol and tobacco, it would be very strange to find such a person. But I
believe that, in drugs, advice should always be personalized. Why does this person want to try drugs?
How is his personality? What are his motivations? What does he think/beleive/know about drugs? How
does he work in his personal/familiar/social life? Is he looking for stimulants/depressors/psychedelics?
Why? One important thing is to have access to objective, true, reliable information about positive and
negative possible consequences and the way to handle it (in English, www.erowid.org is the gold
standard, in my opinion).I´m not trying to avoid to answer your question but I think is impossible to
have a "Top 5" for everyone. I would avoid all "research chemicals" and "legal highs" as I explained in
previous messages. Intravenous route and high-potential dependence drugs as opiates or tobacco
would not be recommended for beginners, also.
In general, I agree with the advices of zvp1014


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And I didn´t understand the meaning of this sentence "We might have a doctor in the house, but
there are 15 more LEO to go with him!" (What does LEO mean, sorry my English is limited)


I am referring to a male, non addictive genetics, average weight &height, average life,
job, class, good health, no other variables. I just was curious your opinion on what
drugs are the purest. Though, Now that I read your post it makes more sense to me. I
think the only way we can judge what is ok for us to do is by knowing our own
structure and limitations.... Like you have said.

Would you put Cannabis at #1 on every list though? Or is there something out there
less harmful but with just as nice a mind alternate.

Also I was referring to LEO meaning Law Enforcement Officials, I was just warning
members not to post too much specific info because this makes it that much easier to
single them out.

Can I get your take on Adderall being used to treat adult ADD? I'm talking about only
dealing with around 10mg of instant release per day, every other day or so. Can you
forsee any short or long term consequences other than it being an addictive stimulant?
I just hate the fact that I am basically taking meth (no hate on those that do) But is it
really that bad, I know it is pharmaceutically promoted but that doesn't mean shit for
health safety.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: yellowmattercustard on 16 April 2013, 12:40:35

      Hello Doctor!

      Does modern science know the way (or any recommendation) to restore the
      sensitivity of serotonin receptors? I mean the consequences of taking MDMA:
      depression and 'lost of magic'.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 April 2013, 14:15:36

      White Out:

      I wouldn´t put cannabis in that list, I wouldn´t reject it, neither. But I think, in
      general, some risks of cannabis are underestimated. In fact I consider it as a
      "minor psychedelic" with all the inconveniences (and properties) of these group.
      People who like cannabis enjoy it very much, but there are some other people
      that find their effects not pleasant. It also has effects on short time memory
      (reversible with weeks of abstinence) and I don´t think it is a drug for people
      who have to study or do hard intellectual work (there are exceptions to this rule).
      As with any other substances, it all depends on persons and patterns of use.



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      I´m not concerned about LEOs, as I´m not doing any illegal activity here. I´m
      offering my professional experience to assess people who take drugs in a risk
      reduction perspective. For that I have decided to make my identity public. But I
      understand perfectly your worries. All the personal data I receive in my work (in
      Spain and outside) are confidential and restrained to Spanish Personal Data
      Laws. Anyway I will create a PGP key if anyone wants to contact me privately.

      I´m sorry but I didn´t understand your question about Adderall and meth :P



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 April 2013, 14:28:45

      Yellowmattercustard:

      The only way I know to avoid loss of magic and depressive symptoms is to be
      moderate in dosage, frequency and contexts. To leave MDMA for special
      occasions and not to make it an habit. This could sound obvious, but I think it is
      not only a question of neurorreceptors. It is much easier.
      Suppose that you like Disneyworld. The first time you go you will think it is
      fantastic but, if you go every weekend you will finally get fed up of White Snow
      and Donald Duck. Properties of MDMA are so specific that if you use it too
      frequently it makes you bored. I think it is also important not to expect too much
      from it, I mean, some people get obsessed with "getting high" as the first times
      and that conditions the experience. It is also important, in my opinion, to realize
      and think about some effects of MDMA that can be learn during the experience,
      but applicable to everyday life.
      Someone told me that the first time you take MDMA is similar to "learn to read".
      Once you have done it, your perception of reality (and your perceptions of further
      MDMA experiences) changes. You can´t learn to read twice, and, in this sense,
      the first experiences will be different to the rest. But you can still enjoy the
      substance if you are cautious in the way of use and don´t expect too much.
      Combinations with SSRI, Prozac, triptophan and all that stuff don´t have a
      scientist basis.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: White 0ut on 16 April 2013, 23:58:23

      No mate, you had me twisted. I was worried about those replying with specific
      illness's & age's that can make them easy to single out lol! Your perfectly fine my
      friend!

      Keep doing what you are doing...

      For my adderall question, I was basically asking is Adderall really basically the

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      same as meth?

      I have heard this from many people.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 April 2013, 08:28:41

      There are some differences but, basically, they are compounds very similar.
      Methamphetamine is 2,5 times more potent than amphetamine on their effects,
      but therapeutical and clinical uses are the same. In fact, meth is marketed in
      some countries as Desoxyn, anda approved for ADD and obesity as short time
      medication. As a prescription drug, methamphetamine is used at 5 mg dose and
      only by oral route



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chil on 17 April 2013, 08:53:00


Quote from: DoctorX on 16 April 2013, 14:28:45
The only way I know to avoid loss of magic and depressive symptoms is to be moderate in dosage,
frequency and contexts. To leave MDMA for special occasions and not to make it an habit. This could
sound obvious, but I think it is not only a question of neurorreceptors. It is much easier.
Suppose that you like Disneyworld. The first time you go you will think it is fantastic but, if you go
every weekend you will finally get fed up of White Snow and Donald Duck. Properties of MDMA are so
specific that if you use it too frequently it makes you bored.


Excellent answer ! +1, doc.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: valakki on 17 April 2013, 23:53:00

      You look like you are in it for the soul. Unlike that "Tim" guy....
      Nice website.....

      My next q is: Do you think lsd or mdma can permanently change body language?
      I cant get this out of my head.. Scientist posted a thread about it and i cant get it
      out of my head. Do you think People can see drug use on you after you have
      sobered up?
      How easy is it to notice an ex drug addict? Could you tell what i used from the
      way i walk or talk? (after i have stopped using)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 April 2013, 08:20:38

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      Well...I think it basically depends on the impact on MDMA or psychedelics in your
      life. For many people these drugs only mean a little while of fun on a limited
      experience. But, in other cases, these substances can have a significative
      psychological impact and make long lasting changes in personality. For example,
      if someone learns through MDMA, to be more open-minded or less shy, I think
      this will change his "body language" in some way. But in this sense drugs can
      change body language as many other important things that happen in your life.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: kmfkewm on 18 April 2013, 09:37:46


Quote from: DoctorX on 16 April 2013, 14:28:45
Yellowmattercustard:

The only way I know to avoid loss of magic and depressive symptoms is to be moderate in dosage,
frequency and contexts. To leave MDMA for special occasions and not to make it an habit. This could
sound obvious, but I think it is not only a question of neurorreceptors. It is much easier.
Suppose that you like Disneyworld. The first time you go you will think it is fantastic but, if you go
every weekend you will finally get fed up of White Snow and Donald Duck. Properties of MDMA are so
specific that if you use it too frequently it makes you bored. I think it is also important not to expect
too much from it, I mean, some people get obsessed with "getting high" as the first times and that
conditions the experience. It is also important, in my opinion, to realize and think about some effects
of MDMA that can be learn during the experience, but applicable to everyday life.
Someone told me that the first time you take MDMA is similar to "learn to read". Once you have done
it, your perception of reality (and your perceptions of further MDMA experiences) changes. You can´t
learn to read twice, and, in this sense, the first experiences will be different to the rest. But you can
still enjoy the substance if you are cautious in the way of use and don´t expect too much.
Combinations with SSRI, Prozac, triptophan and all that stuff don´t have a scientist basis.


Doesn't combining MDMA with an SSRI lead to an increased risk of serotonin
syndrome?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 April 2013, 12:34:17


Quote
Doesn't combining MDMA with an SSRI lead to an increased risk of serotonin syndrome?
There have been many clinical trials in humans co-administrating different SSRIs
(paroxetine, citalopram, sertraline...) to study pharmacological properties. There is a
theoretical risk but it is probably overestimated. Anyway, combination of MDMA and
SSRI is not recommended. First because, in general, it lowers MDMA effects. Second
because people under SSRI treatment usually suffer problems as depression or
anxiety disorders and, MDMA is not recommended because of these problems.
In animal models combination of MDMA and some SSRI showed lower neurotoxicity.


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But doses and patterns of administration make that these results can´t be
extrapolated to humans. It is not likely that SSRIs have a neuroprotective effect in
humans at doses available.
In my opinion risk of neurotoxicity associated to MDMA is sometimes exagerated.
There is no evidence that occasional moderate doses (lower than 120-150 mg) have
any neurotoxic effects. In fact at least four investigation teams have been
administrating MDMA to healthy human volunteers in clinical trials with the approval of
sanitary authorities and ethical comitees of clinical trials. In this case neuroprotective
drugs are unnecessary. People who take large doses during long time are probably
more exposed to this risks, and in this case there are no neuroprotective measures
that have shown efficacy.
Substances that inhibit monoamine oxidase (MAOI: phenelzine, moclobemide) are
most likely to lead to serious increases in serotonin when used with ecstasy, and
develop a serotonin syndrome. In people who use these drugs MDMA is absolutely not
recommended.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Bastian on 19 April 2013, 20:06:35

      Hey DoctorX!

      Thank you for your nice offer here.

      I have a question about opiats and mental health issues.

      Again and again I find sources that tell that opiats are the "better
      antipsychotics" (and were used for that in the past), also partially anti-depressant
      because of mood lifting... and many pain patients tell, that their mental health
      issues were almost gone completely since they started taking their prescribed
      opiats/opioids. Also some therapists and doctors suggest that the use of opiats
      would be far better, especially because of better mood and less harm to your
      body.

      I have to deal with OCD (obsessive-compulsive-disorder), GAD (generalized
      anxiety disorder) and kind of schizophrenia.

      I take highly potent antipsychotics atm and they don't work like I would them to
      work... (they just sedate... thats it... than you have to deal with side effects like
      very hard depressions, and dissociative mental states).

      So I don't have much to loose, I have to weigh up - perhaps life long -
      antipsychotic treatment with all the side effects and feeling like a zombie - on the
      other hand a much better quality of life with opiates.

      So I'm going to try this path anyway, but would thank you a lot, if you could tell
      me something about mental health and opiates.

      Can they be used as medication while a panic attack takes place? Or is


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      set&setting important?

      I need something for my emergencies to come down - and I need something for
      stabilization in long term.

      I don't want to use benzos - as I know they are more dangerous than opiats (for
      the body) and don't have mood "support" ...

      above all - sometimes they make it worse...

      Perhaps you can tell me a little bit about it

      and... are there dangerous interactions between antipsychotics and opiates?`(Of
      course both sedating, so I'm talking about low doses)

      Thank you



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: agrowersstory on 21 April 2013, 00:52:52

      from time to time (3 or 4 times a year) i like to do a few large bumps of cocaine,
      maybe 3 166mg bumps within a hour, when I am starting to come down I like to
      snort a small 25mg line of #4 heroin. what are the dangers of doing this? I am a
      24 year old male in good shape about 220 pounds. I do not smoke or drink
      alcohol just wondering if there is immediate danger. I know it is not safe but
      would like more info. thanks!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 21 April 2013, 05:28:25

      I have a question about amphetamine usage.
      I am in the age bracket of 20 - 40 and in good health. I use pure amphetamine
      between 15 - 70mg, depending on what I am using it for.
      Is 70mg of pure amphetamine safe to use in one go? I have low tolerance and I
      do not go on "binges." Sometimes I may have a small top up, but I never go for
      more than 12-16 hours at a time.

      Also, how frequently can I use it without causing harm to myself? I don't
      normally use it more than once a fortnight, but sometimes I do and I was
      wondering if it is damaging to use it weekly, or even more than that?

      Thanks for your time and effort, and +1.

      Dingo


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 April 2013, 09:42:02

      Bastian:
      There are some scientific data that point that some opiates can relieve symptoms
      of schizophrenia. Some authors believe that use of opiates by persons with
      schizophrenia is so common because of self-medication. But in fact this is only a
      hypothesis and it is a matter of discussion. The role of opiates in schizophrenia is
      documented, but there are many less data in OCD and anxiety dissorder. I´m not
      sure if they can be useful for these diseases. Anxiety dissorders are better
      controlled with SSRIs better than benzodiacepines.
      As any other psychoactives , we should consider unwanted effects and problems:
      first of all the dependence potential (more important than antipsychotics and
      antideppresives). Also adverse effects (constipation, nausea, stinging...),
      farmacological tolerance (need to increase dose over time) and problems to have
      a continous supply of non-sanitary controlled products.
      In any case, I think medication alone (antidepressives, antipsychotics, opiates or
      whatever...) should never be the only base of mental health issues. Psychological
      support is always as important as pills and helps to improve results.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 April 2013, 20:03:39

      agrowersstory

      Estimate risks from concrete practices is one of the most common questions, and
      one of the most difficult to answer. Some risks are east to estimate, but most are
      not. If you drink 4 gr of GHB and 3 cups of whiskey the risk of falling asleep in
      high. If you take 100 mg of pure MDMA in a controlled environment , the risk of a
      heatstroke is extremely low.
      But the risk of the combination you propose is difficult to calculate. When we talk
      about risks we have to difference between "adverse effects" (frequent and
      common at normal doses and, in general, mild) and "toxicity" (serious problems,
      but rare at normal doses/more possible at high doses). It is important to consider
      the probability that a particular event happens.
      In general, combinations of drugs have more risks than drugs alone. Dose is also
      important, and doses you are using seems to be higher than recommended. Half
      a gram of cocaine in an hour seems a high dose. The possibility of toxic effects is
      relatively low but these effects, if happen, could be serious (cardiovascular or
      cerebrovascular problems). The heroin dose it seems also high (you don´t have
      tolerance if you do this 3-4 times a year),and it is particularly important to be
      prudent if you don´t know the exact purity of the batch of heroin you are using.
      If purity raises a clinical overdose it is possible.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 April 2013, 20:27:56

      Therapeutic dosage of amphetamine as prescription drugs is 15-60 mg oral route.
      The 60 mg dose is used for people with pharmacological tolerance, after some
      weeks/months of treatment.
      So the doses you are using seem high from a pharmacological point of view
      (particularly if you were using intranasal route). Obviously , risks should be lower
      at the 15 than at the 60 mg rank. But even at these doses, in "real world" the
      chance of serious problems for health is relatively low in young healthy persons.
      (Please, read the difference between "adverse effects" and "toxicity" in previous
      answer).
      The more frequent it is the use, the possibilities of problems is higher. It is not a
      good idea to associate too many activities of your life to amphetamine use. Most
      amphetamine health problems are related to regular use, so the more sporadic is
      your use, the probability of risks gets reduced. I regret some advice seem too
      obvious, but objectively is all I can say.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Andrewbud420 on 22 April 2013, 00:20:12


Quote from: agrowersstory on 21 April 2013, 00:52:52
from time to time (3 or 4 times a year) i like to do a few large bumps of cocaine, maybe 3 166mg
bumps within a hour, when I am starting to come down I like to snort a small 25mg line of #4 heroin.
what are the dangers of doing this? I am a 24 year old male in good shape about 220 pounds. I do
not smoke or drink alcohol just wondering if there is immediate danger. I know it is not safe but
would like more info. thanks!


I do a similar thing with tokes of freebase.. but I use short acting benzo's instead of
the H. ..
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 April 2013, 08:09:20

      Andrewbud420:

      In a risk perspective we can consider freebase more dangerous than cocaine
      clorhidrate (absorption surface, dependence potential, organic repercussion). On
      the other hand, there is no risk of overdose and respiratory depression with short
      acting benzodiacepines and, in this sense, is far more than intranasal heroin.



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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Devoidest on 22 April 2013, 13:02:57

      Hi DoctorX

      In summer I'm going to apply for admission test at university and I'm considering
      using ritalin to improve my focus an so my score too:
      the test has a lot of gmat 600-type logical questions e.g. http://gmatclub.com/
      forum/critical-reasoning-question-directory-topic-and-difficulty-128861.html
      in particular Assumptions,Conclusion,Strengthen,Argument Weaken,Argument ,
      Numbers and Percents,Logical Flaw.

      I've already applied once to a similar test,and I was disturbed by the noises of
      other people,by the feeling of time running out...I performed worse in class than
      I would have performed at my home.

      I'm planning to ingest a 10mg pill - therapeutic dosage - about 30 minutes before
      the test.
      The problem is that where I live generally the summer is hot (25-29 C) and
      during the test there will be some stress (hundrends of people waiting outside the
      university to take the test and eventually not much space).
      Also I have some general anxiety,I could fear to look "drugged" to others or my
      voice altered.
      Of course the anxiety will probably get worse,but I'll see if I can manage it
      testing ritalin in social situations few days before taking the admission test.

      Methylphenidate is anfetamine,a stimulant,so the question is: could the hot and
      the stress cause problem to my circulatory system during the test?

      I will take and ECG check much before taking ritalin however to minimize the
      risks,but I have already used cocaine an mdma some time ago.

      Sorry for crossposting.

      Thank you.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Bastian on 22 April 2013, 15:36:57

      Thank you for your reply DoctorX

      SSRI or other antidepressant medicine - I already tried...

      Enough studies show, that these are all placebo related... so ... :(



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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 April 2013, 16:14:07

      Devoidest

      Methylphenidate is a drugs relatively close to amphetamine in their mechanism of
      action, but it is not an amphetamine. If you mean with "problems for your
      circulatory system" symptoms like mild tachycardia, palpitations, sweating...they
      are possible but probably related to situations. If you mean severe problems like
      angina, psychosis, stroke...they are highly unlikely. I think no one will notice
      "that you are drugged".
      But one important thing is "is it methylphenidate effective for that use?". Studies
      have shown some cognitive improvement in children with ADD, but there is a
      considerable neuropsychological profile heterogeneity among diagnosed children,
      as well as variable response to treatment. And in healthy volunteers the effect of
      methylphenidate is only shown on short term memory, and the quality of studies
      is weak.
      I don´t think that there is evidence enough that methylphenidate will be effective
      for the kind of complex-tests you are facing.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: newbottles on 22 April 2013, 23:13:40

      DoctorX, I appreciate this thread.

      As I posted elsewhere in this section, I have experienced asthma symptoms/
      respiratory tightness multiple times after taking mild recreational doses of
      opioids. This has happened more severely with heroin #4 (insufflated) from
      different sources, and less severely with pharmaceutical oxycodone IR (oral).

      All of the above was done with low tolerance/experience. The heroin was 1 gram
      chipped over 7+ days, and the oxycodone was 30-45mg oral doses each time.

      I have no history of asthma or lung issues.

      I still experience the typical positive effects from opioid abuse in addition to the
      negative respiratory effects.

      Are you aware of this as a relatively common reaction, or do you suspect some
      form of allergic reaction or adverse predisposition toward opioids?

      In searching I can only find the obvious link between opioids and cough
      suppression, but nothing that addresses my experience.

      Thanks

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: AnonymousAddict on 23 April 2013, 06:59:39

      Doc X,

      Great thing your doing i salute u for this..


      My question is , does Nubain the drug givinig in shot form really throw a
      everyday Opiate user into Withdrawl?

      I hear its like oxymorphone but it has an antagonists or something in it thts i
      guess like subutex and will throw u into withdrawl..

      True or no? Btw Im a 13 year opiate user so i do take daily..



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: pkizenko98 on 23 April 2013, 07:45:10

      Good stuff Hombre +1

      I will absolutely be donating to you and urge others to do the same, thanks for
      your time Senor!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 April 2013, 09:27:31

      Newbottles:
      Allergic-asmathic reactions to heroin are not a common adverse effect, but they
      are possible, particularly using inhalated route. There are some cases described
      in medical literature:
      (CLEARNET)
      http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1835195/pdf/bmj00315-0033.pdf
      http://www.ncbi.nlm.nih.gov/pubmed/20857854
      http://www.ncbi.nlm.nih.gov/pubmed/17639839
      http://www.ncbi.nlm.nih.gov/pubmed/10631229
      (CLEARNET)

      Heroin, morphine, oxycodone and hydrocodone contain a phenantrene molecule
      structure, which can lead to cross-allergic reactions (that means, if you are
      allergic or you are developing allergy to one of the molecules of the family, you
      have more chance to be allergic to the rest). So is theoretically possible to be

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      allergic to both heroin and oxycodone.

      Without an exploration and allergic tests I can be sure that you are developing an
      allergic reaction, but there are enough data to think it is possible. The most
      prudent idea would be to avoid opiates. If you can´t or you don´t want do this, in
      a risk reduction perspective you should be very careful (don´t do it alone, do it in
      a place where you can search for medical help quickly...) and get some
      adrenaline 1/10.000 for subcutaneous administration in case of emergency



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 April 2013, 09:37:32

      AnonymousAddict

      Some opioids are agonists of opioid receptors (morphine, codeine, heroin). Some
      other are antagonists (naloxone), and other are mixed agonists-antagonists.
      Buprenophine and Nalbuphine (Nubain) are among these substances and can
      precipitate withdrawal symptoms in regular opiate users.

      I don´t like to give moral advices. But, in a clínical-objective point of view, the
      younger is a drug user, the probability of problems with use increase. Opiates are
      drugs difficult to handle and have severe adverse effects and can lead to
      dependence. I think you should consider this, as you are 13 years old.

      Peace&love



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: White 0ut on 23 April 2013, 09:43:13

      Sending a BTC donation for your work now, I figure if I pay real doctors
      thousands to feed me bullshit.....

        I can at least spare some change for one that gives out useful life saving advice!

      Well done!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 April 2013, 09:44:00

      pkizenko98 and White Out

      Thank you, and thank you also to all SR forum users for your warm-hearted
      welcome.

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      I didn´t come here to become rich (if so, I would have tried as a vendor ;D ;D ;
      D ;D) but it is true that to search, investigate and answer your questions (and
      the PMs) take some time and effort and all support will be welcome.
      Thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Chaosforpeace on 23 April 2013, 11:31:52

      Hey I think I already know the answers to this, but I might as well get another
      opinion.
      Does lets say daily crack use for about 3-6 months cause irreparable damage to
      the body. Or can you fully recover eventually. Same question for meth.
      The purpose of the use would be a fun way to lose weight. I just want a straight
      answer, don't question the reason.
      Thanks in advance

      Chaos



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 23 April 2013, 13:54:36


Quote from: Chaosforpeace on 23 April 2013, 11:31:52
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fully recover eventually. Same question for meth.
The purpose of the use would be a fun way to lose weight. I just want a straight answer, don't
question the reason.
Thanks in advance

Chaos
I reckon it would be pretty harmful using daily for that amount of time. I worry about
weekly amphetamine usage. Lol.
Crack is so rare in Australia... Thanks to Silk Road I can finally get good stuff at less
than $250 / gram!
Ice is t he easiest thing to get here. Even easier than weed. Most of it is imported
from the US, Canada or China because the drug lords know how expensive the stuff is
here and they can make a killing off it. It's meth on the street in the US $80 - $140 /
gram, depending on location? it's $100 / 0.1gm here. $600+ for a gram.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 April 2013, 14:16:58

      Chaosforpeace


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      I think the most evident risk for daily use of potent stimulants (meth or crack)
      would be the risk of dependence. This is not technically "irreversible" but with
      such a pattern of use it would be a likely consequence, and for most people
      dealing with dependence of stimulants is hard. Stimulants produce
      pharmacological tolerance (need to increase the dose to obtain the same effects
      over time), and with a daily use tolerance will appear. Depending on dosage and
      route of administration it is possible a variable degree of cardiovascular harm
      (hypertension, enlargment of heart walls would be the most common). Although
      is difficult to measure its seriousness and reversibility the probability of these
      conditions seems medium-high. There are some other possible problems
      (neurological, endocrine, psychiatric...)that can be linked to daily use of
      stimulants .

      There are some clinical trials that have used methamphetamine for weight lose.
      The magnitude of increased weight loss of drug-treated patients over placebo-
      treated patients is only a fraction of a pound a week. The rate of weight loss is
      greatest in the first weeks of therapy for both drug and placebo subjects and
      tends to decrease in succeeding weeks. The amount of weight loss associated
      with the use of an “anorectic” drug varies from trial to trial, and the increased
      weight loss appears to be related in part to variables other than the drug
      prescribed, such as the physician-investigator, the population treated, and the
      diet prescribed. The natural history of obesity is measured in years, whereas the
      studies cited are restricted to a few weeks duration; thus, the total impact of
      drug-induced weight loss over that of diet alone must be considered clinically
      limited.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 23 April 2013, 14:48:21


Quote from: DoctorX on 23 April 2013, 14:16:58
Chaosforpeace

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variable degree of cardiovascular harm (hypertension, enlargment of heart walls would be the most
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population treated, and the diet prescribed. The natural history of obesity is measured in years,
whereas the studies cited are restricted to a few weeks duration; thus, the total impact of drug-
induced weight loss over that of diet alone must be considered clinically limited.
Would weekly or fortnightly use of amphetamine raise tolerance very quickly?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tango on 23 April 2013, 15:06:54

      Wouldnt be the healthiest way of losing weight lol....



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 April 2013, 15:57:59

      Dingo Ate My Drugs

      No, weekly or fortnightly amphetamine use would not lead to significant
      pharmacological tolerance



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Chaosforpeace on 23 April 2013, 21:55:37

      You are saying in controlled studies weight loss doesn't really occur. This is
      because they feed them a diet and so on and so forth. I have lost ten pounds in a
      week on a binge of meth, multiple times. This method of weight loss is clearly
      unhealthy, but it does work. The plan is do the meth, then work out on the meth
      which becomes easier because of the meth. I don't eat, so I lose weight, but
      because of the extreme work outs I gain muscle mass as a replacement. Of
      coarse I force myself to drink water through out this.

      Chaos



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 24 April 2013, 00:42:28


Quote from: DoctorX on 23 April 2013, 15:57:59
Dingo Ate My Drugs

No, weekly or fortnightly amphetamine use would not lead to significant pharmacological tolerance
Thanks. Awesome! I didn't really want to have a tolerance and start having more
negative side effects.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: pinky2011 on 24 April 2013, 03:24:58


Quote from: Chaosforpeace on 23 April 2013, 21:55:37
You are saying in controlled studies weight loss doesn't really occur. This is because they feed them a
diet and so on and so forth. I have lost ten pounds in a week on a binge of meth, multiple times. This
method of weight loss is clearly unhealthy, but it does work. The plan is do the meth, then work out
on the meth which becomes easier because of the meth. I don't eat, so I lose weight, but because of
the extreme work outs I gain muscle mass as a replacement. Of coarse I force myself to drink water
through out this.

Chaos


Chaos... As someone who was once quite large (6' 3", 290lbs) AND someone who has
experimented with many drugs (primarily uppers) for a good chunk of time (~3 years)
I can honestly tell you that the route you are considering is a very poor choice. Let's
start with the psychological effects. My drug of choice for the longest time was ecstasy
(with some coke and meth mixed in every now and then). I would roll probably 2-3
times per week. I did that for about a year straight, and then I continued to do it with
less frequency (~ once every other week) for another year. Doing those kinds of drugs
with that frequency over that amount of time was absolutely HORRIBLE for my head.
After about 3 months of use, I became a different person. I felt as if I lost some of the
wit I was known for. My mind just wasn't as sharp. Short term memory was
completely shot. Worst of all was that it made me depressed. I spent most of my life a
happy person. This turned me to thoughts that to this day freak me out. I don't want
to get into them, but you get where I'm going with that. This alone is reason not to do
drugs like the ones you are talking about. Keep in mind, my drug of choice was
ecstasy- a drug with very little to no chemical dependence factor. I couldn't imagine
what would have come of me had I chosen meth to satisfy my urges.

This drug use primarily occurred after my weight loss as a side note. With regards to
the weight. Sure.... you'll lose it and you'll probably lose a lot. But I can guarantee
you that as soon as you stop (if you can) you will yoyo back to where you were
before. You might even get bigger. Not eating is TERRIBLE for weight loss because
your body goes into survival mode. Any calories consumed will be turned to fat at the
first opportunity. I lost 90 lbs doing nothing but jogging and eating properly. I'm not
talking about fad diets. I chose to go on a low carb diet where my primary food intake
was salad/vegetables and lean protein like chicken breast/tuna/cottage cheese. Once
a day I would let myself have a sandwhich on WHOLE GRAIN bread along with a cup
of non-processed fruit juice. I avoided processed sugars like the plague (primarily
soda). When you say you will just "lift" and preserve the muscle mass, you are
completely wrong. Your body requires fuel, more specifically, the PROPER fuel to gain
muscle mass. There is a reason you will never see a ripped/fit meth head. Because
guess what? When you don't eat, you don't have the energy to lift. Sure... you might
be able to lift the first few days of your binge, but go a couple weeks malnourished
and see where your motivation goes.


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Now I could be completely wrong here, but you sound very similar to how I thought
when I had the extra pounds on me. I would be willing to put you in your late teens or
early twenties-- male and angry at the females of the world for not giving you
attention for just being you. I'm not bagging on you man. I was the SAME person.
Anything that's going through your mind to make you consider meth as a method for
weightloss probably went through my mind at one point. I'm also not going to play
mommy and tell you that everyone loves you and please reconsider. The world is a
cold cruel place and people outside your family, in general could give two shits about
me or you. What I would like to do is ask you to honestly think about what you've
said. Think about where it could lead you. If you've got any questions about my story
or advice I could give, I would be more than happy to message you or answer them
here. Always remember... the human mind is more powerful than any substance. If
the solution doesn't come from your head, whatever you do is just going to be a
bandaid for whatever problem truly afflicts you.

Be safe,

Pink
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: yellowmattercustard on 24 April 2013, 08:48:18

       Hello Doctor!

       Thank you for the replies!

       There's one more question from me: when on psychedelics (LSD or NBOMe -
       much more on NBOMe) people have unpleasant feelings in their body (usually in
       the beginning of a trip). A feeling of cold, arms and legs are shaking, a tension,
       etc.

       Why does it happen? And is it harmful?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 April 2013, 13:49:16

       yellowmattercustard

       I´m not sure what could be the cause of this effect. What I know is that,
       undoubtedly, LSD is physically harmless (at least for most people, or does not
       have significant organic toxicity). LSD was first synthetized in 1938 and has been
       widely studied in celular models, animals and humans. Even, there are enough
       clinical trials in humans that show it doesn´t have organic toxicity on any human
       organ or system (excluding psychiatric problems, but that is other story...)
       We can´t say the same things about all the NBOMe family. They were discovered


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      in 2003 and there are no data about their effects and risks in humans. In this
      sense they are far more dangerous, at least potentialy, and users are acting as
      guinea pigs.
      At least in Spain it is common that blotters with 25I-NBOMe or bromo-dragonfly
      are being sold as LSD. One simple way to distinguish the two substances is
      illumination with a UV Black Light. LSD has a fluorescent reaction that does not
      have with other substances



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: samuelkane on 25 April 2013, 17:14:59

      Hi,

      I'm currently taking 75mg effexor exel and 50mg amisulpride for depression and
      social anxiety after a drug related psychosis.
      This combo has me feeling great and alot more secure so i'm concidering going
      back to school.
      Ive never been diagnosed with ADD, but studying and focusing was always very
      hard for me despite having a very good memory. Ive done a few online test for
      ADD which indicate a high possibility.
      Im concidering using Rilatine for future exams and was wondering about possible
      interactions with my medication.
      I tried tapering off the antidepressants after my first upswing, but got more and
      more depressed and anxious so i'm not sure i wanna try that again for now.

      grts,

      sam



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: AnimusVox on 25 April 2013, 19:36:23

      Hi there, great thread! I have a slightly odd question, but if you have the time,
      would you mind reviewing my MDA harm reduction guide and assessing any
      inaccuracies or oversights I may have incurred while writing it? It would be very
      much appreciated. :)

      It can be found here: http://dkn255hz262ypmii.onion/index.php?topic=147668



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: guppy on 25 April 2013, 20:42:19



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Quote from: yellowmattercustard on 24 April 2013, 08:48:18
There's one more question from me: when on psychedelics (LSD or NBOMe - much more on NBOMe)
people have unpleasant feelings in their body (usually in the beginning of a trip). A feeling of cold,
arms and legs are shaking, a tension, etc.
Quote from: DoctorX on 24 April 2013, 13:49:16
yellowmattercustard

I´m not sure what could be the cause of this effect.
Anecdotal reports indicate that people are using magnesium to combat tension caused
by psychedelics such as LSD with "success" (assuming it's not a placebo effect). Neck
and shoulder tension is something I experience on almost every psychedelic and also
in daily live to a lesser extend. Considering that there are many variables in play I'm
sure it's not only caused by the drug ingested.

Could you perhaps elaborate on the use of magnesium for reducing tension, if
magnesium can indeed reduce tension and if there are any dangers we should be
aware of?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 April 2013, 21:50:12

      samuelkane
      It is not likely that combination of venlafaxine and/or amisulpiride have
      significative negative interactions with methylphenidete.
      But people with antecedent of toxic psychosis (in doesn´t matter if caused by
      illegal drugs or prescription drugs) should be very careful with substances that
      are able to trigger toxic psychosis. This includes most psychedelics and
      stimulants, both illegal (cocaine, amphetamines) and prescription drugs like
      methylphenidate. Its tecnical sheet warns that it should be "administered
      cautiously in patients with a history of psychosis or a predisposition to agitated
      states"



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 April 2013, 21:58:07

      I will continue in Saturday evening/Sunday...too much work in real world these
      following days ;))



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: AnimusVox on 25 April 2013, 22:06:57


Quote from: guppy on 25 April 2013, 20:42:19


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Quote from: yellowmattercustard on 24 April 2013, 08:48:18
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something I experience on almost every psychedelic and also in daily live to a lesser extend.
Considering that there are many variables in play I'm sure it's not only caused by the drug ingested.

Could you perhaps elaborate on the use of magnesium for reducing tension, if magnesium can indeed
reduce tension and if there are any dangers we should be aware of?


I can actually chime in on this. LSD induces a release of extracellular glutamate in the
hippocampus. Glutamate is the body's primary excitatory neurotransmitter. It binds to
NMDA receptor sites, along with glycine, opening the ion channels and allowing
calcium to enter the neuron. This is how the brain sends cascading electrical signals.
When the ion channels open for too long or too frequently, calcium concentrations can
become too high in the neuron. This can lower the effectiveness of your ion channels,
or can even cause neuronal death. Magnesium is the substance your body uses to
block the channel in a voltage-dependent manner. This means that the ion channel
will not allow Ca2+ to pass, even if glutamate and glycine are bound to their receptor
sites. However, once the neuronal membrane's electrical potential rises to an excited
state, the Mg molecule will clear the channel and allow for normal operation. Most
people are deficient in magnesium as it is. Supplementing a highly bioavailable
magnesium supplement such as magnesium glycinate (avoid magnesium oxide!) will
give your body the substance it needs to naturally protect itself from excitotoxicity.
Suffice to say, I firmly believe these claims to be far from placebo and I myself always
take magnesium glycinate before any recreational drug as it smooths the experience
by quite a bit. Also, I have to be redundant in saying that you need to be sure you are
getting a BIOAVAILABLE magnesium supplement such as magnesium glycinate, as
magnesium oxide has only a ~4% absorption rate compared to the ~80% of glycinate.

Here are a few sources...

This diagram illustrates the release of glutamate by psychedelics (LSD included):
>http://www.nature.com/nrn/journal/v11/n9/fig_tab/nrn2884_F1.html

This study finds that LSD antagonized glutamate excitation of neurons:
>http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1702892/

This summation states that LSD modulated the NMDA receptor-mediated sensory,
perceptual, affective and cognitive processes:
>http://www.nhtsa.gov/people/injury/research/job185drugs/lysergic.htm

These studies explain how magnesium plays a role in regulation:

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>http://www.sciencedirect.com/science/article/pii/S1044576584710128
>http://www.ncbi.nlm.nih.gov/pubmed/1661812
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: smogmonster13 on 25 April 2013, 23:39:45

      Animus, you are the best. +1

      Doctor, would it be safe to combine desmopressin with cannabis? I'm thinking
      that I'd cannabis disrupts ADH and therefore memory, could you prevent that
      with some desmopressin? Thanks in advance, and thanks for this helpful thread.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 April 2013, 11:48:53

      AnimusVox

      Congratulations for your guide!
      In general I think it is a very good work. I can only give you my personal opinion
      (opinion based on scientific knowledge) about the issues of neurotoxicity and
      heat stroke risk .
      As I said in other topic, I think the general perception about this risks is
      overestimated. I´m not saying that neurotoxicity or heat stroke are not possible
      complications, but media and scientific reports have created exaggerated alarm
      about these things.
      Doses, ways of administration and metabolism in animals don´t permit to directly
      extrapolate data from investigation in animals to humans. Data from animals
      show that MDA is more neurotoxic than MDMA, and this is probably the same for
      humans. But experiments on rats with 50 mg/kg intravenous MDA is not
      representative of a human 1-1.5 mg oral route. In fact there are recent clinical
      trials on humans with MDA that wouldn´t have been approved if neurotoxicity
      was so easy
      http://www.ncbi.nlm.nih.gov/pmc/articles/PMC2996283/
      It happens the same thing with neuroprotective drugs. These experiments are
      not to study potential neuroprotection in human, but understanding molecular
      mechanisms of neurotoxicity, giving mega-doses of alpha lipoic, vitamins or
      tryptophan. There is no evidence that these things work in human.
      In resume, moderate doses (80-100 mg) are not shown to produce significant
      toxicity in humans. Supplements do not have demonstrated protective effects.
      Probably high doses or frequencies of MDA are neurotoxic (more than MDMA,
      probably) but there is no evidence that supplements work there. So the only risk
      reduction message should be be careful with dosage and timing,
      In relation with heat stroke, it is a possible MDA toxic consequence but really
      uncommon. In Spain (warm country) we have 8-10 deaths/year associated to
      MDMA, and 45-50 associated to heat stroke and physical exercise in summer. Of
      course I agree that advice to get hydrated, not to do exhausting dance and

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      search for fresh environments are valid. But, in practice, I think it is enough with
      applying common sense and don´t go to a rave in August in the desert during the
      day •
      The rest of the guide seems superb, good work.
      To better organize my time and my work i´m posting here, but feel free to copy-
      paste to your thread if you like



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: guppy on 26 April 2013, 15:18:56


Quote from: AnimusVox on 25 April 2013, 22:06:57
I can actually chime in on this. LSD induces a release of extracellular glutamate in the hippocampus.
Glutamate is the body's primary excitatory neurotransmitter.

...
Thank you for the detailed explanation and sources, I will definitely keep it in mind for
the next trip :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zipstyle on 26 April 2013, 16:45:18

      Doc, what are your thoughts on the use of GHB? Frequency, positive/negative
      effects, dosage, etc.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: go4green on 27 April 2013, 00:15:37

      Hello Doc,
      Sorry I didn't go through all the pages so apologies if my question was repeated.

      I do meth every once in a while. However, since I started doing it I began
      grinding my teeth. I never did before. I believe it became a habit now that I can't
      stop.

      I want to know what causes it and how can I stop


      Thanks in advance



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: LSDLucidity on 27 April 2013, 10:12:09


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      What's your opinion on anti-depressant drugs?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 April 2013, 08:20:47

      smogmonster13

      The evidence that desmopressin is useful in improving memory is weak and
      based in old, low quality studies. There is no evidence that desmopressin is useful
      in that way. Cannabis alters short time memory by neuromodulation of cerebral
      CB receptors, not related with antidiuretic hormone (ADH). And even if that effect
      of desmopressine existed it should be of very limited magnitude. So I think it is
      useless in that way



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 April 2013, 08:30:10

      zipstyle

      Pharmacologically, GHB is a drug very similar to alcohol. It acts in a very similar
      way, effects are relatively similar, it is depressant for Central Nervous System on
      overdose and has a similar dependence potential. The difference is that, for
      alcohol, you can difference if you are drinking beer or tequila by taste. But
      knowing the dose of GHB is far more difficult. If you have a very reliable source
      or you do it by yourself, GHB safe dosage is possible. If not, it is very difficult.
      I think there is enough good quality information about GHB dosage and effects in
      sources as Erowid...if you can be more concrete or have interest in discussing
      anything in particular...



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sharonneedles on 29 April 2013, 11:19:46

      Hey Doc,
      I begin exams next week and I am considering taking Adderall. What doses
      should I begin with? I have heard that you can only remember the stuff you learn
      on Adderall when you take it again (so if you stop using you forget what you've
      learned). Is this true? Do you know of any evidence that shows it can help during
      exams?

      I have 5 exams over 4 weeks. I would take doses almost daily, except for
      weekends. Thanks


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 April 2013, 21:52:24

      go4green
      Bruxism (grinding teeth) is a common amphetamine or amphetamine derivative
      adverse effect. It can happen at recreational doses with speed, meth, MDMA,
      MDA...Initially, it should only last hours/days after use of these substances. But,
      for some people, when they start having a bruxism problem, it is often unaffected
      by the removal of the causal factor. Jaw movements are controlled by conscious
      and subconscious process in the brain. for some people bruxism is more
      important during the night (where subconscious processes are more common).
      It would be important to rule out other well-known causes of bruxism (allergic
      reactions, prescription drugs, medical conditions...). It is also known that stress
      can trigger bruxism in susceptible persons. There are some effective treatments
      for bruxism (Biofeedback, Botox...). Some dietary supplements may alleviate
      bruxism, Magnesium is a well known supplement for this.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: theupsman1 on 29 April 2013, 22:43:21

      I'm wondering if the damaging affects of MDMA are decreased when you are
      older and your brain is properly formed?

      For example if an 18-22 year old abused mdma over a 3 year period how would
      the permanent damage of the brain compare with someone aged 23-27 abusing
      it in the same way but didnt start till they were older?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 April 2013, 13:09:07

      LSDLucidity

      Sorry, but I don´t understand well the question. It is very difficult to have a
      general opinion on "antidepressants", as I don´t have an opinion on antibiotics
      or anti hypertensives. Antidepressants is a wide family of drugs, which include 4
      or 5 sub-families of molecules, all of them with their indications, adverse effects
      and toxicity problems. Some of them have been known and studies during
      decades, other are too new to have all data about security. They can be very
      useful for helping to treat several mental disorders if they are used properly.
      When they are used in treatment of mental health problems it is necessary to
      use also some kind of psychological or psychoterapeutical help. They don´t "cure"
      mental health problems but can help in some cases, as any other medications.

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      They have their own adverse effects and toxicity problems as many other
      psychoactives. Over-prescription is a problem with this substances, but
      antidepressants have their own pros and cons as any other drug



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 30 April 2013, 15:43:36

      How long does benzodiazepine (Xanax) withdrawal last? Is it really more
      addictive than heroin?
      I have a buddy who's been taking 1 mg a night for sleep for the past 3 or 4
      months. He stopped and got some sort of withdrawals. They weren't severe but
      he had bad anxiety and he couldn't sleep and he was very depressed and jittery.
      Today is day 3 (almost 84 hours) and he wants to know when the worst of it will
      be over..
      and when will it be all the way over.?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 30 April 2013, 15:46:54

      And how dangerous is GHB for insomnia (brand name Xyrem) taken by itself and
      in accordance with the medication guide from the FDA ?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: caleb on 30 April 2013, 22:50:00

      What drugs are relatively "safe" for someone with a psychotic disorder? I know
      psychedelics carry a high risk, do dissociatives also carry that risk?
      Thank you, Doctor.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 01 May 2013, 00:26:27


Quote from: caleb on 30 April 2013, 22:50:00
What drugs are relatively "safe" for someone with a psychotic disorder? I know psychedelics carry a
high risk, do dissociatives also carry that risk?
Thank you, Doctor.
When you say dissociatives are u talking about drugs like DXM or ketamine? I am
interested in this question too...


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 May 2013, 14:59:48

      sharonneedles

      Amphetamines have been used during decades for improving cognitive
      performance in study. But, in a objective point of view, there are only a few
      scientific studies that have explored this, and most of them have methodological
      problems. One of the most recent and important is a study on 46 healthy
      volunteers taking Adderall 20 mg in a single occasion. It examined effects in 13
      measures of cognitive ability (including episodic memory, working memory,
      inhibitory control, convergent creativity, intelligence and scholastic
      achievement...). The results did not reveal enhancement of any cognitive abilities
      by amphetamines for participants in general. But, nevertheless, participants
      believed their performance was more enhanced by the active capsule than by
      placebo.
      http://www.ncbi.nlm.nih.gov/pubmed/22884611
      In other studies, some authors they have found an effect of 10 mg of
      amphetamine (single occasion) on acute administration of d-amphetamine
      helping to bind different features of an item in memory, in turn leading to an
      increased ability to recollect both the item and its context.
      http://www.ncbi.nlm.nih.gov/pubmed/20521323
      Doses usually used for cognitive enhancement are between 5-20mg. You should
      consider also the possibility of adverse effects (insomnia, nervousness, anxiety,
      anorexia...) that may have influence in the exam results.
      The idea that "if you stop using you forget what you learnt" has not a
      pharmacological explanation, I think it should be considered as a myth.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 May 2013, 15:17:18

      theupsman1

      The question of MDMA neurotoxicity is one of the most controversial and
      complex. First of all, we should define what we understand for "neurotoxicity",
      because it is not clear that some of the changes observed mean a real toxic
      effect. For example, we can exactly measure the degree of liver toxicity caused
      by alcohol by blood tests, ecography, even biopsy. These tests have diagnostic
      and pronostic value and are universally admitted in this sense.
      But, with MDMA, we still don´t know if changes in density neurorreceptors and
      images on PET or SPECT are indicative of neurotoxicity, and what are the clinical
      implications. Some studies (but not all) have found differences in memory in
      heavy MDMA users. Some studies (but not all) have shown that these deficit
      recover after some months-years of abstinence. What it is clear that these effects
      appear only in heavy-long term MDMA users and it is very difficult to know the

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      exact role of MDMA, as there are many factors (lifestyle, use of other drugs...)
      that can mislead results.
      There are so many things unclear on MDMA neurotoxicity that it is almost
      impossible to answer your concrete question. What is clear is that moderate use
      of MDMA (in dose and frequency) has not been linked to neurotoxic changes. The
      exact impact of age in heavy users is, as far as I know, impossible to determinat



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 May 2013, 19:09:23

      sofish89

      Dependence to substances it is not only caused by the drug itself, but also
      depends on factors of person and environment. So it is not possible to know if
      benzos are more or less adictive than heroin, but it is clear that both are drugs
      with high potential addictive.
      Exact duration of abstinence symptoms depend on pharmacological
      characteristics of each benzodiacepine. But, in general, the acute phase lasts two
      months, and some symptoms are manifested in the 4-6 following months.
      Abrupt supression of 1 mg alprazolam after 4-5 months of treatment will
      undoubtedly cause abstinence symptoms. They can last weeks and give severe
      symptoms. In this case abrupt supression is never recomemended. He should
      change to a benzodiacepine with a long half life and less potent ( for example,
      10-20 mg diazepam or 15-30 mg clorazepate) and slow dose reduction (2-5 mg/
      week) during 8 weeks. So, abstinence symptoms will be minimum



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dopamin on 01 May 2013, 22:04:35

      Hey Doc,

      thank you for your time!

      A friend of mine wants to try MDMA to work through some personal stuff
      concerning his childhood. He is on 20mg Citalopram daily, does that interfere
      with MDMA?

      Also, do you have any experience in the therapeutic use of MDMA? Any literature
      hints? Any addresses in Europe?

      Thank you :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: DopeSneaky on 01 May 2013, 23:24:51

      I have been using amphetamines/meth 1-2 times per week for the past 2
      months. I'm now planning to use cocaine and mdma soon, both of which I have
      used in the past.

      Will my using of amp/meth have any impact on the high of cocaine and/or
      mdma? And what is the recommended time to wait inbetween use of cocaine and
      mdma? A little sidenote here; I bought some 5-HTP 100mg pills, should I take
      these prior to rolling mdma or after, whats your opinion on that?

      My second question: Is it harmful for my body to do cardio training close to/at
      comedown on amp/meth, and is it hurting my cardio in any way just to do amp/
      meth while not beeing physically active?

      I'm currently trying to get in shape for the upcoming season of football and I'm
      wondering if I have to stop for good with the amp/meth or if I can do them both
      while still staying as fit as possible?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cerealbox on 02 May 2013, 01:38:30

      Been on a bit of a drinking binge. Didn't think much of it cause, whatever, I'm
      relatively young. But my liver started to hurt, only I didn't really know it was my
      liver cause it's never hurt before and kind of ignored it. Now I realize it's cause of
      my drinking and stuff. So I'm definitely gonna stop that, but is there anything I
      can do to help my liver out in the mean time? Any drugs I can take, vitamins,
      etc?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ruby123 on 02 May 2013, 01:48:07

      Sending a donation your way DoctorX. I would advise everyone to thank this
      individual who is obviously an extremely competent, knowledgeable physician for
      offering a unique resource to the Road.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ruby123 on 02 May 2013, 01:49:56

      What is your opinion on long term cannabis use? Admittedly, I have been a daily
      heavy consumer for over 10 years. I am specifically interested in decreasing
      cognition or other complications.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: onefishtwofishredfishblue on 02 May 2013, 03:09:06

      subbing



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ruby123 on 02 May 2013, 03:31:07


Quote from: Aurelius Venport on 02 May 2013, 02:54:59
Quote from: ruby123 on 02 May 2013, 01:49:56
 What is your opinion on long term cannabis use? Admittedly, I have been a daily heavy consumer
 for over 10 years. I am specifically interested in decreasing cognition or other complications.
=

I recomend vinpocetive, phosphatidyl serine, acetyl-l-cartinine, ginkgo, phosphatidyl choline as
supplements worth looking into.

I almost def suffered neurotoxicity after accidentally Oding on M1 and also abusing mdxx for a year or
so. I smoked MJ heavily for years and still do and i won't lie i am pretty spacey sometimes and I def
think that alzheimers/dementia risk are prob higher for me but it's hard to say the effect MJ has had.
I think MJ is mostly subtle.


Thanks for the info; I am not too worried about my drug use. Regarding cannabis, I
have been vaporizing exclusively for about 3 years. I typically consume about 1-1.5
grams per day at night.In the past, I would smoke way more than that,especially
during college. I have rolled on MDxx many times. Fortunately I would space out my
trips for the most part, so I am not too worried about neurological damage.Although I
did binge out on MDxx on Ibiza for a week a few years ago...Ironically, I had a really
bad experience on what I think was M1...Basically felt like I was going to die for a
period of time ,with a very rapid cardiac rate coupled with the feeling of my
consciousnesses leaving my body. Very weird experience, I never would have taken
that shit ,but it was sold to me as MDxx and I ate too much while intoxicated on
alcohol.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: SuperHans68 on 02 May 2013, 09:53:25

      What actually happens to a drug(lets say heroin) when you IV it, like where does
      it go how does it circulate in the body and does it simply stay in the receptors of
      the brain or does it flow into any other cells outside the brain




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: EroCrusher on 02 May 2013, 10:43:30


Quote from: Aurelius Venport on 02 May 2013, 02:54:59
Quote from: ruby123 on 02 May 2013, 01:49:56
 What is your opinion on long term cannabis use? Admittedly, I have been a daily heavy consumer
 for over 10 years. I am specifically interested in decreasing cognition or other complications.
=

I recomend vinpocetive, phosphatidyl serine, acetyl-l-cartinine, ginkgo, phosphatidyl choline as
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I almost def suffered neurotoxicity after accidentally Oding on M1 and also abusing mdxx for a year or
so. I smoked MJ heavily for years and still do and i won't lie i am pretty spacey sometimes and I def
think that alzheimers/dementia risk are prob higher for me but it's hard to say the effect MJ has had.
I think MJ is mostly subtle.


If I remember correctly some studies show that the use of cannabis reduces the threat
of alzheimers.


" In 2007, Ohio State University researchers published a paper stating that
medications which can stimulate cannabinoid receptors in the brain "may provide
clinical benefits in age-related diseases that are associated with brain inflammation,
such as Alzheimer’s disease." In 2009, Italian and Israeli researchers found that
cannabidiol (CBD), marijuana’s primary non-psychoactive cannabinoid, may also block
the formation of the plaques in the brain believed to bring on Alzheimer’s."


I also have a question for the Doctor.

I heard that LSD can cause schizophrenia for the people with a disposition for it. Is
that correct and how does one check if he has this disposition? I am 28 yo and in good
mental health, no history of schizophrenia in the family. If I had this disposition would
I already be diagnosed with schizophrenia?

Thanks in advance. Respect what you're doing here. I really enjoy reading your
answers even to questions I'm not too interested in. :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 14:35:28

      sofish89

      Xyrem (pharmaceutic name of GHB) is only approved by FDA for treatment of
      excessive daytime sleepiness and cataplexy associated to narcolepsy. Narcolepsy
      is a disturbed nocturnal sleep and an abnormal daytime sleep pattern, associated
      with an abnormal pattern of night sleep, but it is different to insomnia. The risks

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      would be similar to other sleep treatments: potential of dependence, abstinence
      symptoms with abrupt discontinuation, risk of respiratory depression on overdose
      in combination with other CNS depressors, morning hangover...



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 14:45:06

      careb

      As you say, psychedelic drugs are not good for people who have suffered
      psychotic disorders, as it is can trigger a new episode. The evidence is clear for
      drugs as LSD, psilocybin, mescaline, cannabis or ayahuasca. For old dissociatives
      (phencyclidine) there are enough data too. There are some data that
      contraindicate new dissociatives (ketamine, DXM)in persons who have suffered
      psychotic disorders:
      http://www.primarypsychiatry.com/aspx/articledetail.aspx?articleid=953
      http://www.ncbi.nlm.nih.gov/pubmed/9272481
      In my opinion, depressors (alcohol, GHB, opiates..) are the drugs less risky in
      this sense. But I insist "in this sense" because each drug has its own problems or
      particular risks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: MDUK on 02 May 2013, 16:10:52

      Interesting thread :)
      I sell MDMA caps, and I add caffeine (~80mg) to each one in order to help make
      up the fill weight, and also because I hoped that taking the drug along with
      caffeine might increase the short-term bioavailability, in the same way that it
      does for OTC "express" paracetamol and other such things that include caffeine
      to speed up onset.
      I'm not aware of any studies that have been done on the subject, but does this
      seem like a reasonable thing to be doing in your opinion?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 17:37:58

      Citalopram atenuates the effects (psychological, physical, cardiovascular) of
      MDMA, at least in acute administration.
      http://www.ncbi.nlm.nih.gov/pubmed/10731626
      http://www.ncbi.nlm.nih.gov/pubmed/11106307
      It is possible that people who use citalopram regularly develop some degree of
      tolerance to this effect.

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      I have not professionally used MDMA as and adyuvant to psychotherapy, but I
      know some patients that have done, most with good results. Some
      psychoterapeuts use MDMA in this way, although they would face serious legal
      problems if they are discovered. The problem is the lack of controlled clinical
      trials and the negative disposition of sanitary authorities to authorize and
      promote these studies.
      To know more about therapeutic use of MDMA, the best web is: http://www.
      maps.org



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dopamin on 02 May 2013, 17:56:13

      thanks a lot :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 18:26:26

      DopeSneaky

      Amphetamine, meth and MDMA are drugs with a very similar chemical structure
      and the three of them can develop tolerance with regular use. So it is reasonable
      to suppose that tolerance to one of them will lead to develop cross-tolerance to
      others. In your case it is probable that regular use of amphetamine/meth will
      decrease some MDMA effects.Cocaine, at least on theory, would be unaffected.
      Note that these are only suppositions based on pharmacology, and you have to
      consider other factors (including setting, dose, expectatives...)
      5-HTP is probably harmless but there are no scientific data to support its use
      before/after MDMA.

      The degree and probability of cardiovascular damage with amphetamines depend
      on frequency, dose and personal susceptibility. You could control your cardiac
      frequency and blood presure as indirect indicators on the response of your body
      to amphetamines. In general, it would be better to train without amphetamines
      (or some time after their effect is finished). Regular use is more dangerous than
      occasional.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 18:34:46

      cerealbox

      You should first consult your doctor. The liver doesn´t have receptors for pain,

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      that is, liver doesn´t hurt (except in final stages of some severe hepatic diseases,
      that does not seem to be your case). So it doesn´t seem likely that your problem
      is caused by an hepatic problem related to alcohol. It may be other kind of
      problem (gastritis, peptic or duodenal ulcer...) related to binge drinking or not,
      but hepatic disease is not likely.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 18:51:06


Quote from: ruby123 on 02 May 2013, 01:49:56
What is your opinion on long term cannabis use? Admittedly, I have been a daily heavy consumer for
over 10 years. I am specifically interested in decreasing cognition or other complications.


There have been some scientific studies on long-term cannabis effects. The best
studies in science are meta-analysis. I can´t explain here with details what a meta-
analysis is because it is too complicated, but we assume that is some kind of statistical
remix of different scientific studies, and it is considered in science the best proof. Meta-
analysis about cannabis and memory show that:

Short term memory is the neurocognitive ability most affected in chronic cannabis
users. Chronic cannabis users forget more easily and learn less quickly concepts
related to short-term/operative memory
http://www.ncbi.nlm.nih.gov/pubmed/12901774

This effect is not neurotoxic (irreversible) but neuroadaptative. One month of
abstinence (aproximately) is needed to revert these changes.
http://www.ncbi.nlm.nih.gov/pubmed/22731735

There are no scientific data on vinpocetive, phosphatidyl serine, acetyl-l-cartinine,
ginkgo, phosphatidyl choline and cannabis. These substances are probably harmless
but don´t have proved efficiency
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 19:00:06

      SuperHans68
      When you use a drug IV the substance goes to the right side of your heart
      through veins, passes to lungs, then back to the left part of the heart and then is
      distributed to brain through arteries. Most drugs act on different parts of the
      brain, the exact mechanism depend on the substance. Some drugs act on specific
      cerebral receptors (opiates, cannabis), other act on cerebral receptors used for
      other tasks (cocaine, MDMA, LSD...). Neurons are physically separated and, in
      the space between two neurons there are some compounds called enzymes that
      degrade drugs. First the drug acts on the receptor and then it is degraded by
      enzymes.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 19:10:25


Quote from: EroCrusher on 02 May 2013, 10:43:30


If I remember correctly some studies show that the use of cannabis reduces the threat of alzheimers.

I heard that LSD can cause schizophrenia for the people with a disposition for it. Is that correct and
how does one check if he has this disposition? I am 28 yo and in good mental health, no history of
schizophrenia in the family. If I had this disposition would I already be diagnosed with schizophrenia?


Studies of cannabis and alzheimer are based on celular and animal models.
Unfortunately there are no data on humans to recommend its use in Alzheimer
disease. Humans are far more complicated than animals (even the closest primates)
and data on animals can never be extrapolated.

One question with schizophrenia susceptibility is that there are no 100% sure tests to
measure it. It is assumed that familiar antecedents and story of mental health
problems are risks factors. Schizophrenia usually starts before 20-24 years, it is
uncommon that it debuts after 25 year old. If you had this disposition it is very likely
that you were diagnosed now. Psychedelic drugs can be a "triggering factor" for
schizophrenia but there exist many other conditions (parental divorce, break-up with
couple, military service...) that can do the same.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 02 May 2013, 19:10:58


Quote from: DoctorX on 02 May 2013, 14:35:28
sofish89

Xyrem (pharmaceutic name of GHB) is only approved by FDA for treatment of excessive daytime
sleepiness and cataplexy associated to narcolepsy. Narcolepsy is a disturbed nocturnal sleep and an
abnormal daytime sleep pattern, associated with an abnormal pattern of night sleep, but it is different
to insomnia. The risks would be similar to other sleep treatments: potential of dependence,
abstinence symptoms with abrupt discontinuation, risk of respiratory depression on overdose in
combination with other CNS depressors, morning hangover...
I was asking about risks of overdoses and/or dying. Whenever I hear the anti-drug
propoganda talk about GHB, they say GHB is one of the most harmful drugs in regards
to accidental OD and deaths, However the same government markets the drug under
a trade name Xyrem and claims Xyrem is one of the safest drugs when taken in
accordance with the medication guide. My question is that is there any truth to this
"hype" and what are the chances of someone dying or OD'ing on pharmaceutical grade
GHB powder taken by itself (no CNS depressents or alcohol) for insomnia ?

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Is it really safer in this aspect(overdosing and death) than benzo's or barbiturates ?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: EroCrusher on 02 May 2013, 19:13:35

      Thanks for the reply!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ruby123 on 02 May 2013, 19:14:13


Quote from: DoctorX on 02 May 2013, 18:51:06
Quote from: ruby123 on 02 May 2013, 01:49:56
 What is your opinion on long term cannabis use? Admittedly, I have been a daily heavy consumer
 for over 10 years. I am specifically interested in decreasing cognition or other complications.

There have been some scientific studies on long-term cannabis effects. The best studies in science are
meta-analysis. I can´t explain here with details what a meta-analysis is because it is too complicated,
but we assume that is some kind of statistical remix of different scientific studies, and it is considered
in science the best proof. Meta-analysis about cannabis and memory show that:

Short term memory is the neurocognitive ability most affected in chronic cannabis users. Chronic
cannabis users forget more easily and learn less quickly concepts related to short-term/operative
memory
http://www.ncbi.nlm.nih.gov/pubmed/12901774

This effect is not neurotoxic (irreversible) but neuroadaptative. One month of abstinence
(aproximately) is needed to revert these changes.
http://www.ncbi.nlm.nih.gov/pubmed/22731735

There are no scientific data on vinpocetive, phosphatidyl serine, acetyl-l-cartinine, ginkgo,
phosphatidyl choline and cannabis. These substances are probably harmless but don´t have proved
efficiency


Thank you Dr. X, I have a science degree and am familiar with the concept of meta
analysis.Everything I have read leads me to conclude that there isn't too much to
worry about with cannabis, aside from the method of ingestion.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 02 May 2013, 19:14:39

      By the way Thanks for all your advice, the next time I refill my bitcoins I will send
      some your way :)
      (and i encourage anybody else who's been helped by DoctorX to do the same to
      show our appreciation)



Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: ruby123 on 02 May 2013, 19:20:49


Quote from: sofish89 on 02 May 2013, 19:14:39
By the way Thanks for all your advice, the next time I refill my bitcoins I will send some your way :)
(and i encourage anybody else who's been helped by DoctorX to do the same to show our
appreciation)


Agreed; in the States it is very challenging to have a frank discussion with a physician
because of our insurance system. There is company called the Medical Insurance
Bureau which is a "Non-profit" entity who's only function is to accrue personal medical
information of Americans to use during the insurance underwriting process. Personal
habits, genetic disposition are all redeposited into a database and easily queried by
insurance companies. It is really fucked up because, it destroys the notion of patient
confidentiality and can cause your premiums to increase, or to have certain medical
issues completely omitted from a policy.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 May 2013, 19:24:48


Quote from: MDUK on 02 May 2013, 16:10:52
Interesting thread :)
I sell MDMA caps, and I add caffeine (~80mg) to each one in order to help make up the fill weight,
and also because I hoped that taking the drug along with caffeine might increase the short-term
bioavailability, in the same way that it does for OTC "express" paracetamol and other such things that
include caffeine to speed up onset.
I'm not aware of any studies that have been done on the subject, but does this seem like a
reasonable thing to be doing in your opinion?


Caffeine increases absorption and bioavailability of some molecules: aspirin,
paracetamol and ergotamine. But it does not affect to many other molecules.
Amphetamines are structurally very different to these three drugs and it is not logic to
suppose a similar effect. I have searched different pharmacological interactions
databases and I haven´t found a described interaction effect betweem amphetamine
derivatives and caffeine.
In addition, caffeine has psychoactive properties that some people can find pleasant,
but other will not. FDA allows a maximum 72 mg caffeine for 12 oz/300ml beverages,
so 80 mg should be considered a high dose (or dose with cardiovascular and
psychoactive effects) that will be particularly noticed by people that don´t use caffeine
usually. An alternative is any pharmaceutical excipient or additive non-active (like
lactose or manitol)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 03 May 2013, 15:08:41


Quote from: sofish89 on 02 May 2013, 19:10:58


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Whenever I hear the anti-drug propoganda talk about GHB, they say GHB is one of the most harmful
drugs in regards to accidental OD and deaths, However the same government markets the drug under
a trade name Xyrem and claims Xyrem is one of the safest drugs when taken in accordance with the
medication guide. My question is that is there any truth to this "hype" and what are the chances of
someone dying or OD'ing on pharmaceutical grade GHB powder taken by itself (no CNS depressents
or alcohol) for insomnia ?
Is it really safer in this aspect(overdosing and death) than benzo's or barbiturates ?


I agree with you with contradictions between GHB as drug and Xyrem. There are
things even more rare than you say: cost of GHB is ten thousand less expensive than
Xyrem, although production is extremely easy.

Barbiturates are risky on overdose and death, benzos are much less risky on this
sense. And probably GHB (or Xyrem) is close to benzos in risks more than to
barbiturates (I mean, the risks of GHB are similar to benzos, and both much lower
than barbiturates).
Anyway, I think (and this is only a personal opinion) that doses recommended for
narcolepsy (4 g x2) are objectvly high, at least for non-narcoleptic persons. And I´m
not sure if quality of sleep would be better on GHB or on benzos. I have no enough
information to give my opinion on this particular.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: estefi123 on 04 May 2013, 03:09:06

      Thanks a lot for making this thread.
      I couldn't find much besides anecdotal evidence on forums, do postload/preload
      do anything? (taking magnesium and vit c before MDMA, and htp5 after)
      I myself take magnesium and melatonin for MDMA (not usually vit. c since i
      started to eat more vegetables and fruits), and from times to times when taking
      amphetamines I tend to use a supplement for "memory" which is b1 b6 b12 and
      L-phenylanine. and melatonin as antioxidant.
      What would you recommend for searching scientific papers on drug research?
      So far most papers I found on google needed subscription to be read or I couldn't
      find much.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 May 2013, 20:24:31


Quote from: estefi123 on 04 May 2013, 03:09:06
(...)
I couldn't find much besides anecdotal evidence on forums, do postload/preload do anything? (taking
magnesium and vit c before MDMA, and htp5 after)
I myself take magnesium and melatonin for MDMA (not usually vit. c since i started to eat more
vegetables and fruits), and from times to times when taking amphetamines I tend to use a
supplement for "memory" which is b1 b6 b12 and L-phenylanine. and melatonin as antioxidant.
What would you recommend for searching scientific papers on drug research?


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(...)


The evidence to reccomend supplements is extremely weak. Most regimes are based
on studies on animals. These studies are not designed to search neuroprotective drugs
applicable to humans. They pretend to discover the molecular mechanisms behind
MDMA neurotoxicity. The doses used in these studies are far away to these used in
humans. One rat weights 0.1 kg; the dose in studies is 5-10 mg/kg/2 hours/4 times.
That means, that, extrapolating to humans, 4-5 gr of injected pure MDMA.
In addition, there is a great inter-species different sensibility to MDMA neurotoxicity in
mammals (rabbits, rats, monkeys...) Even with the same species, some strains of
animals ( Sprague-Dawley or Dark Agouti rats) show different sensibility to this
effects. Many times rats must be keeped in freezers during studies ;if not, they die
because of the massive MDMA doses. In summary, data from studies are no worthy to
humans. Most of these substances are innocuous, but there are no data that suggest
efficacy.

To search scientific papers I will tell you my ultra-secret-trick
1) You enter this web: http://www.sci-hub.org/
2) You enter in the box the title of the article you have searched previously on
PubMed, for example
3) You obtain the pdf cracked version.
It doesn´t work always, but 50-70%
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: AntonioM on 05 May 2013, 15:34:40

        DoctorX,
        are there any known problems mixing Warfarin (Anticoagulant) with LSD?

        I have Gandalf's and Hoffman's from two legit vendors and no matter how much
        acid I drop I don't get any effect at all..... ? does warfarin neutralize LSD??



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 May 2013, 17:11:51


Quote from: AntonioM on 05 May 2013, 15:34:40
DoctorX,
are there any known problems mixing Warfarin (Anticoagulant) with LSD?

I have Gandalf's and Hoffman's from two legit vendors and no matter how much acid I drop I don't
get any effect at all..... ? does warfarin neutralize LSD??


As far as I know there are no described pharmacological interactions between warfarin
and LSD. In fact there are only a few described interactions between LSD and other
prescription drugs and most of them are psychotropic prescription drugs. Warfarin


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does not interact with other prescription drugs structurally similar to LSD, like
ergotamine. I don´t know what is the cause that LSD has no effect on you but I don´t
believe it is a pharmacologic interaction problem
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: AntonioM on 05 May 2013, 21:48:11

      thank you Doctor!! Well,that's rather strange,I really don't know what to think....
      how can LSD have no effect on me anymore,taken it plenty of times in the past
      and it always worked.Maybe the product is bunk?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: pillbuyer on 06 May 2013, 04:07:35

      Doctor, what is your point of view about methylone neurotoxicity?

      Also, do you have a personal opinion about how often can be taken?

      Thanks!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 May 2013, 08:53:03


Quote from: AntonioM on 05 May 2013, 21:48:11
thank you Doctor!! Well,that's rather strange,I really don't know what to think.... how can LSD have
no effect on me anymore,taken it plenty of times in the past and it always worked.Maybe the product
is bunk?



I said "I don´t beleive that it is a pharmacological interaction problem", but it is
impossible to be 100% sure. I could´t find any data about this interaction in the US
National Library of Medicine. I don´t think it is a predictable interaction based on the
way of action of both substances. Warfarin and LSD are well known drugs for decades
and this interaction has not been previously described as far as I know.
There are several articles about illegal/prescription drugs interactions and this is not
mentioned:
http://www.erowid.org/psychoactives/health/health_article1.pdf

I can´t say that is a problem of your LSD quality but you should rule out this
possibility first. If in your country there is no Drug Testing Service available you can
look your LSD under a ultraviolet-black light: LSD has a fluorescent reaction under it.

If your LSD is right we could consider the drug interaction possibility. It is true that


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not all the possible interactions are described and, as LSD is an illegal drug some kind
of interaction should not be described yet in scientific literature. But I don´t think it is
the first option to explain the problem
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 May 2013, 15:51:29


Quote from: pillbuyer on 06 May 2013, 04:07:35
Doctor, what is your point of view about methylone neurotoxicity?

Also, do you have a personal opinion about how often can be taken?

Thanks!


There are only a few relevant recent studies about mechanisms of action of
methylone. All of them are studies in rats. The first did not show changes that suggest
neurotoxicity in rat brains. The second suggests that high doses of methylone or
medium doses with methamphetamine can cause neurotoxicity. The last shows shows
little effect of methylone in mice, and changes suggesting neurotoxicity in rats.

http://www.neurophys.wisc.edu/~cozz/Mephedrone%20and%20methylone%
20transporters.%20Baumann.%20Neuropsychopharmacology,%20doi%2010.1038-
np.2011.304%20%282011%29.pdf
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3137202/
http://www.ncbi.nlm.nih.gov/pubmed/23099177

According to its molecular structure and comparing with other similar drugs it is
possible that methylone can cause some neurotoxic changes. If which way this is
relevant to humans or not it is unknown in this moment.

I can´t reccomend or suggest a safe use in terms of dose or frequency, based on
scientific research. And if you ask me for my "personal opinion" I don´t think it is an
interesting substance. Shulgin said: "[Methylone] has almost the same potency of
MDMA, but it does not produce the same effects. It has an almost antidepressant
action, pleasant and positive, but not the unique magic of MDMA." And there have
been some deaths directly related to methylone, some of them with low doses.
Considering that it is not a drug as spread as others (LSD, MDMA, meth, GHB...) and
the relatively high number of deaths (in comparision with its relative low use in
general population) I think there are substances less risky and more pleasurable. But
this is only my personal opinion.

http://www.ncbi.nlm.nih.gov/pubmed/22582221
http://www.ncbi.nlm.nih.gov/pubmed/22589523
http://www.ncbi.nlm.nih.gov/pubmed/22318528
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flyinghigh1660 on 08 May 2013, 17:00:56



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      Small donation sent Doc, keep up the good work :D

      Glad to see good harm reduction advice being made.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: londonpride2 on 08 May 2013, 18:40:44

      How aware are you and others in your profession about the bladder damaged
      caused by ketamine? I just wonder if it is filtering through or if the medical
      profession is still playing catch up



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: 46andtwo on 08 May 2013, 23:06:14

      Great thread, and kudos to you Doctor! Since there is much contradicting
      information online, I have a few questions on 5-HTP with its combined use with a)
      MDMA or b)Mescaline.

      MDMA- Do you find any overwhelming evidence that 5htp is beneficial to take
      before, during or after taking MDMA? I have heard many things, that it is a good
      preventative supplement, that it makes the roll better (thanks to a greater
      availability of serotonin) and that it helps with the come down. Do you find any of
      these true for any of the time frames (before/during/after MDMA)

      Mescaline- I have tried mescaline once, and I took 5htp at the end of the trip. It
      seemed to immediately bring back the trip almost to peak levels. Is it possible
      that 5htp can have this affect (potentiate or prolong trips?)

      Thank you again for all you have done!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 May 2013, 09:00:06


Quote from: londonpride2 on 08 May 2013, 18:40:44
How aware are you and others in your profession about the bladder damaged caused by ketamine? I
just wonder if it is filtering through or if the medical profession is still playing catch up


Ketamine vesicopathy can be an illness difficult to recognize and treat. First, it is
relatively uncommon and new. Second, many professionals do not know about its
existence. Finally, sometimes patients are reluctant to talk about their drug use with
doctors because of moral prejudices. I attended a young man with this problem last

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year but it is not a common disease. Although some reports suggest that
approximately 20%-30% of ketamine users suffer from lower urinary tract
symptoms , my personal opinion is that it is overestimated.

There are approximately 110 cases reported in the medical literature. In general it is
typical of people that use ketamine in a compulsive way (several grams each day),
although there are atypical cases in episodic/occasional use. Symptoms are intense
urgency, extreme frequency, pain while urinating and , sometimes, blood in urine.
Treatment include antibiotics, nonsteroidal anti-inflammatory drugs, steroids,
anticholinergic drugs and cystodistension. Results of treatment are, in general, no
good. Some times when the person abandons ketamine use, symptoms improve.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: londonpride2 on 09 May 2013, 09:27:02


Quote from: DoctorX on 09 May 2013, 09:00:06
Quote from: londonpride2 on 08 May 2013, 18:40:44
 How aware are you and others in your profession about the bladder damaged caused by ketamine? I
 just wonder if it is filtering through or if the medical profession is still playing catch up

Ketamine vesicopathy can be an illness difficult to recognize and treat. First, it is relatively uncommon
and new. Second, many professionals do not know about its existence. Finally, sometimes patients
are reluctant to talk about their drug use with doctors because of moral prejudices. I attended a
young man with this problem last year but it is not a common disease. Although some reports suggest
that approximately 20%-30% of ketamine users suffer from lower urinary tract symptoms , my
personal opinion is that it is overestimated.

There are approximately 110 cases reported in the medical literature. In general it is typical of people
that use ketamine in a compulsive way (several grams each day), although there are atypical cases in
episodic/occasional use. Symptoms are intense urgency, extreme frequency, pain while urinating
and , sometimes, blood in urine. Treatment include antibiotics, nonsteroidal anti-inflammatory drugs,
steroids, anticholinergic drugs and cystodistension. Results of treatment are, in general, no good.
Some times when the person abandons ketamine use, symptoms improve.


That's good to know that the medical profession are aware. I fear it could be more
common than you think, certainly in the UK. I have seen so many people with bladder
problems and a lot of people using K daily. People are starting to feel the craps they
get are just a normal part of their K usage, very worrying. Hopefully the fact that its
gone up in price over the last few years will lower consumption.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 May 2013, 13:06:17


Quote from: Rastaman Vibration on 08 May 2013, 22:27:54
Doctor,

A friend of mine has Multiple Sclerosis and is considering taking LSD with me. He is concerned that


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the LSD may cause damage to his already compromised nervous system. Would there be any danger
in doing so?

Thank you for taking the time to answer my question


The mechanism of action of LSD is not related to mechanisms of Multiple Sclerosis in
any way. There are no preclinical or clinical data suggesting that ocasional use of LSD
could trigger an attack of MS. It should be important to review all the medications this
person is taking, some of them (as interferon) can have psychological side effects. The
ideal moment to use LSD should be one free of medication (or at least with few
medications) and good health both physical and psychological.

Uhthoff's phenomenon is the worsening of neurologic symptoms in multiple sclerosis
(MS) and other neurological, demyelinating conditions when the body gets overheated
from hot weather, exercise, fever, or saunas and hot tubs. LSD should not raise body
temperature but, in prevention, you should take care about a fresh environment and
drink fresh fluids.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Raoul Duke on 09 May 2013, 15:34:30

      just wanted to chime in and say thanks doc. don't have a question (i know
      cocaine is bad for me. i'm not going to stop doing it because i like it ;) ) but i'm
      glad the Road has someone like you giving straight facts and not trying to scare
      the crap out of everyone.

      +1 and a donation :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Rastaman Vibration on 09 May 2013, 19:02:13

      Thanks Doc!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Chaosforpeace on 10 May 2013, 03:32:22


Quote from: Raoul Duke on 09 May 2013, 15:34:30
just wanted to chime in and say thanks doc. don't have a question (i know cocaine is bad for me. i'm
not going to stop doing it because i like it ;) ) but i'm glad the Road has someone like you giving
straight facts and not trying to scare the crap out of everyone.

+1 and a donation :)
Agreed. Many props and much respect.


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Chaos
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: genghar on 10 May 2013, 03:41:52

      I sent a very small donation with what I had left. I'll send some more your way
      when I can. You're doing a great service for the community.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 May 2013, 08:21:23


Quote from: 46andtwo on 08 May 2013, 23:06:14
Great thread, and kudos to you Doctor! Since there is much contradicting information online, I have a
few questions on 5-HTP with its combined use with a)MDMA or b)Mescaline.

MDMA- Do you find any overwhelming evidence that 5htp is beneficial to take before, during or after
taking MDMA? I have heard many things, that it is a good preventative supplement, that it makes the
roll better (thanks to a greater availability of serotonin) and that it helps with the come down. Do you
find any of these true for any of the time frames (before/during/after MDMA)

Mescaline- I have tried mescaline once, and I took 5htp at the end of the trip. It seemed to
immediately bring back the trip almost to peak levels. Is it possible that 5htp can have this affect
(potentiate or prolong trips?)

Thank you again for all you have done!


Most of the things previously said for neuroprotective agents are applicable to 5-HTP
http://dkn255hz262ypmii.onion/index.php?topic=147607.msg1088661#msg1088661
There is no evidence that 5-HTP contained in supplements reaches serotoninergic
neurons in quantity and speed necessary. There is no evidence of a clinical effect. We
don´t know what should be the necessary dose. There are only a few studies on
human with MDMA and tryptophan and are no worthy about this issue.
http://www.ncbi.nlm.nih.gov/pubmed/12759801
You say " Is it possible that 5htp can have this effect (potentiate or prolong trips?)?".
It is possible. But it is not proven on studies or clinical trials. And a significant part of
the effect of any drug is explained by placebo effect. Some of the most prescribed
medications for headache are 20-50% more potent than a placebo. Effects of
psychoactives like mescaline are particularly sensitive to placebo effects. If you know
the techniques and have ability, sometimes you could cut a bad trip of LSD with an
aspirin or whatever thing in pill. It is possible the 5-HTP enhancing effect, but without
proofs I am sceptic . Unfortunately scientist only study negative effects of drugs and
not these things.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mayhem15 on 12 May 2013, 06:35:38

      .

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 May 2013, 00:53:44


Quote from: genghar on 10 May 2013, 03:41:52
I sent a very small donation with what I had left. I'll send some more your way when I can. You're
doing a great service for the community.
Thanks you all for donations and support!!! It is a pleasure to share time an
dknowledge with you all here
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Railgun on 15 May 2013, 02:28:54

      How on Earth is this thread not a sticky? He gives his actual information, but I
      suppose anyone can do this on TOR. However, he also links to actual studies, so
      the information is still viable. That of which he has not linked, and I looked up
      seems to be legit as well, even though I am not qualified to interpret some of the
      results as much as he has.

      Doc X:

      I read above that marijuana is actually not a good drug choice for those who
      study or do intellectual work. I have to agree. My line of work is particularly
      intellectual, and during my study in university, I found I had to abstain from it in
      order to really get into my work.

      My questions are:
      1) Can even moderate (perhaps 2-3 times per week) usage cause memory and
      cognitive problems?
      2) Why is it that some seem to not have this blunting effect with marijuana? Is it
      that they are so smart that being blunted has no effect or does this just happen
      to some individuals more than others?
      3) Would there be any difference in strains like indica/sativa and hybrids and
      cognitive problems?
      4) I have been on a benzodiazipine/klonopin for nearly 7 years. I fear getting off
      of it now because I've read that after being on them for so long, the brain almost
      automatically adjusts to them. Should I attempt to come off of them with the
      assistance of a Dr? I do have a neurotic disorder that I don't want to mention in
      public, but it seems to help.
      5) What do you think of SR?
      6) Do you think you would be under fire for assisting and offering drug users
      information in any way if you were a US doctor? It seems if you were based in
      the US, you would most likely be harassed and ridiculed by the news (most likely
      fox news). Has this caused any problems in Spain or is it more liberal there?


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      7) What percentage of doctors, chemists, and biologists who study drugs do you
      think get into the field because of their own drug habits?
      8) What is your position on the "right to die"? Do you think people with severe
      physical or mental/emotional distress that consumes their lives and may always
      do so to a large extent deserve that right?

      Lastly, thank you very much for your contributions.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: jorgecassio on 15 May 2013, 02:47:34

      I got a question, mainly about research chemicals and their long-term effects.
      I've dug up as much info as I can on it (online, bought a $130 book on toxic
      pharmacology, etc.) but still have questions about persistent symptoms I'm
      having. I used to use 4-MMC, methylone, 4-FA, 4-EMC, and MXE with my use
      spread out over a 2 year period in small quantities. Apart from the 2-3 times I've
      gotten out of control with 4MMC, I was pretty good about using everything
      carefully and only tiny doses, only bought 8g total of any of this stuff, as I was
      broke back then and RC's were cheap and plentiful.

      Anyways, currently I have permanent bruxism and problems with my vision.
      What made me quit was when I started seeing floaters and swirls of light in my
      vision 24/7 after a night of methylone, whether my eyes are opened or closed, I
      still see things. I tested 2 anti-psychotics out recently (seroquel and lamictal),
      and they make the swirls away, so I think I've been hallucinating for a long time
      now without realizing it :-\. I'd like to know if I should be concerned about any
      brain damage or possible mental health conditions down the road and how to
      mitigate any potential risks. I longer mess with RC's or any dodgy/illegal stuff but
      I do still drink beer from time to time. Thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chil on 15 May 2013, 08:56:38

      FA's are nasty as fuck, any user should read this very informative thread: http://
      www.drugs-forum.com/forum/showthread.php?t=175262



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: londonpride2 on 15 May 2013, 09:07:10

      Do you use recreational drugs?




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 May 2013, 17:52:42


Quote from: Railgun on 15 May 2013, 02:28:54
How on Earth is this thread not a sticky? He gives his actual information, but I suppose anyone can do
this on TOR. However, he also links to actual studies, so the information is still viable. That of which
he has not linked, and I looked up seems to be legit as well, even though I am not qualified to
interpret some of the results as much as he has.

Doc X:

I read above that marijuana is actually not a good drug choice for those who study or do intellectual
work. I have to agree. My line of work is particularly intellectual, and during my study in university, I
found I had to abstain from it in order to really get into my work.

My questions are:
1) Can even moderate (perhaps 2-3 times per week) usage cause memory and cognitive problems?
2) Why is it that some seem to not have this blunting effect with marijuana? Is it that they are so
smart that being blunted has no effect or does this just happen to some individuals more than others?
3) Would there be any difference in strains like indica/sativa and hybrids and cognitive problems?
4) I have been on a benzodiazipine/klonopin for nearly 7 years. I fear getting off of it now because
I've read that after being on them for so long, the brain almost automatically adjusts to them. Should
I attempt to come off of them with the assistance of a Dr? I do have a neurotic disorder that I don't
want to mention in public, but it seems to help.
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field because of their own drug habits?
8) What is your position on the "right to die"? Do you think people with severe physical or mental/
emotional distress that consumes their lives and may always do so to a large extent deserve that
right?

Lastly, thank you very much for your contributions.


1) Short time memory is the neurocognitive field more affected by cannabis use. This
effect is dose-dependent, although some people are more sensitive to this effect.
Probably a 2-3 joints a week pattern of use does not have a significant effect in this
way, at least for most people. It also depends on the variety of cannabis used (% of
THC)
http://whyprohibition.com/sites/default/files/Grant%20Neurocognitive%20Effects%
20of%20Cannabis%20JINS%202003.pdf

2) Adverse effects of any prescription or illegal drug depends on many factors.
Individual sensitivity is very important. Most people can use aspirin without problems
but some of them develop an ulcer. Here is the same

3) Yes. Usually Cannabis sativa has higher levels of THC than Cannabis indica. THC is
the most relevant cannabinoid responsible of psychoactive and neurocognitive effects.

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High levels of CBD diminsh these effects.

4)In general, to diminish and quit benzodiacepines is easier using a long-lasting action
benzodiacepine as clorazepate, clordiazepoxide or diazepam. But it is also possible to
lower doses of clonazepam. A doctor help can be useful to choose the right option for
you in your particular circumpstances.

5) I think SR is an intelligent way to obtain illegal psychoactives avoiding or
diminishing most of the inconvenients and risks of black market. I think the way
opened by SR will have a significant impact on the stupid war against drugs

6) Europe is slightly more developed in risk and harm reduction politics on drugs. But
only slightly. In Europe most of the prevention is based on fear and repression (as in
the States) but it is true that things like Drug Testing Services are easier (but poorly
financed by public institutions). On the other hand, in the States are based webs like
Erowid or MAPS... People who work in risk reductions are accused of "promote drug
use" and these things, but we accept it as part of the game. Aaaah...and it would be
very funny for me to be on FoxTV ;D ;D ;D ;D

7) I don´t know the answer. Some people have a personal relation with drugs, for
other this relation is only professional. Anyway, you don´t need to be diabetic if you
want to become a doctor expert on diabetes. Although, if you are diabetic it will give
you a different perspective...

8) I think people should have the right to have a death with dignity
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 May 2013, 11:27:13


Quote from: jorgecassio on 15 May 2013, 02:47:34
I got a question, mainly about research chemicals and their long-term effects. I've dug up as much
info as I can on it (online, bought a $130 book on toxic pharmacology, etc.) but still have questions
about persistent symptoms I'm having. I used to use 4-MMC, methylone, 4-FA, 4-EMC, and MXE with
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lamictal), and they make the swirls away, so I think I've been hallucinating for a long time now
without realizing it :-\. I'd like to know if I should be concerned about any brain damage or possible
mental health conditions down the road and how to mitigate any potential risks. I longer mess with
RC's or any dodgy/illegal stuff but I do still drink beer from time to time. Thanks.


We have discussed previously in this thread about the potential harms related to RCs.
There is little experience with substances like 4-MMC, methylone, 4-FA, 4-EMC, and
MXE.It is not clear if 4-FA is neurotoxic or not. MXE is clearly related with reversible
cerebellar toxicity and cathinone derivatives are known to cause problems, although

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they are so new and experience is so small that it is impossible to know what are
"safe" doses.
http://www.ncbi.nlm.nih.gov/pubmed/22108839
http://www.ncbi.nlm.nih.gov/pubmed/22578175
If your problems are persistent I think you should search for direct, personal and
professional attention. We can´t give advice through Internet about if you need exams
or treatment, but if symptoms persist after weeks of abstinence I think it would be
important to search for help.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 May 2013, 11:30:56


Quote from: londonpride2 on 15 May 2013, 09:07:10
Do you use recreational drugs?


Well...I´m not a pop star and this is not a reality show so I think my personal use of
drugs is irrelevant 8) 8) 8) ...anyway it has been previously discussed in this thread
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: londonpride2 on 16 May 2013, 16:29:12


Quote from: DoctorX on 16 May 2013, 11:30:56
Quote from: londonpride2 on 15 May 2013, 09:07:10
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Well...I´m not a pop star and this is not a reality show so I think my personal use of drugs is
irrelevant 8) 8) 8) ...anyway it has been previously discussed in this thread


Fair point. Okay something I have always wanted to know...

Is it dangerous to mix uppers and downers and if so why? Is it just a case of
overdosing on one of the drugs when the other one wares off or is it by its very nature
dangerous (stress on the heart?). I have seen so many contradictory answers so this
question thus I am asking you.

Thank you for

LP
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 May 2013, 16:41:02


Quote from: londonpride2 on 16 May 2013, 16:29:12
Quote from: DoctorX on 16 May 2013, 11:30:56



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drugs when the other one wares off or is it by its very nature dangerous (stress on the heart?). I have
seen so many contradictory answers so this question thus I am asking you.

Thank you for

LP


As always, it depends on doses and contexts. In general is more dangerous (and less
pleasurable) to mix substances with similar properties (stimulants: speed+meth, meth
+coke..., depressors: GHB+alcohol, alcohol+opiates). Moderate doses of downers
after stimulants probably don´t suppose dramatic risks if they are used properly, in a
safe environment and with reasonable doses. To use some cannabis at home after
partying with MDMA, for example, is not necessary terrible in risks. But to drink huge
amounts of alcohol, mixing with high doses of cocaine to diminish the depressor effect
is probably dangerous. That´s why so important to know the properties of the
substances you are mixing. I think answers can be contradictory because "mixing
uppers and downers" can refer to many different situations involving different risks
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 May 2013, 16:42:39

      By the way, I will be out of office all next week and I don´t think I will have a
      TOR connection. So I will continue discussing with you from May 25th
      DoctorX



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: smogmonster13 on 17 May 2013, 16:24:03

      Forgive me if you have covered this already. I know you have said that the
      evidence of neurotoxicity of MDMA is thin. If I assume that MDMA is neurotoxic,
      and am looking to reduce harm, would taking an SSRI after MDMA use be a
      potential strategy? What about SAM-e?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 May 2013, 21:59:00




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      Back to work!!! :o



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: joywind on 27 May 2013, 01:49:13

      DoctorX,

      1. Can amphetamine use cause heart problems in healthy individuals using low to
      moderate dosages of amphetamine, over a long period of time?

      2. Is it safe to combine, say, 30mg of amphetamine (dexedrine) with 200ug of
      LSD. Both elevate heart rate. Could my heart beat too fast and I die if I get a
      panic attack?

      3. Can a drug-induced panic attack cause someone to get a heart attack or
      stroke?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Mr. Fluffles Schrodinger on 27 May 2013, 08:21:18

      Subbing. Haven't read any of it yet, but I imagine I will be grateful for this thread
      soon.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 May 2013, 15:20:40


Quote from: smogmonster13 on 17 May 2013, 16:24:03
Forgive me if you have covered this already. I know you have said that the evidence of neurotoxicity
of MDMA is thin. If I assume that MDMA is neurotoxic, and am looking to reduce harm, would taking
an SSRI after MDMA use be a potential strategy? What about SAM-e?


What I exactly say is that "there is no evidence that MDMA has long-lasting neurotoxic
effects in humans at common recreational doses and occasional/intermitent use". I
think all these details are important, if not, the idea can be misunderstood.

In fact, I assume that MDMA is neurotoxic too. If neurotoxic changes have been
detected in all animal species, in human there will be a dose that will cause neurotoxic
changes. But this dose (unknown) does not seem to be close to recreational ones (120-
150 mg with maybe 1-2 half boosters 2 hours after).

People who use MDMA at higher doses or frequencies are probably more exposed to

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these risks. Megadoses of some SSRIs have showed some neuroprotective effects in
animal models but, interescalating species, you should use toxic doses of fluoxetine or
citalopram to imitate this effect. What concrete SSRI should you use? After any dose
of MDMA or only at high doses? What dose? Should you take it after, during or before
MDMA? What dose and frequency?...

There is no way to know the exact answer to these questions. The theorical bases of
SSRI use as neuroprotectors in humans are so weak that, in my opinion, are not
enough to consider it as a potential harm reduction strategy. In relation with MDMA
and avoiding neurotoxic effects, the safest and most effective strategy is not to use it
regularly (once a month or, preferabely, less) and moderate dosification. It is also the
best way to enjoy the effects and diminish or avoid "loss of magic".

As far as I know, there are no human or animal studies on SAM-e (S-adénosyl-
methionina) and MDMA. According to mechanisms of MDMA toxicity and SAM-e way of
action I think it would be useless, but it is only theoretical speculation.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: valakki on 28 May 2013, 09:32:38

      hey nice to see this thread is still going!

      I have a question. Have you heard any reports about drugs turning sweet?
      I mean the original nasty chemical taste disappears and its sweet as sugar.
      I could put it in my tea instead of it and I wouldn't notice the difference.

      happens after heavy nasal use. i rub it in my gums and i love the taste.
       It really freaks me out. so I usually stop use right away, cry a little then flush it.
      a sweet taste could be a sign of heavy physical addiction? or is it mental?
      it only happened to me with amphetamine and methoxetamine. and i think these
      are more.... mental addictive drugs. heavy physicals like xanax never turned
      sweet. ..

      any ideas?

      thanks!!!!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 May 2013, 15:14:41


Quote from: joywind on 27 May 2013, 01:49:13
DoctorX,

1. Can amphetamine use cause heart problems in healthy individuals using low to moderate dosages
of amphetamine, over a long period of time?



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2. Is it safe to combine, say, 30mg of amphetamine (dexedrine) with 200ug of LSD. Both elevate
heart rate. Could my heart beat too fast and I die if I get a panic attack?

3. Can a drug-induced panic attack cause someone to get a heart attack or stroke?



1.- Evidence about heart problems in long time amphetamine use, even in a classical
therapeutic context, is inconclusive. Long time use produces elevation in heart rate
and blood pressure. It seems that long time use causes more problems to adults than
to adolescents and children. Although it is not completly demostrated, I believe that
long time amphetamine use could be considered as a "risk factor" (as tobacco,
hypertension or dyslipemia) for cardiovascular disease. But in the other hand it is clear
that amphetamine sulphate has been used daily over decades at doses 10-20 mg
(even 40) without noticing a dramatic raise in cardiovascular problems in general
population. I think the risk exists, but probably dose-dependent and reasonable in
doses used in therapy and oral route.

http://www.ncbi.nlm.nih.gov/pubmed/23160939
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3405448/

2.- It can happen, but it should be a very uncommon effect

3.- It could happen, and it depends on the properties of the drug. In general,
stimulants like cocaine or amphetamine could trigger this problem more easily than
other substances. "Bad trips" of LSD or other psychedelics could also produce this,
although, in practice, it is very uncommon.

http://heart.bmj.com/content/83/6/627.long#ref-40

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Minchia on 28 May 2013, 20:05:08

      since i'm into mixing drugs i have experienced that when you snort cocaine
      during a lsd trip (also mdma-trip)
      it suppresses the effects of lsd/mdma for a certain amount of time.

      1. does that mean dopamine inhibits the effects of serotonin?

      2.if so, would be a longer lasting dopamine active substance like mdpv be even
      more effective?


      very interesting thread btw

      cheers minchia



Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: barbequehax on 28 May 2013, 20:15:53

      Hello DoctorX,
      First I would like that I really appreciate what you are doing for us guys here. It
      is often hard to get reliable information about drugs. Anyways I got a question
      about combining 25c-NBOMe and MDMA. A friend of mine dropped 800mg of the
      25c and 150mg MDMA a 2 nights ago and still did not sleep yet. He is still
      dancing around in the room to the music and does totally ignore that he should
      sleep.
      And another question, I am not sure if it was asked already, but do you know
      something about the long time harms of weekly usage of 25c-NBOMe?
      Thanks in advance.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 May 2013, 07:45:37


Quote from: valakki on 28 May 2013, 09:32:38
hey nice to see this thread is still going!

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a sweet taste could be a sign of heavy physical addiction? or is it mental?
it only happened to me with amphetamine and methoxetamine. and i think these are more.... mental
addictive drugs. heavy physicals like xanax never turned sweet. ..

any ideas?

thanks!!!!


I had never heard about that kind of effect. If it happens olny after heavy nasal use it
could be related with changes of sensization of nerves in nose cavity and throat. But
this is only a personal hypothesis, I have no idea what could be the explanation, and I
don´t think it is a physical effect derivated from properties of drugs
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zipstyle on 29 May 2013, 08:12:16


Quote from: DoctorX on 29 May 2013, 07:45:37
Quote from: valakki on 28 May 2013, 09:32:38
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with changes of sensization of nerves in nose cavity and throat. But this is only a personal hypothesis,
I have no idea what could be the explanation, and I don´t think it is a physical effect derivated from
properties of drugs


Dude, I know this exact effect. It's purely mental, imo...after a while (and still do)
think about meth crystals as if they were rock candy. And I swear if I were to taste
some meth right now, it'd probably taste like sugar. It's just the brain's way of telling
you that it doesn't care about the taste, it LOVES whatever that stuff is!

Luckily I've never really gone overboard with my use and I also ended up throwing
away my stash, but you aren't the only one brother.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 May 2013, 13:26:36


Quote from: Minchia on 28 May 2013, 20:05:08
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1. does that mean dopamine inhibits the effects of serotonin?

2.if so, would be a longer lasting dopamine active substance like mdpv be even more effective?


very interesting thread btw

cheers minchia


This effect is typical when you mix cocaine with psychedelics. The mechanism it is not
well studied, but probably involves dopamine release. In my personal opinion it is a
way to "ruin" psychedelic effects but this is only a personal opinion.
The problem with MDPV is that it is not a well-known substance and it has a few
studies on humans.
If you are searching specifically for that effect, I think amphetamine (speed) would be
a better choice than MDPV. Anyway, I don´t reccomend these kind of combinations in
a risk reduction perspective. If you feel LSD is too long, you could try short-acting well-

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studied psychedelics like psilocibin, 2C-B or 4-Aco-DMT
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: oldcactushand on 29 May 2013, 13:43:11

      This is really great work. Thanks a lot for this thread DoctorX.

      I made a thread about my friend having a seizure after taking LSD, followed by a
      period of semi-consciousness and then an intense migraine and vomiting. I now
      believe it was a panic attack set off by a bad trip, but I know my friend would
      love to hear your opinion.

      http://dkn255hz262ypmii.onion/index.php?topic=165311.0



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Minchia on 29 May 2013, 13:44:07


Quote from: DoctorX on 29 May 2013, 13:26:36
Quote from: Minchia on 28 May 2013, 20:05:08
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you feel LSD is too long, you could try short-acting well-studied psychedelics like psilocibin, 2C-B or 4-
Aco-DMT


well i was mainly just interested if dopamine inhibits the effects of serotonin.
since i've read that mdpv is about 13x times stronger than ritalin i guessed this would
be the strongest dopamine active drug around.


im perfectly fine with the durance of lsd.. and if not, opium did always the trick for
me :)


cheers minchia
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: valakki on 29 May 2013, 21:31:38


Quote from: zipstyle on 29 May 2013, 08:12:16


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Quote from: DoctorX on 29 May 2013, 07:45:37
 Quote from: valakki on 28 May 2013, 09:32:38
  hey nice to see this thread is still going!

  I have a question. Have you heard any reports about drugs turning sweet?
  I mean the original nasty chemical taste disappears and its sweet as sugar.
  I could put it in my tea instead of it and I wouldn't notice the difference.

  happens after heavy nasal use. i rub it in my gums and i love the taste.
   It really freaks me out. so I usually stop use right away, cry a little then flush it.
  a sweet taste could be a sign of heavy physical addiction? or is it mental?
  it only happened to me with amphetamine and methoxetamine. and i think these are more....
  mental addictive drugs. heavy physicals like xanax never turned sweet. ..

  any ideas?

  thanks!!!!

 I had never heard about that kind of effect. If it happens olny after heavy nasal use it could be
 related with changes of sensization of nerves in nose cavity and throat. But this is only a personal
 hypothesis, I have no idea what could be the explanation, and I don´t think it is a physical effect
 derivated from properties of drugs

Dude, I know this exact effect. It's purely mental, imo...after a while (and still do) think about meth
crystals as if they were rock candy. And I swear if I were to taste some meth right now, it'd probably
taste like sugar. It's just the brain's way of telling you that it doesn't care about the taste, it LOVES
whatever that stuff is!

Luckily I've never really gone overboard with my use and I also ended up throwing away my stash,
but you aren't the only one brother.


Thanks! good to read im not the only one!
got to be careful! with this game.

take care!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 May 2013, 22:03:23


Quote from: barbequehax on 28 May 2013, 20:15:53
Hello DoctorX,
First I would like that I really appreciate what you are doing for us guys here. It is often hard to get
reliable information about drugs. Anyways I got a question about combining 25c-NBOMe and MDMA. A
friend of mine dropped 800mg of the 25c and 150mg MDMA a 2 nights ago and still did not sleep yet.
He is still dancing around in the room to the music and does totally ignore that he should sleep.
And another question, I am not sure if it was asked already, but do you know something about the
long time harms of weekly usage of 25c-NBOMe?
Thanks in advance.


2C-C-NBOMe has no history of human use prior to 2010 when it first became available
online. In fact there is only one published studied about its propreties and it is a


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investigation on pigs. There are no data about its mechanism of action in humans,
adverse effects, short or long time toxicity. We can´t say anything about short or long
term effects because they are completely unknown. Compared with other substances
(like MDMA, for example, with more than 6.000 studies in the last 40 years) people
taking 25-NBOMe are behaving as guinea pigs.
I hope your friend has finished dancing :o
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: barbequehax on 30 May 2013, 13:03:56


Quote from: DoctorX on 29 May 2013, 22:03:23
Quote from: barbequehax on 28 May 2013, 20:15:53
 Hello DoctorX,
 First I would like that I really appreciate what you are doing for us guys here. It is often hard to get
 reliable information about drugs. Anyways I got a question about combining 25c-NBOMe and MDMA.
 A friend of mine dropped 800mg of the 25c and 150mg MDMA a 2 nights ago and still did not sleep
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say anything about short or long term effects because they are completely unknown. Compared with
other substances (like MDMA, for example, with more than 6.000 studies in the last 40 years) people
taking 25-NBOMe are behaving as guinea pigs.
I hope your friend has finished dancing :o


Yea he did, he was around about 60 hours in total and is pretty fucked up and
exhausted now. Thanks for your replies, yet I got one more question now. What did
that study with the pigs return as results?
Thanks
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tango on 30 May 2013, 15:25:51

      Doctor X!

      Question: How does one use cocaine without getting anxiety/panic attacks.

      Xanax doesnt completely negate the effects of anxiety whilst on cocaine.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Raoul Duke on 30 May 2013, 15:34:24




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Quote from: tango on 30 May 2013, 15:25:51
Doctor X!

Question: How does one use cocaine without getting anxiety/panic attacks.

Xanax doesnt completely negate the effects of anxiety whilst on cocaine.


do you smoke pot? any type, hash or green? i get ultra paranoid if i smoke even a
week before or after i do coke - my body just can't handle both in my system
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tango on 30 May 2013, 15:53:11

      nah i dont smoke anything



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Raoul Duke on 30 May 2013, 15:58:55

      that's my theory out the window, i'll leave it to the expert then... ;)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 30 May 2013, 16:21:06


Quote from: tango on 30 May 2013, 15:25:51
Doctor X!

Question: How does one use cocaine without getting anxiety/panic attacks.

Xanax doesnt completely negate the effects of anxiety whilst on cocaine.
I only ever get anxiety attacks if I've had a lot of stimulants. I feel sorry sorry for
people who are prone to them
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 May 2013, 16:24:39


Quote from: oldcactushand on 29 May 2013, 13:43:11
This is really great work. Thanks a lot for this thread DoctorX.

I made a thread about my friend having a seizure after taking LSD, followed by a period of semi-
consciousness and then an intense migraine and vomiting. I now believe it was a panic attack set off
by a bad trip, but I know my friend would love to hear your opinion.

http://dkn255hz262ypmii.onion/index.php?topic=165311.0



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It is very difficult to know what can exactly have happened. It could be a panic attack.
But it is very uncommon that a panic attack causes a complete lose of consciousness.
The sequence ( short time of complete lose of consciousness followed by a post critic
state with symptoms) could correspond to a seizure (epileptic-like). I can´t confirm it
100% but it sounds possible to the story, as I have read in your thread. If case she is
taking LSD or stimulants, she should be careful with doses, stay with someone else
and consult to a doctor if something strange happens
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: SisnebucEbycolisp on 30 May 2013, 19:08:29

      Does anyone know of any adverse reactions from taking 25i-nbome while on an
      adderall prescription? I haven't taken it on a day I took my medicine(stopped it a
      day before for good measure), but haven't found anything about adverse
      reactions



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tango on 30 May 2013, 23:22:23


Quote from: Dingo Ate My Drugs on 30 May 2013, 16:21:06
Quote from: tango on 30 May 2013, 15:25:51
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 Question: How does one use cocaine without getting anxiety/panic attacks.

 Xanax doesnt completely negate the effects of anxiety whilst on cocaine.
I only ever get anxiety attacks if I've had a lot of stimulants. I feel sorry sorry for people who are
prone to them


Yeah I think i am the same, stimulants do it for me.

Even gym preworkouts can sometimes give me anxiety
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: uninfested on 31 May 2013, 02:03:41

      Doctor,
      I have been prescribed <20mg of Adderall for a couple of years for ADHD.
      Recently I have decided to start exercising and generally caring about my health.
      During some research I have seen mention that Adderall's amphetamine mixture
      causes an increase in BP and heart-rate more so than pure dextroamphetamine
      (Dexedrine). With my limited knowledge Dexedrine seems like a potentially safer
      Adderall alternative that may be worth a try. Any additional informational on
      exercise and amphetamines or any related subject would be appreciated. I
      understand long-term amphetamine use is a risk-factor but at this point in time I


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      will take my chances.

      P.S. - Perhaps you could give me a quick pointer on the best ways of finding
      applicable and reputable literature/research online. I saw mention of PubMed and
      Sci-Hub so far.

      Thank you very much for answering so many questions. ;D I have donated what I
      can, which wasn't much. :-\



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 May 2013, 08:06:07


Quote from: barbequehax on 30 May 2013, 13:03:56
Quote from: DoctorX on 29 May 2013, 22:03:23
 Quote from: barbequehax on 28 May 2013, 20:15:53
  Hello DoctorX,
  First I would like that I really appreciate what you are doing for us guys here. It is often hard to
  get reliable information about drugs. Anyways I got a question about combining 25c-NBOMe and
  MDMA. A friend of mine dropped 800mg of the 25c and 150mg MDMA a 2 nights ago and still did
  not sleep yet. He is still dancing around in the room to the music and does totally ignore that he
  should sleep.
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  long time harms of weekly usage of 25c-NBOMe?
  Thanks in advance.

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 fact there is only one published studied about its propreties and it is a investigation on pigs. There
 are no data about its mechanism of action in humans, adverse effects, short or long time toxicity.
 We can´t say anything about short or long term effects because they are completely unknown.
 Compared with other substances (like MDMA, for example, with more than 6.000 studies in the last
 40 years) people taking 25-NBOMe are behaving as guinea pigs.
 I hope your friend has finished dancing :o

Yea he did, he was around about 60 hours in total and is pretty fucked up and exhausted now. Thanks
for your replies, yet I got one more question now. What did that study with the pigs return as results?
Thanks


The pig study was performed to know if 25c-NBOMe acts on 5HT2 serotoninergic
effects. Pigs under anaesthesia were injected NBOMe and then submitted to a Positron
Emission Tomography, showing high affinity. This is all we know. No data on animal
toxicity, short or long term effects in humans.
If you compare this with the decades on investigation on MDMA or LSD, you can
understand why I think NBOMe are potentially dangerous substances
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tango on 31 May 2013, 10:35:29



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      Looks like doctor X cant help :(



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: oldcactushand on 31 May 2013, 11:51:29


Quote from: DoctorX on 30 May 2013, 16:24:39
Quote from: oldcactushand on 29 May 2013, 13:43:11
 This is really great work. Thanks a lot for this thread DoctorX.

 I made a thread about my friend having a seizure after taking LSD, followed by a period of semi-
 consciousness and then an intense migraine and vomiting. I now believe it was a panic attack set off
 by a bad trip, but I know my friend would love to hear your opinion.

 http://dkn255hz262ypmii.onion/index.php?topic=165311.0

It is very difficult to know what can exactly have happened. It could be a panic attack. But it is very
uncommon that a panic attack causes a complete lose of consciousness. The sequence ( short time of
complete lose of consciousness followed by a post critic state with symptoms) could correspond to a
seizure (epileptic-like). I can´t confirm it 100% but it sounds possible to the story, as I have read in
your thread. If case she is taking LSD or stimulants, she should be careful with doses, stay with
someone else and consult to a doctor if something strange happens


Thanks for taking the time to read my thread. My understanding of epilepsy is that
everyone has some sort of seizure threshold, and potentially can have an epileptic fit.
I know she was complaining of it all getting too much, she said everything was just
rushing at her eyes and there was way too much to take in. This was when she said
she couldn't see, and I believe it was getting too much even when her eyes were shut.

Is it possible then that the hallucinations she experienced were powerful enough to set
off an epileptic seizure in someone with no history of epilepsy? If so, does this mean
she will have a lower seizure threshold in future? I know she's not going to jump back
in on the same dose of LSD straight away, but if she was to take a similar amount, is
there a good chance the hallcuinations would again become too overwhelming? I know
you won't be able to answer such questions with any certainty, but I value your
opinion.

My theory regarding her lack of consciousness (if it was a panic attack), is that she
had a panic attack just as she experienced ego death, the experience of ego death
rendering her seemingly un/semi-conscious. She was in the fetal position, and would
move intermittently. She would make noise, and would be able to communicate with
me but could not muster up the effort to say many actual words. There is no doubt
she experienced ego death during this period.

I am certainly not trying to challenge your knowledge or opinion which is much more
credible than my own, but is it actually possible that fear could trigger an epileptic
seizure? She fell to the ground screaming, and this was preceded by a very definite


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increase in stress and fear and panic. I have never seen someone have their *first*
epileptic seizure though... is it possible that someone would get very scared as they
began to experience the prelude to an epileptic seizure?

On a side note, there were no flashing lights and it was actually getting progressively
darker at the time. If it was epileptic, do you think her not being able to see (except
hallucinations) was an early symptom of the epileptic attack set off by an unknown
cause, or is it more likely to be the cause itself?

I've probably repeated myself a bunch of times there, sorry. She is perfectly fine and
happy now and had a wonderful experience, but out of my group of friends I'm "the
one" who does the most research and who gets to know all of this stuff etc. so I still
feel a certain responsibility about all of this, and I want to be able to offer sound
advice where possible. Thanks a lot DoctorX, awesome work you're doing here!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 May 2013, 13:54:11


Quote from: tango on 30 May 2013, 15:25:51
Doctor X!

Question: How does one use cocaine without getting anxiety/panic attacks.

Xanax doesnt completely negate the effects of anxiety whilst on cocaine.


Sorry...but my time is limited and questions (here and private) are too much...
But I agree, in this case I think there is little help. There are some properties that are
intrinsic to drugs. Aspirin can hurt the stomach and cocaine (and stimulants in
general) can trigger anxiety. Most people can take aspirin without problems but for
some people it is contraindicated. By the same reason, cocaine is not good for
everyone and people susceptible to anxiety will suffer this effect. I can´t think of
another help. But there are many different drugs...
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ozzietrader on 01 June 2013, 05:11:49

      Hi Doctor,

      I got some pure Diethyl Ether from a laboratory, and no matter how much vapors
      I inhaled- it had no effect.

      I am on the medication Duloxetine (for Dysthymia, though I don't really think it
      does anything and I am not really depressed, I just struggle with motivation and
      drive).

      I am wondering if there is any basis to believing Duloxetine could have blocked
      the effects of Diethyl Ether?


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      I believe Diethyl ether is an NMDA antagonist and I am wondering if Ketamine
      will work while on Duloxetine because it is also the same?

      Thank you



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: snickerlover6969 on 01 June 2013, 05:48:49

      Hey Doc,

      What you think about this?


Quote from: Thizzed410 on 01 June 2013, 03:59:40
http://silkroadvb5piz3r.onion/silkroad/user/2135facd39

"I believe a 35mg-50mg dose for 7 consecutive days could heighten one's understanding with oneself,
friends, and family.

*For beginners - avoid physical labor during trial if you do not prefer a strong come-down. :)"


WTF?
Quote from: motek on 01 June 2013, 05:36:27
Actually taking low dose mdma is not much different to taking an SSRI like Paxil or even prozac.

Look at the chemical structure of 'paroxetine' as opposed to mdma ... they are suprisingly 'similar' ,
snip off a functional group, methylate in vivo ... who knows what happens but the effects of these two
drugs mdma and paroxetine are remarkably similar!

have a look https://en.wikipedia.org/wiki/Paroxetine

https://en.wikipedia.org/wiki/MDMA


hmmmm motek :o

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 June 2013, 20:05:01


Quote from: SisnebucEbycolisp on 30 May 2013, 19:08:29
Does anyone know of any adverse reactions from taking 25i-nbome while on an adderall prescription?
I haven't taken it on a day I took my medicine(stopped it a day before for good measure), but haven't
found anything about adverse reactions


Sorry for being repetitive but the situation about 25-I is similar to 25-C previously
discussed. There are no scientific data about 25I-NBOME pharmacological effects on
human, so t must be considered as a dangerous substance indeed. In general,


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combining different substances increases risks. Some times this increment is no
important but other times risks can be very dangerous. In this case, it is virtually
impossible to assess if the risk is significative or not.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ozzietrader on 02 June 2013, 04:16:53


Quote from: DoctorX on 01 June 2013, 20:05:01
Sorry for being repetitive but the situation about 25-I is similar to 25-C previously discussed. There
are no scientific data about 25I-NBOME pharmacological effects on human, so t must be considered as
a dangerous substance indeed. In general, combining different substances increases risks. Some
times this increment is no important but other times risks can be very dangerous. In this case, it is
virtually impossible to assess if the risk is significative or not.


Glad I am on the same page as the doctor, I would NEVER take a research chemical
and would only take LSD from a very reputable vendor after testing the stuff with EZ
TEST. Even LSD is not something I would take more than occasionally. The only thing
I am totally comfortable with taking on a regular basis is Marijuana- I have been using
Marijuana for 22 years and I am very confident its not going to mess me up :) Well I
also binge on Benzodiazepines (they are the devil- you have to be careful) and opiates
(separately, not at the same time), but have been doing so for many years and have
not become addicted. Indeed in my case Benzo's are the greater threat than Opiates.
Benzo's make me want "more more more", while I feel content and satiated when I
take opiates. I take everything orally, though I am willing to consider snorting some
substances or even perhaps IM injection, but only on the absolute HIGHEST QUALITY
merchandise. IV to me is yuck yuck yuck.

Doctor: I *WILL* donate from time to time the dollars left over from my drug
transactions. I encourage other people to do the same. Help the Doctor out if you can
spare a few $$ people! He has been extremely patient with all the babbling
questions :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sclerogal on 02 June 2013, 06:39:25

      Hi Dr.

      I am a chronic pain management person with Systemic Sclerosis (scleroderma),
      and as drug/pain doctor you may have run into this rare autoimmune disorder.
      What drug, in your opinion offers the best in pain management. Many people
      have been directing me to cannabis but I'm currently on opiates. What's your
      experience been with your patients, in particular with joint pain and general
      Fibermyalgia pain?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 June 2013, 19:26:36

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      Clinical trials don´t show that there is a significative increment of blood presure
      and pulse under Adderall. So, in this sense, there is no need to adjust or change
      if you are thinking about doing physical exercise. There are some cases of
      cardiovascular disease in Adderall use, but they are very rare and it doesn´t
      seem to be a significative risk. Technical sheet from FDA doesn´t say anything
      about physical exercise so the combination should be considered safe, at least for
      most people.
      http://www.ncbi.nlm.nih.gov/pubmed/16182674
      I´m sorry I have no time to explain how to search in PubMed. It takes some time
      (and experience) to find things and to distinguish important issues from non-
      important. Anyway you can have a look here:
      http://www.ncbi.nlm.nih.gov/books/NBK3827/#pubmedhelp.PubMed_Quick_Start


Quote from: uninfested on 31 May 2013, 02:03:41
Doctor,
I have been prescribed <20mg of Adderall for a couple of years for ADHD. Recently I have decided to
start exercising and generally caring about my health. During some research I have seen mention that
Adderall's amphetamine mixture causes an increase in BP and heart-rate more so than pure
dextroamphetamine (Dexedrine). With my limited knowledge Dexedrine seems like a potentially safer
Adderall alternative that may be worth a try. Any additional informational on exercise and
amphetamines or any related subject would be appreciated. I understand long-term amphetamine use
is a risk-factor but at this point in time I will take my chances.

P.S. - Perhaps you could give me a quick pointer on the best ways of finding applicable and reputable
literature/research online. I saw mention of PubMed and Sci-Hub so far.

Thank you very much for answering so many questions. ;D I have donated what I can, which wasn't
much. :-\

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 03 June 2013, 16:01:20


Quote from: oldcactushand on 31 May 2013, 11:51:29
Quote from: DoctorX on 30 May 2013, 16:24:39
 Quote from: oldcactushand on 29 May 2013, 13:43:11
  This is really great work. Thanks a lot for this thread DoctorX.

  I made a thread about my friend having a seizure after taking LSD, followed by a period of semi-
  consciousness and then an intense migraine and vomiting. I now believe it was a panic attack set
  off by a bad trip, but I know my friend would love to hear your opinion.

  http://dkn255hz262ypmii.onion/index.php?topic=165311.0

 It is very difficult to know what can exactly have happened. It could be a panic attack. But it is very
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some sort of seizure threshold, and potentially can have an epileptic fit. I know she was complaining
of it all getting too much, she said everything was just rushing at her eyes and there was way too
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There is no doubt she experienced ego death during this period.

I am certainly not trying to challenge your knowledge or opinion which is much more credible than my
own, but is it actually possible that fear could trigger an epileptic seizure? She fell to the ground
screaming, and this was preceded by a very definite increase in stress and fear and panic. I have
never seen someone have their *first* epileptic seizure though... is it possible that someone would
get very scared as they began to experience the prelude to an epileptic seizure?

On a side note, there were no flashing lights and it was actually getting progressively darker at the
time. If it was epileptic, do you think her not being able to see (except hallucinations) was an early
symptom of the epileptic attack set off by an unknown cause, or is it more likely to be the cause itself?

I've probably repeated myself a bunch of times there, sorry. She is perfectly fine and happy now and
had a wonderful experience, but out of my group of friends I'm "the one" who does the most research
and who gets to know all of this stuff etc. so I still feel a certain responsibility about all of this, and I
want to be able to offer sound advice where possible. Thanks a lot DoctorX, awesome work you're
doing here!


In general, panic attacks don´t trigger an epileptic seizure.In fact, epileptic seizures
are not a known complication of LSD use (at least in healthy, non-epileptic persons)
although LSD use is contraindicated in epileptic persons.In medicine, it is sometimes
very difficult to distinguish between a panic attack and an epileptic seizure. I can´t be
sure about what has happened with your friend. The story resembles more of seizure
but it is not a sure diagnosis. In my professional experience, when someone has
suffered a very unpleasant experience on LSD at his first experiences, there is more
chances the bad experience will repeat with subsequent uses of the same substance.
It is not always in 100% cases but I have seen it many times.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 03 June 2013, 16:13:59


Quote from: ozzietrader on 01 June 2013, 05:11:49



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Hi Doctor,

I got some pure Diethyl Ether from a laboratory, and no matter how much vapors I inhaled- it had no
effect.

I am on the medication Duloxetine (for Dysthymia, though I don't really think it does anything and I
am not really depressed, I just struggle with motivation and drive).

I am wondering if there is any basis to believing Duloxetine could have blocked the effects of Diethyl
Ether?

I believe Diethyl ether is an NMDA antagonist and I am wondering if Ketamine will work while on
Duloxetine because it is also the same?

Thank you


The only significative interaction with diethyl ether I have found is with alcohol:
http://www.ncbi.nlm.nih.gov/pubmed/3296835
I have not found interactions with duloxetine and, according to it mechanism of action,
I don´t think this is the cause of your situation, although I´m not able to offer an
alternative explanation. The fact that diethyl ether and ketamine are NMDA
antagonists does not mean that it won´t work, there are different degrees and types
of antagonism
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: beastpiss77 on 03 June 2013, 21:19:48

      What are your thoughts on Cocaethylene, or combining cocaine and alcohol?
      Someone brought it up in this thread:

      http://dkn255hz262ypmii.onion/index.php?topic=164746.0

      I'm relatively new to cocaine, and I've almost always drank alcohol with it. Now I
      find it hard to do either cocaine or alcohol separately, because when I drink I
      have strong cravings for coke, and when I do coke, I usually want to drink. I use
      fairly small amounts of each (2-5 beers combined with a few bumps or small lines
      of coke - maybe a total of 100 mg each time). Am I doing myself a lot of damage
      here, or is that only in people who are much heavier drinkers/users? I'm quite
      healthy otherwise.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 June 2013, 09:31:21


Quote from: snickerlover6969 on 01 June 2013, 05:48:49
Hey Doc,

What you think about this?



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Quote from: Thizzed410 on 01 June 2013, 03:59:40
 http://silkroadvb5piz3r.onion/silkroad/user/2135facd39

 "I believe a 35mg-50mg dose for 7 consecutive days could heighten one's understanding with
 oneself, friends, and family.

 *For beginners - avoid physical labor during trial if you do not prefer a strong come-down. :)"


 WTF?
Quote from: motek on 01 June 2013, 05:36:27
 Actually taking low dose mdma is not much different to taking an SSRI like Paxil or even prozac.

 Look at the chemical structure of 'paroxetine' as opposed to mdma ... they are suprisingly 'similar' ,
 snip off a functional group, methylate in vivo ... who knows what happens but the effects of these
 two drugs mdma and paroxetine are remarkably similar!

 have a look https://en.wikipedia.org/wiki/Paroxetine

 https://en.wikipedia.org/wiki/MDMA


 hmmmm motek :o


That pattern of use is a nice way to waste MDMA, but it will be completely useless.
MDMA causes tolerance ( phenomenon whereby a drug user becomes physically
accustomed to a particular dose of a substance, and requires increasing dosages in
order to obtain the same effects). If someone takes MDMA daily the desired effects
will dissapear in 2-3 days and there will be only undesired effects (tachycardia, jaw
clenching...). And using low doses will make the desired effects unnoticeable, even in
the first days.

Shulgin was the first who described this properties of MDMA in PIHKAL:

"In one study, MDMA was consumed at 9:00 a.m. each day for almost a week (120
milligrams the first day and 160 milligrams each subsequent day) and by the fifth day
there were no effects from the drug except for some mydriasis. And even this
appeared to be lost on the sixth day. (...) A complete holiday from any drug for
another 6 days led to the reversal of this tolerance, in that 120 milligrams of MDMA
had substantially the full expected effects."

And this tolerance phenomenon has been confirmed in many clinical trials. So, with no
doubt, the pattern of use proposed here is useless.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: yellowmattercustard on 04 June 2013, 12:41:21

      But SSRIs also do not give any noticable physiological effects, not even mydriasis
      sometimes. But they do change behavior when being consumed for 2 weeks or
      more. Is there a research that shows that consuming MDMA in small doses daily
      does NOT change behavior?


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 June 2013, 16:27:29


Quote from: yellowmattercustard on 04 June 2013, 12:41:21
But SSRIs also do not give any noticable physiological effects, not even mydriasis sometimes. But
they do change behavior when being consumed for 2 weeks or more. Is there a research that shows
that consuming MDMA in small doses daily does NOT change behavior?


You are right. Such a study does not exist. But your reasoning is out of scientific rules.
In science, demonstration and argumentation must be positive. There is no study that
show that consuming MDMA in small doses daily does not change behaviour. There are
no proofs that there aren´t nazi spaceships on the moon. The fact that there aren´t
proofs does not mean that something is or can be true. (I hope you understand my
idea even though my English is limited ;) . And, in fact, there are reasonable
evidences of pharmacological tolerance to MDMA effects.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Tyrion Lannister on 04 June 2013, 17:23:10

      i fell lots of pain (mostly in my legs, feet) whenever i'm in Nbome or Marijuana. It
      feels like there is pressure there.

      Is this because of vasoconstriction ? What can i do to make it better?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 June 2013, 17:28:26


Quote from: sclerogal on 02 June 2013, 06:39:25
Hi Dr.

I am a chronic pain management person with Systemic Sclerosis (scleroderma), and as drug/pain
doctor you may have run into this rare autoimmune disorder. What drug, in your opinion offers the
best in pain management. Many people have been directing me to cannabis but I'm currently on
opiates. What's your experience been with your patients, in particular with joint pain and general
Fibermyalgia pain?


I am sorry but I can´t give you a concrete advice. Systemic sclerosis is a very rare
and complicated disease and advice must be personalized depending on concrete
clinical presentation of the patient. In general, nonsteroidal anti-inflammatory drugs
and corticoids are the best options, but it depends on each concrete case. Each drug
(legal or illegal) can have contraindications in this situation and must be prescribed in
concrete cases.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Intraterrestrial on 04 June 2013, 21:13:38

      just read through this thread, some top advice given by the doc

      my first +1 to this guy for much appreciated harm reduction advice for the
      people



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: smogmonster13 on 04 June 2013, 22:40:49

      I agree. +1!

      Question for the doctor: Is there anything you can give someone on SSRIs to
      help them roll on MDMA?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DeadlyDove on 05 June 2013, 05:06:03

      Hi DoctorX,

      Thanks for your time!

      My question is about MDMA dosage. I saw one of your previous messages
      advised 70-100mg for women or first time users, but is body weight a factor?
      I've seen conflicting information about this some places say 1.5-2.0mg/kg, others
      just recommend amounts without taking into account sex and weight.
      Particularly the MAPS ptsd protocol below doses 125 mg without considering sex
      and weight. Of course I could be missing something I don't read clinical trial
      protocols for a living :) I'm 150 lbs(68 kg) and find that ~125 mg is my sweet
      spot so that's inline with both 1.5-2.0 mg/kg and the recommended amounts.

      Anyway some friends of mine will be trying MDMA for the first time this summer
      and some are taller/wider than others and I want to make sure they have a good
      time 8)
      I currently plan on giving 100-125mg based on their personalities. The more
      adventurous and experienced with other drugs will receive the higher dose.

      What are your thoughts? Many thanks!

      http://www.maps.org/research/mdma/mdma_ptsd_u.s._study_veterans_of_war/



Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: milliardo23 on 05 June 2013, 05:11:09

      130lbs, is 13mg of 2cbs too much for a first timer? what are the bad effects of
      2cbs? are they "safe"?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 June 2013, 19:38:49


Quote from: beastpiss77 on 03 June 2013, 21:19:48
What are your thoughts on Cocaethylene, or combining cocaine and alcohol? Someone brought it up
in this thread:

http://dkn255hz262ypmii.onion/index.php?topic=164746.0

I'm relatively new to cocaine, and I've almost always drank alcohol with it. Now I find it hard to do
either cocaine or alcohol separately, because when I drink I have strong cravings for coke, and when I
do coke, I usually want to drink. I use fairly small amounts of each (2-5 beers combined with a few
bumps or small lines of coke - maybe a total of 100 mg each time). Am I doing myself a lot of
damage here, or is that only in people who are much heavier drinkers/users? I'm quite healthy
otherwise.


Most of the ideas discussed in this thread about MDMA neurotoxicity are aplicable to
cocaethylene. The combination of cocaine and alcohol increases neurotoxicity and
hepatotoxicity. But the basis for this is animal model studies, where very heavy doses
of both substances are used. It is not clear in what extent these effects are
extrapolable to humans.

When a combination of drugs is clinically relevant in toxicity terms, there are many
data about it ( e.g.: GHB+alcohol) There are no clinical studies showing that moderate
doses of cocaine and alcohol produce more harm than both substances separately. It
is very probable that, at the doses you are using in healthy people, the risks are
moderate. Risk in this sense is probably dose and frequency dependent, and heavy
users of this combination will be the most exposed.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 June 2013, 19:43:52


Quote from: Tyrion Lannister on 04 June 2013, 17:23:10
i fell lots of pain (mostly in my legs, feet) whenever i'm in Nbome or Marijuana. It feels like there is
pressure there.

Is this because of vasoconstriction ? What can i do to make it better?


Cannabis does not produce any arterial vasoconstriction. It can alter the sensitivity of
self-perception and pain (for most people is analgesic, but not for all, and not for any

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kind of pain). Sometimes drugs can make you feel with more intensity body
sensations that are not usually perceived.

Effects in humans on Nbome are not studied, so I can´t think of a theory about that.

With the little information and the limitations of Internet, I´m sorry I can´t offer
advice in this case
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 June 2013, 19:49:06


Quote from: smogmonster13 on 04 June 2013, 22:40:49
I agree. +1!

Question for the doctor: Is there anything you can give someone on SSRIs to help them roll on MDMA?


In general, SSRI diminish effects of MDMA, although probably tolerance is developed
over time. Increasing MDMA dose will increase also adverse effects of this substance.
In this kind of situation it is important to think beyond pharmacological aspects. What
I mean is that, if someone is on SSRI it is probably because of psychological or
emotional problems/stress. And the best way to enjoy MDMA effects is to be in "good
mental health". In general, I think it is more wise to wait until SSRI treatment is
finished.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 June 2013, 07:44:18


Quote from: DeadlyDove on 05 June 2013, 05:06:03
Hi DoctorX,

Thanks for your time!

My question is about MDMA dosage. I saw one of your previous messages advised 70-100mg for
women or first time users, but is body weight a factor? I've seen conflicting information about this
some places say 1.5-2.0mg/kg, others just recommend amounts without taking into account sex and
weight. Particularly the MAPS ptsd protocol below doses 125 mg without considering sex and weight.
 Of course I could be missing something I don't read clinical trial protocols for a living :) I'm 150 lbs
(68 kg) and find that ~125 mg is my sweet spot so that's inline with both 1.5-2.0 mg/kg and the
recommended amounts.

Anyway some friends of mine will be trying MDMA for the first time this summer and some are taller/
wider than others and I want to make sure they have a good time 8)
I currently plan on giving 100-125mg based on their personalities. The more adventurous and
experienced with other drugs will receive the higher dose.

What are your thoughts? Many thanks!

http://www.maps.org/research/mdma/mdma_ptsd_u.s._study_veterans_of_war/




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Reccomended doses of MDMA are expressed in both ways in clinical trials: mg of
substance or mg/kg. I think this data are orientative, and there is also some
interindividual variability: some peoples achieve great effects with moderate doses,
other few need high doses (sometimes over 200 mg) to feel the substance.
In general, mg of substance are the easiest way to measure. And there are some
important facts to be considered when calculating a dose:

1) In general, novices need lower doses. It is better 80 mg + 40 mg (2 hours after if
needed) than 120 mg for a novice.

2) Women need lower doses than men : they feel more psychological positive and
adverse effects than men at the same dose
http://www.ncbi.nlm.nih.gov/pubmed/23112822
http://www.ncbi.nlm.nih.gov/pubmed/11314678

3) Extremly thin or fat people can need adjusts, but doses below 40 mg do not
produce noticeable effects and doses over 150-180 mg can be dangerous and have
more adverse effects. In general the rank 1.5-2 mg/kg is adequate


Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: hellwillbetoasty on 06 June 2013, 18:23:57

      subbed this is excellent



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DeadlyDove on 06 June 2013, 22:35:27

      Thanks Doc the next time I get some bitcoins I'll send a little your way and I
      suggest anyone who finds this thread valuable to do the same.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: obkkoa on 06 June 2013, 23:43:44

      I just saw this thread, and I have already read it all. ;D
      Are you on CannabisCafe/Energy Control/etc ? Is just that the Spanish scene is
      not that big, and I thought that I should had read or known about you before as
      you seen pretty active even with a topic here on SR.
      Well, my questions are mainly related to the use of nootropics and supplements
      as a harm reduction mechanism when taking other drugs.

      I take in a daily basis creatine, acetyl-l-cartinine, alpha-gpc and multivitamin
      pills, taking some rest of them as is recommended to each particular substance.
      I also take like 3 or 4 days per week some pramiracetam and two days per week

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     a pill of modafinil if I feel like I want to do something productive for some time
     without feeling sleepy. I'm an almost 19 years old healthy individual.
     For the first ones, I know that the evidence about them doing any kind of
     neuroprotective or intelligence enhance in healhy young humans is mostly
     incidental, but all in all, and being the use of them probably not very rational, I
     feel comfortable as the risk are (as far as I know) almost nonexistent if you take
     them with a good timing and low doses. Also maybe the neuroprotective effects
     can be seen if the stack is maintained long enough, but I haven't seen studies
     about that, and my consumption is mostly based in Kurzweil etc Faith probably.

     Does make sense use attack doses of some vitamins, or take some
     neuroprotective stuff like Noopept, pramiracetam etc when a consumption of
     some drug is planned ?

     Can my nootropic stack cause some problems taking into account that I'm
     planning to take it for years ? Or this substances are almost innocuous if taken
     correctly ? I change this stack from time to time. Probably more and more will be
     added permanently eventually.

     Do you think that there is a considerable possibility of some RCs causing dramatic
     effects in the medium-long term even if they are taken a few times ? I'm talking
     mostly about nbomes, mxe, methylone, amt, mdpv, 4-ho-met, 5-meo-dmt etc
     And by dramatic, I mean some kind of neurodegenerative/etc disease being
     directly caused by the drug action, and with a high prevalence of the disease in
     the people who tried it.

     Also, in another topics:

     I would like to know if there is some kind of organization or individuals who is
     doing some pressure in Spain from a professional and scientific side about the
     drug laws and prohibitions, and in which grade the actual laws are based in
     factual data instead of FUD and tradition/particular and biased opinions. Do you
     think we are far from some regulation at least reaching substances as MDMA,
     speed, LSD etc ?

     Do you think that in a good environment with drugs regulated and an scientific
     and business world arousing would be possible the development of drugs with
     almost not negative reactions even if consumed weekly, or even more, daily ?
     I would love to have a potent stim for almost every day use, they make me
     productive as hell. In my weeks, great days are caffeine and modafinil days, and
     It's nothing compared to good speed or mdpv.
     The best would be methylphenidate, even if I don't like it as much as speed, I
     suppose. But is expensive as hell, and ethylphenidate I don't think is really an
     alternative. Is there really also a chemistry difference to make 1 gr of
     ethylphenidate cost nothing compared to a few pills of methylphenidate ? It's
     probably some fucking patent. :-X

     Thanks, and sorry but I'm a little stim today and I cannot help me with the

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      verbosity lol.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 07 June 2013, 11:33:19


Quote from: milliardo23 on 05 June 2013, 05:11:09
130lbs, is 13mg of 2cbs too much for a first timer? what are the bad effects of 2cbs? are they "safe"?


Reccomended dosage (Shulgin) of 2C-B is 12-24 mg. 2C-B was first syntethized in
1974. It has now almost 40 years of human use and there are only a few reports of
significant human toxicity:
http://www.ncbi.nlm.nih.gov/pubmed/20445431
http://www.ncbi.nlm.nih.gov/pubmed/21036198
So, the physical risks of 2C-B seem to be very moderated; probably 2C-B acts as a
"classical" psychedelic in terms of physical toxicity, that is very low for substances like
LSD or psilocybin.
The only study I know about effects of 2C-B in humans is the one that our team
published last year, there you can find data about adverse effects .Although the
sample is small, I think those are the most recent data about 2C-B
http://www.slideshare.net/fernandocaudevilla/2cb
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: weed4me6969 on 08 June 2013, 01:15:23

      hey i guess i want to know what the medical society (other doctors, scientists,
      etc.) thinks of the drug DMT?? Does it amaze you? Im very interested to see
      what different people think of this drug, or if they are even informed on it
      because i have recently tried it and it blew my mind!!!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: VitaminC on 08 June 2013, 06:17:03

      Hey doc, are 2cb and mdma cross tolerant? And while I have you, how cross
      tolerant is mda and mdma?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Papydoll on 09 June 2013, 17:21:45

      Hi Doc',

      I think it's great what you're doing here ;)

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      I've read you are quite suspicious to NBOME compared to LSD, because of all
      the studies that have been done about LSD over the past decade.

      I would like to know what do you think of DOM (STP) ?

      Thx you very much !



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: marti on 09 June 2013, 17:40:04


Quote from: VitaminC on 08 June 2013, 06:17:03
Hey doc, are 2cb and mdma cross tolerant? And while I have you, how cross tolerant is mda and
mdma?


Hi, I also would like that.
How you'd see doing 2cb and next day candy/hippy flip?

Hola, también me gustaría saberlo
Hasta que punto ves peligroso hacer un día 2cb y el dia siguiente candy/hippy flip? Y a
nivel de tolerancias?

Un saludo.

Por cierto, tienes alguna direccion btc para hacer donaciones? Es mi primera consulta
pero me han servido muchas otras que he visto en otros sitios y aqui mismo...
realmente haces un enorme trabajo..

Edito: vi tu direccion en tu signatura. En cuando vuelva a tener btc te mando una
donacion
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: hellwillbetoasty on 10 June 2013, 00:04:48

      hey doctor, sorry if this is already been asked

      But what can you tell me about the negative physical effects of using cocaine?
      Other than chemical dependency, I already know that.

      I have been using it once every two weeks for the past month, one weekend two
      nights in a row. Each night I consumed probably .4-.5 grams spaced out over
      about four hours



Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: moksha on 10 June 2013, 00:22:58

      Hola Doc,
      Just curious if you knew about any possible interactions between LSD\alprazolam
      \anti-psychotics, in the context of taking either or both coming down from, or to
      end an LSD trip prematurely. I've read anti-psychotics work best for bringing you
      back down to earth quickly, but it seems like a small dose of xanax to try to help
      cope with it and then an anti-psychotic as a back-up if that doesn't work would
      be ideal.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: NSN959 on 10 June 2013, 00:59:10

      Thanks for the thread, doc. Anxiously awaiting your response to Obkkoa and
      modafinil.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 June 2013, 08:21:14


Quote from: obkkoa on 06 June 2013, 23:43:44
I just saw this thread, and I have already read it all. ;D
Are you on CannabisCafe/Energy Control/etc ? Is just that the Spanish scene is not that big, and I
thought that I should had read or known about you before as you seen pretty active even with a topic
here on SR.
Well, my questions are mainly related to the use of nootropics and supplements as a harm reduction
mechanism when taking other drugs.

I take in a daily basis creatine, acetyl-l-cartinine, alpha-gpc and multivitamin pills, taking some rest of
them as is recommended to each particular substance. I also take like 3 or 4 days per week some
pramiracetam and two days per week a pill of modafinil if I feel like I want to do something productive
for some time without feeling sleepy. I'm an almost 19 years old healthy individual.
For the first ones, I know that the evidence about them doing any kind of neuroprotective or
intelligence enhance in healhy young humans is mostly incidental, but all in all, and being the use of
them probably not very rational, I feel comfortable as the risk are (as far as I know) almost
nonexistent if you take them with a good timing and low doses. Also maybe the neuroprotective
effects can be seen if the stack is maintained long enough, but I haven't seen studies about that, and
my consumption is mostly based in Kurzweil etc Faith probably.

Does make sense use attack doses of some vitamins, or take some neuroprotective stuff like Noopept,
pramiracetam etc when a consumption of some drug is planned ?

Can my nootropic stack cause some problems taking into account that I'm planning to take it for
years ? Or this substances are almost innocuous if taken correctly ? I change this stack from time to
time. Probably more and more will be added permanently eventually.

Do you think that there is a considerable possibility of some RCs causing dramatic effects in the
medium-long term even if they are taken a few times ? I'm talking mostly about nbomes, mxe,

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methylone, amt, mdpv, 4-ho-met, 5-meo-dmt etc And by dramatic, I mean some kind of
neurodegenerative/etc disease being directly caused by the drug action, and with a high prevalence of
the disease in the people who tried it.

Also, in another topics:

I would like to know if there is some kind of organization or individuals who is doing some pressure in
Spain from a professional and scientific side about the drug laws and prohibitions, and in which grade
the actual laws are based in factual data instead of FUD and tradition/particular and biased opinions.
Do you think we are far from some regulation at least reaching substances as MDMA, speed, LSD etc ?

Do you think that in a good environment with drugs regulated and an scientific and business world
arousing would be possible the development of drugs with almost not negative reactions even if
consumed weekly, or even more, daily ?
I would love to have a potent stim for almost every day use, they make me productive as hell. In my
weeks, great days are caffeine and modafinil days, and It's nothing compared to good speed or mdpv.
The best would be methylphenidate, even if I don't like it as much as speed, I suppose. But is
expensive as hell, and ethylphenidate I don't think is really an alternative. Is there really also a
chemistry difference to make 1 gr of ethylphenidate cost nothing compared to a few pills of
methylphenidate ? It's probably some fucking patent. :-X

Thanks, and sorry but I'm a little stim today and I cannot help me with the verbosity lol.


Yes, I´m working in Energy Control since 2003 as Medical Consultant.
http://energycontrol.org/infodrogas/el-consultorio-de-dr-x.html

It is probable that common doses of nootropics, vitamins and supplements you
mention don´t have a significant negative effects, even in long term use, as most of
them are nutrients for the body or substances related.

But what is the sense of using "attack doses" of supplements when using drugs? First
of all most psychoactives are not neurotoxic ( basically alcohol and some
amphetamines can have neurotoxic effects in some patterns of use ), but cocaine,
cannabis, opiates and "classical" psychedelics are not. So there can´t be a protective
effect. On the other hand, water-soluble vitamines are harmless (eliminated with
urine) but lipophillic vitamines can be toxic in overdose.

The question of long-term effects of RCs depends on the substance. Some of the drugs
you cite (AMT, 5-MeO-DMT) have been known for decades and it is not probable that
cause long term problems. In fact, there are a few substances that can cause "some
kind of neurodegenerative/etc disease being directly caused by the drug action, and
with a high prevalence of the disease in the people who tried it". MPTP (1-methyl-4-
phenyl-1,2,3,6-tetrahydropyridine) is the classical example. But risks of RCs are
basically unknown and potentially higher than classical substances.

In Spain the most important change in drugs is related to Cannabis Associations.
Personal use of drugs is not a criminal offense in Spain and it is technically possible to
associate to cultivate cannabis. It is an interesting way to unblock the prohibition (at
least on cannabis). I think there will be substantial changes in following years
although South America seems now to be on the first line. But I´m not an expert on
drug politics.


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The idea of a drug with only pleasurable effects and no adverse effects is an uthopy.
All prescription drugs in the world have adverse and toxic effects, they are properties
inherent to the substances.

The difference between methyl and ethylphenidate is not only a patent.
Methylphenidate has been used for decades and widely studied. There are 6528
studies on MedLine of this substance and only 16 of ethylphenidate (none of them in
humans). And sometimes a single atom of carbon can make a big difference. Ethanol
is the alcohol of beverages, methanol is a toxin for human eye that can make you
blind. I don´t mean that it happens the same with methyl and ethyphenidate but the
fact that two molecules are similar does not necessarily mean that effects and risks
are so.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: NaturalOils on 10 June 2013, 09:39:54

      Great Thread!

      It is a credit to humanity that people with the knowledge, spend their time to
      offer it to the people that need it; Well done DoctorX! on-wards humanity!

      I have some questions for you! I would like to understand more about the
      endocrine system and how it is activated when smoking marijuana...which
      alkaloids affect it; THC, CBD etc? Can a form of marijuana, for example oil, by
      used locally as a healing treatment (salve). I am also interested in the current
      'medicalisation' of marijuana; I have heard of strange patented forms such as
      inhalers etc...and would like to know, your opinion, about the efficacy of natural
      forms of marijuana over synthetic, for use in medicine!

      All the best,
      NaturalOils



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b0m on 10 June 2013, 09:59:35

      What about mixing LSD with anti headache pills like dolormin specially? I get
      headache quite a lot after acid and would really love to take some dolormin then
      but im always quite scared for what can happen. I know lsd will make the heart
      rate go up and dolormin will make the blood thinner. I can imagine thats not a
      good combination.

      Is it possibly dangerous?

      Dolormin has a component thats called Lysin, that is to make the pill hit faster (in
      like 10-15 mins ur headache is all gone). Maybe this could interact with the drug


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      too? Maybe drugs can even be perfected using this substance to make it hit
      faster?

      Also i figured when i use dolormin the headache is gone forever most of the
      times. Feels like it has healing powers too! maybe that could even help avoid
      getting something destroyed in the brain by the drug? At least it can maybe help
      to heal the parts that got destroyed (or attacked) better?

      Thanks for your time in advance and have a great day!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 June 2013, 15:55:33


Quote from: weed4me6969 on 08 June 2013, 01:15:23
hey i guess i want to know what the medical society (other doctors, scientists, etc.) thinks of the
drug DMT?? Does it amaze you? Im very interested to see what different people think of this drug,
or if they are even informed on it because i have recently tried it and it blew my mind!!!


I´m sorry I don´t have personal experience with DMT and I don´t have a personal
opinion on it.
There are some interesting theories about why DMT is produced in human brain. There
is a very interesting documentary on DMT
http://www.youtube.com/watch?v=c4FaDMak-TQ
I don´t agree with some of the theories exposed but I think it is very interesting
anyway
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Andrewbud420 on 10 June 2013, 18:29:35

      Would taking drugs such as MDMA and 25i-nbome a few days prior to smoking
      DMT have any effects on the DMT?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: PuretyAboveAll on 10 June 2013, 18:43:50

      First of all: Thank you for your feedback and the service you provide here,
      DoctorX.

      As a person with +14 years of experience with cocaine, without making it a daily
      habbit (Yes, that demands allot of self control). I am curious, as to what your
      experience with cocaine and cocaine users may be? I don't have a particular
      question as such. I am merely queries about the feedback we may be able to give
      each other.

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      For instance: My advice to users of cocaine, that have startet to realise that it is
      starting to be "too much".

      1: Break the cocaine - sex, associations.

      Hopefully I am not the only one here, that knows what I am talking about?




Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 June 2013, 07:48:09


Quote from: Papydoll on 09 June 2013, 17:21:45
Hi Doc',

I think it's great what you're doing here ;)

I've read you are quite suspicious to NBOME compared to LSD, because of all the studies that have
been done about LSD over the past decade.

I would like to know what do you think of DOM (STP) ?

Thx you very much !


DOM (dimethoyxamphetamine) is a prototype of psychedelic amphetamine. Probably
the differences between DOM and LSD depends basically on dose. At low-medium
doses the psychedelic effects are quite similar (although each substance develops its
own psychedelic experience). But at higher doses, physical effects (sweatining,
dizziness, tachycardia, anxiety...) are more noticeable with DOM. Duration of effects
is, indeed, longer with DOM but this property increases at higher doses (until 48-72
hours). And effects start later with DOM (2-3 hours) than with LSD; it is very
important to remember this in order to avoid overdosing.
From a "historical" point of view, DOM was a "classic" during the sixties and has been
studied enough. In this sense it is quite similar to LSD more than to NBOME.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 11 June 2013, 13:42:17

      How often can mephedrone be used safely?
      hat dosages to start with and in one session are recommended?

      I've read that it is not neurotoxic, but I know this still means it needs to be used
      in moderation.



Title: It's not Lupus


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Post by: Sooperknot on 11 June 2013, 15:41:27

      A mid-forties female has been suffering recurrent anxiety episodes that lead to
      respiratory distress with hyperventilation syndrome. Following a particularly
      serious attack of this type, a medical screening and detailed exam showed "no
      evidence of any type of acute emergency process at this time." BP at the time
      was mildly elevated -- enough to suggest ongoing treatment for hypertension.

      The patient's subjective experience of the recent, particularly serious attack
      includes the following:
      - A multitude of voices shouting in her head, mixed with an overwhelming
      clamour of noise in general
      - "I felt like I was dying"
      - Extreme confusion about her physical location. At different times during the
      episode, she clearly stated her location as two different places that are separated
      by 100 miles or more.

      The patient has a history of "seizures" that have been recurring infrequently for
      more than 20 years. Information about the exact nature of these episodes is
      sparse, but some of the incidents did lead to ER visits and medical exams. At no
      time did any medical exams produce a diagnosis of any organic process causing
      these "seizures," and they have always been attributed to general anxiety. For
      much of this historical period she has been a very heavy smoker of cannabis.
      Light drinker, 1/4 pack per day cigarette smoker, no other drugs of abuse.

      Physically the patient is very slender. Her measured body temperature tends to
      be lower than normal, yet her skin feels warm to the touch -- warmer than an
      average person. She states that she has had "thyroid problems"in the past but
      we have no specific information about those.

      Two weeks prior to the most recent spate of anxiety attacks, the patient used
      DMT for the first time. This was her first genuine psychedelic experience of any
      kind. In the immediate aftermath of the trip she reported the usual feelings of
      wonder, awe, and amazement, expressing a desire to do it again as soon as
      possible and try a higher dose to achieve "breakthrough."

      However in the two week period that followed, this already slender woman lost
      10 lbs, became increasingly anxious and irritable, and finally began having the
      acute anxiety attacks that culminated in something resembling a psychotic break.

      The patient believes that the DMT trip caused, or at least precipitated, her
      psychiatric symptoms.

      Any thoughts?



Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: DoctorX on 11 June 2013, 16:16:52


Quote from: marti on 09 June 2013, 17:40:04
Quote from: VitaminC on 08 June 2013, 06:17:03
 Hey doc, are 2cb and mdma cross tolerant? And while I have you, how cross tolerant is mda and
 mdma?

Hi, I also would like that.
How you'd see doing 2cb and next day candy/hippy flip?

Hola, también me gustaría saberlo
Hasta que punto ves peligroso hacer un día 2cb y el dia siguiente candy/hippy flip? Y a nivel de
tolerancias?

Un saludo.

Por cierto, tienes alguna direccion btc para hacer donaciones? Es mi primera consulta pero me han
servido muchas otras que he visto en otros sitios y aqui mismo... realmente haces un enorme trabajo..

Edito: vi tu direccion en tu signatura. En cuando vuelva a tener btc te mando una donacion


First of all, the degree of risk depends on dosage. Doses below 20 mg of 2C-B are
probably physically and mentally harmless, at least for most healthy people. Tolerance
between 2C-B and other psychedelics has not been studied but, in my opinion and
according to pharmacological way of action there might be some degree of cross-
tolerance. Probably this effect it is not very big (would notice more with higher 2C-B
dose) but I think psychedelic effects could be more subtle, and after effects
(hangover) higher
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 June 2013, 16:33:49


Quote from: moksha on 10 June 2013, 00:22:58
Hola Doc,
Just curious if you knew about any possible interactions between LSD\alprazolam\anti-psychotics, in
the context of taking either or both coming down from, or to end an LSD trip prematurely. I've read
anti-psychotics work best for bringing you back down to earth quickly, but it seems like a small dose
of xanax to try to help cope with it and then an anti-psychotic as a back-up if that doesn't work would
be ideal.


In my opinion, if you are planning to stop a LSD trip because is too long, one
alternative is to choose another short-acting psychedelic instead (4-AcO-DMT or even
psilocybes). If the reason to stop is anxiety, first of all I would follow the Haight-
Asbury recomendations (Techniques for Treating The Acute Panic Reaction)
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1503525/pdf/califmed00024-0019.pdf
If it doesn´t work, a benzodiacepine will lower anxiety but it is not so specific as
antipsychotics. Chlorpromazine is the most studied in this sense, although adverse


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effects make that it should be used with caution and only if specifically needed.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: moksha on 11 June 2013, 16:42:25


Quote from: DoctorX on 11 June 2013, 16:33:49
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If it doesn´t work, a benzodiacepine will lower anxiety but it is not so specific as antipsychotics.
Chlorpromazine is the most studied in this sense, although adverse effects make that it should be
used with caution and only if specifically needed.
Thanks a lot DoctorX, the reading I've done since is making me lean towards having a
benzo handy but I'm quite intrigued by those techniques I'll give it a read :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Papydoll on 11 June 2013, 17:38:57


Quote from: DoctorX on 11 June 2013, 07:48:09
Quote from: Papydoll on 09 June 2013, 17:21:45
 Hi Doc',

 I think it's great what you're doing here ;)

 I've read you are quite suspicious to NBOME compared to LSD, because of all the studies that have
 been done about LSD over the past decade.

 I would like to know what do you think of DOM (STP) ?

 Thx you very much !

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quite similar (although each substance develops its own psychedelic experience). But at higher
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72 hours). And effects start later with DOM (2-3 hours) than with LSD; it is very important to
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I think I will give DOM a try but you gave me priceless information to avoid redrop, I
have not see that before.
Thanks Doc, nice to give us so much time and informations.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: estefi123 on 11 June 2013, 18:57:05

      Doc I had a really uncomfortable bodyload on TMA-6 (45mg) never experienced it
      before (nbomes, mephed, amps, those are said to be hard vasoconstrictors drugs
      that i've taken and felt no physical discomfort)
      I don't have more tma but I am planing on taking some DOC, am I prone to
      experience same bodyload ? (cold hands, a little numbing on the little finger and
      some hours into the trip lowerback pain)
      If this is vasoconstriction, what can I take or do to avoid it, Should I dress up,
      get heat, exercise, none of those?
      Thanks doc, also great articles in your website.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Nuclearjellycream on 12 June 2013, 04:09:46

      I know MDMA's neurotoxicity is somewhat of a controversial topic. According to
      what I've read, which may be wrong, you can find almost equal amounts of
      evidence on either side, as to it being neurotoxic or not. So try and be as
      explanatory as you can, shatter my illusions, or whatnot.

      Will rolling on it now have a significant effect on me later in life? People often say
      neurotoxic, but never state what this implies. Will it be safer if I limit the usage
      to a few times a year, or is this still not desirable? Would rolling every couple of
      weeks have a significantly awful effect on me later in life, specifically?

      Give a conservative answer if you must, but a reasonable one. :) I love MDMA,
      but may want to limit the usage in case of any of these things.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Baggie on 12 June 2013, 04:53:26

      Any information on the health risks of JWH-018 Dr?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 June 2013, 07:42:40



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Quote from: hellwillbetoasty on 10 June 2013, 00:04:48
hey doctor, sorry if this is already been asked

But what can you tell me about the negative physical effects of using cocaine? Other than chemical
dependency, I already know that.

I have been using it once every two weeks for the past month, one weekend two nights in a row. Each
night I consumed probably .4-.5 grams spaced out over about four hours


Negative effects of cocaine depends on factors as frequency, dosage, route of
administration and personal characteristics. In high doses or susceptible persons it can
lead to agitation, hostility, hallucinations, convulsions...Stroke or heart attack are
relativelly uncommon, although intensive users and people with latent congenital
heart defects, high blood pressure, or thyroid problems are more susceptible to these
effects. Infections on nose and septum are possible (if the product is not properly
insufflated). Some people can develop psychiatric problems.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 12 June 2013, 17:41:48

      Dear Dr.

      Because of you I did my work and put my 50 reply's in to tell you I think you are
      great. Your answers are amazingly cogent, especially, since I suspect, English is
      not your first language. Now my question:

      Assuming a person likes the feeling derived from smoking weed but feels they
      like it too much and are not in control. Are there any medicines you would
      recommend to help stop the habit or would you suggest talk therapy to get a
      handle on things or something else entirely?

      You classify weed as a minor psychedelic and you also suggest limiting ones use
      of these substances. Do you also suggest a non-binge pot use for those who
      choose to do it? My problem is if I have it I want to use it until I don't have it
      anymore. Like a food addict who can't control the sweet tooth.

      SR is an intelligent alternative to both extremes in the drug world when someone
      like yourself comes out of the blue. Take note all you LEO's stalking these pages,
      treatment is the answer not punishment. Thanks a bunch DoctorX.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 June 2013, 18:53:40


Quote from: NaturalOils on 10 June 2013, 09:39:54
Great Thread!


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It is a credit to humanity that people with the knowledge, spend their time to offer it to the people
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I have some questions for you! I would like to understand more about the endocrine system and how
it is activated when smoking marijuana...which alkaloids affect it; THC, CBD etc? Can a form of
marijuana, for example oil, by used locally as a healing treatment (salve). I am also interested in the
current 'medicalisation' of marijuana; I have heard of strange patented forms such as inhalers etc...
and would like to know, your opinion, about the efficacy of natural forms of marijuana over synthetic,
for use in medicine!

All the best,
NaturalOils


Effects of cannabis are basically focused on Central Nervous System (activation of CB1
receptors) and immune system (CB2 receptors). These are responsibles of the
therapeutic effects of cannabinoids in some diseases (nauseas in chemotherapy,
multiple sclerosis, neuropatic pain, wasting-HIV syndrome...). CNS response produces
an activation of endocrine system (sexual and thyroid hormons, growth hormone...)
although these changes are not significant to humans, considering pattern of use.
SOme experiments have shown infertility in animals who receive high doses of
cannabinoids, but these data are not extrapolable to humans.
More on neuroendocrine effects of cannabis: http://www.ukcia.org/research/
EndocrineEffects.pdf

There is no evidence that salves, creams or oints have effect on topic use.
Cannabinoids do not trespass the skin.

As a medical practicioner I prefer synthetic compounds to natural ones in medicine.
Prescription drugs allow isolate molecules and calculate the exact dose. I don´t
beleive that natural plants are better than medicines only by the fact that the first are
"natural". Of course I beleive also that the plant of cannabis can have benefits on
health if properly used but, in a therapeutical perspective, I prefer prescription drugs.
There are some important points or details (for example, the fact that the sublingual
extract of cannabis Sativex costs more than 400$), but that is other story...

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Somepup on 14 June 2013, 01:26:52

      Have you ever saw this documentary http://topdocumentaryfilms.com/making-a-
      killing-the-untold-story-of-psychotropic-drugging/ and what's your opinion on it?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 June 2013, 07:54:29


Quote from: b0m on 10 June 2013, 09:59:35


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What about mixing LSD with anti headache pills like dolormin specially? I get headache quite a lot
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imagine thats not a good combination.

Is it possibly dangerous?

Dolormin has a component thats called Lysin, that is to make the pill hit faster (in like 10-15 mins ur
headache is all gone). Maybe this could interact with the drug too? Maybe drugs can even be
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healing powers too! maybe that could even help avoid getting something destroyed in the brain by the
drug? At least it can maybe help to heal the parts that got destroyed (or attacked) better?

Thanks for your time in advance and have a great day!


There are not known interactions between ibuprofen (and NSAID in general) and LSD.
Lysine helps to make ibuprofen more soluble, and so enhances absorption. But this is
no useful for LSD or any other drug solubility and will not make the absoprtion of
other drugs faster. It also has no effect in avoiding neurotoxicity of any drug.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 June 2013, 07:58:03


Quote from: Andrewbud420 on 10 June 2013, 18:29:35
Would taking drugs such as MDMA and 25i-nbome a few days prior to smoking DMT have any effects
on the DMT?


I don´t know studies covering this topic. In general, psychedelics can create some
cross-tolerance. Probably MDMA will not have a noticeable effect on this, but it is
possible that 25I-NBOMe has. Depending on dose of 25I-NBOME and time between
this drug and DMT this effect will be noticeable or not. But this is only theoretical
speculation and no based in scientific studies.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 June 2013, 08:13:28


Quote from: PuretyAboveAll on 10 June 2013, 18:43:50
First of all: Thank you for your feedback and the service you provide here, DoctorX.

As a person with +14 years of experience with cocaine, without making it a daily habbit (Yes, that
demands allot of self control). I am curious, as to what your experience with cocaine and cocaine
users may be? I don't have a particular question as such. I am merely queries about the feedback we
may be able to give each other.

For instance: My advice to users of cocaine, that have startet to realise that it is starting to be "too
much".

1: Break the cocaine - sex, associations.


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Hopefully I am not the only one here, that knows what I am talking about?


Cocaine is a drug that can be more difficult to control than others. It doesn´t
mean that everybody who tries it, even who use it regularly, will have a dependence
problem. But dependence and abuse are a frequent complication compared with other
drugs.

Beyond neurochemical and pharmacological questions, I think the cause for this is that
cocaine is a drug very useful for cotidiane activities. I explain. For most people it is
difficult to work, study or do routine activities on LSD, MDMA, cannabis or alcohol. But
cocaine is a drug that fits very well in this sense. Even, it is possible that, in short
time, one can work or study better using cocaine. So it is a drug that can easily go
beyond the frontier between recreative and cotidiane activities. In general,
recreational use of drugs is less risky than instrumental, operative use. If one person
starts using cocaine outside recreative settings and use it for work in a daily pattern of
use, it is more probable that will have associated problems.

Cocaine users must be conscious about their pattern of use. I don´t think control is
impossible, but, at least for some people, it can be more difficult than for other drugs
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 June 2013, 08:31:12


Quote from: Dingo Ate My Drugs on 11 June 2013, 13:42:17
How often can mephedrone be used safely?
hat dosages to start with and in one session are recommended?

I've read that it is not neurotoxic, but I know this still means it needs to be used in moderation.


There are not clinical trials using mephedrone in humans. The only data come from
animal studies, mice in concrete, and these data are not extrapolable to humans:
http://www.ncbi.nlm.nih.gov/pubmed/22922498
In this case, in order to estimate dosage, I recommend Erowid data. Please note that,
as it says in the page, "Erowid's dosage information is a summary of data gathered
from users, research, and other resources. This information is intended to describe the
range of dosages people report using. It should not be construed as a
recommendation of any sort. Individuals can respond very differently to the same
dosage. What is safe for one can be deadly for another. "
http://www.erowid.org/
chemicals/4_methylmethcathinone/4_methylmethcathinone_dose.shtml
In relation to frequence of use, it happens the same. There is a lack of data. But we
know that mephedrone causes tolerance, so a minimum 2-week frequence should be a
safe way to avoid this problem, at least in theory
Title: Re: It's not Lupus
Post by: DoctorX on 14 June 2013, 18:57:46


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Quote from: Sooperknot on 11 June 2013, 15:41:27
A mid-forties female has been suffering recurrent anxiety episodes that lead to respiratory distress
with hyperventilation syndrome. Following a particularly serious attack of this type, a medical
screening and detailed exam showed "no evidence of any type of acute emergency process at this
time." BP at the time was mildly elevated -- enough to suggest ongoing treatment for hypertension.

The patient's subjective experience of the recent, particularly serious attack includes the following:
- A multitude of voices shouting in her head, mixed with an overwhelming clamour of noise in general
- "I felt like I was dying"
- Extreme confusion about her physical location. At different times during the episode, she clearly
stated her location as two different places that are separated by 100 miles or more.

The patient has a history of "seizures" that have been recurring infrequently for more than 20 years.
Information about the exact nature of these episodes is sparse, but some of the incidents did lead to
ER visits and medical exams. At no time did any medical exams produce a diagnosis of any organic
process causing these "seizures," and they have always been attributed to general anxiety. For much
of this historical period she has been a very heavy smoker of cannabis. Light drinker, 1/4 pack per
day cigarette smoker, no other drugs of abuse.

Physically the patient is very slender. Her measured body temperature tends to be lower than
normal, yet her skin feels warm to the touch -- warmer than an average person. She states that she
has had "thyroid problems"in the past but we have no specific information about those.

Two weeks prior to the most recent spate of anxiety attacks, the patient used DMT for the first time.
This was her first genuine psychedelic experience of any kind. In the immediate aftermath of the trip
she reported the usual feelings of wonder, awe, and amazement, expressing a desire to do it again as
soon as possible and try a higher dose to achieve "breakthrough."

However in the two week period that followed, this already slender woman lost 10 lbs, became
increasingly anxious and irritable, and finally began having the acute anxiety attacks that culminated
in something resembling a psychotic break.

The patient believes that the DMT trip caused, or at least precipitated, her psychiatric symptoms.

Any thoughts?


It is important to consider that it is not possible to give concrete diagnosis based on
Internet information, although you have explained very well and detailed the situation.
There is only one thing that sounds strange in the story. The fact that " a multitude of
voices shouting in her head, mixed with an overwhelming clamour of noise in general"
does not coincide with panic attacks. There are some rare diseases (like temporal
epilepsy) that can curse with symptoms like that. I´m not stating that is the cause of
the problem, I´m only pointing one possibility and the idea that, in general, auditive
alucinations are not typical of panic or anxiety.

Of course DMT can trigger a psychotic problem. It is an uncommon situation but, in
my experience this can happen more frequently with DMT than other drugs. In
general, these episodies occur in pre-morbid, predisposed personalities. The
symptoms you describe could indicate this (once more, it is only a possibility, I can´t
be 100% sure). Anyway, if she is experiencing psychotic symptoms I think she should
search for professional help. DMT psychosis usually have an excelent response to
antipsychotics and 2-3 months are enough for most patients. It is important also to

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avoid DMT and psychedelics in general.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 June 2013, 20:00:22


Quote from: estefi123 on 11 June 2013, 18:57:05
Doc I had a really uncomfortable bodyload on TMA-6 (45mg) never experienced it before (nbomes,
mephed, amps, those are said to be hard vasoconstrictors drugs that i've taken and felt no physical
discomfort)
I don't have more tma but I am planing on taking some DOC, am I prone to experience same
bodyload ? (cold hands, a little numbing on the little finger and some hours into the trip lowerback
pain)
If this is vasoconstriction, what can I take or do to avoid it, Should I dress up, get heat, exercise,
none of those?
Thanks doc, also great articles in your website.


I´m not sure the symptoms you are saying can be caused by true vasoconstriction.
There is a difference between "uncomfortable bodyload" (that can be attributed to
psychedelics changes of self-perceptions) and vasoconstriction (blue fingers, pain,
extreme hypertension and tachycardia). Vasoconstriction is an uncommon and
potentially very dangerous situation associated to some drugs. But in fact it is not a
problem with DOC, or at least there are no known data in humans with this problem.
In fact there is only a fatal case known
http://www.ncbi.nlm.nih.gov/pubmed/19078842
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chil on 15 June 2013, 10:22:46

      Hola Doc,

      I am an occasional (2-3 a month) user of stimulants (coke, amphetamines,
      modafinil, mephedrone, nicotine). I've been running (jogging) outside 3-4 times
      a week for 3 months with no problems whatsoever.

      I've used mephedrone last week and nicotine daily (electronic cigarette). Since
      then, whenever I go for a jog, I have to stop after 3 minutes because there is a
      strong pain in my heart. I don't feel breathless, I just have to stop because of the
      pain. Once I stop running, the pain disappears.

      1) do stimulants have a long-term negative effect on your heart ?
      2) does this pain could be related to mephedrone use or nicotine ?

      Muchas Gracias !



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: kmfkewm on 15 June 2013, 12:47:17


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      Cocaine is directly cardiotoxic. It literally kills your heart.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 June 2013, 12:57:16


Quote from: Nuclearjellycream on 12 June 2013, 04:09:46
I know MDMA's neurotoxicity is somewhat of a controversial topic. According to what I've read, which
may be wrong, you can find almost equal amounts of evidence on either side, as to it being neurotoxic
or not. So try and be as explanatory as you can, shatter my illusions, or whatnot.

Will rolling on it now have a significant effect on me later in life? People often say neurotoxic, but
never state what this implies. Will it be safer if I limit the usage to a few times a year, or is this still
not desirable? Would rolling every couple of weeks have a significantly awful effect on me later in life,
specifically?

Give a conservative answer if you must, but a reasonable one. :) I love MDMA, but may want to limit
the usage in case of any of these things.


There is evidence that intravenous or intraperitoneal administration of high doses of
MDMA produces neurotoxic changes in all animal species studied. But these results of
animal studies are not directly extrapolable to humans. The doses used in these
studies are far away to these used in humans. One rat weights 0.1 kg; the dose in
studies is 5-10 mg/kg/2 hours/4 times. That means, that, extrapolating to humans, 4-
5 gr of injected pure MDMA.
In addition, there is a great inter-species different sensibility to MDMA neurotoxicity in
mammals (rabbits, rats, monkeys...) Even with the same species, some strains of
animals ( Sprague-Dawley or Dark Agouti rats) show different sensibility to this
effects. Many times rats must be keeped in freezers during studies ;if not, they die
because of the massive MDMA doses. In summary, data from studies are no worthy to
humans.
 There is no evidence that occasional moderate doses (lower than 120-150 mg oral)
have any neurotoxic effects in humans. In fact at least four investigation teams have
been administrating MDMA to healthy human volunteers in clinical trials with the
approval of sanitary authorities and ethical comitees of clinical trials.
The question of MDMA neurotoxicity is one of the most controversial and complex.
First of all, we should define what we understand for "neurotoxicity", because it is not
clear that some of the changes observed mean a real toxic effect. For example, we
can exactly measure the degree of liver toxicity caused by alcohol by blood tests,
ecography, even biopsy. These tests have diagnostic and pronostic value and are
universally admitted in this sense.
But, with MDMA, we still don´t know if changes in density neurorreceptors and images
on PET or SPECT are indicative of neurotoxicity, and what are the clinical implications.
Some studies (but not all) have found differences in memory in heavy MDMA users.
Some studies (but not all) have shown that these deficit recover after some months-
years of abstinence. What it is clear that these effects appear only in heavy-long term


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MDMA users and it is very difficult to know the exact role of MDMA, as there are many
factors (lifestyle, use of other drugs...) that can mislead results.
 What is clear is that moderate use of MDMA (in dose and frequency) has not been
linked to neurotoxic changes. The exact impact in heavy users is, as far as I know,
impossible to determinate. Is there a safe frequency? Unfortunately the scientific
investigations are not oriented to analyze this, but to scare people about MDMA use.
There are no data of MDMA neurotoxicity in human ocassional use. No use of MDMA
means risk zero. In my opinion, use of “a few times a year” in moderate doses and
safe environments means an acceptable risk.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 June 2013, 13:04:34


Quote from: Baggie on 12 June 2013, 04:53:26
Any information on the health risks of JWH-018 Dr?


There are significant reports of toxicity of JWH-018 and many other synthetic
cannabinoids. These substances produce desired effects similar to cannabis, but health
risks are much more important than cannabis ones. Cannabis is almost physically
harmless, but synthtetic cannabinoids are not.
http://www.ncbi.nlm.nih.gov/pubmed/19652769
http://www.ncbi.nlm.nih.gov/pubmed/20531137
http://www.ncbi.nlm.nih.gov/pubmed/21740143
http://www.ncbi.nlm.nih.gov/pubmed/21802885
http://www.ncbi.nlm.nih.gov/pubmed/21970775
http://www.ncbi.nlm.nih.gov/pubmed/22245279
http://www.ncbi.nlm.nih.gov/pubmed/22417829

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chil on 15 June 2013, 16:56:15


Quote from: kmfkewm on 15 June 2013, 12:47:17
Cocaine is directly cardiotoxic. It literally kills your heart.


A few searches brought up the idea that cocaine is the most cardiotoxic drug. Yet I
have a feeling that mephedrone is no better.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 June 2013, 19:02:05


Quote from: cleansober on 12 June 2013, 17:41:48
Dear Dr.




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Because of you I did my work and put my 50 reply's in to tell you I think you are great. Your answers
are amazingly cogent, especially, since I suspect, English is not your first language. Now my question:

Assuming a person likes the feeling derived from smoking weed but feels they like it too much and are
not in control. Are there any medicines you would recommend to help stop the habit or would you
suggest talk therapy to get a handle on things or something else entirely?

You classify weed as a minor psychedelic and you also suggest limiting ones use of these substances.
Do you also suggest a non-binge pot use for those who choose to do it? My problem is if I have it I
want to use it until I don't have it anymore. Like a food addict who can't control the sweet tooth.

SR is an intelligent alternative to both extremes in the drug world when someone like yourself comes
out of the blue. Take note all you LEO's stalking these pages, treatment is the answer not
punishment. Thanks a bunch DoctorX.


Thanks. Yes, as you see English is not my first language and my expression and
comprehension are limited. In fact I´m not sure if I have understood your question.
I thinks drugs have to be used for pleasure, it must be the person who controls the
substance and not the opposite. For some people, in some situations, with some
substances...sometimes this can be difficult. It someone thinks that his pattern of use
is inadequate, and feels unable to stop it, maybe it is the moment to look for help. It
is not a question of the concrete substance (you are talking about cannabis, but it is
the same for any other drug), but also the person and the way he/she uses the drug.
Depending on the concrete case, sometimes is necessary pharmacological help. But it
is not a question of substitute an illegal drug for a prescription drug (with this, we
create another addiction), but to use it wisely during a limited time, with agreement of
the patient. The concrete drug depends on the concrete situation
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 June 2013, 12:28:25


Quote from: Somepup on 14 June 2013, 01:26:52
Have you ever saw this documentary http://topdocumentaryfilms.com/making-a-killing-the-untold-
story-of-psychotropic-drugging/ and what's your opinion on it?


I´m sorry I don´t have time to see a 1.30 hour documentary. I have read the
summary and have a quick look but the issue does not interest me. It sounds to me
like conspiracy theories. Of course I think that excessive prescription of drugs is a
problem but the way the data are presented in a parcial, inexact, alarmist and biased
way.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 June 2013, 12:36:15


Quote from: chil on 15 June 2013, 10:22:46
Hola Doc,

I am an occasional (2-3 a month) user of stimulants (coke, amphetamines, modafinil, mephedrone,


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nicotine). I've been running (jogging) outside 3-4 times a week for 3 months with no problems
whatsoever.

I've used mephedrone last week and nicotine daily (electronic cigarette). Since then, whenever I go
for a jog, I have to stop after 3 minutes because there is a strong pain in my heart. I don't feel
breathless, I just have to stop because of the pain. Once I stop running, the pain disappears.

1) do stimulants have a long-term negative effect on your heart ?
2) does this pain could be related to mephedrone use or nicotine ?

Muchas Gracias !


I can´t say exactly what can be happening but data you provide are enough to
reccomend search medical assistance. It is not sure that you have a problem, even I
don´t know if this problem is or not related to drugs. But there are several respiratory
and cardiac conditions with symptoms like yours. It should be important to have a RX
and cardio-respiratory stress test to rule out the possibility of serious problems. In the
meanwhile, I reccomend you to stop jogging and using stimulants.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: banginon1808 on 16 June 2013, 15:18:35

      doctorx i wanted to know if there was a drug that can reverse the effects of meth
      and/or speed?
      i think there such a drug for heroin??

      thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 June 2013, 15:28:44


Quote from: banginon1808 on 16 June 2013, 15:18:35
doctorx i wanted to know if there was a drug that can reverse the effects of meth and/or speed?
i think there such a drug for heroin??

thanks


Naloxone reverts completelly the effects of heroin. Although it should be used in a
medical environment, in case of emergency it can be used intranasally if a person is
completely unconscious and breathless after an overdose of heroin.
Benzodiacepines can revert some of the effects of meth or speed, but are not specific
antidotes. They can alleviate some symptoms of anxiety but will not be enough in case
of a severe intoxication
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 17 June 2013, 15:38:39



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Quote from: DoctorX on 14 June 2013, 08:31:12
Quote from: Dingo Ate My Drugs on 11 June 2013, 13:42:17
 How often can mephedrone be used safely?
 hat dosages to start with and in one session are recommended?

 I've read that it is not neurotoxic, but I know this still means it needs to be used in moderation.

There are not clinical trials using mephedrone in humans. The only data come from animal studies,
mice in concrete, and these data are not extrapolable to humans:
http://www.ncbi.nlm.nih.gov/pubmed/22922498
In this case, in order to estimate dosage, I recommend Erowid data. Please note that, as it says in the
page, "Erowid's dosage information is a summary of data gathered from users, research, and other
resources. This information is intended to describe the range of dosages people report using. It should
not be construed as a recommendation of any sort. Individuals can respond very differently to the
same dosage. What is safe for one can be deadly for another. "
http://www.erowid.org/chemicals/4_methylmethcathinone/4_methylmethcathinone_dose.shtml
In relation to frequence of use, it happens the same. There is a lack of data. But we know that
mephedrone causes tolerance, so a minimum 2-week frequence should be a safe way to avoid this
problem, at least in theory
Thanks for your time.
I will look it up on erowid.
I always research drugs before I use them, but thee isn't too much info on
Mephedrone that I have found.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 20 June 2013, 11:12:31

      In fact there is little information available about mephedrone in humans, besides
      several recent toxicity reports
      http://www.ncbi.nlm.nih.gov/pubmed/23749863
      http://www.ncbi.nlm.nih.gov/pubmed/23436895
      http://www.ncbi.nlm.nih.gov/pubmed/23134715
      http://www.ncbi.nlm.nih.gov/pubmed/22524925
      There are on-going clinical studies giving mephedrone to humans, so I expect
      soon we will have more accurate data



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 20 June 2013, 14:39:35


Quote from: DoctorX on 20 June 2013, 11:12:31
In fact there is little information available about mephedrone in humans, besides several recent
toxicity reports
http://www.ncbi.nlm.nih.gov/pubmed/23749863
http://www.ncbi.nlm.nih.gov/pubmed/23436895
http://www.ncbi.nlm.nih.gov/pubmed/23134715
http://www.ncbi.nlm.nih.gov/pubmed/22524925


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There are on-going clinical studies giving mephedrone to humans, so I expect soon we will have more
accurate data
I will test it out anyway. Done a bit of reading and it seems to not be neurotoxic. Read
some erowid reports and it seems like it's somewhere between MDMA and speed.
Should be a good experience when I try it. thanks DoctorX.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TorXic on 20 June 2013, 16:41:16

      not sure is the right thread to ask.

      first of all, I know is addictive, like other drugs or more, but it's not what im
      worried about.


      I was thinking to smoke meth regularly (just some months), not more than once
      or twice a week.

      which is a safe dose to recover and don't get permanent effects/side effects? if
      there is any chances at all to not get permanent effects...
      probably it's too strong to use without risks.

      once a week, twice in same day 15 + 15 after ~3 hours? or just 10+10?

      twice a week regularly maybe is too much, few days to rest.


      any hint?

      I didn't found much searching around.


      Thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 21 June 2013, 08:16:50

      passng a drug test in 10 days . just smoked a lot today and heavy for the past
      week.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 21 June 2013, 12:21:39

      DoctorX,

      Cannabis users in some locations can semi-legally use everyday for many

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      ailments physical and/or psychological. Some doctors make a practice of doing a
      quick checkup and routinely providing the patient with a prescription. Do you
      think this is a rational health care policy? Would you ever recommend a patient
      take cannabis on a daily basis?

       Southpark's 22 minute episode 'Medicinal Fried Chicken' makes great fun of this
      legalization trend. http://www.southparkstudios.com/full-episodes/s14e03-
      medicinal-fried-chicken.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: kmfkewm on 21 June 2013, 14:40:50


Quote from: cleansober on 21 June 2013, 12:21:39
DoctorX,

Cannabis users in some locations can semi-legally use everyday for many ailments physical and/or
psychological. Some doctors make a practice of doing a quick checkup and routinely providing the
patient with a prescription. Do you think this is a rational health care policy? Would you ever
recommend a patient take cannabis on a daily basis?

 Southpark's 22 minute episode 'Medicinal Fried Chicken' makes great fun of this legalization trend.
http://www.southparkstudios.com/full-episodes/s14e03-medicinal-fried-chicken.


Of course smoking cannabis is not medically valid, it is just a sham to get weed
legalized. There are pharmaceuticals derived from cannabis that serve the same
function, and those are what any legitimate doctor would prescribe.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mcguire39 on 21 June 2013, 14:58:57


Quote from: kmfkewm on 21 June 2013, 14:40:50
Of course smoking cannabis is not medically valid, it is just a sham to get weed legalized. There are
pharmaceuticals derived from cannabis that serve the same function, and those are what any
legitimate doctor would prescribe.
The sham is the federal government strongly opposing cannabis use for any purpose
because the pharmaceutical companies control the FDA. If you look at the information
on whitehouse dot gov, their page reads like a sales ad for the pharmaceuticals you
mention. Big pharma is afraid of cannabis because it works and has few side effects.
It's just they can't make any money on it unless they bastardize it and make a
patented 'drug' out of it. Next will be GMO cannabis, if it doesn't already exist.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: kmfkewm on 21 June 2013, 16:17:01

      No legitimate doctor is going to prescribe that people smoke a cancerous

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      substance, or consume orally a drug with unknown dosage, when they can
      instead take a pill that is accurately dosed, does the same thing and doesn't
      cause cancer.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 21 June 2013, 16:50:57


Quote
No legitimate doctor is going to prescribe that people smoke a cancerous substance, or consume
orally a drug with unknown dosage, when they can instead take a pill that is accurately dosed, does
the same thing and doesn't cause cancer.


True, but many users cannot afford medical care and are only able to self-medicate or
experiment on their own with various substances. By understanding the benefits and
risks involved in self-medicating perhaps users could have a better experience and
healthier longer term outcomes. Just because we love something doesn't mean it is
good for us.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 June 2013, 17:41:57


Quote from: TorXic on 20 June 2013, 16:41:16
not sure is the right thread to ask.

first of all, I know is addictive, like other drugs or more, but it's not what im worried about.


I was thinking to smoke meth regularly (just some months), not more than once or twice a week.

which is a safe dose to recover and don't get permanent effects/side effects? if there is any chances at
all to not get permanent effects...
probably it's too strong to use without risks.

once a week, twice in same day 15 + 15 after ~3 hours? or just 10+10?

twice a week regularly maybe is too much, few days to rest.


any hint?

I didn't found much searching around.


Thanks



Hi,



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your question is very difficult to answer as there is a lack of data about it. In your
question, "permanent effects" and "risks" are not defined (physical?, psychological?,
social?, all of them?. People use to think that risks of drugs depend only on the
substance (meth in this case), but risks depend also on individual who uses it (age,
sex, state of health, motivations for use, previous experience with drugs,
psychological and social stete...) and the context of use. To valorate the specific risks
of a drug we need always to consider this data, and this valoration is aproximative and
not an exact, mathematic law.

I think that using a high addictive drug (meth) in a high addictive way of use
(smoked) will probably lead to tolerance in a few weeks. At least I think this is the
most obvious and probable consequence. I´m not saying you will irremediably become
an addict, but it seems the most obvious risk. In a physical perspective, it is unlikely
that occasional use of meth will lead to severe health conditions, but if it happens,
consequences would be serious.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: moksha on 22 June 2013, 19:20:50


Quote from: kmfkewm on 21 June 2013, 16:17:01
No legitimate doctor is going to prescribe that people smoke a cancerous substance, or consume
orally a drug with unknown dosage, when they can instead take a pill that is accurately dosed, does
the same thing and doesn't cause cancer.
I'd recommend looking into the birthplace of THC research, Israel. Doctors there
prescribe concentrates and the like in very controlled dosages like any medicine
should be, it really makes the American medical marijuana industry sound like a bit of
a joke.

It's a bit foolish to write off all THC or marijuana-related substances as potentially
beneficial and necessarily inferior to mass-produced pharms in my opinion. There's a
huge amount of research still to be done, but each different strain of cannabis has
unique effects of concentrations of varying cannabinoids that really does make it a
medicine that can be tailored to the individuals needs.

And the cancer shit I think we've all heard, post some evidence that supports the
claim there's cancer-causing effects from smoking cannabis other than the obvious
carcinogens of inhaling any plant material. Not arguing there it's clearly unhealthy in
that aspect, but that's just one of many routes of administration.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: estefi123 on 22 June 2013, 21:24:58

      Can you explain some basics of tolerance?
      Is it the depletion of neurotransmiters, or the body gets used to cleaning the
      body of that drug, is the brain that gets used to the effects?



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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: zipstyle on 23 June 2013, 10:39:13


Quote from: estefi123 on 22 June 2013, 21:24:58
Can you explain some basics of tolerance?
Is it the depletion of neurotransmiters, or the body gets used to cleaning the body of that drug, is the
brain that gets used to the effects?


Think of it this way:
Every component in your body works together to maintain homeostasis (or at least
what those components think is homeostasis). Drugs actually shift the balance,
creating an imbalance. That imbalance is oftentimes what people experience as the
"high." The brain, in this case, recognizes this and starts to lower sensitivity to this
intruder chemical causing an imbalance so that the body and the brain can function at
"normal" levels once again.

That was the short and easy explanation lol
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 23 June 2013, 21:27:37

      Two things:

      1) The higher the high the lower the low?

      2) Should we all just stop our experimentation and join a club or something?


Quote
"I´m not saying you will irremediably become an addict, but it seems the most obvious risk."


I ' m curious what you mean by irremediably? Actually I'm a gonna lookee up that
there number. It just don't look right if you know what I mean. "Irremediably" means
cannot be fixed, broken without hope of repair, like all PC laptops after three or four
years.

Two more things:

1) Can people avoid addictions by doing something?

2) Why is it that no drug causes addiction in 100% of its users? This includes nicotine
which I thought was the most addictive drug other than speed perhaps.



Thanks to the wisdom of those who have come before us, also know as, we stand on

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the shoulders of those who have come before us as well as give me a place to put my
lever and I will move the earth.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 June 2013, 07:05:34


Quote from: tedrux on 21 June 2013, 08:16:50
passng a drug test in 10 days . just smoked a lot today and heavy for the past week.


Most urine test for cannabis will be positive after 7-10 days for occasional users and
30-90 days for regular users. These data are orientative, depend on the exact test
used and also in individual characteristics.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 June 2013, 07:18:18


Quote from: cleansober on 21 June 2013, 12:21:39
DoctorX,

Cannabis users in some locations can semi-legally use everyday for many ailments physical and/or
psychological. Some doctors make a practice of doing a quick checkup and routinely providing the
patient with a prescription. Do you think this is a rational health care policy? Would you ever
recommend a patient take cannabis on a daily basis?

 Southpark's 22 minute episode 'Medicinal Fried Chicken' makes great fun of this legalization trend.
http://www.southparkstudios.com/full-episodes/s14e03-medicinal-fried-chicken.


Cannabinoids can be useful for treatment of symptoms of several diseases. There are
enough scientific data to support use of cannabinoids (THC/CBD) in conditions as
nausea and vomiting associated to chemotherapy, HIV-wasting syndrome, urinary
symptoms of multiple sclerosis or neuropathic pain. Scientific investigation are
oriented to prescription drugs containing THC or THC/CBD, but it is a base for people
who decide to automedicate themselves with cannabis plant.

So I don´t agree with the phrase " Of course smoking cannabis is not medically valid,
it is just a sham to get weed legalize". It is true that smoking is not a good way of
administration, but these problems can be avoided using an approved vaporizator.
Cannabis is not a medicine for everyone, as it has psychoactive effects that many
persons can consider as negative . It is not also a panacea, as sometimes is shown.
But can releive some symptoms in many patients.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 24 June 2013, 19:22:54

      Hello,

      Three questions:

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      1) Did you watch the linked Southpark episode? 1a) is it viewable in your land?
      1b) Was it funny for you?

      2) Where in the world is Carmen Sandiego?

      3) Cannabis research points to which recommendation for its pleasure seeking
      users:

        1) Avoid                                                                          2) OK

      Thank you kindly,

      Mr. Clean "Squeaky" Sober



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: potatoisgreen on 25 June 2013, 03:43:38

      I've been mixing around with a few different psychedelics, mainly DXM, LSD and
      25I-nbome over the past couple of weeks and it's got to the point that last night
      when I took 2 150ug LSD tabs, I did not experience a single notable visual or
      auditory change, but it did feel nearly identical to a moderate dose of ecstasy.

      I was wondering how much of a break should be taken between trips to ensure
      that you're getting the full effect of the drug? And is there anything I can do to
      help this process go faster?

      Also, how long should one stay off LSD/25I before a drug test? (blood + urine)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 June 2013, 08:51:14


Quote from: estefi123 on 22 June 2013, 21:24:58
Can you explain some basics of tolerance?
Is it the depletion of neurotransmiters, or the body gets used to cleaning the body of that drug, is the
brain that gets used to the effects?


A basic, intuitive approach to tolerance means that the body adapts to extern stimulli
and searches for balance. If someone lifts a heavy weight everyday, the body will
adapt growing muscles, for example.

In pharmacology, both mechanisms you point are involved on tolerance, depending on
specific drug:
"The body gets usea to cleaning the drug" means that liver creates more enzymes to

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break some drugs (for example this is the mechanism involved in tolerance to alcohol).
This is technically called "pharmacocynetic tolerance".
"The brain gets used to effects" means that neurorreceptors in brain are less
expressed (diminish in number) or less sensitive (the same stimulus causes less
neurotransmissor release) when drug use is more frequent. This is called
"pharmacodynamic tolerance" and is involved, for example, in amphetamines or
opiates tolerance.
Usually, tolerance is a mix of both mechanisms in different proportions.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 June 2013, 17:15:34


Quote from: cleansober on 23 June 2013, 21:27:37
Two things:

1) The higher the high the lower the low?

2) Should we all just stop our experimentation and join a club or something?

Quote
 "I´m not saying you will irremediably become an addict, but it seems the most obvious risk."

I ' m curious what you mean by irremediably? Actually I'm a gonna lookee up that there number. It
just don't look right if you know what I mean. "Irremediably" means cannot be fixed, broken without
hope of repair, like all PC laptops after three or four years.

Two more things:

1) Can people avoid addictions by doing something?

2) Why is it that no drug causes addiction in 100% of its users? This includes nicotine which I
thought was the most addictive drug other than speed perhaps.



Thanks to the wisdom of those who have come before us, also know as, we stand on the shoulders of
those who have come before us as well as give me a place to put my lever and I will move the earth.


1) In general yes, "the higher the high, the lower the low". Sometimes there can be a
big high without a significative low or vice versa, but in general this is the way.
2) I think I have not expressed myself correctly. "Irremediably" is probably a bad
translation from Spanish. I tried to say that, using meth the way you pretend
addiction will not be an automatic, direct or sure consequence, but the risk is
significative.
3)Using addictive substances wisely in doses and frequency lower the risk of addiction.
The more frequent or long is the pattern of use, the risk of addiction is higher
4) Basically we all are different and there is an interaction between the drug and
personality. For some people (genetical , educational or social characteristics) it is
easier or more difficult to develop addictive behaviours, even with substances like
nicotine


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 June 2013, 08:48:06


Quote from: cleansober on 24 June 2013, 19:22:54
Hello,

Three questions:

1) Did you watch the linked Southpark episode? 1a) is it viewable in your land? 1b) Was it funny for
you?

2) Where in the world is Carmen Sandiego?

3) Cannabis research points to which recommendation for its pleasure seeking users:

 1) Avoid                                                              2) OK

Thank you kindly,

Mr. Clean "Squeaky" Sober



1) Yes, I had a lot of fun with it. I think it contains very intesting lessons about war on
drugs and testicular cancer. I´m not an expert on drugs politics but there are several
ways of legalizing drugs, each one of them with their own pros and cons. The "medical
model" (as shown in the episode) should have some problems as shown in the episode

2) I have no idea, but it must be exhausting running away all the time

3) I regret I didn´t understand the meaning of the question...could you express in
other words?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ImTylerDurden on 29 June 2013, 11:46:40

      not sure if you have background with knowledge about anabolics, but here goes
      nothin.

      what is your opinion on adequate levels of testosterone in a healthy male in his
      early 20s? I have had a few tests done by my GP and by an endocrinologist. My
      total test is virtually 0 mg/dL during the day, and around 350 mg/dL when being
      tested around 8 in the morning. Ive been working out for over 3 years and cant
      get any bigger with a solid diet. Im not sure if i should just start cycling juice to
      get bigger or if I should actually be seeking testosterone replacement therapy
      from a different doctor. But I have read a lot stating that TRT will cause
      impotency, and cycling usually does not cause impotency BUT has the potential
      to cause it. So I guess what I am asking is whether or not you think I should
      consider seeking out a different doctor for TRT or if I would be better off just
      cycling test and other juice. And also I am curious to just hear your opinion in
      regards to health in general about cycling anabolics, progesterones, DHTs, other

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      performance enhancers, etc.

      also:
      +100 to a doctor that isnt a douchebag.

      plz respond.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: donatto on 30 June 2013, 16:04:32

      Hey doctor, sorry to bother if so, i didnt read all the pages so sorry if this as been
      asked before. Ive made another topic where ive been asking for "natural"
      remedies for cancer, ive got a friend who has been thrugh a surgery of colo-rectal
      cancer, then he went to chimio and now after 1 month cancer came back. I was
      about to give him ganoderma lucidum (reishi, lingh zhi), DCA, and rick's oil made
      from myself, what do u think about this? And i guess most important, he's doing
      some alcalyne diet, no sugar, no acids, something else to help? I'll apreciate your
      point of view on this subject.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 01 July 2013, 11:15:09

      Abstract: Writer wondering if he can smoke weed with the good Doctor's
      permission. Looking for loopholes in the health care system.




      Yes, it must be exhausting for Carmen to run all the time, exactly how I felt
      about football fifty years ago. How could anyone run so dynamically for those
      long durations and not be superhuman? Now I understand how, with proper
      training, nearly anyone can enjoy the game. One reported danger for the
      advanced footballer is the concussive effect of headers. Many sports pose a
      potential danger to the developing brain. Brain research always seems to focus
      on youth players and not how the brain reacts to trauma after it is fully
      developed.

       Along these lines, what is your view of persons under 25 using cannabis? For
      years I preached to my two, youngest 19, kids to avoid pot until they reached the
      age of 25 or later. My readings indicate the brain is developing and continues to
      do so until 25, by using cannabis we may compromise this stage. There was a
      recent long-term longitudinal study concluding there are significant IQ reductions
      with certain patterns of use. A similar sort of study indicated potential trauma for
      young people overindulging in alcohol as I recall. My question then is, do you


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      think younger people should be more cautious than older folks need to be when
      deciding how to pleasure themselves (pun intended, masturbate) using pot or
      alcohol? Do you think the older brain has a built-in protection against the
      potential damage simply because the older brain is less active may have both a
      physical and psychological immunity built up by having years and years of plain
      vanilla consciousness?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 July 2013, 12:13:34


Quote from: ImTylerDurden on 29 June 2013, 11:46:40
not sure if you have background with knowledge about anabolics, but here goes nothin.

what is your opinion on adequate levels of testosterone in a healthy male in his early 20s? I have had
a few tests done by my GP and by an endocrinologist. My total test is virtually 0 mg/dL during the
day, and around 350 mg/dL when being tested around 8 in the morning. Ive been working out for
over 3 years and cant get any bigger with a solid diet. Im not sure if i should just start cycling juice to
get bigger or if I should actually be seeking testosterone replacement therapy from a different doctor.
But I have read a lot stating that TRT will cause impotency, and cycling usually does not cause
impotency BUT has the potential to cause it. So I guess what I am asking is whether or not you think
I should consider seeking out a different doctor for TRT or if I would be better off just cycling test and
other juice. And also I am curious to just hear your opinion in regards to health in general about
cycling anabolics, progesterones, DHTs, other performance enhancers, etc.

also:
+100 to a doctor that isnt a douchebag.

plz respond.


I can´t find an explanation to your variations in testosterone levels. First of all you
should get an accurate diagnostic (to find if there is some physical problem and what
it is the cause) and then see if you need a treatment and what are the options.

"TRT will cause impotency, and cycling usually does not cause impotency " is a very
big simplification, in my opinion. It all depends on causes, persons, dosages and
patterns of use. Some regimes (of both TRT and cycling) can cause little or many
problems, depending on dose and exact characteristics of the person.

In my opinion, the approach of steroids cycling should be similar to any other drugs.
There are patterns of use reasonabily safe and others more dangerous. The problem is
that, with recreative use of drugs it is easy to find valid information focused on risk
reduction and responsible use. But with steroids there is a lack of this information. You
will find some people saying that any use of steroids will cause gynaecomastia, loss of
hair, cancer and impotence. But you will find also people talking about cycles with
megadoses of different products that can have a significant impact on health. It is
difficult to find reasonable information. In general I do not reccomend steroids use
under 25 years aprox. I have an article about it in my web page, although it is in


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Spanish and I don´t know if automatic translators will help
http://www.doctorcaudevilla.com/index.php/las-sustancias/92-uso-responsable-de-
esteroides-anabolizantes
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Andrewbud420 on 01 July 2013, 14:40:00

      My doctor told me opiates can cause problems with testosterone.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 July 2013, 22:07:01


Quote from: donatto on 30 June 2013, 16:04:32
Hey doctor, sorry to bother if so, i didnt read all the pages so sorry if this as been asked before. Ive
made another topic where ive been asking for "natural" remedies for cancer, ive got a friend who has
been thrugh a surgery of colo-rectal cancer, then he went to chimio and now after 1 month cancer
came back. I was about to give him ganoderma lucidum (reishi, lingh zhi), DCA, and rick's oil made
from myself, what do u think about this? And i guess most important, he's doing some alcalyne diet,
no sugar, no acids, something else to help? I'll apreciate your point of view on this subject.


When I express my professional opinion of any subject I try to always use the same
the same criteria: evidence provided by scientific research. This is valid when we talk
about adverse effects and risks of recreational drugs and also for cancer treatment.

In my point of view, if there are not enough valid scientific investigations about one
treatment, it should be considered as useless. Unfortunately this is the case for
Ganoderma lucidum or alkaline diet and so many other "natural" treatments. Data
from Ganoderma lucidom come from in vitro test in laboratory conditions and the
effects on human treatment of cancer are not proved. And there are no data in
humans showing efficace of alkaline diet.

I don´t think these treatments should be dismissed, if they are used as
complementary treatments and the patient continues to use conventional options. It is
very important to be careful and sensitive offering hope to people suffering from
incurable or difficult to cure diseases. If someone feels better using non-toxic
alternative therapies while continuing to use standard treatments, the complementary
therapy can't hurt and may give hope to the patient.

Rick Simpson´s oil is particularly annoying for me (right, this is more a personal than
professional point of view). It is a mixture of conspirative theories, data out of
context, pharmacological incongruences suggesting a global conspiration aganist
cannabis therapeutic use. He says that cannabis cures cancer, suggesting that
conventional treatments are toxic. There is absolutly no data to suspect that it will
work.



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Of course we still can be critical with conventional medicine and its often times over-
technical and dehumanized approach.. And pharmaceutical industry is not an innocent
one. But that does not mean that there is a global conspiracy about cannabis and, I
repeat, there is nothing to think that his method can work. As I work offering advice
to people who use therapeutic cannabis (for nausea in chemotherapy, neurological
diseases or neuropathic pain) I feel myself authorized that all the story is a fraud.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: moksha on 03 July 2013, 09:15:44


Quote from: DoctorX on 02 July 2013, 22:07:01
Rick Simpson´s oil is particularly annoying for me (right, this is more a personal than professional
point of view). It is a mixture of conspirative theories, data out of context, pharmacological
incongruences suggesting a global conspiration aganist cannabis therapeutic use. He says that
cannabis cures cancer, suggesting that conventional treatments are toxic. There is absolutly no data
to suspect that it will work.
DoctorX, I'm curious if you have ever heard of or have an opinion on the supposed
therapeutic benefits of 'juicing' with cannabis. My curiosity was piqued from the short
video (12 minutes) that I'll post below, I apologize I don't have an article handy with
the same information but it seems most claims are being substantiated by dietary
physicians. They have some pretty 'out there' ideas, but if you had the time I'd love to
hear your thoughts on it.

Video link: http://www.youtube.com/watch?v=DE4pK0U4NJo
"Cannabis is the most importable vegetable on the planet"
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: yellowmattercustard on 03 July 2013, 13:59:47

      Hello doctor!

      Do you know any safe way of reducing vasoconstrictive effect of LSD/NBOMe?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: donatto on 03 July 2013, 15:09:26

      Thank u so much for your answer, i will consider your opinion and in fact, its
      pretty reasonable.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: one2bcurious on 04 July 2013, 07:25:11

      I am curious about drug testing and ways to naturally pass a urine analysis dont


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      in a lab that will be detailed and looking for specific usage. Obviously, being
      clean is the best option.

      However, lets say a person takes the test in the morning one day and last used
      the night before that. For example, test is Monday and person last took some
      pain pills on Saturday night and was using daily but not excessively before that.

      The lab will be testing for flush kits and the like. So, is there a way to flush out
      the metabolites and other markers for the use of opiates in that short of a time
      frame? I already drink a lot of water, take a Vitamin B Complex daily, as well as
      creatine.

      Any suggestions you have would be great?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 July 2013, 17:45:23


Quote from: cleansober on 01 July 2013, 11:15:09
Abstract: Writer wondering if he can smoke weed with the good Doctor's permission. Looking for
loopholes in the health care system.




Yes, it must be exhausting for Carmen to run all the time, exactly how I felt about football fifty years
ago. How could anyone run so dynamically for those long durations and not be superhuman? Now I
understand how, with proper training, nearly anyone can enjoy the game. One reported danger for
the advanced footballer is the concussive effect of headers. Many sports pose a potential danger to
the developing brain. Brain research always seems to focus on youth players and not how the brain
reacts to trauma after it is fully developed.

 Along these lines, what is your view of persons under 25 using cannabis? For years I preached to
my two, youngest 19, kids to avoid pot until they reached the age of 25 or later. My readings indicate
the brain is developing and continues to do so until 25, by using cannabis we may compromise this
stage. There was a recent long-term longitudinal study concluding there are significant IQ reductions
with certain patterns of use. A similar sort of study indicated potential trauma for young people
overindulging in alcohol as I recall. My question then is, do you think younger people should be more
cautious than older folks need to be when deciding how to pleasure themselves (pun intended,
masturbate) using pot or alcohol? Do you think the older brain has a built-in protection against the
potential damage simply because the older brain is less active may have both a physical and
psychological immunity built up by having years and years of plain vanilla consciousness?


The idea that use of drugs by young people is more risky because of developing brain
is very frequent. Strangely, some psychiatrists who defend this don´t use the same
criteria when prescribing antidepressants , new anticonvulsives or amphetamine
derivatives for illnesses of uncertain diagnostic in adolescents.

In general, I agree with this idea. Among professional who treat drug problems, there
is a general agreement about this. People who start using drugs (both legal and

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illegal) at younger ages are more prone to develop problems related with their use.
But it is very difficult to prove in scientific studies that a specific neurocognitive,
neurological or psychological problem it is caused by the use of one specific drug and
not by other factors. And it is not clear what should be the exact age that would lower
the risk.

I prefer to think about this in a wider, general point of view. It is not only the
neurological question, but also personal, psychological and social factors. In general,
people at thirties are more mature than at twenties or teenagers, simply because
experience of life. As many other things in life, experience makes that (in general) an
adult can use drugs in a better way than adolescents.

But it is important a social context that aids adolescents the right way of using drugs.
In mediterranean culture adolescents learn to use alcohol in family. There is a "social
control" about it that works reasonabilly right. But the actual context with the rest of
drugs does not make this easy. Anti drugs laws are supposed to "protect the children"
but paradoxically it is easier for a teenager to find pot than for an adult.

If an adolescent or a young adult is "well-educated" (that can mean a wide range of
factors: self esteem, responsability, ability to make decissions, reflexivity...) it is
unlikely that ocasional use of drugs will cause many problems. Of course some
patterns of use of psychoactives in teenagers are inadequate. But I think it is not a
question of "all or nothing", but the mix of different factors.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: thecatinthehat101 on 04 July 2013, 17:56:53

      Omg this is so cool. I appreciate the fact that the board has this.

      What do we know for sure about bath salts? Why do people call it poison? Are
      they neuro toxic? If so to what degree? What are some of the most common
      problems and ways to avoid them while on the drug?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: smogmonster13 on 04 July 2013, 23:12:59


Quote from: DoctorX on 04 July 2013, 17:45:23
Quote from: cleansober on 01 July 2013, 11:15:09
 Abstract: Writer wondering if he can smoke weed with the good Doctor's permission. Looking for
 loopholes in the health care system.




 Yes, it must be exhausting for Carmen to run all the time, exactly how I felt about football fifty
 years ago. How could anyone run so dynamically for those long durations and not be superhuman?


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drugs will cause many problems. Of course some patterns of use of psychoactives in teenagers are
inadequate. But I think it is not a question of "all or nothing", but the mix of different factors.


Thanks for this, Doc. I am loathe to sound like I'm recommending drug use to
adolescents. I'm not. But I think your point about responsible (I would add conscious
and safe) use of not just alcohol by adolescents also appears with sacred uses of plant-
based drugs as well.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 05 July 2013, 01:35:05

      My guess is many younger users find it problematic to avoid bad drug use
      habits. This holds true for all forms of altered thinking. What I wonder is if being

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      drunk was our normal mental state would drugs that mimicked sobriety be
      illegal? My guess is that they would be. One of my yoga teachers told his
      students to forget about learning to stand on our head, what we need to do is to
      learn to stand on our feet first. Anyone who has attempted to slackline can
      appreciate this.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: thecatinthehat101 on 05 July 2013, 02:37:57

      That would be something if everyone was drunk all the time unless they were on
      a drug. What a fascinating question though??



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flyinghigh1660 on 05 July 2013, 18:31:29


Quote from: DoctorX on 04 July 2013, 17:45:23

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drugs will cause many problems. Of course some patterns of use of psychoactives in teenagers are
inadequate. But I think it is not a question of "all or nothing", but the mix of different factors.


So how would you recommend parents to discussion drug use with Children? What the
best way for us parents (I know some of most likely are) to discuss drugs with our


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offspring. I don't want to promote all drug all, but I certainly wouldn't want them
missing out on positive use of some psychedelics .

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 July 2013, 19:12:43


Quote from: Andrewbud420 on 01 July 2013, 14:40:00
My doctor told me opiates can cause problems with testosterone.


It is true that there is a relation between some opiates and testosterone levels. Long
term use of prescription opiates or opiates used in treatment of opioid dependence
(buprenorphine, naltrexone...) are the most studied.
http://www.ncbi.nlm.nih.gov/pubmed/14622741
http://www.ncbi.nlm.nih.gov/pubmed/18093096
It all depends on specific opiate and pattern of use. One aspect with opium or heroin is
a loss of sexual interest during its effects (at least for most people).
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stayawake on 06 July 2013, 01:43:21

      This thread is a good read. Third year med student here with way too much
      knowledge about pharmacokinetics.

      I'll try to answer what I can when I can.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stayawake on 06 July 2013, 01:50:36


Quote from: flyinghigh1660 on 05 July 2013, 18:31:29

So how would you recommend parents to discussion drug use with Children? What the best way for us
parents (I know some of most likely are) to discuss drugs with our offspring. I don't want to promote
all drug all, but I certainly wouldn't want them missing out on positive use of some psychedelics .


I'm no parent so take this with a grain a salt because the subjectivity of this is off the
charts. Personally I believe, depending on the age of the child of course, that honesty
works great. I was a very intuitive child and knew my parents were smoking pot or
whatever. Would even go pick the plants for my relatives when the time came lol.

If you feel your kids have a good grasp on right and wrong, then there is no reason
you shouldn't explain to your children what you do and to educate them on the
potentially negative aspects of it. Parents always told me that you're going to
experiment in high school and college, just use your brain and do not be afraid to call


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us if something bad happens. From my experience, the parents that sheltered their
kids from it always had the children most likely to try out this forbidden thing they
weren't even supposed to know about.

Again, it's all subjective but if the children are level headed, they will understand.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 06 July 2013, 18:20:47

      Although prices are better on Atlantis, a community like this one is way more
      work to maintain and develop than merely offering low prices.

      To the 3rd year med stud "stayawake", would you say you are the exception to
      the norm among fellow students? My guess would be it would take too much
      energy away from bio chem and the rest of it, consequently few med studs would
      be here investigating like you are?



      DoctorX,

      Does the health care system in Spain reward you financially as much as say a
      plastic surgeon in the States? My reading of the literature indicates that the
      Spanish economy is in some sort of trouble. Do you agree with this assessment
      and if so how does this crisis affect the health care system? Also, do you think
      you could train a competent janitor to talk like a doctor in a few weeks? If so I
      will travel to Madrid if you are willing to both teach me Spanish (may take longer
      than three weeks, more like three years, I think) as well as how to be a Doctor.
      Yes I'm joking but all kidding aside what do you think of Nuvigil as an legal
      alertness drug? Thanks.

      Have a nice day,

      Mr. Clean, Esq.

      my web site: short form: http://bit.ly/1beuN1L

      or for the PGP group, this is the full link:

      http://www.mrclean.com/en_US/home.do?
      utm_source=google&utm_medium=cpc&utm_term=mr%
      20clean&utm_campaign=Mr.+Clean_Search_Desktop_Brand
      +Awareness&utm_content=syMeoh9EH_15185172069_p_mr%20clean



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stayawake on 06 July 2013, 21:14:28



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Quote from: cleansober on 06 July 2013, 18:20:47

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fellow students? My guess would be it would take too much energy away from bio chem and the rest
of it, consequently few med studs would be here investigating like you are?


I would say that I'm an anomaly with regards to openly discussing/reading about
illegal narcotics on a site like this. Ironically enough, a fellow med student actually
turned me on to SR. To answer your question though, I don't expend a lot of energy
here or "researching" anything, I've just always been fascinated with drugs and how
they work in the body all the way to the molecular level.

This probably isn't surprising to everyone but many people would be shocked at the
amount of med students/residents that abuse amphetamines/modafinil/
methylphenidate. If I wasn't a statistic myself, I would go as far as saying its an
epidemic. ;)

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: SuperHans68 on 07 July 2013, 02:36:08

      How repairable are veins? Does the scar tissue and damage stay done or for how
      long would it need to really repair itself. This would be with an injection 3-4 times
      a week with rotating sites



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stayawake on 07 July 2013, 02:46:40

      Very subjective answer.

      It all depends on the extent of the damage to the veins themselves as well as the
      location of the tracks. Healing depends on tons of different factors from how
      often the site reused, the type of dope or cut that was in the product, and even
      stuff like basic genetics.

      I would think a dermatologist could give you at least some options despite the
      embarrassment.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 07 July 2013, 14:07:52

      stayawake,



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      Thanks for the new word, pharmacokinetic. I thought it meant something about
      lsd but I see it has to do with how the body deals all drugs not just psychoactive
      ones. My instant expert thinking makes me think most folks on SR are more
      concerned with pharmacodynamics, would you agree? In my post I meant to say
      I would be surprised to hear if med students could afford to lose 4-12 hours
      tripping given the work load required to get the coveted MD title.


      smogmonster13,

      When you say "sacred uses of plant-based drugs" do you include synthesized
      drugs under the sacred heading or only naturally occurring ones? We
      westerners seem to have abandoned or never developed rituals for sacred
      anything especially all things related to drugs, this unless you consider "happy
      hour" a sacred ritual.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: GAB on SR on 07 July 2013, 15:46:05

      I would like to know just exactly how caustic/damaging the insufflation of
      adderall/amphetamine is (no cocaine, methamp, opiates, etc.).

      Clearly it's terrible and should not be used to put drugs into your body, but
      unfortunately I have discovered & chase the euphoria associated with it.

      Specifically I am wondering what exactly is this 'caustic' action that takes place
      with continued use. Does one's nasal cavity start to literally disintegrate or
      deteriorate? Are there any breathing problems as a result (excluding the obvious
      effect on sense of smell)? At what point (like any physical signs) should you know
      you need to be done for good?

      Also: random myth I would like debunked because I hope you have experience
      with adderall/stims being an MD :) Is it true that the powder from crushed
      adderall pills (either IR or XR) has some wax that clogs one's nose making in
      ineffective? Based on personal experience I don't feel like it does, but my friend
      swears by it



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 07 July 2013, 16:05:12


Quote from: moksha on 03 July 2013, 09:15:44
Quote from: DoctorX on 02 July 2013, 22:07:01
 Rick Simpson´s oil is particularly annoying for me (right, this is more a personal than professional


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 point of view). It is a mixture of conspirative theories, data out of context, pharmacological
 incongruences suggesting a global conspiration aganist cannabis therapeutic use. He says that
 cannabis cures cancer, suggesting that conventional treatments are toxic. There is absolutly no data
 to suspect that it will work.
DoctorX, I'm curious if you have ever heard of or have an opinion on the supposed therapeutic
benefits of 'juicing' with cannabis. My curiosity was piqued from the short video (12 minutes) that I'll
post below, I apologize I don't have an article handy with the same information but it seems most
claims are being substantiated by dietary physicians. They have some pretty 'out there' ideas, but if
you had the time I'd love to hear your thoughts on it.

Video link: http://www.youtube.com/watch?v=DE4pK0U4NJo
"Cannabis is the most importable vegetable on the planet"



In comparision with other documentals about therapeutical cannabis, the one you
showed seems reasonable. There are some different ways to extract the cannabinoids
from the plant, and tjat "juicing" method sounds reasonable, although I´m not an
expert on botanical and plants.
The important thing is that, as any other medicinal plant in the world, applications of
cannabis are limited. Nausea from chemotherapy, neuropathic pain, symptoms of
multiple sclerosis and wasting syndrome of HIV are the most important applications
for cannabinoids. And, as any other drug, they can have interactions, contraindications
and not be adequate for everyone. Sometimes therapeutic cannabis is shown as a
panacea for all diseases, I don´t think that is true.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 07 July 2013, 16:10:05


Quote from: yellowmattercustard on 03 July 2013, 13:59:47
Hello doctor!

Do you know any safe way of reducing vasoconstrictive effect of LSD/NBOMe?


LSD has not vasoconstrictive effects. The molecule of LSD is related to some
vasoconstrictors but LSD itself does not have this risk. In fact LSD is physically
harmless and has been widely studied for over 80 years.

On the other hand, there is little information about NBOMe. It is a very new molecule,
first detected in 2010 and without pharmacological or toxicity data. It has not been
studied, so we don´t know how frequent is vasoconstriction, what are the mechanisms
and possible ways to avoid it.

If I had to choose between one of the two substances, I would undoubtedly use LSD.
Using NBOMe is behaving like guinea pigs.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bodizzle on 07 July 2013, 17:01:23

      DoctorX: Thanks so much for offering your time and knowledge here.

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      I am currently rather concerned after an experience I have had and hoping
      maybe you could offer some insight:

      Last tuesday and wednesday I did some pretty pure coke I bought from here on
      SR. Only 1 gram total for both days. I also had on hand, about 70-80 mgs of
      valium to help with the comedown and increased heartrate/nervousness. Besides
      having the valium on hand, having to do with history before taking the coke, I
      have also been taking 10 mg lexapro as well as 250mg Rhodiola Rosea 2x day for
      2 years. Lexapro is an SSRI and rhodiola seems to be a dopamine/serotonin
      reuptake inhibitor as well (also read it could be a slight MAOI). But overall
      rhodiola has a very safe track record.

      So on the 2 days I did the 1 gram coke, I had taken my regular dosages of 10
      mg lexapro and 500 mg rhodiola. Alongside those, I also ended up taking all of
      my valium (maybe 80-90mgs) as I hate the jitteryness of coke (do it for the
      euphoria) and I hate the comedown.

      The following days, starting thursday, up until now, I just feel so very very down,
      unable to feel back to my normal self and really unable to feel any sort of
      happiness. Just an overall feeling of shit basically. Like there was some overload
      of dopamine or serotonin maybe and some possible damage to synapses in my
      brain that are just not regenerating. I understand 1-2 days of rehab time is
      normal, but it is going on 4 days now and I still feel like shit. I have never felt
      like this after doing coke before in my life (but had not been on the lexapro/
      rhodiola combo) and I am feeling very very concerned that some kind of
      permanent damage might have taken place? Something to do with dopamine/
      serotonin reuptake inhibitors being maxed or damaged? OR could it just be I am
      still detoxing from all that valium? (4 days doesnt make sense though...)

      Do you think my brain could regenerate from this? Any ideas on what is going
      on? Should I stop taking the lexapro and rhodiola for a couple days to try and
      initiate a reset of my brain chemistry?

      Any feedback is massively appreciated.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stayawake on 08 July 2013, 02:18:43

      bodizzle,

      Cocaine, as far as I know doesn't act very strongly on seratonin like it does
      dopamine. The feelings you're describing sound fairly standard from a weekend of
      some amphetamines and partying or what not. Now I don't know a whole lot
      about Rhodiola but I've read it has shown to help fatigue and have similar
      mechanism as MAOIs. Not only that but MAOIs react with virtually EVERYTHING,


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      especially amphetamines.

      I would personally drop the herbal shit you take just for a week or two but it
      sounds to me that your body is just extremely drained from a good amphetamine
      run.

      The feeling of worthlessness, guilt and general down feeling after a weekend
      partying with good coke or meth is normal. I've felt like shit up to a week before
      after a good party hard weekend. Your brain is just taxed right now with depleted
      dopamine.

      Stick with the valium to keep your anxiety down and help you sleep just ease up
      on the amount. Only take enough to relieve your anxiety. Drink tons of water and
      eat some good meals. You'll feel better in a couple days.

      I did some MDMA while on celexa a few years ago and had panic attacks and
      extreme anxiety for a couple days. Finally I went to the ER thinking that I may
      have Seratonin Syndrome. He laughed and said, "stop reading your medical
      books unless you have a exam, you're only scaring yourself worse." Fed me some
      valium and I was fine after that.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 08 July 2013, 12:48:01


Quote from: one2bcurious on 04 July 2013, 07:25:11
I am curious about drug testing and ways to naturally pass a urine analysis dont in a lab that will be
detailed and looking for specific usage. Obviously, being clean is the best option.

However, lets say a person takes the test in the morning one day and last used the night before that.
For example, test is Monday and person last took some pain pills on Saturday night and was using
daily but not excessively before that.

The lab will be testing for flush kits and the like. So, is there a way to flush out the metabolites and
other markers for the use of opiates in that short of a time frame? I already drink a lot of water, take
a Vitamin B Complex daily, as well as creatine.

Any suggestions you have would be great?


It all depends on the exact kind of test. There are available test for some drugs
(opiates, benzodiacepines, amphetamines, LSD, cannabis, cocaine...) but other drugs
(GHB, ketamine, some legal highs...) are very difficult to detect in routine lab tests.
Each test has his own specificity and sensibility, characteristics that indicate the
accuracy of the test to detect a specific drug during a period of time. Most routine test
detect drugs between 1 hour after last use until 3-4 days, depending on the drug and
the own test. A notable exception is cannabis: most test detect 1 week after ocasional
use and 1-3 months in regular users.
The body has its own speed to eliminate drugs. This process does not affect by taking

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water, sweating, making exercise or taking supplements. All these measures are
useless. It is not a good idea to dilute or adulterate the urine, the tests are designed
to detect this too.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 08 July 2013, 13:00:52


Quote from: thecatinthehat101 on 04 July 2013, 17:56:53
Omg this is so cool. I appreciate the fact that the board has this.

What do we know for sure about bath salts? Why do people call it poison? Are they neuro toxic? If so
to what degree? What are some of the most common problems and ways to avoid them while on the
drug?


"Bath salts" is a generic name, used in press, for a wide family of stimulants that can
be purchased by Internet. Obviously, they are not sold as "drugs".They are offered as
bath salts, aromas or fertilizers to avoid legal problems, but users know that they
have psychoactive properties.

Originally, MDPV (3,4-methylenedioxypyrovalerone) was the first psychoactive
detected. The fact that MDPV is still legal in some countries does not mean that it is
safe or better than other illegal drugs. MDPV is an uncommon stimulant with a short
history of human use. It is known for its tendency to cause compulsive redosing and
some users report sexual arousal as an effect.

Anyway, in laboratory analysis of "bath salts" it is common to find a mixture of
different psychoactives. Other cathinone derivatives,
ephedrine, naphthylpyrovalerones... are commonly found in different samples. Even
the same commercial name has different components during time.

So, it is very difficult to know the possible health problems of these substances, as
there is a lack of investigation data in human for most of them. From a risk reduction
perspective, "classical" drugs are much less risky than these substances, or at least
risks can be predicted more easily
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bodizzle on 08 July 2013, 17:16:05

      Hello Doctor X. Was just wondering if you might have any insight on my above
      earlier post?

      Thanks so much.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 08 July 2013, 17:57:43



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Quote from: bodizzle on 08 July 2013, 17:16:05
Hello Doctor X. Was just wondering if you might have any insight on my above earlier post?

Thanks so much.


Hi,
Sorry for delay, but I have too much work (here in SR and outside) and I have little
time to answer all your questions in general forum and in PM. I usually answer
questions one by one, but I understand you have some urgency. I have read your
story. It is difficult to give advice only by Internet, without personal communication.
But, in your case, I suspect what is happening can be a "normal" effect after high
doses of cocaine. I don´t know if you are a frequent user or if you have tolerance to
the substance, but a gram of cocaine can cause your symptoms. Depressive episodes
are common after a binge of coke. They are related to monoamine deplection, but
they are normally reversible along time.
I would not reccomend to abandomn Lexapro, as it can help to mitigate symptoms. I
have doubts on Rhodolia, as there is little information available about its mechanism
of action. But, probably, symptoms will improve in following days. It is important that
you sleep well (as long as you need) during these days and try not to be stressed or
make important decissions. I think you will improve during following days, if it is not
the case I reccomend for proffesional evaluation
Title: Re: How to gauge need for outside help?
Post by: cleansober on 08 July 2013, 21:05:56

      DoctorX,

      Your measured response to bodizzle raises a question for me in general. At what
      point do you look for medical, psychological or other forms of help? Seems to me
      the last person to figure out they have a problem is the person themselves.

      How people can ask a question without editing is a puzzle to me. All my
      questions are in need of correcting and changing once I think for a while about
      what I'm asking. Even with editing and re-writing I never feel like I get the real
      question asked, part way not completely.

      Mr. bodizzle uses lexapro for depression, at least this is my understanding of the
      pharmacodynamics of this drug. Would you say that the drug lexapro is
      prescribed with less than strict guidelines by some physicians? We all have
      heard stories of drugs like that causing suicidal thoughts, I think we have
      anyway. Would it be wise for Bo to go and get a second opinion and do you
      consider general practice physicians qualified to prescribe it anyway?




      Stay thirsty ...


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bodizzle on 08 July 2013, 22:00:29

      Thank you doctorx.

      Yeah, what concerns me is that in the past (4-5 years ago) I had done coke while
      on lexapro and didnt get these effects...

      The difference with this time is that the coke was most defnitely more pure and I
      am taking rhodiola as well.. The reason I mentioned getting off the lexapro
      temporarily is I read a wiki answers topic on this, and the guy said he tried coke
      w/ lexapro once (did more coke than me though) but said the following days
      when he continued with his lexapro dosage he experienced a reverse effect where
      he felt the lexapro was now doing opposite of what its intention was. Like the
      coke had distorted its mechanism of action somehow and it was further throwing
      things off chemically. He mentioned he felt a suicidal depression for a week after
      and had to stop the lexapro. This was the reason for my concern. BUT,
      everyone is different, he did do more coke than I did, and maybe his body
      chemistry was just different. This is what gets me confused on whether or not to
      stop the lexapro for a "body reset" or not.

      Uhg, decisions decisions. I should probably stay on the lexapro as the experience
      I read of was only one person's but I square yesterday I was definitely feeling a
      massive deep, dark, and very bleek depression..



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 July 2013, 09:07:35


Quote from: bodizzle on 08 July 2013, 22:00:29
Thank you doctorx.

Yeah, what concerns me is that in the past (4-5 years ago) I had done coke while on lexapro and
didnt get these effects...

The difference with this time is that the coke was most defnitely more pure and I am taking rhodiola
as well.. The reason I mentioned getting off the lexapro temporarily is I read a wiki answers topic on
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following days when he continued with his lexapro dosage he experienced a reverse effect where he
felt the lexapro was now doing opposite of what its intention was. Like the coke had distorted its
mechanism of action somehow and it was further throwing things off chemically. He mentioned he felt
a suicidal depression for a week after and had to stop the lexapro. This was the reason for my
concern. BUT, everyone is different, he did do more coke than I did, and maybe his body chemistry
was just different. This is what gets me confused on whether or not to stop the lexapro for a "body
reset" or not.



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Uhg, decisions decisions. I should probably stay on the lexapro as the experience I read of was only
one person's but I square yesterday I was definitely feeling a massive deep, dark, and very bleek
depression..


Don´t trust everything you can read in Internet. Escitalopram is a well known and
studied antidepressive, there are not interactions described with cocaine as you have
read. The "body reset" theory does not have any logic. I insist in resting, maybe take
a benzo if you can´t sleep and seek for proffesional help if you feel very dark
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 July 2013, 09:15:14


Quote from: stayawake on 06 July 2013, 01:50:36
Quote from: flyinghigh1660 on 05 July 2013, 18:31:29

 So how would you recommend parents to discussion drug use with Children? What the best way for
 us parents (I know some of most likely are) to discuss drugs with our offspring. I don't want to
 promote all drug all, but I certainly wouldn't want them missing out on positive use of some
 psychedelics .

I'm no parent so take this with a grain a salt because the subjectivity of this is off the charts.
Personally I believe, depending on the age of the child of course, that honesty works great. I was a
very intuitive child and knew my parents were smoking pot or whatever. Would even go pick the
plants for my relatives when the time came lol.

If you feel your kids have a good grasp on right and wrong, then there is no reason you shouldn't
explain to your children what you do and to educate them on the potentially negative aspects of it.
Parents always told me that you're going to experiment in high school and college, just use your brain
and do not be afraid to call us if something bad happens. From my experience, the parents that
sheltered their kids from it always had the children most likely to try out this forbidden thing they
weren't even supposed to know about.

Again, it's all subjective but if the children are level headed, they will understand.



There are some commentaries before on this subject. I´m not an expert on education
or drugs politics, so I think my opinion in this is irrelevant. But I think some of the
moral prejudices with sex that existed in society some decades ago have changed to
drugs. Drugs and drug users are scapegoats of all society problems. This prejudices
can only be manteined through ignorance. There is a big ignorance and prejudices
against drugs even between doctors and scientist. If we don´t educate people (and
that includes young and adolescents) with reliable information there will always be
more problems.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 July 2013, 10:52:56


Quote from: cleansober on 06 July 2013, 18:20:47



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Although prices are better on Atlantis, a community like this one is way more work to maintain and
develop than merely offering low prices.

To the 3rd year med stud "stayawake", would you say you are the exception to the norm among
fellow students? My guess would be it would take too much energy away from bio chem and the rest
of it, consequently few med studs would be here investigating like you are?



DoctorX,

Does the health care system in Spain reward you financially as much as say a plastic surgeon in the
States? My reading of the literature indicates that the Spanish economy is in some sort of trouble.
Do you agree with this assessment and if so how does this crisis affect the health care system? Also,
do you think you could train a competent janitor to talk like a doctor in a few weeks? If so I will
travel to Madrid if you are willing to both teach me Spanish (may take longer than three weeks, more
like three years, I think) as well as how to be a Doctor. Yes I'm joking but all kidding aside what do
you think of Nuvigil as an legal alertness drug? Thanks.

Have a nice day,

Mr. Clean, Esq.

my web site: short form: http://bit.ly/1beuN1L

or for the PGP group, this is the full link:

http://www.mrclean.com/en_US/home.do?utm_source=google&utm_medium=cpc&utm_term=mr%
20clean&utm_campaign=Mr.+Clean_Search_Desktop_Brand
+Awareness&utm_content=syMeoh9EH_15185172069_p_mr%20clean


Armodafinil (Nuvigil) is a stimulant-like drug , it is an enantiopure drug consisting of
just the active enantiomer of the racemic drug modafinil (Provigil). So it is,
theoretically, an "enhanced" version of modafinil, and it has been studied with the
same indications than this drug: sleep disorders, depression, schizophrenia and jet-
lag. Only in sleep disorderes clinically diagnosed has shown efficacy, studies on
schizophrenia have been dismissed and it didn´t get the FDA authorization for jet lag
http://www.ncbi.nlm.nih.gov/pubmed/20957846
http://www.ncbi.nlm.nih.gov/pubmed/20530317
http://www.ncbi.nlm.nih.gov/pubmed/19880686
Anyway, it can have the same problems related to all stimulant drugs: tachycardia,
restlessness, headache, and even psychotic problems at high doses
http://www.ncbi.nlm.nih.gov/pubmed/23775049
My personal opinion on most of this enantiomer drugs is that they are an easy way to
get a new drug far much expensive than the original one, and, in most cases, there
are not significant differences from the original. There are exceptions (escitalopram is
different from citalopram, for example), but in most cases they are an easy way to
improve pharmacological industry benefits.
I think the rest of your questions are out of the thread, but yes, I think I earn less
money than a plastic surgeon in the US. I chose bad my speciality
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 July 2013, 11:06:32


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Quote from: SuperHans68 on 07 July 2013, 02:36:08
How repairable are veins? Does the scar tissue and damage stay done or for how long would it need
to really repair itself. This would be with an injection 3-4 times a week with rotating sites
The degree of damage to veins depend, in a great way, on the way you do injection
technique. Think that intravenous therapy is used in hospitals with little problems. Of
course illegal drugs have not sanitary controls and this is a problem and, depending on
the drug purity and specific drug, there can be much or less problems. But washing
hands, cleaning the site with alcohol after and before injection, using steril and proper
material (clean needles and syringes, gloves...) and taking care of possible wounds
with specific ointments or creams are the best way to avoid problems. This subject is
very wide. I strongly recommend to have a look to this guide:
http://issuu.com/harmreduction/docs/getting_off_right/21?e=3225910/2673970
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b999 on 10 July 2013, 11:56:08

      I have started a thread for those interested in meth and health... I'd love to see
      an actual doctor on that... I don't care about other drugs, just meth... I'm fine
      sticking to just that and using it healthily.\

      http://dkn255hz262ypmii.onion/index.php?topic=182590.0



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mito on 10 July 2013, 16:40:27

      Dear Doctor,

      Please tell us that regular use of MXE/PCP won't cause harm to your body.

      Gracias!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: jokerman2000 on 10 July 2013, 16:44:57

      So at a music festival a couple of weeks ago. I ended up eating about 1.5g of
      MDMA, 1400ug of LSD and ended the night with loads of Ketamine. Now when I
      use drugs I want to compete with that night and anything else is just shit. Any
      suggestions?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Intraterrestrial on 10 July 2013, 16:56:17

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Quote from: jokerman2000 on 10 July 2013, 16:44:57
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and ended the night with loads of Ketamine. Now when I use drugs I want to compete with that night
and anything else is just shit. Any suggestions?


in one night? must have been one hell of a night :o

I don't need to be a doctor to tell you that you're dicing with death with that kinda
MDMA dose,and insanity with that kind of LSD dose - don't try this at home kids.

Even if it was over the whole weekend it's still well excessive. +1 to you for surviving
though
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: jokerman2000 on 10 July 2013, 17:17:20


Quote from: Intraterrestrial on 10 July 2013, 16:56:17
Quote from: jokerman2000 on 10 July 2013, 16:44:57
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Im a big guy and have a very high tolerance to what seems every drug. Even at the
dentist about a year ago when my wisdom was pulled. The doctor gave me 3 shots to
try and sedate me and said if you arent out after this one I cannot give you anymore.
I was awake through the whole procedure.

This was all in one night.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mito on 11 July 2013, 00:33:12


Quote from: jokerman2000 on 10 July 2013, 17:17:20
Quote from: Intraterrestrial on 10 July 2013, 16:56:17
 Quote from: jokerman2000 on 10 July 2013, 16:44:57
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  LSD and ended the night with loads of Ketamine. Now when I use drugs I want to compete with


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you arent out after this one I cannot give you anymore. I was awake through the whole procedure.

This was all in one night.


be careful goliath cause david is around the corner watching you.

:-*
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: BreakOnThrough on 11 July 2013, 00:56:45


Quote from: jokerman2000 on 10 July 2013, 17:17:20
Quote from: Intraterrestrial on 10 July 2013, 16:56:17
 Quote from: jokerman2000 on 10 July 2013, 16:44:57
  So at a music festival a couple of weeks ago. I ended up eating about 1.5g of MDMA, 1400ug of
  LSD and ended the night with loads of Ketamine. Now when I use drugs I want to compete with
  that night and anything else is just shit. Any suggestions?

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year ago when my wisdom was pulled. The doctor gave me 3 shots to try and sedate me and said if
you arent out after this one I cannot give you anymore. I was awake through the whole procedure.

This was all in one night.
If you took 1400 ug of acid I can't see how you'd be in a fit state to take anything else
tbh, but whatever you say!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 July 2013, 07:59:25


Quote from: GAB on SR on 07 July 2013, 15:46:05
I would like to know just exactly how caustic/damaging the insufflation of adderall/amphetamine is


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(no cocaine, methamp, opiates, etc.).

Clearly it's terrible and should not be used to put drugs into your body, but unfortunately I have
discovered & chase the euphoria associated with it.

Specifically I am wondering what exactly is this 'caustic' action that takes place with continued use.
Does one's nasal cavity start to literally disintegrate or deteriorate? Are there any breathing problems
as a result (excluding the obvious effect on sense of smell)? At what point (like any physical signs)
should you know you need to be done for good?

Also: random myth I would like debunked because I hope you have experience with adderall/stims
being an MD :) Is it true that the powder from crushed adderall pills (either IR or XR) has some wax
that clogs one's nose making in ineffective? Based on personal experience I don't feel like it does, but
my friend swears by it


Intranasal use of most drugs can cause local problems. The degree is between little
imperceptible wounds to massive destruction of bones and structure of nasal cavity.
There are different factors to this: characteristics of the substance, purity, technique
and frecuency of use... The presence of continuous nasals congestion, bad odour or
green mucus or bleeding can indicate that there is a problem and use should be
stopped or diminished.
There are some tips to reduce this risks or avoid it:
1) To crush very well the substance before using it
2) Using a clean surface
3) To use both nostrils to snort, alternating
4) Using clean material. Don´t use a bill to snort, use better a drinking snort or a
clean paper. Several studies have shown a higher rate of Hepatitis C Virus in
intranasal cocaine users.
http://www.ncbi.nlm.nih.gov/pubmed/15132748
http://www.ncbi.nlm.nih.gov/pubmed/22740714
http://www.ncbi.nlm.nih.gov/pubmed/17052278
It is unclear if sharing material to snort (straws) can be a route of infection, but you
should use personal material to introduce in your nose and not sharing it, by general
hygiene reasons.
Most prescription drugs susceptible to be abused are formulated in a way to avoid
intranasal or intravenous use
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b999 on 11 July 2013, 09:35:53

      For those interested in meth / ice I've re-started this thread.

      http://dkn255hz262ypmii.onion/index.php?topic=22378.0 Safe
      Methamphetamine Dosage/Usage. Read this if you do Ice!

      DoctorX - would be great to see you over there sometime but I know you have
      VERY limited time and it's just good to see a doctor here at all... better than
      nothing, whatever you can do.




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 11 July 2013, 13:54:07

      DoctorX : Reply #312


Quote
I´m not an expert on education or drugs politics, so I think my opinion in this is irrelevant. But I think
some of the moral prejudices with sex that existed in society some decades ago have changed to
drugs. Drugs and drug users are scapegoats of all society problems. This prejudices can only be
maintained through ignorance. There is a big ignorance and prejudices against drugs even between
doctors and scientist. If we don´t educate people (and that includes young and adolescents) with
reliable information there will always be more problems.


DoctorX: Reply #286
Quote
Anti drugs laws are supposed to "protect the children" but paradoxically it is easier for a teenager to
find pot than for an adult.

If an adolescent or a young adult is "well-educated" (that can mean a wide range of factors: self
esteem, responsibility, ability to make decisions, reflexivity...) it is unlikely that occasional use of
drugs will cause many problems. Of course some patterns of use of psychoactives in teenagers are
inadequate. But I think it is not a question of "all or nothing", but the mix of different factors.



 Those two quotes provoke enough questions for me to finally finish that PhD in
sociology that I never started. There does seems to be two poles to the discussion
here. On the one hand, "just say no" and the other hand we hear, at least on this site,
much more openness to drug use. The notion that education is the solution to sensible
drug use runs counter to the fact that schools provide fertile breeding grounds for
over-use or poor drug use choices, both legal and illegal.

  Our governments try to help stem our human weaknesses, when it comes to
substances they deem cause compulsive auto-use and harm to the family unit and
social structure, by making these drugs harder to get. The pleasure derived from
these substances move us to make choices about their use which can move us to one
side or the other. Many branches of the Christian faith like the Catholic Church seem
to ignore all drugs and only talk about them when they want to do good deeds and
help the poor folks who feel addicted to one thing or the other. Some well know
religions ban all forms of consciousness altering products outright. The other extreme
are Hindu sects and various groups who talk about sacred plants. This includes the
Irish and our well know and often joked about affinity for alcohol.

Slupper: Reply #325
 Thanks to Slupper for giving me something to hang this comment on, you say:
Quote
I am going to college this fall and probably going to be drinking and smoking weed at least most
weekends. I am interested in trying MDMA.


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Is there anything I should be worried/wary about?


  Clearly you are talking about the physical health risks associated with your heart
and not questioning whether or not you should take drugs, you seem very confident
you will be taking them. When I went to college many years ago I took up the practice
of Transcendental Meditation which recommends limited or no drugs. My entire college
years, all six of them, had only one or two weed smoking occurrences. For many years
after college with the outside authority of many yoga type sanctions against drugs I
seldom drank to excess and never used drugs. When I meet my then wife to be, and
she had a small bag of pot stashed away for years in a drawer I opened up and
reentered the habit of smoking weed having spent most of high school either high or
trying to get high.

  Fast forward to today with the drums of legalization beating and a president who is
known to have enjoyed his dank but now says taking drugs was his biggest moral
failing and what we have is the need for a solid internal authority to guide us in this
minefield of potential bad choices. You sound like someone who has his head on
straight now, but the question I have is what is sensible when it comes to drug
use? While many on SR pay lip-service to this important question the vast majority
appear to be just shopping and have no conflict at all, or at least have given up trying
to wrestle with it.

  Like Goldilocks, too hot, too cold, and just right, what is just right when it comes to
drugs? For each person the answer will be different but our authority figures all seem
to be either too hot or too cold, few are willing to look at it from the scientific position
like DoctorX does. For me the abstinence route did not work, for others it does. Many
adults who are out of the drug loop have no auto-medicate compulsion, but might
have if it were more available. So for them, in this case government sanctions are
working to protect its population from themselves. I see the whole thing as a huge
statistical game where we roll the dice and the numbers that come up are random, we
can hope for 7's but as the wise man said, "it is what it is". No Doctor, no Guru, and
no software program can be given our numbers and come up with our 100% accurate
risk rating for bad things to happen with our patterns of drug use.

 One thing I will say with no reservations is that college alcohol use is a complete
disaster. Perhaps it will take MOOCs and China to send the cold winds of change into
the college drinking/drug free for all. In case someone has failed to notice this today's
economy and job prospects are much changed from what it was even 10 years ago
but education usually takes decades to make significant change.

  Do I know the answers, hell no, I'm just trying to decide if I should buy some weed
or not, and if it weren't for my fear of prison, would have already. When you say you,
"probably will be smoking weed and drinking at least most weekends" that sounds like
the acceptance by you of a fatally and fundamentally flawed system. We all must learn
to walk on our own two feet but colleges have had a tough time addressing these long
time patterns of abuse. Re-read or read DoctorX's replies 286 and 312; he is wise
beyond his young years.

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No more preaching since the coffee is gone, see you in church.

Mr Sober Esq.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Slupper on 12 July 2013, 06:42:45

      As a baby I had an ASD repair ("hole in the heart" in layman's terms), it was
      repaired and now I am on no restrictions; doc says I'm able to do everything
      anybody else could do. I have a slight heart murmur.

      I am going to college this fall and probably going to be drinking and smoking
      weed at least most weekends. I am interested in trying MDMA.

      Is there anything I should be worried/wary about?

      EDIT: Also, do you think it would be worthwhile (if you think there's any risk
      involved) to get one of those 24-hour heart monitors, smoke some weed or even
      do it with the MDMA, and see if anything bad pops up? I have very good health
      insurance so it shouldn't cost me much, if anything.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b999 on 12 July 2013, 08:03:59

      I think you just answered your own question... probably wouldn't hurt to get a
      general health check up too - get a doc to look at your blood tests, pressure,
      heart etc... Should do it as a habit anyway.

      And don't be an idiot and load up and get all hot and dehydrated... Use some
      common sense.. Less is more.

      And don't turn in to a weed smoking college loser either... there's plenty of those
      already with degrees and check out jobs.. Stay focussed on your goals and
      approach drugs with respect, very deep respect.

      Also probably wouldn't hurt to get some 'non using' friends, at least one, to
      watch out for any changes, even if that's turning in to a loser bum. You kinda
      want to catch it early. From what I hear, loser bums aren't doing too well in
      America for jobs right now.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Slupper on 12 July 2013, 08:48:30




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changes, even if that's turning in to a loser bum. You kinda want to catch it early. From what I hear,
loser bums aren't doing too well in America for jobs right now.


I have no intent of smoking up every day or anything like some stories I've read.
Finishing with a 3.5 or higher is much more important to me than drugs. The jobs I'm
striving for require at minimum that. I like the idea of telling a 'non-using' friend,
though. +1

But I didn't really answer my question. I read about some guy doing the 24-hour thing
stating "It worked for me, but YMMV" and so that's where that came about. When it
comes to the murmur, I'm seeing varying answers from non-medical folk on the
interwebs. If I can get a more 'official' answer, I'll take it. When my doc said "You can
do anything of anybody else," I'm sure he wasn't thinking I'd be rolling.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mito on 12 July 2013, 22:51:18


Quote from: Slupper on 12 July 2013, 06:42:45
As a baby I had an ASD repair ("hole in the heart" in layman's terms), it was repaired and now I am
on no restrictions; doc says I'm able to do everything anybody else could do. I have a slight heart
murmur.

I am going to college this fall and probably going to be drinking and smoking weed at least most
weekends. I am interested in trying MDMA.

Is there anything I should be worried/wary about?


make sure you have healthy habits, such as walking, running, no smoking, good diet,
etc.

try MXE.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 15 July 2013, 07:12:38

      DoctorX,

        There seems to be an agreement that roughly 10% persons who try cannabis

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      become dependent. Based on what I read here on SR and my own observations
      elsewhere it seems that regular users have a much higher rate of dependency
      than 10%. Would you agree with this and if so what percentage of more
      frequent male users do you think may have dependency problems? Male
      patterns of abuse seem much more frequent

        Some studies of wine drinkers point to some health benefits from drinking a
      few glasses a day but we are told the risk of becoming dependent on alcohol
      outweighs these benefits. Do you see pot in the same way? There are some feel-
      good benefits but would you say, for most people, especially risk taking
      youngsters, but also so called adults, the risk of dependency outweighs these
      potential health gains?

      Sorry, must end this now, my supplier is knocking at my door, really.

      Thanks



Title: Re: How to gauge need for outside help?
Post by: DoctorX on 15 July 2013, 18:20:36


Quote from: cleansober on 08 July 2013, 21:05:56
DoctorX,

Your measured response to bodizzle raises a question for me in general. At what point do you look
for medical, psychological or other forms of help? Seems to me the last person to figure out they
have a problem is the person themselves.

How people can ask a question without editing is a puzzle to me. All my questions are in need of
correcting and changing once I think for a while about what I'm asking. Even with editing and re-
writing I never feel like I get the real question asked, part way not completely.

Mr. bodizzle uses lexapro for depression, at least this is my understanding of the pharmacodynamics
of this drug. Would you say that the drug lexapro is prescribed with less than strict guidelines by
some physicians? We all have heard stories of drugs like that causing suicidal thoughts, I think we
have anyway. Would it be wise for Bo to go and get a second opinion and do you consider general
practice physicians qualified to prescribe it anyway?




Stay thirsty ...


I think that is a very difficult question to answer. In general, if you feel you can´t
handle a situation by yourself it is time to search for specialized help. It is true that, in
relation to drugs, most physicians are more based in moral than in science. But I think
sometimes professional help is important. I beleive that prescription psychotropic
drugs can be useful if properly used, and as a complement for psychological help ot
treatment.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 July 2013, 18:37:34


Quote from: mito on 10 July 2013, 16:40:27
Dear Doctor,

Please tell us that regular use of MXE/PCP won't cause harm to your body.

Gracias!


I´m sorry I can´t say that.
In fact I don´t know. They are two different substances and risks are probably
different. To explain well the question I will start talking about ketamine. Ketamine is
a well known drug, widely used in therapy during 50 years. Recreative use of
ketamine has, more or less, 15-20 years. In the last 5 years there have been a lot of
scientific reports talking about bladder and urinary problems in ketamine users. It was
an unknown problem until 2005 (more or less), and has been detected after 15-20
years of recreative, intranasal use. In general, it only affects to intensive users.
http://www.ncbi.nlm.nih.gov/pubmed/21155941
PCP was used in medicine from 1920 to 1950 and it was finished then because of its
adverse side effects, such as hallucinations, mania, delirium, and disorientation. In
fact ketamine has its substitute, because it has less adverse effects. PCP has been
linked to neurotoxicity in animals, but it is not probably extrapolable to humans.
Methoxetamine is a very new substance. We don´t know anything about its
pharmacological properties and toxicity in humans, although there are reports of
problems linked to its use:
http://www.ncbi.nlm.nih.gov/pubmed/23111916
http://www.ncbi.nlm.nih.gov/pubmed/22578175
http://www.ncbi.nlm.nih.gov/pubmed/22205276
http://www.ncbi.nlm.nih.gov/pubmed/23349353
Considering overall risks and benefits, probably ketamine is the safest, most
pleasurable and less risky of all dissociatives, although it has it own problems
associated indeed.
Title: Sticky not icky?
Post by: cleansober on 16 July 2013, 13:30:26

      How can this thread not be sticky? Who awards sticky status to a thread
      anyway?

      Also what is karma and how can I get some, good preferably?

      thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: smogmonster13 on 17 July 2013, 12:06:22


      smogmonster13,

      When you say "sacred uses of plant-based drugs" do you include synthesized
      drugs under the sacred heading or only naturally occurring ones? We
      westerners seem to have abandoned or never developed rituals for sacred
      anything especially all things related to drugs, this unless you consider "happy
      hour" a sacred ritual.
      [/quote]

      Clean:

      I was not including synthesized drugs, not because a case for sacred use can't be
      made for them, but rather because sacred plants (peyote, ayuhausca, and the
      like) have generations of ceremonial use by young people with no reported harm.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 July 2013, 15:35:29


Quote from: jokerman2000 on 10 July 2013, 16:44:57
So at a music festival a couple of weeks ago. I ended up eating about 1.5g of MDMA, 1400ug of LSD
and ended the night with loads of Ketamine. Now when I use drugs I want to compete with that night
and anything else is just shit. Any suggestions?


It is no worthy to "try to compete" with a previous experience. In your case, it also
seems dangerous, because of the high doses used. LSD is not physically dangerous,
but doses over 500 micrograms will have no more desired effects and are a waste of
substance. Doses over 250-300 mg of MDMA increase adverse effects and risks of
toxicity. The fact you have some tolerance does not mean that there are less risks:
tolerance to pleasurable effects is generally faster to tolerance to, for example,
cardiovascular effects. It happens the same witk K.
The only way I know is to wait several weeks and use lower doses of substances. I
think this is not too much for advice, but it is the only thing I can suggest.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 July 2013, 15:41:08



Quote from: Slupper on 12 July 2013, 06:42:45
As a baby I had an ASD repair ("hole in the heart" in layman's terms), it was repaired and now I am
on no restrictions; doc says I'm able to do everything anybody else could do. I have a slight heart
murmur.


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I am going to college this fall and probably going to be drinking and smoking weed at least most
weekends. I am interested in trying MDMA.

Is there anything I should be worried/wary about?

EDIT: Also, do you think it would be worthwhile (if you think there's any risk involved) to get one of
those 24-hour heart monitors, smoke some weed or even do it with the MDMA, and see if anything
bad pops up? I have very good health insurance so it shouldn't cost me much, if anything.


If the Atrial Sept Defect was repaired when you were a baby, you have a good health,
you are using no medication because of this and you don´t have any limitations in
your life (you can do physical exercise in normal conditions, for example) I think your
risks would be similar to the rest of the population. You should take the same
preventive measures (knowing information about the substance, adequate set,
setting, doses, substance analysis if it is available in your country...) but anything
else. I don´t think a heart monitor is neccesary.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 17 July 2013, 19:23:01


Quote
LSD is not physically dangerous, but doses over 500 micrograms will have no more desired effects
and are a waste of substance. Doses over 250-300 mg of MDMA increase adverse effects and risks of
toxicity.



How cool, the good Doctor is against overdosing since it is a waste of product. How
often does this happen?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: HitTheRoad on 17 July 2013, 22:42:38

      Jumping in on this thread!

      Probably the only person with no minus karma at all and rightly so! Thank you for
      such a free knowledgeable service!!! :)



Title: Karma
Post by: cleansober on 18 July 2013, 00:06:21

      Thank you loneKarma man!


      HitTheRoad,

      How rare is no negative Karma from your experience?


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      Thanks for posting, nice to see others are interested in having fun but staying
      safe too.

      Clean



Title: Re: Karma
Post by: HitTheRoad on 18 July 2013, 00:17:13


Quote from: cleansober on 18 July 2013, 00:06:21
Thank you loneKarma man!


HitTheRoad,

How rare is no negative Karma from your experience?

Thanks for posting nice to see others are interested in having fun but staying safe too.

Clean


I don't like the whole karma feature and don't bother dishing them out at all for any
reason but find it amusing to see my positive and negative fluctuate after a night of
coke fueled bullshitting on here! :)

If you have a bad experience with a seller and give out about them on the forum then
the negative brigade who love that seller or feel they have a tie to the seller will lash
you out of it!

While here Doc, I'm sure it's been covered already but I'd have to scroll back a lot of
pages and am wondering the best treatment for the liver after doing coke and drinking
alcohol at the same time? Is milk thistle the best or do you know of a better way other
than not doing it? Thanks!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 July 2013, 16:20:34


Quote from: cleansober on 15 July 2013, 07:12:38
DoctorX,

 There seems to be an agreement that roughly 10% persons who try cannabis become dependent.
Based on what I read here on SR and my own observations elsewhere it seems that regular users
have a much higher rate of dependency than 10%. Would you agree with this and if so what
percentage of more frequent male users do you think may have dependency problems? Male patterns
of abuse seem much more frequent

   Some studies of wine drinkers point to some health benefits from drinking a few glasses a day but


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we are told the risk of becoming dependent on alcohol outweighs these benefits. Do you see pot in
the same way? There are some feel-good benefits but would you say, for most people, especially risk
taking youngsters, but also so called adults, the risk of dependency outweighs these potential health
gains?

Sorry, must end this now, my supplier is knocking at my door, really.

Thanks


The risk of becoming dependence for many psychoactives, not only cannabis, is
around 10%. Even some studies on cocaine (that is a highly addictive drug) suggest
that around 10-15% of persons who have tried once in their lives will have a
dependence problem.
Strictly, a drug dependence problem must fit some criteria. There are some
desadaptative patterns of use that can´t be classified as "dependence", although this
is a technical detail that maybe is not important. It is true that male have more abuse/
dependence problem than women, although for some substances (prescription
benzodiacepines for example) rates are inverse.
http://www.uscourts.gov/uscourts/federalcourts/pps/fedprob/2006-09/
accountability_table1.html
The important thing, in my opinion, is that this "10% risk" is not a lottery. It depends
on many factors: substance, route of administration, pattern of use and, very
important, social, personal and psychological factors difficult to measure.What I mean
is that the person behavior and his relation with the substance (motivations,
objectives, pattern of use...) will make easier or more difficult that a dependence
problem appears.
The cardiovascular benefits of low doses of alcohol are well stablished.
http://www.bmj.com/content/342/bmj.d671
Only red wine has shown this benefit, but in my opinion it is not a reason for start
drinking. As I said, dependence is caused by many factors, I think the main motivation
for drink low doses of wine should be pleasure, not a cardiovascular protective effect. I
don´t think this effect should promote dependence, although it should be well
explained and sometimes is not.
And I don´t see cannabis in the same way. There are no clear benefits for health of
using low doses of cannabis daily . Cannabis can be useful for some diseases but has
not health benefits for general population. OK... for some people it is relaxant,
improves creativity or simply, they like or enjoy it: this is health too. But I don´t think
it can be compared to the alcohol issue.


Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 19 July 2013, 07:07:00

      Hi DoctorX

      I was guided to ask my question from you:

      I have one post in newbie section where i tell about myself and my health

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      condition(ptsd).
      However im asking here is there any drug that doesn't interfere with my memory
      and emotions much except it would soothe fear and anxiety(euphoria type feeling
      could of course push me at bit better forward)? This is for therapeutic purposes.

      I took MDMA only little while ago(couple days ago) and felt bit that high cortisol
      production(i suspect) kinda interfered any kind of remembering and feeling. I
      only felt like i want to rest and were really unable to think anything. It weren't
      bad, but it weren't something that i looked for either.

      So do you know anything that could help?

      Regards,
      blackroses



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 19 July 2013, 13:52:06

      Findingcure:

      Hope you don't mind I'm posting one of your earlier comments as I think it adds
      important details needed to understand your situation. Be thankful you live
      where you do, the Finnish system is the envy of many, if you do in fact live there.

      findingcure:


Quote
It seems that i cant post any other topic other than this even though this doesn't belong to here.
Maybe i still give it to go and hope
some more experienced could give me advise. Unlike most, i'm looking for medical-type help.
I've just recently got Ptsd(nervous breakdown in very critical point of life). Now after 2 months i'm
unable to reach my positive
emotions properly(mildly i can since before breakdown i managed to detach myself aka i have very
positive feelings from time before bd but they are shut inside me) since there is fear barrier between
me and my emotions.
My life is practically frozen because of this. Doctors have suggested me to talk to psychologist,
without even understanding my condition. Other have suggested me ssri, but after looking what it
may cause, i just couldn't. After making research i find out about marijuana use in Ptsd as well as the
MDMA. Since i do feel my situation is a bit unusual because of mild presence on positive feelings and
yet i feel i need some med to help me and my brain to recover i experience that numbing medication
is wrong(cant really tell is it good for anyone). Naturally drugs like marijuana and MDMA are illegal
in my country and doctors are unable to prescript either as well, so after searching i end up here.
First of all i would like to hear opinions about my situation and suggestions what i should do. How
should i use these drugs? Can i use both "same time"(Maybe use marijuana couple days a week and
MDMA once later on week)? I need to know how much i can take without getting addiction and then
again without damaging my brain more. I would be also happy to hear from other people who had/
have Ptsd or mental illness have they gotten help from any drug(these or other). Most important thing
for me would be that that huge fear/anxiety barrier would low down and i would be able to get contact


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to my other feelings so that i can relax and process my break down properly with them.
I dont hope to become regular user :P ,but my situation needs action and i want to help myself(since
doctors are unable). I hope to get quick answers
because i want to get "my medication" on before i loose my reach to those positive feelings and
maybe fall into depression. Thanks for anyone who can help.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 19 July 2013, 14:45:49

      Thank you cleansober. Very kind of you for thinking of posting that :)

      I do yes live in Finland. I can only hope that country's system can keep me up.
      Thanks :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 19 July 2013, 17:14:58


Quote from: smogmonster13 on 17 July 2013, 12:06:22

smogmonster13,

When you say "sacred uses of plant-based drugs" do you include synthesized drugs under the sacred
heading or only naturally occurring ones? We westerners seem to have abandoned or never
developed rituals for sacred anything especially all things related to drugs, this unless you consider
"happy hour" a sacred ritual.


Clean:

I was not including synthesized drugs, not because a case for sacred use can't be
made for them, but rather because sacred plants (peyote, ayuhausca, and the like)
have generations of ceremonial use by young people with no reported harm.
[/quote]

I think things are a bit more complicated than that. I agree with you that "happy
hour" does not seem a sacred ritual but I believe there are many elements in techno
and rave culture that could be easily related to rituals.
You say that some plants have"generations of ceremonial use by young people with no
reported harm". That is true, but only for their own culture. Ayahuasca use is not
related to psychotic episodes in Amazonic cultures, but this can happen in other
cultural settings. I have looked after several psychotic episodes after ayahuasca
intake. This transcultural perspective is important, because ways of use, motivations,
social meanings and negative effects are not neccesary the same.
I think if you give MDMA, for example, to a Yanomami in a european rave, effects will
be different. And it is very possible that he does not understand anything ;)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: HitTheRoad on 19 July 2013, 17:22:46

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      Hi DoctorX,

      Is Milk Thistle good to clean ones liver or is there a better product?

      It's something I want to do after nights of using cocaine in combination with
      alcohol.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Ben on 20 July 2013, 01:29:26


Quote from: DoctorX on 19 July 2013, 17:14:58
You say that some plants have"generations of ceremonial use by young people with no reported
harm". That is true, but only for their own culture.


I doubt even that could be assumed to be true - after all, has anyone actually kept
track of any harm over all those generations?

And if it is something used in a rite of passage or similar, i'd assume all tribe members
actually use it so there would not be a control group left to compare the results
against.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 20 July 2013, 13:29:03

      Ben has a point in his post above when he says


Quote
I doubt even that could be assumed to be true - after all, has anyone actually kept track of any harm
over all those generations?


   Who knows if some so-called sacred medicine has hindered cultural/technological/
scientific advances in native cultures. Perhaps we would be wearing loin cloths if these
societies had avoided these mind bending practices? Yet another area for study; cross-
cultural effects of drug use. For me, whenever I try to justify my drug use by saying,
"look, this or that extinct or nearly vanished group does it or did it", I feel I'm
stretching to rationalize an activity frowned on by the majority culture. Is Silk Road
akin to the enlightenment with it's radical ideas of freedom? It seems more like a
whole bunch of people violating postal regulations with a lot of success.

  I'm crushed to get a negative karma, what have I done to deserve this shameful
tag? Nothing a dose of this or that won't cure. ha ha. On the other hand too much
good Karma could be a bad thing?


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kind of, Clean
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Ben on 21 July 2013, 02:10:54

      First of all - ignore karma. I get plenty of negative karma just because i tell
      people things they do no want to hear, regardless if they are true (they mostly
      are). If you believe in karma, it is not measured by whatever +/- numbers
      appear under your user name ;)

      As far as excusing drug use based on some group that did so in the past, or even
      does today, that fact in itself says nothing about safety of the drug.

      With such logic you could reason that smoking tobacco must not be dangerous
      because everyone in the western world was doing it in the 50s, 60s, 70s and 80s.
      Westerners certainly did not go extinct because of this habit, but in retrospect
      scientific analysis does prove that it actually is detrimental to health.

      As a smoker myself i don't even fall for that line of reasoning: surely the majority
      of people that lit up in the 70s are not dead because of that, but a significant
      number of them are facing death due to their use back in the day.

      I suppose being honest with yourself about these things is the best thing: i am
      very well aware that smoking could kill me at some point, sooner or later, but i -
      choose- to accept that risk because i feel the short term benefits outweigh it.
      Scientifically this makes no sense at all, but that is often the problem with
      addiction to any drug.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 21 July 2013, 08:59:52


Quote from: Ben on 21 July 2013, 02:10:54
First of all - ignore karma. I get plenty of negative karma just because i tell people things they do no
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in the 70s are not dead because of that, but a significant number of them are facing death due to
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I suppose being honest with yourself about these things is the best thing: i am very well aware that
smoking could kill me at some point, sooner or later, but i -choose- to accept that risk because i feel
the short term benefits outweigh it. Scientifically this makes no sense at all, but that is often the
problem with addiction to any drug.
That is true. I'd like to think I contribute positively to the forums frequently, but I find
I often get -1 karma when you tell people something they don't want to hear... Such
as they come on here and complain about being scammed and then you tell them they
shouldn't FE and they get defensive because they feel like an idiot and don't want to
be told anything.
Also I find that if you mention on the forums about how people have reveled too much
personal info, they get angry because they think it is acceptable. Also people on
comedowns aren't pleasant to deal with. Lol
Title: Re: Karma
Post by: DoctorX on 22 July 2013, 22:32:00


Quote from: HitTheRoad on 18 July 2013, 00:17:13
Quote from: cleansober on 18 July 2013, 00:06:21
 Thank you loneKarma man!


 HitTheRoad,

 How rare is no negative Karma from your experience?

 Thanks for posting nice to see others are interested in having fun but staying safe too.

 Clean

I don't like the whole karma feature and don't bother dishing them out at all for any reason but find it
amusing to see my positive and negative fluctuate after a night of coke fueled bullshitting on here! :)

If you have a bad experience with a seller and give out about them on the forum then the negative
brigade who love that seller or feel they have a tie to the seller will lash you out of it!

While here Doc, I'm sure it's been covered already but I'd have to scroll back a lot of pages and am
wondering the best treatment for the liver after doing coke and drinking alcohol at the same time? Is
milk thistle the best or do you know of a better way other than not doing it? Thanks!


Both cocaine and alcohol can produce hepatic damage. This effect is, in general, dose-
dependent and reversible at low-medium doses. It is hypothesized that combination of
both substances (cocaine and alcohol) creates a metabolite (cocaethylene) that is
more toxic for liver and heart than just one substance at a time. But, really, evidence
from cocaetyhlene comes from cellular and animal studies and its real impact on
human health is not clearly demostrated.
In my opinion risks of cocaethylene have been exaggerated to create fear. I won´t say
that the toxic effect is not real, but I think it is exaggerated.
There is no evidence yet that low-medium doses or frequencies of cocaine and alcohol
have long-lasting, important toxic effects on liver function. In alcohol this has been
well studied (even, there are studies that shows cardiovascular benefits of low doses

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of wine, we talked about this before). The fact that alcohol is a legal , socially
accepted drug, facilitates this kind of investigation.
Of course, high doses and/or frequencies of cocaine and alcohol can damage the liver.
And by mixing both substances this risk will more than likely increase. The molecular
mechanisms that produce this damage can´t be avoided using antidotes, treatments,
plants or milk. These measures have no known health benefits other than the possible
placebo effect. Moderation on doses and frequencies (and abstinence in the case of
liver diseases as viral, autoinmune or drug-induced hepatitis) are the most important
and effective ways to avoid or minimize harm.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Alighier on 23 July 2013, 02:08:53

      Are you there DoctorX? It's me, Margaret.

      I have a problem with a needle. Well, it wouldn't be a problem if I was better at
      using it.

      I am overweight, have trouble finding veins, and I know it's an issue of skill and
      practice since some of my old-timer junkie friends find them (with a little trouble)
      but no misses. I end up with dozens of bruises and the occasional infection (the
      most recent was very serious).

      I'd like to say I'll quit, but I don't lie to my doctors. If you have any advice (and
      yes, I know the weight lifting and hot water tricks) please, it would be greatly
      appreciated.

      Yours truly,
      Margaret



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bluedev1 on 23 July 2013, 11:29:37

      Hi Doctor,

      On the subject of cocaine binges -- using .75grams of decent cocaine
      (presumably no active cuts) 5 out of 7 days a week for a couple months straight,
      usually over the course of 6 hours or so. Healthy diet -- lots of fruits and
      veggies, immunity & respiratory supplements (various mushroom extracts,
      active), 100-200 ue Vitamin E daily, along with ending each session with 7-10mg
      diazepam and a good saline wash. Daily GABA Calm supplements (Magnesium 5
      mg, gamma-aminobutyric acid 125 mg, Glycine 50 mg, N-Acetyl L-Tyrosine 25
      mg, Taurine 20 mg). Also exercising 45-60 minutes in the mornings 4 days a
      week. Male age between 26-32, generally healthy otherwise, don't smoke or
      drink.



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      I don't feel amazing but I definitely don't feel like a wreck either. Though my
      eyes have looked better -- I am definitely getting some bruising near & below my
      eyes next to the top of my nose. Anything I can do to help with that? And am I
      in serious trouble (aside from getting an addiction under control)? I have heard
      stories of people using cocaine for years. I know not everyone is different, just
      trying to get an honest assessment of how dangerous this might be. Be honest
      please :) Many blessings to you.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TorXic on 23 July 2013, 13:37:05

      Not a doctor here, but cocaine it's very dangerous for your nose on the long run.



Title: What the heck is "Toggle View" anyway
Post by: cleansober on 23 July 2013, 19:32:55

      BEN:


Quote
« Reply #348 on: July 21, 2013, 01:10 am »
First of all - ignore karma. I get plenty of negative karma just because i tell people things they do no
want to hear, regardless if they are true (they mostly are). If you believe in karma, it is not measured
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As far as excusing drug use based on some group that did so in the past, or even does today, that
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the western world was doing it in the 50s, 60s, 70s and 80s. Westerners certainly did not go extinct
because of this habit, but in retrospect scientific analysis does prove that it actually is detrimental to
health.

As a smoker myself i don't even fall for that line of reasoning: surely the majority of people that lit up
in the 70s are not dead because of that, but a significant number of them are facing death due to
their use back in the day.

I suppose being honest with yourself about these things is the best thing: i am very well aware that
smoking could kill me at some point, sooner or later, but i -choose- to accept that risk because i feel
the short term benefits outweigh it. Scientifically this makes no sense at all, but that is often the
problem with addiction to any drug.


The whole tobacco thing makes me think about my own addiction to nicotine, given up
more or less 30 years ago. In those 30 years maybe 10-15 smokes in three or fours
year give or take a few, years and smokes. Still today I would love to smoke a nice
cigarette and did a few months ago. Bad move, it screwed up my body for several
weeks. Some sort of cold, or cold sore, or some such thing. Now when I smoke weed

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I'm fantasizing about tobacco. I wonder what % of cigarette smokers are addicted? It
must be more than 75% of regular day to day smokers who are addicts. Talk about a
gateway drug, tobacco is it.

Some of the folks around here make a whole lot more sense than straight folks
do. Ben is still under probation but he seems to be one of those people.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 July 2013, 22:15:59


Quote from: findingcure on 19 July 2013, 07:07:00
Hi DoctorX

I was guided to ask my question from you:

I have one post in newbie section where i tell about myself and my health condition(ptsd).
However im asking here is there any drug that doesn't interfere with my memory and emotions much
except it would soothe fear and anxiety(euphoria type feeling could of course push me at bit better
forward)? This is for therapeutic purposes.

I took MDMA only little while ago(couple days ago) and felt bit that high cortisol production(i suspect)
kinda interfered any kind of remembering and feeling. I only felt like i want to rest and were really
unable to think anything. It weren't bad, but it weren't something that i looked for either.

So do you know anything that could help?

Regards,
blackroses


Hi,
there are several studies showing improvements in treatment of PSTD with MDMA
assisted psychotherapy.
https://www.ncbi.nlm.nih.gov/pubmed/20643699
https://www.ncbi.nlm.nih.gov/pubmed/23118021
https://www.ncbi.nlm.nih.gov/pubmed/23172889
Results are preliminar but, due to the unique characteristics of MDMA experience there
is enough data to think that it may be useful, at least in some patients. One important
point to consider is that we are talking about "assisted psychotherapy". To be useful,
MDMA should be administered in a clinical setting; in general after several interviews
with therapist, one or two sessions of psychotherapy are performed under MDMA
effects, exploring psychological barriers that are difficult to handle in a normal state of
consciousness. In theory, the patient "learns" to manage with the repressed
psychological material causing stress.
But it is very difficult (I would say almost impossible) that one can do that by oneself
without a good professional psychologist or psychiatrist specifically trained and with
personal experience of MDMA. MDMA is administered in 1-2 occasions during
treatment. MDMA wouldn´t cure as conventional drugs, but offering a unique
experience useful for the patient.
There are several studies and scientific teams working with MDMA and PTSD. MAPS


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page (http://www.maps.org/research/mdma/) offers the best information available on
this treatment approach.
There are several studies and scientific teams working with MDMA and PTSD. MAPS
page (http://www.maps.org/research/mdma/) offers the best information available on
this particular.
Title: The cross-thread experience
Post by: cleansober on 24 July 2013, 12:39:35


Quote
Re: What is the best drug for social anxiety?
« Reply #85 on: January 20, 2013, 07:14 am »
Well, I have a bit of experience with these issues. I had beed diagnosed by both a neurologist and a
pychiatrist (however that's properly spelled) with Generalized Anxiety Disorder and Social Anxiety
Disorder with Disphoria (a low to mid level) depression. I was prescribed a few SSRI's (not
simultaneously, we worked on several 'til We found one that worked well. Celexa, Effexor and finally
Lexapro were the SSRI's, with Lexapro working quite well with no side effects at all (for me). I also
suffered from panic attacks (severe ones) for which I was prescribed Xanax. These all worked
extremely well for me (note: as someone stated a few pp up everyone is different - Zoloft was
absolutely horrible for me, for example). I took these (legitimately under a doctor's care) for approx 6-
9 years with excellent results - I'm rather shy, but after a few years I was entertaining the idea of
joining a nudist resort - I didn't, but gave considerable thought to it.
     It should be noted that Xanax is, as previously stated, bext for short term anxiety issues (panic
attacks, for which it works very, very well), but is is very addictive and the withdraws (if not tapered
down gradually) can (and did with me) cause Grand Mal siezures - very bad while driving or the like,
obviously. Also, the SSRI's, if that is the route you would take, are a multi-year therapy, perhaps
permanently - this it best decided by a medical doctor.
    There is help available for this, very effective help, so don't fret too much nor fall into depression -
lots of people have these issues, and the pharamsuticals (sp) are getting quite sophisticated. Do avoid
meth, I'm sorry, that seems like a very bad idea (unless a real doc prescribes an amphetamine-based
med. Hang in there, this is a far from hopeless situation.


The above quoted reply taken from the thread "What is the best drug for social
anxiety?" seems to be the norm when it comes to treating anxiety or depression. It
seems to be the same treatment plan many long time cigarette smokers are given
also, at least those who have trouble giving it up on their own. Not exactly, but similar
maybe from a non-expert (me) perspective. While this may be not DoctorX's specialty
I wonder if he could comment on treating nicotine addiction as such. Whatever that
means, {as such}, I mean.

One reason not to take anti-depressants is to avoid going about sans clothes. Since
occasionally I would like to go to a nudist colony, I'm afraid if I take those new fangled
drugs I will find the impulse to disrobe so powerful and extraordinary that I would find
it impossible to keep my clothes buttoned up.




Quote
But it is very difficult (I would say almost impossible) that one can do that by oneself without a good


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professional psychologist or psychiatrist specifically trained and personally experienced on MDMA.
MDMA is administered in 1-2 occasions during treatment. MDMA wouldn´t cure as conventional drugs,
but offering a unique experience useful for the patient.



DoctorX,

So you are saying to do this sort of therapy you must have taken the MDMA
yourself? Do you think it could also be used for behavior modification as well as PTSD?

Thanks to all and X.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 July 2013, 21:48:56


Quote from: HitTheRoad on 19 July 2013, 17:22:46
Hi DoctorX,

Is Milk Thistle good to clean ones liver or is there a better product?

It's something I want to do after nights of using cocaine in combination with alcohol.



Both cocaine and alcohol can produce hepatic damage. This effect is, in general, dose-
dependent and reversible at low-medium doses. It is hypothesized that combination of
both substances (cocaine and alcohol) creates a metabolite (cocaethylene) that is
more toxic for liver and heart than just one substance at a time. But, really, evidence
from cocaetyhlene comes from cellular and animal studies and its real impact on
human health is not clearly demostrated.
In my opinion risks of cocaethylene have been exaggerated to create fear. I won´t say
that the toxic effect is not real, but I think it is exaggerated.
There is no evidence yet that low-medium doses or frequencies of cocaine and alcohol
have long-lasting, important toxic effects on liver function. In alcohol this has been
well studied (even, there are studies that shows cardiovascular benefits of low doses
of wine, we talked about this before). The fact that alcohol is a legal , socially
accepted drug, facilitates this kind of investigation.
Of course, high doses and/or frequencies of cocaine and alcohol can damage the liver.
And by mixing both substances this risk will more than likely increase. The molecular
mechanisms that produce this damage can´t be avoided using antidotes, treatments,
plants or milk. These measures have no known health benefits other than the possible
placebo effect. Moderation on doses and frequencies (and abstinence in the case of
liver diseases as viral, autoinmune or drug-induced hepatitis) are the most important
and effective ways to avoid or minimize harm.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b999 on 25 July 2013, 13:42:48

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      Any evidence of meth use in low dosages (20-60mgs per day) over long periods?
      Any studies on people 60 years or more after a life of drug use? Not hard, but
      more 'recreational' type drug use. MDMA too.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 July 2013, 17:04:43


Quote from: Alighier on 23 July 2013, 02:08:53
Are you there DoctorX? It's me, Margaret.

I have a problem with a needle. Well, it wouldn't be a problem if I was better at using it.

I am overweight, have trouble finding veins, and I know it's an issue of skill and practice since some
of my old-timer junkie friends find them (with a little trouble) but no misses. I end up with dozens of
bruises and the occasional infection (the most recent was very serious).

I'd like to say I'll quit, but I don't lie to my doctors. If you have any advice (and yes, I know the
weight lifting and hot water tricks) please, it would be greatly appreciated.

Yours truly,
Margaret



I have found an interesting thread on safer injection, there you will find reliable
information about how to find veins:
http://www.drugs-forum.com/forum/showthread.php?t=28116
Using a tourniquet is reccomended, but it also has some risks. Here is additional
information on this. Remember: never use it more than 1 minute and always quit it
before injecting
http://injectingadvice.com/articles/basics/147-tourniquet30nov
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 25 July 2013, 17:05:47


Quote
Posted by: b999
« on: Today at 12:42 pm »


Any evidence of meth use in low dosages (20-60mgs per day) over long periods? Any studies on
people 60 years or more after a life of drug use? Not hard, but more 'recreational' type drug use.
MDMA too.


If I might piggyback on b999's question here. Is there a difference in ability to get
work done on meth compared with say ritilan/adderal and cocaine? From my memory
Freud and others had substantial coke habits back in their day. We all know of the

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opium dens that the Chinese had in California when they worked on the railroads in
late 1800's and early 1900's.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 25 July 2013, 19:24:35


Quote from: cleansober on 24 July 2013, 12:39:35


Quote
 But it is very difficult (I would say almost impossible) that one can do that by oneself without a good
 professional psychologist or psychiatrist specifically trained and personally experienced on MDMA.
 MDMA is administered in 1-2 occasions during treatment. MDMA wouldn´t cure as conventional
 drugs, but offering a unique experience useful for the patient.


DoctorX,

So you are saying to do this sort of therapy you must have taken the MDMA yourself? Do you think it
could also be used for behavior modification as well as PTSD?

Thanks to all and X.


Thats rather interesting idea - behavioral modification i mean. Any way, to return my
own topic, it would be quite a miracle to find "professional" psychologist, who have
used mdma and who really knows how to guide me(person who is not "academic", but
really can guide me by my individual personality - thats rare. Finding similar
temperament as you) and has needed information/experience. In a small country.
Even though im willing to try mdma, is there any other drug that would me allow think
(no memory interrupting) and feel(especially cry; haven't been able to do that in a
while) without fear present? Question is for all. Out of curiosity. :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: b999 on 25 July 2013, 22:47:17

      You will never find a drug that replaces the human spirit. Cry with fear, that's
      what it's all about. Just cry full stop. Laughing also activates the same neural
      pathways too so seriously, a good hearty laugh helps too, with friends especially.

      Meth has helped me for the dopamine reward combined with exercise, boy it sure
      helps 'behavioural modification'. I'm not sure about MDMA as I don't think I need
      any more seratonin. I'm actually cautious about boosting seratonin and think
      dopamine is the key and then use indirect / other methods to boost seratonin -
      like lifestyle overall and a healthy social life.

      Dopamine helps focus, and in small modest amounts meth seems to work really
      well despite all concerns and suggestions I should try something else, not that I
      have much if any experience with anything else so I wouldn't really know.


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      I just need to dive in and do stuff, not run around hugging people. An active
      social / community / physical lifestyle seems to take care of that bit. Was once
      depressed.. Community involvement and making lots of friends cured that pretty
      quickly.

      Be careful of replacing the basic human need for ongoing social connection in a
      'village' with drugs.

      That's why (ironically) I think I prefer meth. It just helps me improve my
      lifestyle, lose weight, focus etc but leaves the rest of the 'personal development'
      to me.

      Unorthodox I know, perhaps. But... who knows.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Alighier on 25 July 2013, 23:12:14

      Anyone got some advice for the kid with the pointy things?

      :o



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 26 July 2013, 19:41:26

      Margaret,

      Just curious did you look at the links X posted for you? What did you think?


Quote
I have found an interesting thread on safer injection, there you will find reliable information about
how to find veins:
http://www.drugs-forum.com/forum/showthread.php?t=28116
Using a tourniquet is reccomended, but it also has some risks. Here is additional information on this.
Remember: never use it more than 1 minute and always quit it before injecting
http://injectingadvice.com/articles/basics/147-tourniquet30nov

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 July 2013, 19:44:17


Quote from: bluedev1 on 23 July 2013, 11:29:37
Hi Doctor,

On the subject of cocaine binges -- using .75grams of decent cocaine (presumably no active cuts) 5


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out of 7 days a week for a couple months straight, usually over the course of 6 hours or so. Healthy
diet -- lots of fruits and veggies, immunity & respiratory supplements (various mushroom extracts,
active), 100-200 ue Vitamin E daily, along with ending each session with 7-10mg diazepam and a
good saline wash. Daily GABA Calm supplements (Magnesium 5 mg, gamma-aminobutyric acid 125
mg, Glycine 50 mg, N-Acetyl L-Tyrosine 25 mg, Taurine 20 mg). Also exercising 45-60 minutes in the
mornings 4 days a week. Male age between 26-32, generally healthy otherwise, don't smoke or drink.

I don't feel amazing but I definitely don't feel like a wreck either. Though my eyes have looked
better -- I am definitely getting some bruising near & below my eyes next to the top of my nose.
Anything I can do to help with that? And am I in serious trouble (aside from getting an addiction
under control)? I have heard stories of people using cocaine for years. I know not everyone is
different, just trying to get an honest assessment of how dangerous this might be. Be honest
please :) Many blessings to you.


With some drugs it is easy to calculate or estimate the risks of a concrete pattern of
usage. There are epidemiological studies about safe dosage of alcohol, for example.
Other drugs (like GHB or methamphetamine) have been used as prescription drug and
so we know adverse effects or toxicity. But, as far as I know, there are no studies
about risks of daily or very frequent intranasal dosage cocaine and its relation with
dosage.
So, my "honest" (as you request) opinion is not based in scientific studies, but in my
experience and general knowledge. In general, frequent use of drugs is more risky
than ocassional, recreative use. This is obvious, but I think this rise of risks is greater
for stimulants than for other drugs like, for example cannabis.

I think daily or almost daily use of such a dose of cocaine may be harmful at medium
or long term. Cocaine has robust cardiovascular effects and frequent use can cause
problems such as hypertension. Psychologically there can be also some problems:
frequent users of cocaine are prone to anxiety, depressive or paranoid reactions.
Sometimes these conditions are not serious but there are subtle personality
alterations. The risk of dependence also exists and may be increased if you are using
another addictive drug at the same time (diazepam). This mixture (benzos after
cocaine) can be useful used occasionally but I don´t think it is a good idea an an
habit. It is important that you consider yourself ( I don´t know if this expression is
correct in English..."consider yourself", "think about...") about the motivations,
objectives and feel of self-contol of your cocaine use.

We talked about safe intranasal drug use some days ago:
http://dkn255hz262ypmii.onion/index.php?topic=147607.msg1328056#msg1328056
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Alighier on 26 July 2013, 22:15:00


Quote from: cleansober on 26 July 2013, 19:41:26
Margaret,

Just curious did you look at the links X posted for you? What did you think?

Quote


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 I have found an interesting thread on safer injection, there you will find reliable information about
 how to find veins:
 http://www.drugs-forum.com/forum/showthread.php?t=28116
 Using a tourniquet is reccomended, but it also has some risks. Here is additional information on this.
 Remember: never use it more than 1 minute and always quit it before injecting
 http://injectingadvice.com/articles/basics/147-tourniquet30nov


I thought I had scoured this thread for a reply :o

Thanks cleansober! And thanks, DocX!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 26 July 2013, 23:14:37


Quote
I thought I had scoured this thread for a reply


 I'm not sure whether you scoured this current thread or you scoured the IV
thread. Sounds like you have similar problem to small children and babies when
medical professionals need to locate good veins. While I would like to say good luck on
the hunt, I'm scared of pointy things, especially needles.

Clean



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Alighier on 27 July 2013, 00:24:41


Quote from: cleansober on 26 July 2013, 23:14:37
Quote
 I thought I had scoured this thread for a reply

 I'm not sure whether you scoured this current thread or you scoured the IV thread. Sounds like you
have similar problem to small children and babies when medical professionals need to locate good
veins. While I would like to say good luck on the hunt, I'm scared of pointy things, especially needles.

Clean


I have the problem fat people have when finding a vein... Recently got a nifty medical
tourniquet that won't snap on my excessively corpulent arms, and found that it solved
most of the problem I was having before. Two shots went off perfectly whereas
before, I would be digging around forever trying to get one even partial hit.

And that's probably good. I think it's important for every drug user to KNOW how to
inject. Even if you don't every anticipate doing it, it could come in handy for many


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reasons. But I'm more addicted to the needle than any drug I have ever done. I'm not
hooked on H, haven't done more than a line or two of coke since I was a teenager,
and Meth's usually a no-no for me seeing as my family has a history of speed abuse.

But even if I'm not fiending for something in particular, I find myself wanting to take a
poke. Fill it with something that gives me a rush, see that blood enter...

Kids, I'm not your mommy, and I won't tell you what to do, but take it from someone
who seems to only lie to their loved one about this one thing-- DON'T pick that needle
up unless you've already started. At this point, I'm mostly resigned to it, trying not to
regret what's already done, and trying to do it correctly so I can minimize harm.

Much love, my beautiful druggarts,

~Ali
Title: Re: The cross-thread experience
Post by: DoctorX on 28 July 2013, 17:19:10


Quote from: cleansober on 24 July 2013, 12:39:35
Quote
 Re: What is the best drug for social anxiety?
 « Reply #85 on: January 20, 2013, 07:14 am »
 Well, I have a bit of experience with these issues. I had beed diagnosed by both a neurologist and a
 pychiatrist (however that's properly spelled) with Generalized Anxiety Disorder and Social Anxiety
 Disorder with Disphoria (a low to mid level) depression. I was prescribed a few SSRI's (not
 simultaneously, we worked on several 'til We found one that worked well. Celexa, Effexor and finally
 Lexapro were the SSRI's, with Lexapro working quite well with no side effects at all (for me). I also
 suffered from panic attacks (severe ones) for which I was prescribed Xanax. These all worked
 extremely well for me (note: as someone stated a few pp up everyone is different - Zoloft was
 absolutely horrible for me, for example). I took these (legitimately under a doctor's care) for approx
 6-9 years with excellent results - I'm rather shy, but after a few years I was entertaining the idea of
 joining a nudist resort - I didn't, but gave considerable thought to it.
      It should be noted that Xanax is, as previously stated, bext for short term anxiety issues (panic
 attacks, for which it works very, very well), but is is very addictive and the withdraws (if not tapered
 down gradually) can (and did with me) cause Grand Mal siezures - very bad while driving or the like,
 obviously. Also, the SSRI's, if that is the route you would take, are a multi-year therapy, perhaps
 permanently - this it best decided by a medical doctor.
     There is help available for this, very effective help, so don't fret too much nor fall into depression
 - lots of people have these issues, and the pharamsuticals (sp) are getting quite sophisticated. Do
 avoid meth, I'm sorry, that seems like a very bad idea (unless a real doc prescribes an
 amphetamine-based med. Hang in there, this is a far from hopeless situation.

The above quoted reply taken from the thread "What is the best drug for social anxiety?" seems to be
the norm when it comes to treating anxiety or depression. It seems to be the same treatment plan
many long time cigarette smokers are given also, at least those who have trouble giving it up on their
own. Not exactly, but similar maybe from a non-expert (me) perspective. While this may be not
DoctorX's specialty I wonder if he could comment on treating nicotine addiction as such. Whatever
that means, {as such}, I mean.

One reason not to take anti-depressants is to avoid going about sans clothes. Since occasionally I


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would like to go to a nudist colony, I'm afraid if I take those new fangled drugs I will find the impulse
to disrobe so powerful and extraordinary that I would find it impossible to keep my clothes buttoned
up.




Quote
 But it is very difficult (I would say almost impossible) that one can do that by oneself without a good
 professional psychologist or psychiatrist specifically trained and personally experienced on MDMA.
 MDMA is administered in 1-2 occasions during treatment. MDMA wouldn´t cure as conventional
 drugs, but offering a unique experience useful for the patient.


DoctorX,

So you are saying to do this sort of therapy you must have taken the MDMA yourself? Do you think it
could also be used for behavior modification as well as PTSD?

Thanks to all and X.



There are three main pharmacological treatments for nicotine addiction. Nicotine
replacement therapy imitates the heroin/methadone model, changing the way of
administration of nicotine from a high-addictive one (smoked) to a less adictive one:
chewing gums, patchs, bucal or intranasal sprays. The other two approved prescrition
drugs for this purpose are bupropion (a dopamine/noradrenaline reuptake inhibitor)
and varenicline (a nicotinic receptor partial agonist). Each one of these drugs have
their own benefits and disadvantages and are more o less suitable depending on the
situation.

Regarding MDMA therapy it is very importat that the therapist has some experience
with the drug. This is one of the particular characteristics of therapeutic use of
psychedelics. You don´t need to have cancer or diabetes to be a good doctor in cancer
or diabetes. But this practical knowledge is essential for psychedelic therapy.I think
the unique characteristics of MDMA experience can be useful for PTSD, but I don´t
think the same for behaviour modification. In this case I don´t think MDMA could work
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flakesmith on 28 July 2013, 17:33:42

      sub



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 July 2013, 18:30:27


Quote from: b999 on 25 July 2013, 13:42:48
Any evidence of meth use in low dosages (20-60mgs per day) over long periods? Any studies on


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people 60 years or more after a life of drug use? Not hard, but more 'recreational' type drug use.
MDMA too.


Methamphetamine is a FDA-approved drug under the name of Desoxyn. There are
clinical trials and dosages studied are in the rank 5-25 mg, administered by oral route.
So, at these dosages and way of administration there is no risk of neurotoxicity.
Technical sheet of the product inform about known adverse and toxic effects of
stimulants (cardiac, psychiatric, risk of dependence...)- In concrete case of meth,
there are not studies on people over 65 years.
There are studies of long-term effects of almost every drug. But, in general, these
studies give hypothesis or orientations. The fact that one person takes a certain drug
doesn´t mean that the drug is the cause of a problem. For example, there are many
studies on MDMA users showing some memory deficit in very frequent users. But it is
unclear if MDMA is the cause or there can be other factors (use of other drugs,
adulteration, lifestyle...) that can be in relation with the effect shown.
Title: PMA, no not positive mental attitude.
Post by: cleansober on 29 July 2013, 03:51:45

      DocX,

      What would you say are the proper precautions to take to avoid taking PMA in
      what you think is MDMA?


      Sober,



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: weather420 on 29 July 2013, 04:56:21

      How much is too much cocaine to ingest via insulffation in one sitting? I have
      went through 3-4 grams in one sitting.I generally only snort the purest cocaine.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bluedev1 on 29 July 2013, 05:56:26


Quote from: weather420 on 29 July 2013, 04:56:21
How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4 grams
in one sitting.I generally only snort the purest cocaine.


holy mackerel that's a lot of blow lol
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 29 July 2013, 22:24:28

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      I don´t agree with the idea that it should be very difficult to find a therapist with
      practical experience with MDMA. The history of MDMA is closely vinculated to
      psychiatry.MDMA first use was therapeutic, and during the 70s-early 80s, at least
      in United States, thousands of professional ( medicine, psychology, psychiatry)
      learnt and experimented with patients.

      " When Shulgin had him try MDMA in 1977, Zeff was so impressed that he came
      out of retirement to proselytize for it. Ann Shulgin remembers a speaker at Zeff's
      memorial service saying that Zeff had introduced the drug to ''about 4,000''
      therapists. "

      http://www.nytimes.com/2005/01/30/magazine/30ECSTASY.html

      Most of these professional remain "in the closet" as nobody wants to be related
      with a forbidden drug. There are a few professional that administer MDMA to
      patients in therapeutic settings, but they remain underground and information is
      only available by personal , selected contacts because of the severe legal
      problems thwy would have to face if their activity is illegal.

      I think this personal experience is fundamental. Nobody can learn to drive or
      skiing without a professor who knows the subject. With psychedelics it is possible
      that oneself experiments "illuminative" or trascendental experiences that mean
      deep changes without other persons. But these experiences can´t be provoked or
      searched, they just happen sometimes. Therapeutic use of psychedelics imply
      some kind of guide or help by a person with enough knowledge, both theoretical
      and practical



Quote from: findingcure on 25 July 2013, 19:24:35
Quote from: cleansober on 24 July 2013, 12:39:35


 Quote
  But it is very difficult (I would say almost impossible) that one can do that by oneself without a
  good professional psychologist or psychiatrist specifically trained and personally experienced on
  MDMA. MDMA is administered in 1-2 occasions during treatment. MDMA wouldn´t cure as
  conventional drugs, but offering a unique experience useful for the patient.


 DoctorX,

 So you are saying to do this sort of therapy you must have taken the MDMA yourself? Do you think
 it could also be used for behavior modification as well as PTSD?

 Thanks to all and X.

Thats rather interesting idea - behavioral modification i mean. Any way, to return my own topic, it
would be quite a miracle to find "professional" psychologist, who have used mdma and who really


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knows how to guide me(person who is not "academic", but really can guide me by my individual
personality - thats rare. Finding similar temperament as you) and has needed information/experience.
In a small country. Even though im willing to try mdma, is there any other drug that would me allow
think(no memory interrupting) and feel(especially cry; haven't been able to do that in a while) without
fear present? Question is for all. Out of curiosity. :)

Title: Re: PMA, no not positive mental attitude.
Post by: DoctorX on 30 July 2013, 17:24:30

      A Drug Testing Service is the best (and only) way to avoid PMA and other
      adulterants. The simplest techniques use reactives (Marquis, Mecke, Mandelin,
      Robadope...) to detect the presence or absence of a determinated substance or
      family of substances. They have limitations. For example, a sample with pure
      MDMA and other sample with MDMA+other substances will test both positives.
      They don´t difference similar substances (MDA and MDMA have the same
      reaction). There can be some false positives ( some opiates give a positive
      reaction to Marquis test). They only offer aproximate qualitative information,
      never quantitative). On the other hand, they are easy to use and can be easily
      purchased through Internet.

      A Thin Layer Cromatography has a medium difficulty (it needs an equipment and
      training), but it separates different substances in a sample and gives more
      information about its composition. Other techniques more sofisticated (Gas
      chromatography–mass spectrometry, gas chromatography-ultraviolet) give
      accurate information about the exact composition of almost every drug, but they
      are expensive and need using complex equipment.

      There are a few countries in the world that allow Drug Testing Service as
      preventive measures related with drugs. My country, Spain, is one of them
      although these services are poorly financed and bad considered by many politics
      and drug experts. You know, the kind of people that say that Drug Testing
      Services promote the use of drugs, that are the same who thinks that using
      condoms causes sexual promiscuity, or that fire extinguishers promote fire. This
      kind of persons that are more concerned about their moral prejudices than Public
      Health.

      I am actually involved in a project to create an International Drug Testing
      Service. In this moment is a embryonic idea limited by funding problems. If
      anyone knows a rich philanthropist SR vendor or some kind of patron, please tell
      them. Anyway I will inform if the project is started-up


Quote from: cleansober on 29 July 2013, 03:51:45
DocX,

What would you say are the proper precautions to take to avoid taking PMA in what you think is
MDMA?




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Sober,

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 30 July 2013, 18:12:57

      Thanks :) +1



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: onefishtwofishredfishblue on 30 July 2013, 21:13:56

      doc x,
      what is your take on m1 in terms of it being more or less nuro-toxic than mdma?

      Thank you,



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: weather420 on 31 July 2013, 04:54:59


Quote from: bluedev1 on 29 July 2013, 05:56:26
Quote from: weather420 on 29 July 2013, 04:56:21
 How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4
 grams in one sitting.I generally only snort the purest cocaine.

holy mackerel that's a lot of blow lol


Hahah yeah I have snorted an 8ball in one sitting more than I would like to admit. I
don't get down as much as I use to. But when I do I go pretty nuts.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 01 August 2013, 13:12:32


Quote
I think this personal experience is fundamental. Nobody can learn to drive or skiing without a
professor who knows the subject. With psychedelics it is possible that oneself experiments
"illuminative" or trascendental experiences that mean deep changes without other persons. But these
experiences can´t be provoked or searched, they just happen sometimes. Therapeutic use of
psychedelics imply some kind of guide or help by a person with enough knowledge, both theoretical
and practical




DoctorX,


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It seems most of the time having a professional dedicated to helping you learn
anything is easier than trying to go it on your own. The old saying when the student is
ready the teacher will appear, seems apt here. Maybe not, but I want to use the word
apt so bear with me here. Taking on the novice role is something I seem to have
never gotten beyond and part of the fascination weed has for me is it allows me to
forget about my perpetual novice status and move into a pleasant plane where I'm no
longer just a beginner but rather feel part of something. I'm sure if there was an
expert available who would say more than "just say no" and guide me in proper
integration of pot into my life I would be better off. This assumes there is an answer
to the dilemma should I do it at all and how to avoid unhealthy patterns of usage if I
decide to continue. Do I really have free will when it comes to making these choices or
am I a bundle of biochemical and neurological givens reacting to my environment? Its
easy to say no when you have no supply, more difficult if it is freely available. Just
thinkin'.

And furthermore why can't I figure out that PGP stuff, makes me feel dumb. Everyone
around hear has keys and I'm keyless because of my ineptitude. My thought is it don't
matter anyway but others have good reason to disagree with that.



Quote
Other people have what they need;
I alone possess nothing.
I alone drift about,
like someone without a home.
I am like an idiot, my mind is so empty.

Other people are bright;
I alone am dark.
Other people are sharper;
I alone am dull.
Other people have a purpose;
I alone don't know.
I drift like a wave on the ocean,
I blow as aimless as the wind.
Tao Te Ching

Much more to the Tao but this idea resonates for me every time I re-read it.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Mr Hazlo on 01 August 2013, 13:25:41

      DoctorX,

      I have a question about MDMA and lactation. A couple I know had a child early
      this march. Both parents want to take MDMA to open their harts about how
      beautiful their child is and that kind of things, but the mother is pretty concerned
      about how this could affect lactation. She can't take pharmaceuticals like
      ibuprofen so she wants to know if MDMA would affect her breast milk. So I


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      thought of asking the good doctor for them and tell them if they could or couldn't
      do it. Do you know something about this particular issue?

      Thanks a lot, this threat is one of those things that justify the existence of Silk
      Road.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 August 2013, 14:17:34


Quote from: weather420 on 29 July 2013, 04:56:21
How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4 grams
in one sitting.I generally only snort the purest cocaine.


This question is very difficult to answer. Think about the question "How much is too
much alcohol to ingest in one setting? ". For some people 2-3 drinks of whisky should
be too much, other people would think that one bottle, there are even people that
think that any quantity of alcohol is too much. Factors like age, sex, speed of
administration, adulteration and personal factors are very important. Tolerance makes
that people who use regularly a drug, can take doses that would be toxic for a non-
regular user.
It is also important to consider what do you mean with "too much"...Too much for
having mild adverse effects? To have an overdose? To die?.
In the particular case of cocaine, in general it is considered that a normal dose in a
line should be 30-100mg, and it also depends is on the intensity of effects sought.
Some people take just one dose and other will take more than 20 in a unique occasion.
We have exact ranks of dosage for prescription drugs but not for recreative drugs. In
pharmacology, there is a parameter called "LD50" used to measure the toxicity of a
drug. LD50 means the medium dose necessary to kill 50% of a group of
experimentation animals. Knowing the LD50 for different species (rats, dogs,
monkeys) and using mathematical models, it is possible to calculate the human LD50,
although it is only an estimation.
In the case of LD50 for cocaine there are different data. Grinspoon and Bakalar say in
their book "Cocaine: A Drug and It’s Social Evolution" that it is 20 mg/kg orally in
dogs or 10 mg/kg subcutaneously/intravenously. LD50 for humans is calculated in the
rank 1.5-2.5 grams of pure cocaine, although I insist that this parameter in only a
theoretical estimation. Some people would have serious problems using less cocaine in
one occasion and other (people with tolerance) could use higher doses.
In any case, I think 3-4 grams in one occasion is a very high dosage and can lead to
problems. You should also consider that nasal surface of absorption is small, capacity
of absorption is saturated and the vasoconstrictor effect of cocaine makes that, when
you reach certain dosage, the rest is not absorbed and wasted.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Bluto on 02 August 2013, 00:20:14

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      Doctor,

      I am doing a very low carb diet. I get between 10 and 15 "net carbs" a day. I am
      overweight but am nearing my goal.

      My question is that a friend and I were planning on having a quiet party with 25
      mg of 2C-B each. Should I bring myself out of Ketosis for this party and bring my
      blood sugar up? Is that something that you would recommend or should I
      continue dieting through the 2C-B?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Quazee on 03 August 2013, 01:35:54


Quote from: weather420 on 31 July 2013, 04:54:59
Quote from: bluedev1 on 29 July 2013, 05:56:26
 Quote from: weather420 on 29 July 2013, 04:56:21
  How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4
  grams in one sitting.I generally only snort the purest cocaine.

 holy mackerel that's a lot of blow lol

Hahah yeah I have snorted an 8ball in one sitting more than I would like to admit. I don't get down as
much as I use to. But when I do I go pretty nuts.
Would really have to know the purity. probably 30% cocaine?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: metacontxt on 03 August 2013, 19:44:35

      "If you leave cocaine, MDMA, meth or 4-AcO-DMT on a table, they won´t try to
      assault you, rape you or hit your balls. "

      This is axiomatic yet inexplicably overlooked by the mainstream.

      And of course your turn of phrase is brilliant. Props, doc.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 03 August 2013, 20:23:35

      doctor x, i have a question sorry i did not read 29 pages, i am too lazy now

      Cocaine. Is snorting it the safest (less damage) way to use, instead of smoking,
      or IV (considering its pure with no cuts/adulterants)?

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      Weed. smoking pure weed in joints, or in bongs.. is it safer for the lungs instead
      of smoking in a joint mixed with tobacco?

      Thank you a lot in advance for any answer.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Psytanium on 03 August 2013, 20:59:21

      the best idea ever done, concerning drugs. All the best for you doctor :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: neo67 on 03 August 2013, 22:21:16

      Wow doctor, thanks for taking the time out and replying to everyone's questions.
      Respect.

      I have a question for you regarding drug interactions. I am currently taking
      abilify,an anti-psychotic medication. I have recently thought about doing MDMA
      on a social basis. How will that drug interact with that particular anti-psychotic?
      I've heard it reduces the effects of MDMA at best,at worst it can make you really
      sick with serotonin syndrome. How likely is SS?

      Also, if you have the time to explain how abilify interacts with other drugs such
      as; mephedrone, ketamine and LSD, this information would be of most help.

      Thank you.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 04 August 2013, 02:02:18

      top44 says in Reply 386:


Quote
doctor x, i have a question sorry i did not read 29 pages, i am too lazy now

Cocaine. Is snorting it the safest (less damage) way to use, instead of smoking, or IV (considering its
pure with no cuts/adulterants)?

Weed. smoking pure weed in joints, or in bongs.. is it safer for the lungs instead of smoking in a joint
mixed with tobacco?




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Would it be fair to say different ways of drug administration, ie. pill, smoke, IV, etc all
have a different risk of dependance/addiction? One logical reason few teens become
regular alcohol users is it takes a good deal of work and money to drink on a daily
basis while smoking cannabis is a relatively quick and easy thing to do. Not to mention
it is probably easier to finance a pot den than alcohol parlor.

Also this thread is a mere 26 pages but you might just look at just DoctorX's posts to
cut down the noise factor. Click his name and "show posts" to get the straight dope.

CS

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: weather420 on 04 August 2013, 04:06:26


Quote from: Quazee on 03 August 2013, 01:35:54
Quote from: weather420 on 31 July 2013, 04:54:59
 Quote from: bluedev1 on 29 July 2013, 05:56:26
  Quote from: weather420 on 29 July 2013, 04:56:21
     How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4
     grams in one sitting.I generally only snort the purest cocaine.

  holy mackerel that's a lot of blow lol

 Hahah yeah I have snorted an 8ball in one sitting more than I would like to admit. I don't get down
 as much as I use to. But when I do I go pretty nuts.
Would really have to know the purity. probably 30% cocaine?


Way higher than that.A good friend of mine who is in Federal Prison was pretty big in
the game. I used to get stuff literally right off of the block. I think the more pure the
example, the more of a challenge to stop.Thank Dr. for your response,I sent a small
donation for your time. I am aware of the concept of an LD. My concern with "too
much" was ODing specifically. I have passed out before from snorting cocaine. Not
really sure what happened to be honest. I was snorting rails all night with a friend
then he leaves and I obviously continue. I must have had about a gram before I
purchased an 8ball. I just remember waking up on my bed, then having a very intense
urge to vomit. Which I preceded to do for about 10 minutes then I was left with
massive diarrhea. My body temp skyrocketed and I felt very faint. No idea how I came
to end up on my bed.For some reason I completely blacked out. I had fallen and hit
my head leaving a cut. The glass picture frame I was using to crank lines off of was
broken on the floor with my blow every where. I am guessing that I overdosed..
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: rhinose on 04 August 2013, 08:20:53




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Quote from: DoctorX on 01 August 2013, 14:17:34
Quote from: weather420 on 29 July 2013, 04:56:21
 How much is too much cocaine to ingest via insulffation in one sitting? I have went through 3-4
 grams in one sitting.I generally only snort the purest cocaine.

This question is very difficult to answer. Think about the question "How much is too much alcohol to
ingest in one setting? ". For some people 2-3 drinks of whisky should be too much, other people
would think that one bottle, there are even people that think that any quantity of alcohol is too much.
Factors like age, sex, speed of administration, adulteration and personal factors are very important.
Tolerance makes that people who use regularly a drug, can take doses that would be toxic for a non-
regular user.
It is also important to consider what do you mean with "too much"...Too much for having mild
adverse effects? To have an overdose? To die?.
In the particular case of cocaine, in general it is considered that a normal dose in a line should be 30-
100mg, and it also depends is on the intensity of effects sought. Some people take just one dose and
other will take more than 20 in a unique occasion.
We have exact ranks of dosage for prescription drugs but not for recreative drugs. In pharmacology,
there is a parameter called "LD50" used to measure the toxicity of a drug. LD50 means the medium
dose necessary to kill 50% of a group of experimentation animals. Knowing the LD50 for different
species (rats, dogs, monkeys) and using mathematical models, it is possible to calculate the human
LD50, although it is only an estimation.
In the case of LD50 for cocaine there are different data. Grinspoon and Bakalar say in their book
"Cocaine: A Drug and It’s Social Evolution" that it is 20 mg/kg orally in dogs or 10 mg/kg
subcutaneously/intravenously. LD50 for humans is calculated in the rank 1.5-2.5 grams of pure
cocaine, although I insist that this parameter in only a theoretical estimation. Some people would
have serious problems using less cocaine in one occasion and other (people with tolerance) could use
higher doses.
In any case, I think 3-4 grams in one occasion is a very high dosage and can lead to problems. You
should also consider that nasal surface of absorption is small, capacity of absorption is saturated and
the vasoconstrictor effect of cocaine makes that, when you reach certain dosage, the rest is not
absorbed and wasted.


I've heard of people snorting one gram of pure cocaine .Also in the movie Blow
starring Johnny Depp he snorts ten grams in ten minutes.. Alcohol amplifies cocaines
effect..the liver creates a toxic by product which can kill.
Personally I think stuff that has been cut with nasties such as Levisamole make the
product much much more dangerous.. IV use with Coke is very high risk.I've snorted
half a gram lines of pure with no ill effect well over 3 grams on plenty of occasions.

It is true though a 100mg line is considered maximum for most people and 1gram is a
huge night out.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 August 2013, 18:06:45


Quote from: onefishtwofishredfishblue on 30 July 2013, 21:13:56
doc x,
what is your take on m1 in terms of it being more or less nuro-toxic than mdma?

Thank you,



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We talked about this subject some weeks ago:
http://dkn255hz262ypmii.onion/index.php?topic=147607.msg1096017#msg1096017
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: superrambo on 05 August 2013, 09:45:45

      Hey Doctor,

      Do you know anything about a correlation between regularly smoking marijuana
      and developing schizophrenia later in life?

      Thanks for any info



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 August 2013, 13:35:51

      The relation between MDMA and lactation is not clear. As far as I know, there are
      no published studies on this particular issue. Available data on amphetamine
      show that "In dosages prescribed for medical indications, some evidence
      indicates that amphetamine might not affect nursing infants adversely.". On the
      other hand, data from methamphetamine show that meth is secreted to breast
      milk and it should be avoided.
      http://toxnet.nlm.nih.gov/cgi-bin/sis/search/f?./temp/~LJwPas:1
      http://toxnet.nlm.nih.gov/cgi-bin/sis/search/f?./temp/~LJwPas:2
      In my opinion, it is basic to avoid use that can be harmful to third persons. So
      there would be three options: 1) Wait to finish lactation and then use MDMA 2)
      Interrupt natural lactation (use artificial milk) and use MDMA 3) Collect enough
      milk for 3-4 days (using a breast-pump), keep it in the fridge and use it during
      the following days to MDMA use


Quote from: Mr Hazlo on 01 August 2013, 13:25:41
DoctorX,

I have a question about MDMA and lactation. A couple I know had a child early this march. Both
parents want to take MDMA to open their harts about how beautiful their child is and that kind of
things, but the mother is pretty concerned about how this could affect lactation. She can't take
pharmaceuticals like ibuprofen so she wants to know if MDMA would affect her breast milk. So I
thought of asking the good doctor for them and tell them if they could or couldn't do it. Do you know
something about this particular issue?

Thanks a lot, this threat is one of those things that justify the existence of Silk Road.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 August 2013, 13:42:08




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      Although 2C-B is a drug first syntethized in 1974 and has more than 3 decades of
      recreative use, there are only a few studies about its metabolism and biological
      effects in humans. In theory, it shouldn´t alter glucose level, but it is only my
      opinion and there are no data about it. So I think it should be prudent to take
      some sugar or carbohidrates, at least a few hours before the experience.


Quote from: Bluto on 02 August 2013, 00:20:14
Doctor,

I am doing a very low carb diet. I get between 10 and 15 "net carbs" a day. I am overweight but am
nearing my goal.

My question is that a friend and I were planning on having a quiet party with 25 mg of 2C-B each.
Should I bring myself out of Ketosis for this party and bring my blood sugar up? Is that something
that you would recommend or should I continue dieting through the 2C-B?

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: GreatValue on 05 August 2013, 15:01:19

      Hello DoctorX, I am a nursing student, and i have become interested in
      disassociates, mxe in particular. I started with DXM, and thru my research i have
      discovered that many believe it to be worse than mxe, because of its"dirty-ness".
      I have been using it and it seems to help with physical motivation, I was
      wondering what your opinion on the chemical is. I know it is a new chem, but if i
      am to continue using disassociates, is it better to stick with occasional dxm, or
      mxe usage?
      I was curious if you are under the impression that is as neurotoxic as pcp, or
      dxm?
      Also, i was wondering if you could go over some of the effects disassociates have
      on organs and organ systems?
      I enjoy psychedelics, but i find mxe helps with my seasonal depression
      While cannabis does help my depression it also leaves me anti social, and feeling
      less intelegent
      mxe on the other hand, makes me feel social, functional, and on small doses lets
      me "think outside of the box"
      I feel ketamine has a more addictive craving quality due to its shorter duration

      I was wondering if believed the negative effects of mxe, and disassociates in
      general are greater than what they allow me to be



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 05 August 2013, 17:29:36

      REPLY #239



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Quote from: DoctorX on 15 June 2013, 19:02:05
Quote from: cleansober on 12 June 2013, 17:41:48
 Dear Dr.

 Because of you I did my work and put my 50 reply's in to tell you I think you are great. Your
 answers are amazingly cogent, especially, since I suspect, English is not your first language. Now
 my question:

 Assuming a person likes the feeling derived from smoking weed but feels they like it too much and
 are not in control. Are there any medicines you would recommend to help stop the habit or would
 you suggest talk therapy to get a handle on things or something else entirely?

 You classify weed as a minor psychedelic and you also suggest limiting ones use of these
 substances. Do you also suggest a non-binge pot use for those who choose to do it? My problem is
 if I have it I want to use it until I don't have it anymore. Like a food addict who can't control the
 sweet tooth.

 SR is an intelligent alternative to both extremes in the drug world when someone like yourself
 comes out of the blue. Take note all you LEO's stalking these pages, treatment is the answer not
 punishment. Thanks a bunch DoctorX.

Thanks. Yes, as you see English is not my first language and my expression and comprehension are
limited. In fact I´m not sure if I have understood your question.
I thinks drugs have to be used for pleasure, it must be the person who controls the substance and not
the opposite. For some people, in some situations, with some substances...sometimes this can be
difficult. It someone thinks that his pattern of use is inadequate, and feels unable to stop it, maybe it
is the moment to look for help. It is not a question of the concrete substance (you are talking about
cannabis, but it is the same for any other drug), but also the person and the way he/she uses the
drug.
Depending on the concrete case, sometimes is necessary pharmacological help. But it is not a
question of substitute an illegal drug for a prescription drug (with this, we create another addiction),
but to use it wisely during a limited time, with agreement of the patient. The concrete drug depends
on the concrete situation


DoctorX,

Sorry for repeatedly asking you what seems to be the same question but...

What is your opinion of regular use of cannabis as a feel good medicine. If a person
takes a non-prescription pain relief drug several times a day we don't call them a drug
fiend or consider them morally bankrupt for doing so. If someone does the same thing
with cannabis they are considered weak-willed sad sacks. Do you see any justification
for auto-medicating with cannabis? Or said differently what would you say to a patient
who tells you he wants to use weed on a daily basis for no reason other than he likes
how he feels after doing it?

In a previous response, which I can't find now, you provided a link to the DSM which
detailed the two categories of addiction and dependance. Persons who regularly use
pain medicine might be classified as dependent, as would many regular healthy
compulsive cannabis users. The main difference is the cannabis user is reducing pain
they didn't even know they have while the former has known pain symptoms. The
comparison is between a healthy cannabis user and someone who needs pain

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medicine for a physical problem. In other words do you think it is unhealthy to use
until the bag is gone? By many accounts I'm a much nicer person when I do so, if
maybe a little out of touch with the here and now.

When out with friends at a restaurant or bar and drinking alcohol I'm always thinking
I'd rather be smoking than be here. It is both too expensive and seems less satisfying
in comparison with the illegal alternative. I wonder if it were legal this auto-use
compulsion would still exist for me? Perhaps I need to move to Uruguay to find
out. You describe the paradoxical nature of drug access being easier for young people
to find than adults. Some of my youthful suppliers might benefit from your wisdom on
this subject too.

CS
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Guybrush Threepwood on 05 August 2013, 19:42:13

      Hello,
      Is MDA neurotoxic? And what does that mean? Permanent lower levels of
      serotonin? Lower number of serotonin receptors? Neuronal death?
      Also, I've read some people questioning that studies done on rats are not
      applicable to humans because a greater response to the drug in rats, any clue if
      this is true?

      Thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 August 2013, 08:28:24

      In general snorting is the most safe of the three ways you indicate to use
      cocaine. The risk of dependence depends on many factors, one of them is way of
      administration. The fastest the substance reaches brain, dependence potential is
      higher. In case of highly-addictive substances like cocaine, heroin or meth,
      intranasal use reduces this potential, although it exist indeed. In relation with
      other physical and psychological problems, intranasal use is better also.

      Combustion of vegetals produce toxic substances for the lungs. This is valid for
      every vegetal (tobacco or cannabis). It is unclear if products of combustion from
      tobacco are more toxic than that from cannabis. But there is a way to avoid this
      problem. Using a vaporizer eliminates completely this problem. There are some
      models used in clinical trials that have proved to vaporize cannabis without toxic
      components

      http://www.ncbi.nlm.nih.gov/pubmed/16637053
      http://www.ncbi.nlm.nih.gov/pubmed/17437626
      http://www.ncbi.nlm.nih.gov/pubmed/17429350


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Quote from: top44 on 03 August 2013, 20:23:35
doctor x, i have a question sorry i did not read 29 pages, i am too lazy now

Cocaine. Is snorting it the safest (less damage) way to use, instead of smoking, or IV (considering its
pure with no cuts/adulterants)?

Weed. smoking pure weed in joints, or in bongs.. is it safer for the lungs instead of smoking in a joint
mixed with tobacco?

Thank you a lot in advance for any answer.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 August 2013, 08:33:54


Quote from: neo67 on 03 August 2013, 22:21:16
Wow doctor, thanks for taking the time out and replying to everyone's questions.Respect.

I have a question for you regarding drug interactions. I am currently taking abilify,an anti-psychotic
medication. I have recently thought about doing MDMA on a social basis. How will that drug interact
with that particular anti-psychotic? I've heard it reduces the effects of MDMA at best,at worst it can
make you really sick with serotonin syndrome. How likely is SS?

Also, if you have the time to explain how abilify interacts with other drugs such as; mephedrone,
ketamine and LSD, this information would be of most help.

Thank you.


As far as I know, there are no clinical trials or studies of drug interactions between
aripiprazol (Abilify) and MDMA, mephedrone, ketamine or LSD. It will probably
decrease some of the effects of these substances, particularlly the psychedelic/
hallucinogen, but this is only theoretical speculation. In this case, it is not so
important the pharmacological interaction but the person using it. If you are having a
psychological problem (anxiety or whatever) maybe the use of drugs can worsen your
symptoms, not because a pharmacological problem but because of the effects of the
drug in your mind. Maybe it is more prudent to wait until you stop your medication,
and then enjoy the effects of drugs
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 August 2013, 18:02:53


Quote from: superrambo on 05 August 2013, 09:45:45
Hey Doctor,

Do you know anything about a correlation between regularly smoking marijuana and developing
schizophrenia later in life?

Thanks for any info



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That´s one of the most controversial things about marijuana. There are some studies
linking use of cannabis and after development of schizophrenia, particularly in
teenagers.
One important point in this subject is that, the fact that two things are correlated or
linked does not mind that one is the cause of the other. I will try to explain with an
example. I read some time ago a study saying that "people who read the composition
of the food have less problems of obesity". Probably, who read labels and get
information about what they are eating, are more concerned about their health and
have better dietary habits. But the fact of reading a label won´t keep you thinner ;)
This is a very important idea,and it is forgotten many times talking about drugs. In the
model we explain schizophrenia actually, there is a susceptible or pre-morbid
personality and there are "stressing factors" that trigger the disease. Known factors
developing schizophrenia are divorce of parents, military service or sentimental break-
up. Use of psychedelics can also trigger an schizophrenia, but only in susceptible, pre-
morbid personalities. Think that use of cannabis has grown all over the world in the
last 20 years and incidence of schizophrenia remains stable, around 1%.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: seuss on 06 August 2013, 18:09:25

      If LSD down-regulates serotonin receptors, then why isn't it considered as
      harmful as MDMA in this regard?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: neo67 on 06 August 2013, 18:27:18


Quote from: DoctorX on 06 August 2013, 08:33:54
Quote from: neo67 on 03 August 2013, 22:21:16
 Wow doctor, thanks for taking the time out and replying to everyone's questions.Respect.

 I have a question for you regarding drug interactions. I am currently taking abilify,an anti-psychotic
 medication. I have recently thought about doing MDMA on a social basis. How will that drug interact
 with that particular anti-psychotic? I've heard it reduces the effects of MDMA at best,at worst it can
 make you really sick with serotonin syndrome. How likely is SS?

 Also, if you have the time to explain how abilify interacts with other drugs such as; mephedrone,
 ketamine and LSD, this information would be of most help.

 Thank you.

As far as I know, there are no clinical trials or studies of drug interactions between aripiprazol (Abilify)
and MDMA, mephedrone, ketamine or LSD. It will probably decrease some of the effects of these
substances, particularlly the psychedelic/hallucinogen, but this is only theoretical speculation. In this
case, it is not so important the pharmacological interaction but the person using it. If you are having a
psychological problem (anxiety or whatever) maybe the use of drugs can worsen your symptoms, not
because a pharmacological problem but because of the effects of the drug in your mind. Maybe it is


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more prudent to wait until you stop your medication, and then enjoy the effects of drugs


Thanks Doc, your advice has helped me. I will restrain from taking any drugs until im
off the meds,which is only another 4/5 weeks down the line anyway.Think i'll have a
'rest period' of 1 to 2 weeks before hitting my stash!

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: proxanne on 07 August 2013, 03:13:37

      Hey Doc. I would like to say that what you're doing is very cool. You're doing a
      great service here.

      I have been thinking about using etilozam to help me while I get off of heroin. I
      have used valium for this in the past and it really helped. Would you advise
      against this? How dangerous are [in particular] benzo "research chemicals?"

      Any advice for getting off the needle?

      Thank you for your service. I will look back through the thread to see if this has
      been answered already and change my question if so. It's just that I didn't want
      to read 20+ pages before getting a change to ask you...



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bananafandango on 07 August 2013, 03:31:25

      Doctor, thank you so much for volunteering your time and energy to the users on
      this site. It is quite a bonus to have access to a doctor for our questions.

      I actually quit using opiates by doing a flood dose of Iboga under clinical
      conditions in Mexico (where it is legal). It immediately halted my physical
      addiction (130mg of oxy daily) and withdrawals from it. I mean it when I say
      immediately. There were zero w/d symptoms after taking it, though the
      experience of having Iboga in my system required a lot of help for a day. It
      causes major ataxia and can cause vomiting, though I did not experience that. To
      me, it is an amazing option for those who really want to quit.

      Do you know about Iboga/Ibogaine?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: schnelles on 07 August 2013, 10:45:40

      hi doc,



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     i am an old, longtime coke user.

     in the beginning i was injecting it for many many years, had good qualities back
     then, was in peru and bolivia, and, as usual in cases like this, in the end came
     paranoia.
     it came slow, first a little, then getting harder, after 16 years it was so extreme
     that i had to stop injecting.

     i did base and crack a while, which, after some years, as well developed paranoia
     that can be compared to the para i have when injecting.

     today i can only snort.
     then the para, which comes in times a little bit, can be controlled mostly.

     but when i injected now (after a break of 15 yerars i did it once shortly ago) it
     has not gotten better even after a 15 years beak injecting and over 10 years
     break in doing coke at all.
     it is all there, as if there was no break.,


     anyway, today i am just in the mode for some more coke.

     when i did this one injection shortly, it brought me to hell.
     as the kick arrives, i feel like being thrown in a world or situation like in the
     movie alien 2, when they are on that planet in that building and all of a sudden
     the aliens start moving all around them (and they realize they are surrounded by
     these deadly hostile aliens and will not get out anymore).

     all i do is rush back to the wall, down on my knees or lying down on bed, and try
     to not move.
     behind me (though there is no space behind me) i know and feel THEM who are
     attacking me any second now by stabbing knifes into my throat, into my eyes
     and whatever. they will do things i wont describe, they are horrible.
     if someone i know is there with me, and i usually trust her/him, i dont trust them
     anymore in this moment.
     this person may assure me : there is noone, we are all alone !
     i dont believe it, i rather believe that person works now together with the
     attackers, whom I FEEL AND KNOW are on the jump and located hidden all
     around me.
     depending in the amount i start trembling but not in a normal tremble way, but
     more in an epileptic way.

     i dont want top describe further, the horrors are much worse than i can describe
     here.
     as good as it was in the beginnign, as bad it is now.



     my question to you :

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     I WANT TO GET RID OF THIS PARANOIA !
     i want to inject again and have those divine cocaine kicks i used to have in the
     early times.

     there MUST be some biochemical way to remove or block this paranoia !
     there must be some chemical stuff that stops it, makes it not appear.

     what do you think could be done ?
     what is the reason for this paranoia ?
     where is it located in the brain, what happens there when this extreme paranioia
     comes ?
     and why it hasnt turned less after many years of not doing coke.


     i know, you probably want to tell me :
     stop it - its not worth it, you kill yourself etc. etc pp.

     this is completely useless as i wont.
     i am a convinced coke user, i may say it is more like a religion to me.

     i have it pretty much under control when snorting.
     but earlier i called snorting "kindergarten".
     it doesnt give a tenth of what an injection can give you.

     as it is now, i wont inject anymore, it is simply horrible and nothing else anymore.

     but i wish i could !
     i'd love to.


     if i am to die from coke - so be it.


     but what can be done to remove that nerv killing paranoia and be able again to
     enjoy the "injecting coke kicks" ?

     even if it wouldnt be as good as in the beginning, but without that paranoia it
     would be still good.

     so :

     what is the reason for this paranoia ?

     has anyone ever tried to find out moire about this ?

     where is it located ?

     what can be done against it ?



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      i dont need hints like "use diazepam, use lorazepam etc.
      i do.

      but it only lowers the paranoia, it cannot remove it. not at all.


      could you think of any way and anything i could try to get rid of this paranoia and
      enjoy the blessing of cocaine injections again ?


      thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 07 August 2013, 17:05:12

      doctor, i am so amazed as well , that you answer to each individual question
      with such professionalism!

      MDMA: How is tolerance built? in a month i have tried 6 months, and every time i
      can feel it.

      LSD: When tripping i have an appetite for cocaine. I say my self "hmmm i would
      easily snort a line if i had now". This is more psychological issue for me, but my
      question is,
      is LSD in combination with cocaine bad, in a way that even death could be
      caused???

      Thank you very much in advance!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DMTelf on 07 August 2013, 18:03:43

      Brilliant work doc :) One very simple short question: Is nightly use of GHB to aid
      sleep going to be causing physiological damage? Just I notice that people with
      narcolepsy can be prescribed it (xyrem) with two 4.5g doses a night to help them
      sleep at night and stay awake in the day. So it can't be that damaging, if at all,
      right?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 07 August 2013, 21:07:56

      Prescription Self Deliverance AKA Suicide

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      I am planning on taking a gram of cyanide as my suicide method but I gotta be
      honest , I've considered a great many different options and what it comes down
      to is : I'm not a doctor. I dont have the necessary knowledge to determine what
      is most painless and certain (and affordable , perhaps). but here you are. You
      can't get away from this issue doc; people on silk road will keep coming looking
      for answers about methods and you have a professional obligation to correctly
      inform them in order to avoid more painful demises or permanent damage from
      misinformation or improper technique. Step away from the social taboo of it ,
      fuck the scorn of the ignorant parrot propagandist who will repeat slogans they
      put no thought into about situations they have no way to critically evaluate , and
      just do the right thing by being a doctor; a caregiver; the provider of health
      knowledge towards the ends of aleviating pain. because your contribution on this
      matter could mean a great deal to those who reach out for you and failure to
      offer your assistance very well may cause more pain , the opposite of your
      purpose.
      so please, help me , and them, out and tell me the fastest most painless way
      available currently from the silk road.
      sincerely -teddy



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DanDanTheIceCreamMan on 07 August 2013, 23:05:02

      subbed



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Bluto on 08 August 2013, 00:30:32


Quote from: tedrux on 07 August 2013, 21:07:56
Prescription Self Deliverance AKA Suicide
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considered a great many different options and what it comes down to is : I'm not a doctor. I dont
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them in order to avoid more painful demises or permanent damage from misinformation or improper
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who will repeat slogans they put no thought into about situations they have no way to critically
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towards the ends of aleviating pain. because your contribution on this matter could mean a great deal
to those who reach out for you and failure to offer your assistance very well may cause more pain ,
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so please, help me , and them, out and tell me the fastest most painless way available currently from
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sincerely -teddy



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Teddy, have you considered making it look like an accident? It's actually easier on
your loved ones and Life insurance will still pay out. Just a thought.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 08 August 2013, 02:12:11

      I dont know that I have life insurance. I only have welfare medical insurance.



Title: One way ticket on that little black train
Post by: cleansober on 08 August 2013, 02:23:09

      Ted,

      You have the most powerful shit I have read during my summer internship here
      at SR. Doc will kill you good, I'm sure.


Quote
I just don't care. never let me tell you otherwise, never swallow my bullshit.
What does that quote mean Mr.Goodfellow? Did you notice the straight dope reference
in my post above a few pages ago? We are like prison bunk mates or whatever they
are called.

DPR and I were college roommates back in the day. Great guy and a whiz at computer
programming. Mostly open source complicated stuff. Beyond my PGP special need
status.

What does
Quote
:p
mean anyway?

CleanSober
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: CallmeBruce on 08 August 2013, 02:29:17

      Hi Doctor,
      I have a question about tolerance regarding Diazepam. My doctor told me that
      the effects are cumulative, meaning that the effect is greater each day. I always
      thought that the more you take a drug the less it affects you. What is your
      opinion?




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Railgun on 08 August 2013, 02:34:41


Quote from: CallmeBruce on 08 August 2013, 02:29:17
Hi Doctor,
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cumulative, meaning that the effect is greater each day. I always thought that the more you take a
drug the less it affects you. What is your opinion?


I don't know why, but I'm on a benzo and notice this. At first, it has more of a body
load, causing more lethargy than anti-anxiety. If I don't take it for awhile, it pretty
much becomes a sleep aid. Yet if I take it consistently, I just get a power anti-anxiety
effect.

I guess it's a tolerance to the body load and an increase in desired medicinal effect?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: RealJohnnyDepp on 08 August 2013, 02:36:51

      GOT A QUESTION DOC...I CAN TAKE 5 MG OF XANAX AT ONCE AND NOT EVEN
      PASS THE FUCK OUT...AND ONLY USE THEM ON OCCASIONS...WTF?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Dingo Ate My Drugs on 08 August 2013, 03:27:03


Quote from: Railgun on 08 August 2013, 02:34:41
Quote from: CallmeBruce on 08 August 2013, 02:29:17
 Hi Doctor,
 I have a question about tolerance regarding Diazepam. My doctor told me that the effects are
 cumulative, meaning that the effect is greater each day. I always thought that the more you take a
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I don't know why, but I'm on a benzo and notice this. At first, it has more of a body load, causing
more lethargy than anti-anxiety. If I don't take it for awhile, it pretty much becomes a sleep aid. Yet
if I take it consistently, I just get a power anti-anxiety effect.

I guess it's a tolerance to the body load and an increase in desired medicinal effect?
It is because is has a long half-life and the effects are still being felt when you take
another dose.

Tolerance does rise though.
If you take a break for 2 weeks you will notice the effects of the benzo diminish. When
you start taking it again, they will gradually build up as you take each dose.



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So by the time you take y our next dose, you are still being affected by the previous
dose, so they sort of combine and the feeling is strengthened, even though tolerance
will be raised.
Title: Re: One way ticket on that little black train
Post by: tedrux on 08 August 2013, 04:28:27


Quote from: cleansober on 08 August 2013, 02:23:09
Ted,

You have the most powerful shit I have read during my summer internship here at SR. Doc will kill
you good, I'm sure.

Cleansober
I hope so man. hey, I didn't know you could intern on SR. that sounds dope! :p get it?
but yeah, i'm just some stupid fucking child who lacks empathy and will play act this
shit out for attention right up till I actually fool myself into it. at least thats the most
cynical view of it . I've done some really wrong things in my life and regaurdless of
why people tell me I'm so intelligent I just dont have any ambition or skills- I don't
function in the real world so w/e. I'm ready to go. I deserve it .
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: fakename709 on 08 August 2013, 04:43:27


Quote from: schnelles on 07 August 2013, 10:45:40

Shnelles I'm no doctor but it's clear to me that you should gain control of your life and
do something else than coke to feel good.
I say this not to state the obvious but because I fell in your situation with another
substance and maybe you can appreciate my 2 cents.
I felt the craving for the substance, had it, and then realized I didn't feel so good as
the first times, or those particular occasions.
I also had friends who got similar syndromes after years of use of coke, you never
knew how to deal with them (everyone around them becomes an enemy).
I hope there are methods to "clean" your synapses or whatever and have a cocaine
kick again, but in a matter of time you'll be at the starting point no?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: stoopidshib on 08 August 2013, 05:02:26


Quote from: schnelles on 07 August 2013, 10:45:40
hi doc,


i am an old, longtime coke user.

in the beginning i was injecting it for many many years, had good qualities back then, was in peru and


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bolivia, and, as usual in cases like this, in the end came paranoia.
it came slow, first a little, then getting harder, after 16 years it was so extreme that i had to stop
injecting.

i did base and crack a while, which, after some years, as well developed paranoia that can be
compared to the para i have when injecting.

today i can only snort.
then the para, which comes in times a little bit, can be controlled mostly.

but when i injected now (after a break of 15 yerars i did it once shortly ago) it has not gotten better
even after a 15 years beak injecting and over 10 years break in doing coke at all.
it is all there, as if there was no break.,


anyway, today i am just in the mode for some more coke.

when i did this one injection shortly, it brought me to hell.
as the kick arrives, i feel like being thrown in a world or situation like in the movie alien 2, when they
are on that planet in that building and all of a sudden the aliens start moving all around them (and
they realize they are surrounded by these deadly hostile aliens and will not get out anymore).

all i do is rush back to the wall, down on my knees or lying down on bed, and try to not move.
behind me (though there is no space behind me) i know and feel THEM who are attacking me any
second now by stabbing knifes into my throat, into my eyes and whatever. they will do things i wont
describe, they are horrible.
if someone i know is there with me, and i usually trust her/him, i dont trust them anymore in this
moment.
this person may assure me : there is noone, we are all alone !
i dont believe it, i rather believe that person works now together with the attackers, whom I FEEL AND
KNOW are on the jump and located hidden all around me.
depending in the amount i start trembling but not in a normal tremble way, but more in an epileptic
way.

i dont want top describe further, the horrors are much worse than i can describe here.
as good as it was in the beginnign, as bad it is now.



my question to you :

I WANT TO GET RID OF THIS PARANOIA !
i want to inject again and have those divine cocaine kicks i used to have in the early times.

there MUST be some biochemical way to remove or block this paranoia !
there must be some chemical stuff that stops it, makes it not appear.

what do you think could be done ?
what is the reason for this paranoia ?
where is it located in the brain, what happens there when this extreme paranioia comes ?
and why it hasnt turned less after many years of not doing coke.


i know, you probably want to tell me :
stop it - its not worth it, you kill yourself etc. etc pp.

this is completely useless as i wont.
i am a convinced coke user, i may say it is more like a religion to me.



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i have it pretty much under control when snorting.
but earlier i called snorting "kindergarten".
it doesnt give a tenth of what an injection can give you.

as it is now, i wont inject anymore, it is simply horrible and nothing else anymore.

but i wish i could !
i'd love to.


if i am to die from coke - so be it.


but what can be done to remove that nerv killing paranoia and be able again to enjoy the "injecting
coke kicks" ?

even if it wouldnt be as good as in the beginning, but without that paranoia it would be still good.

so :

what is the reason for this paranoia ?

has anyone ever tried to find out moire about this ?

where is it located ?

what can be done against it ?


i dont need hints like "use diazepam, use lorazepam etc.
i do.

but it only lowers the paranoia, it cannot remove it. not at all.


could you think of any way and anything i could try to get rid of this paranoia and
enjoy the blessing of cocaine injections again ?


thanks.


definetly look into an ibogaine session. its pretty expensive like ($70 a dose)but its
potentially life saving for drug addicts. a single trip on ibogaine can potentially release
your physical addictions. interested to see what the doc has to say tho. Love what
your doin by the way doc, learned a lot from this page
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 08 August 2013, 05:55:19

       bump because major update to my REPLY 413



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ru5ty on 08 August 2013, 13:20:26




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      Firstly DoctorX I'd just like to thank you for taking the time to offer this service.

      I was just wondering if you could help me with his issue: http://
      dkn255hz262ypmii.onion/index.php?topic=145708.0

      Summery: My gf is no longer able to drink due to suffering from a bout of acute
      pancreatitis and I would like to know if GHB would be a safe alternative for her.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: rkk1993 on 08 August 2013, 18:46:30

      Hello docter im new to opiates. I just tried heroin recently and have only used
      about 160 mgs total in the two times. im getting some more soon.

      I really dont want to do heroin very much but am loving the buzz from hydros
      and ocycodone. i only have hydro 5/500 hydro 10/367 and ocycodone 5/325

      i love snorting and parachuting them like snorting an oxy 5 and parachuting a
      hydro 5 then snorting a hydro 10, 30 mins later.

      My questions is is this to much acetaminophen? am i really hurting my liver if i do
      this two or three days in a row?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: afperser on 09 August 2013, 09:54:25

      @doctorx

      why is it when i consume 2cb its so fucking hard to sleep?
      it isnt a stimulant isnt it?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chil on 09 August 2013, 10:15:07


Quote from: Dingo Ate My Drugs on 08 August 2013, 03:27:03
Quote from: Railgun on 08 August 2013, 02:34:41
 Quote from: CallmeBruce on 08 August 2013, 02:29:17
  Hi Doctor,
  I have a question about tolerance regarding Diazepam. My doctor told me that the effects are
  cumulative, meaning that the effect is greater each day. I always thought that the more you take
  a drug the less it affects you. What is your opinion?


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 I don't know why, but I'm on a benzo and notice this. At first, it has more of a body load, causing
 more lethargy than anti-anxiety. If I don't take it for awhile, it pretty much becomes a sleep aid.
 Yet if I take it consistently, I just get a power anti-anxiety effect.

 I guess it's a tolerance to the body load and an increase in desired medicinal effect?
It is because is has a long half-life and the effects are still being felt when you take another dose.

Tolerance does rise though.
If you take a break for 2 weeks you will notice the effects of the benzo diminish. When you start
taking it again, they will gradually build up as you take each dose.

So by the time you take y our next dose, you are still being affected by the previous dose, so they
sort of combine and the feeling is strengthened, even though tolerance will be raised.


Yep, Diazepam has a half-life of 50-200 hours...one dose lasts me two or three days.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 August 2013, 12:52:15


Quote from: GreatValue on 05 August 2013, 15:01:19
Hello DoctorX, I am a nursing student, and i have become interested in disassociates, mxe in
particular. I started with DXM, and thru my research i have discovered that many believe it to be
worse than mxe, because of its"dirty-ness". I have been using it and it seems to help with physical
motivation, I was wondering what your opinion on the chemical is. I know it is a new chem, but if i am
to continue using disassociates, is it better to stick with occasional dxm, or mxe usage?
I was curious if you are under the impression that is as neurotoxic as pcp, or dxm?
Also, i was wondering if you could go over some of the effects disassociates have on organs and organ
systems?
I enjoy psychedelics, but i find mxe helps with my seasonal depression
While cannabis does help my depression it also leaves me anti social, and feeling less intelegent
mxe on the other hand, makes me feel social, functional, and on small doses lets me "think outside of
the box"
I feel ketamine has a more addictive craving quality due to its shorter duration

I was wondering if believed the negative effects of mxe, and disassociates in general are greater than
what they allow me to be


Each drug has its own pros and cons. Experience with DXM is considered by many
persons as "dirty" although is possibly the safest and best known dissociative. Effects
of ketamine are pleasurable and interesting for many people but it has its own
problems :abuse and dependence potential or urinary bladder problems in frequent
users. This last problem has been recognized only in the last 5 years, when use of
ketamine has spread and grown and, consequently, some problems are more frequent
in general population.
So, the after-effects or long time effects of MXE are, in this moment, unknown. It will
be necessary some temporal perspective to know if it is more or less risky than K.
MXE was marketed by some "legal high" vendors as "bladder friendly", although there
are no data to be sure of this. Anyway, the best way to avoid problems with
dissociatives is using them occasionaly.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 August 2013, 12:53:44

      NOTICE: I´m having too much work in SR. I have 5-10 PM every day and
      messages here. I will answer all your questions one by one but, as a free
      voluntary service I can´t offer much more of my time.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shankman96 on 09 August 2013, 22:13:59

      Hey doc, I know you have expressed your concern of research chemicals, but
      would you still recommend against using 25I-NBOMe only once or twice a month?
      I research things before I put them into my body, and I haven't seen anything
      suggesting normal doses at such a frequency to be particularly harmful (albeit
      the chemical is fairly new). The doses I plan on doing will be around .5-2mg on
      1mg blotters. I have used the substance once before, I took 1mg and very much
      enjoyed the experience. No lasting side effects at all. Thoughts?

      And thanks for using your limited time to answer our questions. It's appreciated.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: metacontxt on 10 August 2013, 06:22:08

      I think it would be fair from now on if the people asking the doc questions also
      send some coin his way. Specialist medical consultation doesn't come cheap, and
      I'm sure s/he had to work damn hard for a long time to acquire the knowledge s/
      he has and is willing to share. Even if it's only $10 or so, it's the right thing to do.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: demetri on 10 August 2013, 10:46:00

      Hi DoctorX

      I have a question concerning Tramadol and Ecstasy use which seems to cause a
      lot of confusion online. As we know, Tramadol is a complex multi-action painkiller
      which effects serotonin-levels in the brain, similar to how SSRI drugs work.

      Note: For the sake of this question, let's assume that "Ecstasy" is pure and has
      been verified as such (I know the risks involved with Ecstasy pills being laced
      with other substances, but let's assume for this question, this is pure tested
      crystal/powder form Ecstasy, and not pills).


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      Questions:

      1) Is it at all dangerous to take both Tramadol and Ecstasy together? i.e. 50mg
      Tramadol, then 8 hours later, 130mg Ecstasy?

      2) Assuming it's not safe to take these two drugs together, what would be a
      reasonable "wash-out" period to abstain from Tramadol before using Ecstasy?
      (I've seen people suggest wide ranging time periods, from 24 hours, to weeks,
      but generally 3 days is the recommend wash-out time period).

      3) If you did take both drugs together (by accident) and had some adverse
      reaction, would taking a short-acting benzo (i.e. Xanax) help in that situation and
      prevent or lessen the risk of seizure and/or serotonin syndrome?

      4) Is the risk higher on the Tramadol side or Ecstasy side if taken together, in
      terms of dosing? i.e. It's far more dangerous to take 250-400mg of Tramadol
      with 130mg Ecstasy, than it is to take 3x130mg Ecstasy (spread out over several
      hours) with a single dose of 50mg Tramadol in your system?

      Thanks for your answers, I'm sure this will help clear up a lot of confusion and
      keep people safer out there!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: loveall on 10 August 2013, 17:50:42

      Hi i have a quastions:
      Does Lyrica(pregabalin) has cross-tolerance with benzo?
      Im planig to use benzo 1-2 times a week and Lyrica 1-2 times a week, if i
      sudenly cold turkey it all, will i suffer from some wds?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: herkinoror on 10 August 2013, 18:53:29

      Hi DoctorX! It's so refreshing to see someone doing something like this! Thank
      you so much for taking the time out of your busy schedule to help the members
      of the Silk Road community. My internet was crapping out so I was unable to
      read the whole thread and I apologize if someone else has already asked my
      questions.

      I'm a type one diabetic and so I'm always worried about long term effects drugs
      might have on me. I try to do everything in my power to minimize risks and
      maximize fun with any drug experiences I have but I have heard some things
      recently that make me a bit concerned. I've heard from multiple sources of
      pancreatic damage due to drugs, and everything I have read has been so vague


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      as too just say drug use. I've also heard that users of Black Tar Heroin will have
      their veins harder and become smaller. To me these both sound like very
      dramatic reactions to long term addiction where daily use was involved but I can't
      find anything thing to back this up. What are the risks (if any) of recreational/
      social use of Black Tar Heroin and how difficult is it to receive pancreatic damage
      from social use of drugs in general?

      I would also like some more information about Pipe Dreams or dreaming while
      awake on Opiates and Opioids, and how and why it works. Also if there is
      anywhere online to read up on this subject I would appreciate a link.

      Thank you for your time Doctor. I can't wait to hear what you have too say. :D



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 10 August 2013, 20:37:26

      Ibogaine is the active chemical found in the African Tabernanthe iboga root and
      other plant species. It is a strong psychedelic used traditionally in rituals of
      passage but also known for its modern use in treating opiate addiction. Ibogaine
      and noribogaine have action in many different cerebral systems (dopamine,
      GABA, serotonin, noradrenaline...). In relation with drug depencence, its
      mechanism of action does not work as a substitutive for narcotics or stimulants
      and has been defined as a "chemical dependence interrupter" that would have
      the ability of "resetting" some parts of cerebral circuits responsible on manteining
      drug-seeking behaviours.
      There are enough scientific communications to assert that ibogaine can be useful
      in opiate dependence, at least for some patients.
      http://www.ncbi.nlm.nih.gov/pubmed/15064541
      http://www.ncbi.nlm.nih.gov/pubmed/10506904
      http://www.ncbi.nlm.nih.gov/pubmed/10911935
      But, until now, there are no good clinical trials on it. The cause is probably that
      ibogaine itself is a scheduled drug in many countries, and the fact that
      pharmaceutic industry does not have a particular interest on it. Ibogaine does
      have its own adverse effects and toxicity and it should be prescribed or used by
      professionals with enough knowledge on it. Finally, there is no magic drug to quit
      opiate dependence in everybody. Some people are more sensible to a particular
      treatment, Iboga may be useful for some people, for other it would be better
      traditional options.


Quote from: bananafandango on 07 August 2013, 03:31:25
Doctor, thank you so much for volunteering your time and energy to the users on this site. It is quite
a bonus to have access to a doctor for our questions.

I actually quit using opiates by doing a flood dose of Iboga under clinical conditions in Mexico (where
it is legal). It immediately halted my physical addiction (130mg of oxy daily) and withdrawals from it.


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I mean it when I say immediately. There were zero w/d symptoms after taking it, though the
experience of having Iboga in my system required a lot of help for a day. It causes major ataxia and
can cause vomiting, though I did not experience that. To me, it is an amazing option for those who
really want to quit.

Do you know about Iboga/Ibogaine?

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mimififi on 10 August 2013, 22:30:56

      I fucking love you doc, we need more people like you in order to prevent injuries
      related to drugs in general.

      este hilo hizo mi día, mucha info interesante y útil SIIIII SEÑOR!!!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 10 August 2013, 23:22:58

      if one is taking dmt for the first time, and is taking it on his own (one person), is
      there anything that should be taken into consideration? Besides the usual like
      moderate food consumption before, mood, etc. Experience with other drugs are
      okay but not extensive.

      is ritalin known to interact bad with any common drug? like DMT, LSD, 2c-x ?

      Thank you



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: neo67 on 11 August 2013, 13:26:44

      Hi Doctor, i know you must be very busy but i have a quick question related to
      my previous post (P.s I will make a donation to your wallet as soon as i have BTC
      myself!)

      My question is; How long does abilify(aripiprazole) stay in one's system once one
      has stopped taking it? I know the half-life is up to 75-94 hours(correct me if i'm
      wrong)--so is then when the drug will completely leave my body?

      Many Thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 11 August 2013, 18:14:21




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      My quibble is with statistical substantiation of behavior deemed safe. Everyone
      starts out safe with usually one dose of X but after a given time interval seek out
      more X. What is the addiction/dependance rate among cigarette smokers who
      smoke a pack a day? It must be near 100% given the nature of nicotine
      addiction. Looking forward to hearing other opinions here including Doctor X if
      he has time to address this one.

      Soberman



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shankman96 on 11 August 2013, 21:56:11


Quote from: neo67 on 11 August 2013, 13:26:44
Hi Doctor, i know you must be very busy but i have a quick question related to my previous post (P.s
I will make a donation to your wallet as soon as i have BTC myself!)

My question is; How long does abilify(aripiprazole) stay in one's system once one has stopped taking
it? I know the half-life is up to 75-94 hours(correct me if i'm wrong)--so is then when the drug will
completely leave my body?

Many Thanks.


A half-life is the time it takes for half of the substance to decay, so say you take 10mg
of the substance (I'm sure this is more complicated with daily dosing). After 75-94
hours, there will be 5mg left in your body. After another 75-94 hours there will be
2.5mg, ad infinitum.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 07:55:26

      I´m sorry I have no specific answer for your question. Your explanation is very
      careful and detailed. I can´t say many things. Only that substances have their
      own risks and characteristics,and paranoia is one of the main characteristics of
      long-term, high-dose of cocaine, as yours. It is related to the biochemical circuits
      activated by cocaine, related to regulation of function like fear and alertness that
      are directly affected by use of cocaine. There is no way to avoid it, at least as far
      as I know. It is simply an adverse effect of cocaine, typical of intensive use of
      some ways of administration (iv, smoked...) and there is no way to avoid it.
      Suppose that you like the taste of chilli but don´t like how it burns.


Quote from: schnelles on 07 August 2013, 10:45:40
hi doc,


i am an old, longtime coke user.


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in the beginning i was injecting it for many many years, had good qualities back then, was in peru and
bolivia, and, as usual in cases like this, in the end came paranoia.
it came slow, first a little, then getting harder, after 16 years it was so extreme that i had to stop
injecting.

i did base and crack a while, which, after some years, as well developed paranoia that can be
compared to the para i have when injecting.

today i can only snort.
then the para, which comes in times a little bit, can be controlled mostly.

but when i injected now (after a break of 15 yerars i did it once shortly ago) it has not gotten better
even after a 15 years beak injecting and over 10 years break in doing coke at all.
it is all there, as if there was no break.,


anyway, today i am just in the mode for some more coke.

when i did this one injection shortly, it brought me to hell.
as the kick arrives, i feel like being thrown in a world or situation like in the movie alien 2, when they
are on that planet in that building and all of a sudden the aliens start moving all around them (and
they realize they are surrounded by these deadly hostile aliens and will not get out anymore).

all i do is rush back to the wall, down on my knees or lying down on bed, and try to not move.
behind me (though there is no space behind me) i know and feel THEM who are attacking me any
second now by stabbing knifes into my throat, into my eyes and whatever. they will do things i wont
describe, they are horrible.
if someone i know is there with me, and i usually trust her/him, i dont trust them anymore in this
moment.
this person may assure me : there is noone, we are all alone !
i dont believe it, i rather believe that person works now together with the attackers, whom I FEEL AND
KNOW are on the jump and located hidden all around me.
depending in the amount i start trembling but not in a normal tremble way, but more in an epileptic
way.

i dont want top describe further, the horrors are much worse than i can describe here.
as good as it was in the beginnign, as bad it is now.



my question to you :

I WANT TO GET RID OF THIS PARANOIA !
i want to inject again and have those divine cocaine kicks i used to have in the early times.

there MUST be some biochemical way to remove or block this paranoia !
there must be some chemical stuff that stops it, makes it not appear.

what do you think could be done ?
what is the reason for this paranoia ?
where is it located in the brain, what happens there when this extreme paranioia comes ?
and why it hasnt turned less after many years of not doing coke.


i know, you probably want to tell me :
stop it - its not worth it, you kill yourself etc. etc pp.

this is completely useless as i wont.


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i am a convinced coke user, i may say it is more like a religion to me.

i have it pretty much under control when snorting.
but earlier i called snorting "kindergarten".
it doesnt give a tenth of what an injection can give you.

as it is now, i wont inject anymore, it is simply horrible and nothing else anymore.

but i wish i could !
i'd love to.


if i am to die from coke - so be it.


but what can be done to remove that nerv killing paranoia and be able again to enjoy the "injecting
coke kicks" ?

even if it wouldnt be as good as in the beginning, but without that paranoia it would be still good.

so :

what is the reason for this paranoia ?

has anyone ever tried to find out moire about this ?

where is it located ?

what can be done against it ?


i dont need hints like "use diazepam, use lorazepam etc.
i do.

but it only lowers the paranoia, it cannot remove it. not at all.


could you think of any way and anything i could try to get rid of this paranoia and
enjoy the blessing of cocaine injections again ?


thanks.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 08:03:09

       In general most users of MDMA notice that effect diminish if using more than
       once a week. It is not a mathematical rule, but a general impression. For some
       people the appearance of this effect is quicker, for some is slower. But sooner or
       later it always appear for everyone.

       It is unlikely that a line of cocaine has negative adverse effects or significant
       toxicity during a LSD experience. But most people think that stimulants can ruin
       a LSD (or psychedelic) experience. It is not a good combination because it
       diminish psychedelic effects and increases adverse psychological effects from
       stimulants. Again, this is not a rule, but a common opinion on this combination


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Quote from: top44 on 07 August 2013, 17:05:12
doctor, i am so amazed as well , that you answer to each individual question with such
professionalism!

MDMA: How is tolerance built? in a month i have tried 6 months, and every time i can feel it.

LSD: When tripping i have an appetite for cocaine. I say my self "hmmm i would easily snort a line if i
had now". This is more psychological issue for me, but my question is,
is LSD in combination with cocaine bad, in a way that even death could be caused???

Thank you very much in advance!

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 08:27:07

      From a physiological point of view, GHB is a safe drug. It does not cause toxicity
      to liver, stomach, brain or other systems of the body. A high potential of
      addiction and problems with overdosing and mixing with other deppresors are the
      main problems of GHB. But, in a strictly physic sense is a very low toxic
      substance.


Quote from: DMTelf on 07 August 2013, 18:03:43
Brilliant work doc :) One very simple short question: Is nightly use of GHB to aid sleep going to be
causing physiological damage? Just I notice that people with narcolepsy can be prescribed it (xyrem)
with two 4.5g doses a night to help them sleep at night and stay awake in the day. So it can't be that
damaging, if at all, right?

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 08:33:17


Quote from: tedrux on 07 August 2013, 21:07:56
Prescription Self Deliverance AKA Suicide
I am planning on taking a gram of cyanide as my suicide method but I gotta be honest , I've
considered a great many different options and what it comes down to is : I'm not a doctor. I dont
have the necessary knowledge to determine what is most painless and certain (and affordable ,
perhaps). but here you are. You can't get away from this issue doc; people on silk road will keep
coming looking for answers about methods and you have a professional obligation to correctly inform
them in order to avoid more painful demises or permanent damage from misinformation or improper
technique. Step away from the social taboo of it , fuck the scorn of the ignorant parrot propagandist
who will repeat slogans they put no thought into about situations they have no way to critically
evaluate , and just do the right thing by being a doctor; a caregiver; the provider of health knowledge
towards the ends of aleviating pain. because your contribution on this matter could mean a great deal
to those who reach out for you and failure to offer your assistance very well may cause more pain ,
the opposite of your purpose.
so please, help me , and them, out and tell me the fastest most painless way available currently from
the silk road.
sincerely -teddy



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You propose a very interesting question. But I regret I´m not sure that that this
question fits into this thread. Advice in this way should always be personal and
personalized. I don´t think it should be useful to give general rules using a general
forum.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 08:39:00


Quote from: CallmeBruce on 08 August 2013, 02:29:17
Hi Doctor,
I have a question about tolerance regarding Diazepam. My doctor told me that the effects are
cumulative, meaning that the effect is greater each day. I always thought that the more you take a
drug the less it affects you. What is your opinion?


As someone said before, it is related to the half-life of substance. In the short term
there is a cumulative effect in the following days, because diazepam is a drug with a
long half-live. But, in some weeks-months using the same dose you could feel a
diminishing of some effects because of tolerance. So, with benzos, the two things can
happen.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bluedev1 on 12 August 2013, 08:50:13

      Doctor, around tapering off Diazepam, is it important to be really strict about the
      mgs?

      Specifically, let's say I've taken roughly 7.5mg daily for 3 months. Do I need to
      start tapering down to .70 for a week, then .65 for a week, etc.. or can I fairly
      safely taper down in larger amounts initially? i.e. is there more concern in
      tapering slowly from 2.5mg to zero than from 7.5mg to 5mg?

      the reason I ask is because I have read some pretty stringent tapering
      suggestions online, and quite frankly I eyeball the 7.5mg anyway (I just break
      the 10mg in half and half of it in half) so the idea of tapering down by like .05mg
      per month seems a bit extraneous.

      Tip coming your way! THANK YOU



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 12 August 2013, 09:08:43


Quote from: bluedev1 on 12 August 2013, 08:50:13
Doctor, around tapering off Diazepam, is it important to be really strict about the mgs?




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I've been trying to slowly taper off benzos forever now.
It's a long and arduous process.
Right now I'm also tapering with Diazepam, but coming from 40mg per day roughly.
Working my way down the tapering chart at a very brisk pace, which I have linked
below.

It can be difficult.
Mainly because it's hard to follow the routine exactly.
Because life can be crazy as we all know.
Plus the interactions and the possibility of so many other receptors getting hit at the
same time.
It can be confusing, but try and stick with your schedule and drop your dosage based
on being comfortable.
Tapering correctly will blunt the majority of the awful side effects.
You just have to approach with caution and see what works best for you.

Here is the tapering schedule I've been using.
*clearnet warning* - http://www.benzo.org.uk/manual/bzsched.htm#s2
Lots of other valuable information on that website as well.

Hope this helps and best of luck.
Vanquish
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bluedev1 on 12 August 2013, 11:03:34

      Thanks Vanquish! That is a useful resource, and I think it answers my question.

      It seems like without a proper scale, it could be difficult to precisely measure out
      1mg or .5mg decrements from 10mg pills. If anyone has a suggestion on how to
      do it without a scale let me know. I assume I could crush and dissolve the pills
      into a measurable amount of water or other liquid, but I'm not sure how long the
      Diazepam can stay good for like that.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 12 August 2013, 11:16:24


Quote from: bluedev1 on 12 August 2013, 11:03:34
It seems like without a proper scale, it could be difficult to precisely measure out 1mg or .5mg
decrements from 10mg pills. If anyone has a suggestion on how to do it without a scale let me
know. I assume I could crush and dissolve the pills into a measurable amount of water or other
liquid, but I'm not sure how long the Diazepam can stay good for like that.


They come in 2mg, 5mg, and 10mg tablets.
That might come in handy for your taper, talk to your Psychiatrist or SR.


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You would definitely need a very accurate scale otherwise.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 15:30:10


Quote from: ru5ty on 08 August 2013, 13:20:26
Firstly DoctorX I'd just like to thank you for taking the time to offer this service.

I was just wondering if you could help me with his issue: http://dkn255hz262ypmii.onion/index.php?
topic=145708.0

Summery: My gf is no longer able to drink due to suffering from a bout of acute pancreatitis and I
would like to know if GHB would be a safe alternative for her.


Alcohol can be a direct cause of acute pancreatitis. As far as I know, there are no
known cases of pancreatitis associated to GHB and, according to its mechanisms of
action, it seems quite unlikely.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 August 2013, 15:37:28


Quote from: rkk1993 on 08 August 2013, 18:46:30
Hello docter im new to opiates. I just tried heroin recently and have only used about 160 mgs total in
the two times. im getting some more soon.

I really dont want to do heroin very much but am loving the buzz from hydros and ocycodone. i only
have hydro 5/500 hydro 10/367 and ocycodone 5/325

i love snorting and parachuting them like snorting an oxy 5 and parachuting a hydro 5 then snorting a
hydro 10, 30 mins later.

My questions is is this to much acetaminophen? am i really hurting my liver if i do this two or three
days in a row?


Liver toxicity from acetaminophen is one of its main problems. Daily doses over 4 gr/
day are likely to cause this problems. In people drinking daily amounts of alcohol this
daily dose can be even lower. If you are taking more than 3.2 gr/daily it is possible to
have significative harms.
http://www.fda.gov/Drugs/DrugSafety/ucm239821.htm
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: metacontxt on 12 August 2013, 15:50:12

      Bluedev, if you're particularly concerned about exact dosages when it comes to
      tapering, you have one of two options to make your doses accurate:

      - if you're obtaining your Valium legally (ie. with a prescription) you can go to a
      compounding pharmacy and they will formulate a preparation with whatever dose
      you want.

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      - if you're getting your Valium from SR or you don't have a compounding
      pharmacy near you, titrating Valium in milk is very easy. Let's say you want to
      take a 1mg dose. Drop a 5mg tab into 100ml of milk, leave it for a bit, shake.
      The pill will dissolve readily and the mixture will be homogenised. Put it in the
      fridge. When you want your dose, shake the preparation, measure out 20ml, and
      drink. The milk will go bad before the meds stop working; don't worry about that.
      Of course, it's easy to adjust your dosage. If you are micro-tapering, just use less
      Valium in more milk to make tiny cuts.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Sir William Wonka on 12 August 2013, 21:18:56

      Hey doc, you mentioned you know about steroids. Here is my question. Will
      using ghrp 6 or cjc 1295 for ~2 months inhibt your natural hgh levels?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 12 August 2013, 21:21:47


Quote from: DoctorX on 12 August 2013, 15:37:28
Liver toxicity from acetaminophen is one of its main problems. Daily doses over 4 gr/day are likely to
cause this problems. In people drinking daily amounts of alcohol this daily dose can be even lower. If
you are taking more than 3.2 gr/daily it is possible to have significative harms.
http://www.fda.gov/Drugs/DrugSafety/ucm239821.htm


Absolutely agree with this.
From what I can remember sometime in 2011 the FDA/Makers of Tylenol actually
dropped the maximum daily limit down to 3gr's from 4gr's.
Personally, anything over 2gr can feel extremely hepatoxic.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 12 August 2013, 21:54:24


Quote from: flashlight5 on 10 August 2013, 23:22:58
if one is taking dmt for the first time, and is taking it on his own (one person), is there anything that
should be taken into consideration? Besides the usual like moderate food consumption before, mood,
etc. Experience with other drugs are okay but not extensive.

is ritalin known to interact bad with any common drug? like DMT, LSD, 2c-x ?

Thank you




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Hey Doc,

can you answer my Qs too?

Thank you!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 13 August 2013, 08:43:20


Quote from: afperser on 09 August 2013, 09:54:25
@doctorx

why is it when i consume 2cb its so fucking hard to sleep?
it isnt a stimulant isnt it?


Well...2C-B has indeed stimulant properties. They are not so noticeable as
amphetamines or cocaine but it gives some degree of stimulation to Central Nervous
System. Our team performed an study on 2C-B some years ago and psychometric
properties of 2C-B are mainly psychedelic, but with some degree of stimulation
http://www.slideshare.net/fernandocaudevilla/2cb
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 13 August 2013, 08:51:31


Quote from: shankman96 on 09 August 2013, 22:13:59
Hey doc, I know you have expressed your concern of research chemicals, but would you still
recommend against using 25I-NBOMe only once or twice a month? I research things before I put
them into my body, and I haven't seen anything suggesting normal doses at such a frequency to be
particularly harmful (albeit the chemical is fairly new). The doses I plan on doing will be around .5-
2mg on 1mg blotters. I have used the substance once before, I took 1mg and very much enjoyed the
experience. No lasting side effects at all. Thoughts?

And thanks for using your limited time to answer our questions. It's appreciated.


I think this is all a question of personal attitude and decission. You will find a little
information about 25I-NBOMe because it does not exist. There is not enough temporal
perspective to know about long time or adverse effects. Maybe these negative effects
are little or maybe not. I would not personally take the risk, having enough well-
known psychedelics. But this is my personal opinion, and everyone should take the
risk if he wants...but knowing what is the truth about this substances.
There are significative reports of toxicity of 25I-NBOMe, in 3 years of recreative use
http://www.ncbi.nlm.nih.gov/pubmed/23731373
http://www.ncbi.nlm.nih.gov/pubmed/23473462
You won´t find reports like this for LSD or psilocibine in 100 years.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 13 August 2013, 09:28:40

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Quote from: DoctorX on 13 August 2013, 08:51:31
There are significant reports of toxicity of 25I-NBOMe, in 3 years of recreational use
http://www.ncbi.nlm.nih.gov/pubmed/23731373
http://www.ncbi.nlm.nih.gov/pubmed/23473462
You won´t find reports like this for LSD or psilocibin 100 years.
I would be extremely careful with the stuff. The safety profile is beyond sketchy.
Even though a large percentage of people can "safely" use this substance.
There is also an equally important percentage of people that will suffer grave side
effects.

25I-NBOMe is easily the most toxic thing I've ever ingested.
Had the absolute worst trip of my life because of it.
500ug's of blotter and had some type of reaction, overdosed, tripped harder than
anything I've ever experienced, then completely lost consciousness.
What was soon followed by a series of grand mal seizures, landing me in the hospital.
For some reason my body just plain rejects it. It's like vile poison coursing thorough
my veins.
I believe to my body it's strongly hepatoxic, as well as cardiotoxic.
It's nasty, nasty stuff.
The entire experience and side effects were some of the worst I've experienced.
Almost too many to list.

Plus it was 50 cents that ended up almost costing me both my life and $3k in medical
bills.
The risk to reward ratio is screwed up here.
It's also the one and only psychedelic or drug in general to ever give me a seizure,
and I have done plenty.
That alone says something.

Thought that I would never recover from something like this.
But it was possible because of SR and it's been a triumphant return to glory.
*Rise and Return of Vanquish*
http://dkn255hz262ypmii.onion/index.php?topic=45270.msg1395142#msg1395142

Please, be extremely careful with this stuff.
For harm reduction sake this is some of the worst stuff you can touch.
You play with fire, and you get burnt.
This substance takes it to the next level.
Even if this keeps one person from having to go through what I experienced it will be
well worth posting this.

Best Regards,
Vanquish
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DMTelf on 13 August 2013, 10:28:37

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      Brilliant work doc :) One very simple short question: Is nightly use of GHB to aid
      sleep going to be causing physiological damage? Just I notice that people with
      narcolepsy can be prescribed it (xyrem) with two 4.5g doses a night to help them
      sleep at night and stay awake in the day. So it can't be that damaging, if at all,
      right?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 13 August 2013, 19:33:10


Quote
One very simple short question:


Kōans aside, who knows what is simple and what is complex? To the observer it may
appear both simple and complex simultaneously while to the person doing the
answering it may be complex to acquire the requisite knowledge while simple to
answer once said knowledge is acquired.

Soberman
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shankman96 on 14 August 2013, 02:24:49


Quote from: Vanquish on 13 August 2013, 09:28:40
Quote from: DoctorX on 13 August 2013, 08:51:31
 There are significant reports of toxicity of 25I-NBOMe, in 3 years of recreational use
 http://www.ncbi.nlm.nih.gov/pubmed/23731373
 http://www.ncbi.nlm.nih.gov/pubmed/23473462
 You won´t find reports like this for LSD or psilocibin 100 years.
I would be extremely careful with the stuff. The safety profile is beyond sketchy.
Even though a large percentage of people can "safely" use this substance.
There is also an equally important percentage of people that will suffer grave side effects.

25I-NBOMe is easily the most toxic thing I've ever ingested.
Had the absolute worst trip of my life because of it.
500ug's of blotter and had some type of reaction, overdosed, tripped harder than anything I've ever
experienced, then completely lost consciousness.
What was soon followed by a series of grand mal seizures, landing me in the hospital.
For some reason my body just plain rejects it. It's like vile poison coursing thorough my veins.
I believe to my body it's strongly hepatoxic, as well as cardiotoxic.
It's nasty, nasty stuff.
The entire experience and side effects were some of the worst I've experienced.
Almost too many to list.

Plus it was 50 cents that ended up almost costing me both my life and $3k in medical bills.
The risk to reward ratio is screwed up here.


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It's also the one and only psychedelic or drug in general to ever give me a seizure, and I have done
plenty.
That alone says something.

Thought that I would never recover from something like this.
But it was possible because of SR and it's been a triumphant return to glory.
*Rise and Return of Vanquish*
http://dkn255hz262ypmii.onion/index.php?topic=45270.msg1395142#msg1395142

Please, be extremely careful with this stuff.
For harm reduction sake this is some of the worst stuff you can touch.
You play with fire, and you get burnt.
This substance takes it to the next level.
Even if this keeps one person from having to go through what I experienced it will be well worth
posting this.

Best Regards,
Vanquish


I'm sorry you had that experience, but personal anecdotes of bad trips won't sway me,
I'll take the risk. I took 1mg on a blotter and I had one of the best experiences of my
entire life. I'll figure it out. Thanks for the input though, both DoctorX and Vanquish.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 14 August 2013, 04:53:35

      Doctor, I have decided that i have smoked enough in my life. I have decided to
      quit smoking, i know it is hard, i have tried with temporary success in the past,
      and i know it is a thing that can be done. The key is "forever". I cant promise it
      to my self though..
      I want to be like that member, i was reading when i was noob, that was telling us
      that he uses only illegal drugs!!! but was free from alcohol and tobacco and
      coffee!!!!! I am SO jealous of him :D
      So, i am really into going for a (portable) vaporizer, but since i am not rich, I
      dont know what to buy. i dont want to spend more than 150-200 euros. Do all
      vaporizers need replacement parts over time?

      Actually doctor, i wonder if it is the toxicity of the smoke in lungs that gets me
      "high" rather than the THC itself. Will i get high with vaporizer?
      And also, if i vaporize tobbaco, do i get the nicotine in my blood? or only the
      taste??? Is it nicotine that causes cancer, or the whole toxic mixture of smoking a
      cigarette.

      And now that i spoke of cancer, i want your opinion, this is only that counts, on
      this question: Is the Hash oil (rick simpson's recipe) the cure for cancer????
      I mean, there is scientific evidence that THC kills cancer cells, isn't there? but
      Rick Simpson says only the oil does.. not buds or so.
      What do you think doctor? Tell me a reason that someone would promote this as
      the cure of cancer, since it is illegal to obtain. I do believe it is.

      I do drugs, cause i want to feel different the real world. With cigarettes all i see is

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      myself raping my lungs, and yet no change in perception of things / world.
      Really these bastards have put all their effort to make you addicted to smoking
      for life... People prefer to die over quitting smoking, even after doctor's final
      recommendation.

      I would really like your to see your answer Doctor. Have a nice day and thank
      you in advance. This shall be my last cigarette.

      I am very bad psychologically, with all this social hypocrisy on the matter of
      drugs. Smokers see themselves as no junkies, i feel it is...funny, i dont know the
      word, it is frustrating!!!
      I now will smoke the last cigarette. Tomorrow i will not buy, neither the day after
      tomorrow. I really do know the first days are the difficult. I prefer isolated and
      clean from smokers around, rather than social and with the temptation around.
      And until i buy the vaporizer, i would use my bong.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Lallahcore. on 14 August 2013, 05:09:36

      Hey DoctorX, what are your opinions on Dextroamphetamine?
      I like to use it recreationally sometimes. I'll take 65-70mg and then 6-8 hours
      later take another 65-75mg. I'll generally be up all night and sleep the following
      day. I once binged on 420mg Dextroamphetamine during a 48 hour period. I've
      only done this once, but I was curious as to what type of damage I was doing. I
      always end my night with a high dose (3-4mg) of Alprazolam for the comedown,
      sometimes taking another 2-4mg 5-6 hours later as it's quite short acting.

      I always space my highs out 14-21 days apart as I get a prescription every 3
      weeks. Do you think I'm causing any permanent damage considering how long I
      wait in between doses? I also stay hydrated during my highs.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:23:54


Quote from: demetri on 10 August 2013, 10:46:00
Hi DoctorX

I have a question concerning Tramadol and Ecstasy use which seems to cause a lot of confusion
online. As we know, Tramadol is a complex multi-action painkiller which effects serotonin-levels in the
brain, similar to how SSRI drugs work.

Note: For the sake of this question, let's assume that "Ecstasy" is pure and has been verified as such
(I know the risks involved with Ecstasy pills being laced with other substances, but let's assume for
this question, this is pure tested crystal/powder form Ecstasy, and not pills).


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Questions:

1) Is it at all dangerous to take both Tramadol and Ecstasy together? i.e. 50mg Tramadol, then 8
hours later, 130mg Ecstasy?

2) Assuming it's not safe to take these two drugs together, what would be a reasonable "wash-out"
period to abstain from Tramadol before using Ecstasy? (I've seen people suggest wide ranging time
periods, from 24 hours, to weeks, but generally 3 days is the recommend wash-out time period).

3) If you did take both drugs together (by accident) and had some adverse reaction, would taking a
short-acting benzo (i.e. Xanax) help in that situation and prevent or lessen the risk of seizure and/or
serotonin syndrome?

4) Is the risk higher on the Tramadol side or Ecstasy side if taken together, in terms of dosing? i.e.
It's far more dangerous to take 250-400mg of Tramadol with 130mg Ecstasy, than it is to take
3x130mg Ecstasy (spread out over several hours) with a single dose of 50mg Tramadol in your
system?

Thanks for your answers, I'm sure this will help clear up a lot of confusion and keep people safer out
there!



1) In more than 40 years of recreative use of MDMA there are no known cases of
significant toxicity by combination of tramadol and MDMA. It does not mean that the
combination is sure or safe, but is probable that it does not mean severe risks.

2) Half life of tramadol is 6-9 hours, so a 24 hour wash-off would be enough to be
100% sure

3) I don´t think that the combination will produce seizures or serotonin syndrome. If
there were a serotonin syndrome it shouls de managed in hospital. A benzo will
diminish the effects of the drugs, basically MDMA.

4) The theorical risk would be lesser with small doses of tramadol
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:24:56


Quote from: loveall on 10 August 2013, 17:50:42
Hi i have a quastions:
Does Lyrica(pregabalin) has cross-tolerance with benzo?
Im planig to use benzo 1-2 times a week and Lyrica 1-2 times a week, if i sudenly cold turkey it all,
will i suffer from some wds?


As far as I know, there is no cross tolerance known between pregabalin and
benzodiacepines
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bluedev1 on 14 August 2013, 08:29:59




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Quote from: metacontxt on 12 August 2013, 15:50:12
Bluedev, if you're particularly concerned about exact dosages when it comes to tapering, you have
one of two options to make your doses accurate:

- if you're obtaining your Valium legally (ie. with a prescription) you can go to a compounding
pharmacy and they will formulate a preparation with whatever dose you want.

- if you're getting your Valium from SR or you don't have a compounding pharmacy near you, titrating
Valium in milk is very easy. Let's say you want to take a 1mg dose. Drop a 5mg tab into 100ml of
milk, leave it for a bit, shake. The pill will dissolve readily and the mixture will be homogenised. Put it
in the fridge. When you want your dose, shake the preparation, measure out 20ml, and drink. The
milk will go bad before the meds stop working; don't worry about that. Of course, it's easy to adjust
your dosage. If you are micro-tapering, just use less Valium in more milk to make tiny cuts.


thank you thank you thank you
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:36:46


Quote from: herkinoror on 10 August 2013, 18:53:29
Hi DoctorX! It's so refreshing to see someone doing something like this! Thank you so much for
taking the time out of your busy schedule to help the members of the Silk Road community. My
internet was crapping out so I was unable to read the whole thread and I apologize if someone else
has already asked my questions.

I'm a type one diabetic and so I'm always worried about long term effects drugs might have on me. I
try to do everything in my power to minimize risks and maximize fun with any drug experiences I
have but I have heard some things recently that make me a bit concerned. I've heard from multiple
sources of pancreatic damage due to drugs, and everything I have read has been so vague as too just
say drug use. I've also heard that users of Black Tar Heroin will have their veins harder and become
smaller. To me these both sound like very dramatic reactions to long term addiction where daily use
was involved but I can't find anything thing to back this up. What are the risks (if any) of recreational/
social use of Black Tar Heroin and how difficult is it to receive pancreatic damage from social use of
drugs in general?

I would also like some more information about Pipe Dreams or dreaming while awake on Opiates and
Opioids, and how and why it works. Also if there is anywhere online to read up on this subject I
would appreciate a link.

Thank you for your time Doctor. I can't wait to hear what you have too say. :D


Use of drugs in diabetics is one of the most complicated things in this thread. It
depends in many factors (age, degree of control of the disease, habits, patterns of
use...) In general is important to know the properties of the substances and adapt it
to your disease. I mean, some substances will make feel no hunger (MDMA,
stimulants), other stimule apetite (cannabis), some of them can make feel your body
different (ketamine) and you should be careful not to hurt you or have wounds in your
feet, for example...
Drugs that affect circulation system (arteries and veins) should be used with caution.
Tobacco is the most important and should be avoided by diabetics. Probably,
intranasal use of heroin will not affect too much your disease (although you should be

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concerned about all the problems of opioids) Other ways of use of heroin (smoked and
iv) are much harmful in your case. Pancreatic damage depends on the substance and
way of use also, alcohol is the most harmful drug in this sense.
This matter is so extense and complicate...if you have a more particular or specific
question I can try to assess...
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:44:13


Quote from: flashlight5 on 10 August 2013, 23:22:58
if one is taking dmt for the first time, and is taking it on his own (one person), is there anything that
should be taken into consideration? Besides the usual like moderate food consumption before, mood,
etc. Experience with other drugs are okay but not extensive.

is ritalin known to interact bad with any common drug? like DMT, LSD, 2c-x ?

Thank you


When using psychedelics for the first time it is important to have all the information
available about the specific substance. It´s like planning a trip. If you do it well, risk of
problems is much lesser. I always reccomend this document:
http://www.erowid.org/psychoactives/faqs/psychedelic_experience_faq.shtml
And in your case, specific information about DMT:
http://www.erowid.org/chemicals/dmt/dmt_basics.shtml
Although DMT is a short acting psychedelic, it is always reccomendable not to do it
alone, to be with someone else that does not use the substance at the same time. So
he/she can help if something goes wrong.
Metylphenidate is a CNS stimulant. It will reinforce stimulant properties of other drugs
used at the same time. Probably effects on psychedelics will not be noticeable
(depending on dose), combination with stimulants (speed, meth, cocaine, caffeine) will
make adverse effects more noticeable.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:48:00


Quote from: neo67 on 11 August 2013, 13:26:44
Hi Doctor, i know you must be very busy but i have a quick question related to my previous post (P.s
I will make a donation to your wallet as soon as i have BTC myself!)

My question is; How long does abilify(aripiprazole) stay in one's system once one has stopped taking
it? I know the half-life is up to 75-94 hours(correct me if i'm wrong)--so is then when the drug will
completely leave my body?

Many Thanks.


Half life means the time in which concentration of a substance reduces 50%. So, a
single dose of aripiprazol will take 75-94 hours to reach 50% and another 75-94 h to


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reach 25%. Things are far more complex in repeated administrations, but in 7-10
days, in general, concentrations will be unnoticeable
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 08:52:10


Quote from: cleansober on 11 August 2013, 18:14:21
My quibble is with statistical substantiation of behavior deemed safe. Everyone starts out safe with
usually one dose of X but after a given time interval seek out more X. What is the addiction/
dependance rate among cigarette smokers who smoke a pack a day? It must be near 100% given the
nature of nicotine addiction. Looking forward to hearing other opinions here including Doctor X if he
has time to address this one.

Soberman


In this moment I only remember Spanish statistics, that I suppose are extrapolable to
the rest of the world. 10-15% of people who try cannabis, MDMA, cocaine or heroine
become regular users. 80-90% of people who try tobacco become addicted.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Changahead on 14 August 2013, 08:56:03

      Hey doc, I take 10mg Melatonin at night and 100mg 5htp in the morrning, by
      doing this long term will it have effects on my brain?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: neo67 on 14 August 2013, 09:50:39


Quote from: DoctorX on 14 August 2013, 08:48:00
Quote from: neo67 on 11 August 2013, 13:26:44
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 it? I know the half-life is up to 75-94 hours(correct me if i'm wrong)--so is then when the drug will
 completely leave my body?

 Many Thanks.

Half life means the time in which concentration of a substance reduces 50%. So, a single dose of
aripiprazol will take 75-94 hours to reach 50% and another 75-94 h to reach 25%. Things are far
more complex in repeated administrations, but in 7-10 days, in general, concentrations will be
unnoticeable


Thanks doc
Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: demetri on 14 August 2013, 10:01:25


Quote from: DoctorX on 14 August 2013, 08:23:54
Quote from: demetri on 10 August 2013, 10:46:00
 Hi DoctorX

 I have a question concerning Tramadol and Ecstasy use which seems to cause a lot of confusion
 online. As we know, Tramadol is a complex multi-action painkiller which effects serotonin-levels in
 the brain, similar to how SSRI drugs work.

 Note: For the sake of this question, let's assume that "Ecstasy" is pure and has been verified as
 such (I know the risks involved with Ecstasy pills being laced with other substances, but let's
 assume for this question, this is pure tested crystal/powder form Ecstasy, and not pills).

 Questions:

 1) Is it at all dangerous to take both Tramadol and Ecstasy together? i.e. 50mg Tramadol, then 8
 hours later, 130mg Ecstasy?

 2) Assuming it's not safe to take these two drugs together, what would be a reasonable "wash-out"
 period to abstain from Tramadol before using Ecstasy? (I've seen people suggest wide ranging time
 periods, from 24 hours, to weeks, but generally 3 days is the recommend wash-out time period).

 3) If you did take both drugs together (by accident) and had some adverse reaction, would taking a
 short-acting benzo (i.e. Xanax) help in that situation and prevent or lessen the risk of seizure and/or
 serotonin syndrome?

 4) Is the risk higher on the Tramadol side or Ecstasy side if taken together, in terms of dosing? i.e.
 It's far more dangerous to take 250-400mg of Tramadol with 130mg Ecstasy, than it is to take
 3x130mg Ecstasy (spread out over several hours) with a single dose of 50mg Tramadol in your
 system?

 Thanks for your answers, I'm sure this will help clear up a lot of confusion and keep people safer out
 there!


1) In more than 40 years of recreative use of MDMA there are no known cases of significant toxicity
by combination of tramadol and MDMA. It does not mean that the combination is sure or safe, but is
probable that it does not mean severe risks.

2) Half life of tramadol is 6-9 hours, so a 24 hour wash-off would be enough to be 100% sure

3) I don´t think that the combination will produce seizures or serotonin syndrome. If there were a
serotonin syndrome it shouls de managed in hospital. A benzo will diminish the effects of the drugs,
basically MDMA.

4) The theorical risk would be lesser with small doses of tramadol


Many thanks Doc for clearing this up, and now we have a reference to show people on
other forums who are confused about the risks.

I thank you for your time replying, and have sent BC.

NOTE: Everyone who asks the Doc a question which keeps them and others safe,

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please consider sending a few bucks (whatever you can afford to spare, why not
donate any loose change BC on your account - see his signature for his BC address).
The Doc is making his time available and it's clear this is taking up a lot of his time
now. He needs payment for that time, just as anyone else would. This is extremely
valuable have a medically trained doctor on hand and it would be a shame if the Doc
felt he was being taken for granted and stopped answering questions.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 August 2013, 15:45:02


Quote from: bluedev1 on 12 August 2013, 08:50:13
Doctor, around tapering off Diazepam, is it important to be really strict about the mgs?

Specifically, let's say I've taken roughly 7.5mg daily for 3 months. Do I need to start tapering down
to .70 for a week, then .65 for a week, etc.. or can I fairly safely taper down in larger amounts
initially? i.e. is there more concern in tapering slowly from 2.5mg to zero than from 7.5mg to 5mg?

the reason I ask is because I have read some pretty stringent tapering suggestions online, and quite
frankly I eyeball the 7.5mg anyway (I just break the 10mg in half and half of it in half) so the idea of
tapering down by like .05mg per month seems a bit extraneous.

Tip coming your way! THANK YOU


Tappering off benzos depend on many factors: potency of the benzo, half-life, initial
dose , time you have been using it and reason of use. It is not the same diminish
alprazolam (active at 0.25 mg) than clorazepate (active at 2.5 mg). For diazepam you
can diminish 1 mg /week, ot even 1mg/3 days without problems.It shouldn´t give you
any noticeable problem, in the case, you could switch for a low-dose long-lasting
product like bromazepam or clorazepate
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: nspire on 14 August 2013, 16:33:51

      Hey doc, I have a question regarding the use of MDMA..
      I'm not a heavy MDMA user in the meaning of doing it much in a year. I only do
      MDMA on festivals and I only do around 3 a year in summer holiday. But on those
      festival I tend to take A LOT of MDMA, 600-800mg in around 6 hours, just
      because I love to roll that hard :D. Before and after I roll, I take exra vitamine
      supplements and also take tryptophan supplements after i have rolled.
      I'm 19 years old and weight 58kg.. for the rest, I never touch drugs except weed,
      2C-B and alcohol sometimes.

      Will this heavy MDMA use 3 times a year will affect my body a lot in the long
      term? i'm still in High School and don't want to destroy my body.
      greets



Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: flashlight5 on 14 August 2013, 22:07:35

      hey doc,

      if i have the wrong person with me during a DMT trip, might be worst than having
      no one. I think.
      I have people I trust around me, but nobody I trust concerning drugs.

      Is it a good way to start out just to roll 15 mg in a joint? Id use very weak grass,
      as i don't smoke weed.


      BTW... id suggest you put some kind of disclaimer in your signature to avoid legal
      trouble. just an idea.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: ragnarok888 on 15 August 2013, 01:10:05

      Hello doc,

      I just want to say I've read this thread through a couple of times before. Even if a
      lot of the problems people talk about here don't apply to me, I still find them very
      interesting.

      My question is this: Is there any cross-tolerance between psilocin/psilocybin and
      DMT. If so how long should I go between a DMT trip and a shroom trip (DMT trip
      first)?

      Thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: hypnotick on 15 August 2013, 06:17:14

      Hi doctorX,

      I have a couple benzo related questions. I'm not sure if this was asked before.

      Anyway, this first question is about xanx. I was wondering how tolerance quick a
      tolerance develops and lasts. Specifically, if I take 1 mg a day for 3 days would
      the effects decrease each day? Then let's say I take a 1.5-2 week break would
      my tolerance be back to zero by then? I haven't used benzos regularly for a while
      now for some background. Though, I did take 1 mg a week before.


      Accordingly, I have a question about post acute withdrawal for benzos specifically

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      clonazepam. A little background here, as adolescent I was prescribed clonazapam
      for anxiety. I don't remember what my initial dosage was but I was taking 1 mg
      three times a day for a while. Well, after doing that about ~10 years the docs
      decided to pull me off because they are addictive. I've been off benzos for nearly
      a year (except for just recently) and I am not sure if this is a withdrawal, but for
      a long time I've been feeling constant anxiety. The anxiety makes life so much
      more difficult because I tend to avoid social interaction and makes falling asleep
      difficult; haven't had a good sleep in about a year now. In addition its affecting
      my concentration.


      My question is this normal to have affects so long after discontinuing benzos and
      if so how long could this take? If this is not normal could it be because I began
      taking them at such a young age which complicates the matter?

      The only reason I took the xanx is to help get through a stressful situation and to
      come down from a psychedelic trip this week and another in 2 weeks.

      Also, do you have any suggestions as to my anxiety? I've tried SSRIs in the past
      and they all cause suicidal thoughts. Should I just begin taking benzos again? I
      would rather ask for your opinion because my current doctor is completely
      against benzos under any circumstance so I would prefer a more objective
      answer.

      Thanks a lot for spending your time helping people. Its a shame most doctors
      aren't like you. Here in the US if you start asking questions about drugs they can
      put a note on your medical info; this piece of info is then available to other
      doctors. Basically, you will be treated like a junkie. I know many people who
      refuse to go to the ER because of this.

      Glad to see a doctor who cares more about safety then being indoctrinated to
      preach don't do drugs.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 15 August 2013, 09:16:21


Quote from: hypnotick on 15 August 2013, 06:17:14
Anyway, this first question is about Xanax. I was wondering how tolerance quick a tolerance develops
and lasts. Specifically, if I take 1 mg a day for 3 days would the effects decrease each day? Then let's
say I take a 1.5-2 week break would my tolerance be back to zero by then? I haven't used benzos
regularly for a while now for some background. Though, I did take 1 mg a week before.


Tolerance builds but not at an extreme pace, it's constantly hitting your GABAa
receptors and over time this can lead to heavy tolerance issues.
Short term usage of them is rather safe. But you need to be super careful. It can turn


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into an addiction before you even know what happened.
Long term usage they become a bit more controversial. Physical dependence,
tolerance, adverse physical and psychological effects, and are by far one of the
hardest class of drugs to withdrawal from.

Without knowing exactly what you are using them for, I can't really say anything else.
Some people like myself are dependent on them, because they are highly effective to
begin with and that diminishes over time.
At the moment I'm tapering by following the Ashton Manual Valium taper, it's a long
and seemingly endless process.
*clearnet warning* http://www.benzo.org.uk/manual/bzsched.htm#s2
You begin to see nasty side effects with long term usage. I wouldn't wish benzo
withdrawals on my worst enemy.

If you are absolutely positive that you won't get hooked on them, then feel free to use
them every once in a while.
They are highly addictive and depending on what else is in your system, can be
dangerous or diminish other drug experiences (like psychedelics).
Approach with caution and willpower don't let them consume your life, and other than
that I'll let DoctorX take over for more thorough answers.

Vanquish
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 15 August 2013, 11:52:21

      doctor, i am very sorry that you did not answer my queries. i will try again
      though.

      1. does THC kill Cancer cells? if so, why rick simpson says that only the oil
      extracted from high quality buds, is capable of curing the cancer. You have any
      experience on this?

      2. Does the toxicity of smoking cannabis make me high, or the THC? if i use the
      vaporizer i will see difference in the effects?

      3. What is the lethal dose for first time heroin user?

      Thank you in advance



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 15 August 2013, 12:11:05


Quote from: top44 on 15 August 2013, 11:52:21
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difference in the effects?

3. What is the lethal dose for first time heroin user?

Thank you in advance


1. CBD is what kills cancer cells, along with a host of other medical benefits.
*clearnet warning* http://www.projectcbd.org/home-2/439/ (Cancer)
*clearnet warning* http://projectcbd.org/ (All Other Conditions)

2. THC. Marijuana is one of the safest and most researched drugs in the world. Plus
it's medicinal benefits are enormous and increase every day.
THC and CBD content are rising at the fastest rate of all time, and keep climbing. We
may eventually see constant and life changing breakthroughs because of it.
Vaporizing your weed will essentially make the smoke less harsh on your lungs in the
simplest of explanations. Google it.

3. To someone with absolutely no opiate tolerance the amount wouldn't be much - no
way to actually know the exact amount. Start small, and practice harm reduction.
No reason to dive in and overdose. Please be careful, and check out this dosage
chart. Should give you a decent starting point.
*clearnet warning* http://www.erowid.org/chemicals/heroin/heroin_dose.shtml

Hope it helps, and I'm sure Doc will give his input as well.
Vanquish
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 August 2013, 12:37:43


Quote from: Sir William Wonka on 12 August 2013, 21:18:56
Hey doc, you mentioned you know about steroids. Here is my question. Will using ghrp 6 or cjc 1295
for ~2 months inhibt your natural hgh levels?




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The effects of these substances are difficult to preview. In my opinion, substances like
Growth hormone releasing hexapeptide (GHRP6) or the growth hormone releasing
hormone analog CJC1295 are equivalent to "legal highs" or "research chemicals" in
recreative drugs. I must confess that I`m not a expert in this particular kind of
substances, but I have been searching about them and most I have found are
preclinical data. They are no so developed to be sure about their real effects and risks.
In my opinion, is much better, safe and even cheap to use human growth hormone. At
least it has been a prescription drug used about 70 years and all its properties,
problems and risks are well studied
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 August 2013, 12:40:41


Quote from: flashlight5 on 12 August 2013, 21:54:24
Quote from: flashlight5 on 10 August 2013, 23:22:58
 if one is taking dmt for the first time, and is taking it on his own (one person), is there anything that
 should be taken into consideration? Besides the usual like moderate food consumption before,
 mood, etc. Experience with other drugs are okay but not extensive.

 is ritalin known to interact bad with any common drug? like DMT, LSD, 2c-x ?

 Thank you

This question was answered before...I try to answer questions by order...

Hey Doc,

can you answer my Qs too?

Thank you!

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 August 2013, 12:43:24


Quote from: DMTelf on 13 August 2013, 10:28:37
Brilliant work doc :) One very simple short question: Is nightly use of GHB to aid sleep going to be
causing physiological damage? Just I notice that people with narcolepsy can be prescribed it (xyrem)
with two 4.5g doses a night to help them sleep at night and stay awake in the day. So it can't be that
damaging, if at all, right?


GHB seems to be useful in narcolepsy. Narcolepsy is a disease and not a normal
condition. GHB is a prescription drug in narcolepsy with its own adverse, negative
effects, as any other drug. In this case the dangers are similar to all sleeping aids:
potential of addiction, risk of overdosage, amnesia. Every drug in the world has
positive, desired effects and negative ones
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 15 August 2013, 12:55:21


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Quote from: DoctorX on 15 August 2013, 12:43:24
Every drug in the world has positive, desired effects and negative ones.


Quoted for truth.
Plus those effects can differ so vastly in between individuals and dosages.
It's all about minimizing the risk and doing everything you can to prevent damage to
your mind and body.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 August 2013, 13:43:03


Quote from: top44 on 14 August 2013, 04:53:35
Doctor, I have decided that i have smoked enough in my life. I have decided to quit smoking, i know
it is hard, i have tried with temporary success in the past, and i know it is a thing that can be done.
The key is "forever". I cant promise it to my self though..
I want to be like that member, i was reading when i was noob, that was telling us that he uses only
illegal drugs!!! but was free from alcohol and tobacco and coffee!!!!! I am SO jealous of him :D
So, i am really into going for a (portable) vaporizer, but since i am not rich, I dont know what to buy.
i dont want to spend more than 150-200 euros. Do all vaporizers need replacement parts over time?

Actually doctor, i wonder if it is the toxicity of the smoke in lungs that gets me "high" rather than the
THC itself. Will i get high with vaporizer?
And also, if i vaporize tobbaco, do i get the nicotine in my blood? or only the taste??? Is it nicotine
that causes cancer, or the whole toxic mixture of smoking a cigarette.

And now that i spoke of cancer, i want your opinion, this is only that counts, on this question: Is the
Hash oil (rick simpson's recipe) the cure for cancer????
I mean, there is scientific evidence that THC kills cancer cells, isn't there? but Rick Simpson says only
the oil does.. not buds or so.
What do you think doctor? Tell me a reason that someone would promote this as the cure of cancer,
since it is illegal to obtain. I do believe it is.

I do drugs, cause i want to feel different the real world. With cigarettes all i see is myself raping my
lungs, and yet no change in perception of things / world.
Really these bastards have put all their effort to make you addicted to smoking for life... People prefer
to die over quitting smoking, even after doctor's final recommendation.

I would really like your to see your answer Doctor. Have a nice day and thank you in advance. This
shall be my last cigarette.

I am very bad psychologically, with all this social hypocrisy on the matter of drugs. Smokers see
themselves as no junkies, i feel it is...funny, i dont know the word, it is frustrating!!!
I now will smoke the last cigarette. Tomorrow i will not buy, neither the day after tomorrow. I really
do know the first days are the difficult. I prefer isolated and clean from smokers around, rather than
social and with the temptation around. And until i buy the vaporizer, i would use my bong.


About vaporizers, my recommendation is usually the Volcano model. I have no relation
with its company and I´m not trying to give free advertising, but it is the only model
that has proven in clinical trials efficacy in delivering cannabinoids to lungs without
any other toxic or carcinogenic particles.

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http://www.ncbi.nlm.nih.gov/pubmed/20118579
http://www.ncbi.nlm.nih.gov/pubmed/19852551
http://www.ncbi.nlm.nih.gov/pubmed/18515447
I suppose there are other similar devices, cheaper, with similar properties but Volcano
has the best guarantee in this moment. If you vaporize tobacco you will have nicotine,
but not the rest of toxic particles.
My opinion on Rick Simpson´s Oil is a big scam. There are no real, clinical data about
its efficacy and all the story sounds incredible. He talks about "investigation" (not
showing how,when and what...), he does not consider the variety of the plant,
dosages are unknown ("a bit") and, in medicine, there is no single drug that can cure
almost any disease of humanity. I think this story is giving false hopes to ill people,
and I think it is not fair. Therapeutic use of cannabinoids is one of my fields of work, I
am a strong deffensor of it; for this same reason I reject all this story
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 15 August 2013, 15:38:22

      thanks Vanquish and DoctorX for your replies.

      So, nicotine alone is carcinogenic??? If i decide to stay addicted to nicotine,
      without smoking it, will i have the same chances for cancer?
      I as simple as i can to my query, is smoking that kills, or nicotine kills as
      well......????

      And, since i am on the road, i want to try DMT for first time in my life. I only
      have a bong though... How could i not waste the DMT, what is a secure way to
      smoke it and have the psychedelic effect?

      Thanks a lot in advance.

      Sorry for these simple questions, i just don't feel safe using google or any other
      search machine



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: hypnotick on 15 August 2013, 20:01:54


Quote from: Vanquish on 15 August 2013, 09:16:21
Quote from: hypnotick on 15 August 2013, 06:17:14
 Anyway, this first question is about Xanax. I was wondering how tolerance quick a tolerance
 develops and lasts. Specifically, if I take 1 mg a day for 3 days would the effects decrease each day?
 Then let's say I take a 1.5-2 week break would my tolerance be back to zero by then? I haven't
 used benzos regularly for a while now for some background. Though, I did take 1 mg a week before.

Tolerance builds but not at an extreme pace, it's constantly hitting your GABAa receptors and over
time this can lead to heavy tolerance issues.


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Short term usage of them is rather safe. But you need to be super careful. It can turn into an
addiction before you even know what happened.
Long term usage they become a bit more controversial. Physical dependence, tolerance, adverse
physical and psychological effects, and are by far one of the hardest class of drugs to withdrawal from.

Without knowing exactly what you are using them for, I can't really say anything else.
Some people like myself are dependent on them, because they are highly effective to begin with and
that diminishes over time.
At the moment I'm tapering by following the Ashton Manual Valium taper, it's a long and seemingly
endless process.
*clearnet warning* http://www.benzo.org.uk/manual/bzsched.htm#s2
You begin to see nasty side effects with long term usage. I wouldn't wish benzo withdrawals on my
worst enemy.

If you are absolutely positive that you won't get hooked on them, then feel free to use them every
once in a while.
They are highly addictive and depending on what else is in your system, can be dangerous or diminish
other drug experiences (like psychedelics).
Approach with caution and willpower don't let them consume your life, and other than that I'll let
DoctorX take over for more thorough answers.

Vanquish


I just began using them to sleep after psychedelic trip and for sessions with my p doc.
The sessions are a great deal more conductive because it makes it easier to bring up
repressed thoughts. These are the only situations that I will be using xanax for.

I am well aware of benzo addiction. Read the second half of my post. I was on
clonazpam for 10 years and I still have issues a year later after quitting.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Mr Lucy on 15 August 2013, 21:03:46

      Is it possible to train your heart by taking cocaine occasionally instead of
      physically working out?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 15 August 2013, 23:46:09


Quote
Posted by: Mr Lucy
« on: Today at 08:03 pm »


Is it possible to train your heart by taking cocaine occasionally instead of physically working out?


   What about one of those high altitude tents in combination with cocaine or some
other drug? Is it possible to get in better physical condition without all the annoying
and at times inconvenient physical exertion? My guess is that unless your oxygen


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levels go up there is more risk of tissue damage than conditioning going on from
stimulant use. The high blood pressure might be contraindicated in terms of
getting fit. Cannabis reportedly increases heart rate so if one were to combine deep
yoga breathing with mota consumption could this reduce the potential negative
effects, if there are some, of a faster beating heart?


Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: SuperHans68 on 16 August 2013, 12:40:10

      Can you be super sensitive to weed because I can full on trip on weed with just
      0.05g of weed?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 August 2013, 15:37:40


Quote from: Lallahcore. on 14 August 2013, 05:09:36
Hey DoctorX, what are your opinions on Dextroamphetamine?
I like to use it recreationally sometimes. I'll take 65-70mg and then 6-8 hours later take another 65-
75mg. I'll generally be up all night and sleep the following day. I once binged on 420mg
Dextroamphetamine during a 48 hour period. I've only done this once, but I was curious as to what
type of damage I was doing. I always end my night with a high dose (3-4mg) of Alprazolam for the
comedown, sometimes taking another 2-4mg 5-6 hours later as it's quite short acting.

I always space my highs out 14-21 days apart as I get a prescription every 3 weeks. Do you think I'm
causing any permanent damage considering how long I wait in between doses? I also stay hydrated
during my highs.


Reccomended dosage of prescritpion dextroamphetamine is a maximum 60 mg day.
This limit can work as an orientation, but it is difficult to say what and how probable
are the risks. In general, the higher is the difference between your recreative dosage
and the prescription dosage, the risks increase. But some people can have negative or
adverse effects at therapeutic dosages, and other seem to be almost immune to
overdose. It is not only a question of permanent damage (neurological, for example,
although the risks of occasional overdoses are probably low) but also of an acute
problem caused by a high dose (blood presure, cardiovascular or cerebrovascular
events). In young healthy people these events are uncommon, but possible
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shifting sands on 16 August 2013, 15:44:20

      Hey doctorx
      I have some questions regarding high blood pleasure, do you mind if I pm you




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shifting sands on 16 August 2013, 16:00:59


Quote from: shifting sands on 16 August 2013, 15:44:20
Hey doctorx
I have some questions regarding high blood pleasure, do you mind if I pm you


I will keep it in the thread in case its of use to anyone else. My buddy has High blood
pressure and it has caused some complications as it was so high. doctors are trying to
control it but not doing to well. They have prescribed 10mg of rampril and 5mg of
amlodpine every day. they started on much smaller doses and worked their way up in
an effort to bring the pressure down. now he has always been partial to a few lines of
coke but since the dose of rampril has gone up he has noticed that after a few lines he
gets palpitations. Is this a direct result of mixing coke with these blood pressure pills
or could it be coincidence. I read on a thread a few days ago that a girl quite often
got palpitations when her heart rate went up and she used beta blokers to bring down
the rate. Is that a solution ? She also said that her doctor had said the the palpitations
were normal for some people and nothing to worry about.
I know the answer is obvious. Stop sniffing coke but sometimes life aint that simple.
Thanks in advance
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 16 August 2013, 16:06:55


Quote from: SuperHans68 on 16 August 2013, 12:40:10
Can you be super sensitive to weed because I can full on trip on weed with just 0.05g of weed?


Kid, please do drugs when you become an adult. You don't "trip" on weed, ...., it is not
a hallucinogenic drug...
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 August 2013, 17:26:14


Quote from: Changahead on 14 August 2013, 08:56:03
Hey doc, I take 10mg Melatonin at night and 100mg 5htp in the morrning, by doing this long term will
it have effects on my brain?


Melatonin is a hormone found in most living beings. In animals, levels of melatonin
vary in a daily cycle, thereby allowing the entrainment of the circadian rhythms of
several biological functions. Melatonin has been studied in a range of diseases:
diabetes, enhancer of immnue system, some headaches, mood disorders. It seems to
be particularly useful for jet-lag and some sleep disorders. Adverse effects seem to be
little, if any. Its efficacy is proved in some of these diseases but it is unclear what are


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the benefits in healthy people. For some authors it improves attention, memory and
some cognitive functions.
http://www.ncbi.nlm.nih.gov/pubmed/23240152
http://www.ncbi.nlm.nih.gov/pubmed/23005039
http://www.ncbi.nlm.nih.gov/pubmed/22334085
http://www.ncbi.nlm.nih.gov/pubmed/23479460
http://www.ncbi.nlm.nih.gov/pubmed/21340475
5-HTP is a precursor for serotonin, a basic cerebral neurotransmisor that regules
functions as sleep or mood. In theory, it should act as a mild antideppresive and sleep
regulator. Evidence of its efficacy is much weaker than the case of melatonin
http://www.ncbi.nlm.nih.gov/pubmed/11869656
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 August 2013, 17:34:01


Quote from: nspire on 14 August 2013, 16:33:51
Hey doc, I have a question regarding the use of MDMA..
I'm not a heavy MDMA user in the meaning of doing it much in a year. I only do MDMA on festivals
and I only do around 3 a year in summer holiday. But on those festival I tend to take A LOT of MDMA,
600-800mg in around 6 hours, just because I love to roll that hard :D. Before and after I roll, I take
exra vitamine supplements and also take tryptophan supplements after i have rolled.
I'm 19 years old and weight 58kg.. for the rest, I never touch drugs except weed, 2C-B and alcohol
sometimes.

Will this heavy MDMA use 3 times a year will affect my body a lot in the long term? i'm still in High
School and don't want to destroy my body.
greets


In clinical settings, the highest doses MDMA has been studied are in the rank 150-175
mg. So 600 mg seems a dosage too high. In general, I don´t reccomend to exceed
250-300 mg (in experienced people): 125-130 mg at first dose, one or two "boosters"
of half a dosage each 2 hours. But, for most people exceeding this gives more adverse
effects and possibilities of toxicity. From a risk reduction perspective, it would be
probably safer reducing that dosage that seems too much.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: joywind on 16 August 2013, 18:11:09

      DoctorX,

      What are your thoughts on combining dexedrine with benzos (clonazepam,
      valium) to counter-act the negative effects of dexedrine?

      is this likely to cause any bad interactions?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: top44 on 16 August 2013, 21:17:47

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      DoctorX,

      in regards to our recent debate about Hash oil being the cure of cancer, i have
      two links that i would like you to visit. You and everyone that believes that
      cannabis is the most medicinal plant on earth.
      this (clearnet) http://abcnews.go.com/Health/toddler-cancer-takes-cannabis-oil/
      story?id=15981324
      and this (clearnet) http://www.ibtimes.com/tommy-chong-credits-marijuana-
      cancer-cure-i-kicked-cancers-ass-hash-oil-1264243

      I want a real reason on why you think R.S is a scam. from your post i understand
      that you are kind of frustrated about rick simpson, and your explanations are
      only restricted to "he does not refer a dosage, he gives hopeless people hope."
      Clearly you imply that all this is a lie, and the people that talk on this
      documentary are all well paid actors. You support cannabis as medicine, yet,
      have you tried it in oil form? have you tried in cancer cases?

      I really do appreciate your contribution to this community doc. You inform people
      on how to use drugs safely, and i feel more than proud of being able to ask you
      any drug-using related question.

      But on the other hand doctor, if it was as simple as taking this oil, and it worked,
      why wouldn't you get well paid to hide that truth....?

      No offense doctor, you have your doubts about R.S , i have my doubts about you,
      and doctors, generally. I have not taken any medicines for many years.

      This is world is simply full of conspiracies brothers and sisters of Silk Road. :
      ( They want to kill us all, but before that give all our money to the so called
      "medical system"

      If you, DPR, or any other admin, thinks that what i am talking about here is
      completely irrelevant to this thread, i would understand it, so go ahead and
      delete this. All i wanted is an open discussion on the matter
      Thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Bluto on 17 August 2013, 00:25:51


Quote from: shifting sands on 16 August 2013, 16:00:59

I know the answer is obvious. Stop sniffing coke but sometimes life aint that simple.
Thanks in advance




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My blood pressure is normal after I lost 50 lbs. If your friend is overweight -he may
benefit from diet and exercise.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 August 2013, 17:50:43

      Typical dosages of DMT are 10-50 mg, depending also on personal sensitivity.
      Smoking in a joint or cigarrete will destroy most of the active DMT. It is much
      better to use a glass pipe (or even aluminium foil). Full psychedelic effects of
      DMT are of short duration but very strong. This is the reason why is
      recommendable to have someone who can take care in that moments. DMT
      effects start very quickly and there have been people with problems because of
      not having time to put the fire off or other kind of accidents.


Quote from: flashlight5 on 14 August 2013, 22:07:35
hey doc,

if i have the wrong person with me during a DMT trip, might be worst than having no one. I think.
I have people I trust around me, but nobody I trust concerning drugs.

Is it a good way to start out just to roll 15 mg in a joint? Id use very weak grass, as i don't smoke
weed.


BTW... id suggest you put some kind of disclaimer in your signature to avoid legal trouble. just an
idea.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 August 2013, 17:54:32

      As far as I know, this subject has not been studied. But DMT and psilocin/
      psilocybin (4-0H-DMT) are quite similar substances, act in same receptors and
      are metabolyzed in a similar way. So is reasonable to think that there might be
      some cross-tolerance. 5-7 days should be enough to dissapear this effect


Quote from: ragnarok888 on 15 August 2013, 01:10:05
Hello doc,

I just want to say I've read this thread through a couple of times before. Even if a lot of the problems
people talk about here don't apply to me, I still find them very interesting.

My question is this: Is there any cross-tolerance between psilocin/psilocybin and DMT. If so how long
should I go between a DMT trip and a shroom trip (DMT trip first)?

Thanks.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 August 2013, 17:58:36



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      Nicotine has only been proved carcinogenic properties at very high doses in
      celular and animal models. There is no evidence that it can cause cancer in
      humans (although it increases blood pressure and heart rate in humans and
      enhances cardiovascular risk). Carcinogenic properties of tobacco are mostly
      related to substances generated during combustion.



Quote from: top44 on 15 August 2013, 15:38:22
thanks Vanquish and DoctorX for your replies.

So, nicotine alone is carcinogenic??? If i decide to stay addicted to nicotine, without smoking it, will i
have the same chances for cancer?
I as simple as i can to my query, is smoking that kills, or nicotine kills as well......????

And, since i am on the road, i want to try DMT for first time in my life. I only have a bong though...
How could i not waste the DMT, what is a secure way to smoke it and have the psychedelic effect?

Thanks a lot in advance.

Sorry for these simple questions, i just don't feel safe using google or any other search machine

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 17 August 2013, 19:50:17

      What is your opinion on using 30 - 40 mg ritalin 5 times per week for years and
      years?

      Is that likely to cause long term problems? If so, what kind? Can anything be
      done to decrease those?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: anon69 on 18 August 2013, 00:42:14

      Hi Doctor X i just logged in to give you simple suggestions since you seemed
      someone who should receive all that is good in the life.

      -First i suggest that you translate your webpage more international and
      accessible, translate it to several languages just by investing a bit in cloud
      workers to do that for you.
      -Start accepting more cryptocurrencies if you want.
      -Add your website into the wiki https://en.bitcoin.it/wiki/Trade#Health_Care, it
      brings a lot of bitcoiners directly to you.
      -Keep all the website simple and stupid, by providing more information to the
      question that most people usually ask so that when people do ask you, they will
      come with bigger and better questions.

      This was just some ideas nothing mandatory to do.


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      Much Respect
      Anon



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 12:54:37


Quote from: hypnotick on 15 August 2013, 06:17:14
Hi doctorX,

I have a couple benzo related questions. I'm not sure if this was asked before.

Anyway, this first question is about xanx. I was wondering how tolerance quick a tolerance develops
and lasts. Specifically, if I take 1 mg a day for 3 days would the effects decrease each day? Then let's
say I take a 1.5-2 week break would my tolerance be back to zero by then? I haven't used benzos
regularly for a while now for some background. Though, I did take 1 mg a week before.


Accordingly, I have a question about post acute withdrawal for benzos specifically clonazepam. A little
background here, as adolescent I was prescribed clonazapam for anxiety. I don't remember what my
initial dosage was but I was taking 1 mg three times a day for a while. Well, after doing that about
~10 years the docs decided to pull me off because they are addictive. I've been off benzos for nearly
a year (except for just recently) and I am not sure if this is a withdrawal, but for a long time I've been
feeling constant anxiety. The anxiety makes life so much more difficult because I tend to avoid social
interaction and makes falling asleep difficult; haven't had a good sleep in about a year now. In
addition its affecting my concentration.


My question is this normal to have affects so long after discontinuing benzos and if so how long could
this take? If this is not normal could it be because I began taking them at such a young age which
complicates the matter?

The only reason I took the xanx is to help get through a stressful situation and to come down from a
psychedelic trip this week and another in 2 weeks.

Also, do you have any suggestions as to my anxiety? I've tried SSRIs in the past and they all cause
suicidal thoughts. Should I just begin taking benzos again? I would rather ask for your opinion
because my current doctor is completely against benzos under any circumstance so I would prefer a
more objective answer.

Thanks a lot for spending your time helping people. Its a shame most doctors aren't like you. Here in
the US if you start asking questions about drugs they can put a note on your medical info; this piece
of info is then available to other doctors. Basically, you will be treated like a junkie. I know many
people who refuse to go to the ER because of this.

Glad to see a doctor who cares more about safety then being indoctrinated to preach don't do drugs.


Hi,
Tolerance to benzodiacepines develops in weeks. Not everybody develops the same
degree of tolerance and tolerance to each effect of benzodiacepines (sedation,
anticonvulsive, ansiolitic, muscle relaxant) develops at different speed. But it is


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neccesary to wait 2-3 weeks to appear tolerance.
Anxiety can be a symptom of benzodiacepine withdrawal. In general, symptoms of
withdrawal persist during weeks or one/two months depending on the pharmacological
characteristics of the specific benzo. One year seems too much to think benzos are the
cause of your anxiety.The fact that you started at young age should not be important.
In general, benzos are not reccomendated for long-time control of anxiety because of
dependence potencial and rebound effect. Escitalopram, venlafaxine, duloxetine and
paroxetine are, in general, the best options. Some patients also get benefits with
lamotrigine or gabapentine. Of course, it is neccesary some psychological support. The
best option/s needs to be discussed face-to-face with a professional.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 17:25:18


Quote from: Mr Lucy on 15 August 2013, 21:03:46
Is it possible to train your heart by taking cocaine occasionally instead of physically working out?


No, I think that is impossible. Cardiovascular training through physical exercise
produces, among other effects, vasodilation ( widening of blood vessels ) of coronary
arteries that give blood to the heart.Physical exercise has effects on the rests of the
muscles and apparatus of the body . But using cocaine produces the contrary effect
(vasoconstriction) and electrical and biochemical changes to the muscle of heart. So
using it for "cardiovascular training" is useless and dangerous.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 17:31:32


Quote from: SuperHans68 on 16 August 2013, 12:40:10
Can you be super sensitive to weed because I can full on trip on weed with just 0.05g of weed?


Some people are particularly sensible to the effects of cannabis. 0.05 gr seems quite a
little quantity, but there are marijuana plants with very high concentration of
cannabinoids, so I think it is possible. Another possibility is that your weed was mixed
with some synthetic cannabinoids. If you have shared your weed with other people
and you are the only one having effects with such a little dosage, that would mean
that you are very sensitive. If other people have the same effects with so little
quantity or if the effects have some differences with other weeds synthetic
cannabinoids adulteration should be ruled out.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 17:44:13


Quote from: shifting sands on 16 August 2013, 16:00:59
Quote from: shifting sands on 16 August 2013, 15:44:20


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 Hey doctorx
 I have some questions regarding high blood pleasure, do you mind if I pm you

I will keep it in the thread in case its of use to anyone else. My buddy has High blood pressure and it
has caused some complications as it was so high. doctors are trying to control it but not doing to
well. They have prescribed 10mg of rampril and 5mg of amlodpine every day. they started on much
smaller doses and worked their way up in an effort to bring the pressure down. now he has always
been partial to a few lines of coke but since the dose of rampril has gone up he has noticed that after
a few lines he gets palpitations. Is this a direct result of mixing coke with these blood pressure pills or
could it be coincidence. I read on a thread a few days ago that a girl quite often got palpitations
when her heart rate went up and she used beta blokers to bring down the rate. Is that a solution ?
She also said that her doctor had said the the palpitations were normal for some people and nothing
to worry about.
I know the answer is obvious. Stop sniffing coke but sometimes life aint that simple.
Thanks in advance


Yes, I understand life is sometimes complicated. In fact, I don´t think I can help too
much with your question, because it is impossible to give an advice without knowing
exactly the case. Sometimes Internet is good for giving advice but in this case it
should be neccesary a personal evaluation. Cocaine can trigger palpitations in sensible
persons. As far as I know, ramipril or amlodipine in combination with cocaine should
not give additional problems.
But there is a important thing you should know. Mixture of cocaine and beta-blockers
is not a good idea. It can trigger hypertensive or cardiac diseases. There is still some
controversy in medicine on this topic, but there are enough data to strongly advise
against this combination.
http://www.ncbi.nlm.nih.gov/pubmed/16627850
http://www.ncbi.nlm.nih.gov/pubmed/18072171
http://www.ncbi.nlm.nih.gov/pubmed/20206876
http://www.ncbi.nlm.nih.gov/pubmed/21059982
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 17:47:46


Quote from: joywind on 16 August 2013, 18:11:09
DoctorX,

What are your thoughts on combining dexedrine with benzos (clonazepam, valium) to counter-act the
negative effects of dexedrine?

is this likely to cause any bad interactions?


Diazepam and clonazepam increases and dextroamphetamine decreases sedation.
Effect of interaction is not clear, will probably depend on the dosage and timing of
both substances. There are no other pharmacological interactions described between
these substances
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 August 2013, 18:25:11


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Quote from: top44 on 16 August 2013, 21:17:47
DoctorX,

in regards to our recent debate about Hash oil being the cure of cancer, i have two links that i would
like you to visit. You and everyone that believes that cannabis is the most medicinal plant on earth.
this (clearnet) http://abcnews.go.com/Health/toddler-cancer-takes-cannabis-oil/story?id=15981324
and this (clearnet) http://www.ibtimes.com/tommy-chong-credits-marijuana-cancer-cure-i-kicked-
cancers-ass-hash-oil-1264243

I want a real reason on why you think R.S is a scam. from your post i understand that you are kind of
frustrated about rick simpson, and your explanations are only restricted to "he does not refer a
dosage, he gives hopeless people hope." Clearly you imply that all this is a lie, and the people that
talk on this documentary are all well paid actors. You support cannabis as medicine, yet, have you
tried it in oil form? have you tried in cancer cases?

I really do appreciate your contribution to this community doc. You inform people on how to use drugs
safely, and i feel more than proud of being able to ask you any drug-using related question.

But on the other hand doctor, if it was as simple as taking this oil, and it worked, why wouldn't you
get well paid to hide that truth....?

No offense doctor, you have your doubts about R.S , i have my doubts about you, and doctors,
generally. I have not taken any medicines for many years.

This is world is simply full of conspiracies brothers and sisters of Silk Road. :( They want to kill us all,
but before that give all our money to the so called "medical system"

If you, DPR, or any other admin, thinks that what i am talking about here is completely irrelevant to
this thread, i would understand it, so go ahead and delete this. All i wanted is an open discussion on
the matter
Thanks


There is no reason for deleting your message. The only limits should be lack of respect
or bad manners and this is not your case.

It is possible that "scam" is a too strong word. You should excuse that my English is
limited and expressing complex ideas is sometimes difficult to me. What I mean is that
there are no proofs of its efficacy. I can´t say that people in that video are actors,
they probably beleive what they are saying and, probably, some part of the story is
true (Simpson and friends began distributing cannabis oil, and Health and Law
Canadian Authorities got very angry because of that). But, in science, demonstrations
must be positive. It is them who should demonstrate with irrefutable evidences that
their story is true. Things work like this. The fact that a story appears on Internet or
reaches popularity does not mean that it is true. If you look in YouTube or Google for
"Queen Elizabeth lizard" you would discover that the Queen is really a reptilian.
Arguments are similar to those of RS story.
I will try to summarize some of the points that make this story incredible.

1) RS oil is supposed to cure cancer. "Cancer" is a generic word for more than 140
different diseases, each one of them with their mechanisms of productions (genetical,
enviromental, toxic, metabolic, infectious...), and different prognosis and treatments.

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It is impossible to "cure cancer" as, a lymphoma treatment is different to lung cancer
or cervix cancer.

2) RS oil is also supossed to cure not also "cancer" but many other diseases (he
mentions asthma, high blood presure, "wounds", Alzheimer, Parkinson...) . In
medicine, each disease has its own mechanism of production and there is no
medication that is useful for almost everything. In fact, when a drug is promoted as
panacea it should considered a fraud.

3) RS video says that "they have investigated properties of cannabis oil". In science,
methods of investigation must be clearly explained in order that other scientist can
repeat, critic or refuse them. There is not a single word about this "method of
investigation". In the documentary they quote some investigation data about cannabis
in a false, biased way (as works of Dr. Manuel Guzmán on cannabis and one specific
type of cancer, multiphorm glyoblastoma).

4) In medicine, every drug is active at a specific dosage rank. Every drug in the world
has adverse effects, contraindications and toxicity. Nothing of this happens with RS
oil. There are weed plants that only have THC, THC/CBD or CBD in very different
concentrations. Nothing of this is important to RS oil, which is active at a dose of "one
or two drops or a grain of rice" (not very precise pharmacologically)

5) RS oil story has all the elements of conspirative theories. I´m not saying that
pharmaceutical industry is a innocent one (as many other enterprises). But such a
political-economical-pharmaceutical-judicial conspiration to hide curative properties of
cannabis oil is incredible. The best argument I can offer is the fact that cannabis has
been a medicine widely used in the last 6000 years by different cultures. Surprisingly,
Rick Simpson was the first person in the History of Humanity who discovered that
cannabis oil cures everything. This fact had been unobserved by doctors of all the
cultures ( Ancient Chinese Empire, Classical Greece, Hindi, Latin, Shamanic Eastern
Cultures...) that have been using cannabis as a therapeutic drug during milleniums. Or
maybe they were all included in the conspiration.

You ask me if I have tried to treat my cancer patients with RS oil. I have never done
that. But I have the experience of three different cancer patients who have left all
their treatments, changing it for RS oil. The three of them died in months. OK...maybe
this make me to be a bit combative in this subject.

You say you have your doubts about me and doctors. To be critic and a bit sceptic is,
in general, a healthy attitude. As long as we use reasoning and logic arguments I´m
open to continue discussing this subject
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shinobidragon on 18 August 2013, 18:51:12

      I have been diagnosed with Bipolar type 1. I've been hospitalized several times
      but its been two years since I've taken any of the prescribed medication for it. I
      have successfully been managing my anxiety with cannabis and believe as long


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      as I keep my stress levels down it could be a very long time before I have
      another manic episode.

      My question is this: are the any drugs that I should absolutely avoid or I'm
      risking a relapse (i.e. Meth)? And are than any (illegal) drugs I should look into
      that could be beneficial specifically for my case (i.e. Ketamine)?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tommy gun on 19 August 2013, 06:51:21

      Doctor X. I wondered if I could ask you about 4FA.

      Ive been using this 'research chemical' for a while in a range of doses as a party
      drug (100mg) and as a study/work aid (around 20mg).

      I recently read an article on the website 'drugs-forum.com' [warning - clearnet
      link] (http://www.drugs-forum.com/forum/showthread.php?t=175262)

      Where a guy claims that 4FA in particular, as well as other 'halogenated
      amphetamines', are terribly neural toxic. He says 4FA is closely related to a
      compund called para-chloroamphetamine (4-CA) which is used in research labs to
      selectively kill neurons.

      So I am wondering if you know anything about this Doctor X?

      I have stopped using 4FA after reading that article. But I am wondering to what
      extent I have given myself brain damage :(

      Thanks



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: shifting sands on 19 August 2013, 14:00:53


Quote from: shifting sands on 16 August 2013, 16:00:59
Quote from: shifting sands on 16 August 2013, 15:44:20
 Hey doctorx
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I will keep it in the thread in case its of use to anyone else. My buddy has High blood pressure and it
has caused some complications as it was so high. doctors are trying to control it but not doing to
well. They have prescribed 10mg of rampril and 5mg of amlodpine every day. they started on much
smaller doses and worked their way up in an effort to bring the pressure down. now he has always
been partial to a few lines of coke but since the dose of rampril has gone up he has noticed that after
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could it be coincidence. I read on a thread a few days ago that a girl quite often got palpitations
when her heart rate went up and she used beta blokers to bring down the rate. Is that a solution ?
She also said that her doctor had said the the palpitations were normal for some people and nothing
to worry about.
I know the answer is obvious. Stop sniffing coke but sometimes life aint that simple.
Thanks in advance


Drx Please answer above.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 19 August 2013, 17:48:05


Quote from: flashlight5 on 17 August 2013, 19:50:17
What is your opinion on using 30 - 40 mg ritalin 5 times per week for years and years?

Is that likely to cause long term problems? If so, what kind? Can anything be done to decrease those?


Maximum daily dosage of methylphenidate dosage as a therapeutic drug is 30 mg.
Methyphenidate has common adverse and long-time effects as any other
psychostimulant: cardiovascular effects (high blood pressure, alterations in cardiac
rhythm...), psychiatric effects (trigger psychotic symptoms or aggresive behaviour),
dependence, tolerance...The fact that methylphenidate is a legal stimulant does not
mean that it is safe. Factors as context of use, purposes, motivations...are also as
important as pharmacological properties of the substance in order to estimate the risk.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 20 August 2013, 19:02:37


Quote from: shinobidragon on 18 August 2013, 18:51:12
I have been diagnosed with Bipolar type 1. I've been hospitalized several times but its been two years
since I've taken any of the prescribed medication for it. I have successfully been managing my anxiety
with cannabis and believe as long as I keep my stress levels down it could be a very long time before
I have another manic episode.

My question is this: are the any drugs that I should absolutely avoid or I'm risking a relapse (i.e.
Meth)? And are than any (illegal) drugs I should look into that could be beneficial specifically for my
case (i.e. Ketamine)?



Bipolar disease can stand long time asymptomatic, but in order to avoid relapses it is
important to use properly prescribed medication, as long as keeping stress levels
down as you say. It is unclear if cannabis is helpful or negative in bipolar disorders.
Many (but not all) studies state that cannabis has a negative impact on this disease.
http://www.ncbi.nlm.nih.gov/pubmed/20674039
http://www.ncbi.nlm.nih.gov/pubmed/19155808
http://www.ncbi.nlm.nih.gov/pubmed/9692379
Antidepressant properties of ketamine are recently described but are not enough to
reccomend it, even less in a bipolar disorder. Ketamine is addictive and has strong

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psychedelic effects. In general, in bipolar disorder psychedelic and stimulant drugs
(cocaine, amphetamines...for some people even caffeine) should be avoided
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: asderjag1234 on 20 August 2013, 20:10:29

      I have been tested and diagnosed with ADHD. I cannot afford medication. Would
      getting high quality Amphetamine sulphate on SR to medicate everyday, be an ok
      alternative to filling a prescription for concerta or adderall or something, or would
      that be a bad idea? Sorry I didn't bother to read all 35 pages of the entire thread,
      sorry if this has been asked before.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 21 August 2013, 07:43:04


Quote from: asderjag1234 on 20 August 2013, 20:10:29
I have been tested and diagnosed with ADHD. I cannot afford medication. Would getting high quality
Amphetamine sulphate on SR to medicate everyday, be an ok alternative to filling a prescription for
adderall or something, or would that be a bad idea?


Absolutely.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 21 August 2013, 13:50:15

      Not sure if it is too late to ask questions here, but the New York Times is taking
      questions now on addiction. Judging from the questions and comments so far,
      when they are answered, it will be more of the "just say no" approach but who
      knows. No disrespect here, just an observation that the NYT must be monitoring
      these pages too.




      http://www.nytimes.com/2013/08/14/booming/advice-on-addiction-in-boomers.
      html



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 August 2013, 16:51:01


Quote from: tommy gun on 19 August 2013, 06:51:21
Doctor X. I wondered if I could ask you about 4FA.


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Ive been using this 'research chemical' for a while in a range of doses as a party drug (100mg) and as
a study/work aid (around 20mg).

I recently read an article on the website 'drugs-forum.com' [warning - clearnet link] (http://www.
drugs-forum.com/forum/showthread.php?t=175262)

Where a guy claims that 4FA in particular, as well as other 'halogenated amphetamines', are terribly
neural toxic. He says 4FA is closely related to a compund called para-chloroamphetamine (4-CA)
which is used in research labs to selectively kill neurons.

So I am wondering if you know anything about this Doctor X?

I have stopped using 4FA after reading that article. But I am wondering to what extent I have given
myself brain damage :(

Thanks


It is true that "halogenated amphetamines" seem drugs more risky than other
amphetamines. I agree with some of the arguments in the link of drugs-forum. In
human pharmacology there are chemical elements common and other that, in general,
are more toxic. Some fluorine and chlorine compounds are highly neurotoxic and
structure of 4-FA resembles some of these drugs.
But in animal experimentation there is no evidence that 4-FA is neurotoxic:
http://www.ncbi.nlm.nih.gov/pubmed/8749023
http://www.ncbi.nlm.nih.gov/pubmed/1196472
With this, I don´t mean that 4-FA is sure. Animal data do not suggest that
neurotoxicity is an important problems but there is a lack of investigation on 4-FA as it
is a drug made popular in the last 3-5 years. In fact there are recent reports about
deaths caused by 2-FA,3-FA and 4-FA.
http://www.ncbi.nlm.nih.gov/pubmed/22286570
I think advice against its use is valid but, probably, there are no data to be extremely
worried about neurotoxicity. Classical amphetamines have been used during decades
and their risks are perfectly known. This is not the case of 4-FA and, in my opinion,
this is enough to advise against its use.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 August 2013, 17:09:26


Quote from: asderjag1234 on 20 August 2013, 20:10:29
I have been tested and diagnosed with ADHD. I cannot afford medication. Would getting high quality
Amphetamine sulphate on SR to medicate everyday, be an ok alternative to filling a prescription for
concerta or adderall or something, or would that be a bad idea? Sorry I didn't bother to read all 35
pages of the entire thread, sorry if this has been asked before.


There is no medical consensus about the best treatment for ADHD. Stimulants are
widely used for this condition, although there are important differences in diagnosis
criteria and neccesity of drug therapy. For example, clinical guidelines in UK only
reccomend stimulants in very severe cases, and in United States this kind of
treatment is more easily prescribed.

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I don´t want to expand on this issue, because I don´t want to create more doubts in
you, but I don´t think auto-medication with amphetamine is a good strategy. In
general, available amphetamine is an unpurified mixture of amphetamine salts (with
high amount of caffeine and other adulterants, in many cases), and only
dextroamphetamine is the approved treatment for ADHD. And even
dextroamphetamine (and other medications as methylphenidate) should be used with
caution in ADHD (from a medical point of view)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 21 August 2013, 17:20:17

      doc you never answered my question : what is your recommendation for suicide?
      besides don't do it. if some one is going to do it and you can spare them
      unecesary pain then you should. so shoot: how would you do it?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: GenerationRambo on 21 August 2013, 23:44:33

      DoctorX.

      First i want to say thanks for a great work in this thread and its very learning and
      intresting!
      My question is (and i do ask for forgiveness in case its already been asked). Ive
      been usin cocain for about 8 months now on and of. The latest 8 months maybe a
      gram in month give or take a little. How damaging is this for the heart? Besides
      that i try to take care of myself i train 4-6 times a week and try to eat healthy.
      My father resently had a heart attack so there is a risk of bad genetics in this
      case. I really love to put some luxury on the everyday life like this but how bad is
      it for me? =) Regards Rambo ;)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 22 August 2013, 02:56:37


Quote from: GenerationRambo on 21 August 2013, 23:44:33
The latest 8 months maybe a gram in month give or take a little. How damaging is this for the heart?


Rambo, do you consume alcohol at the same time? Cocaethylene increases
cardiotoxicity greatly.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: GenerationRambo on 22 August 2013, 09:53:53

      Yes alcohol is consumed at the same time, sometimes together with a benzo

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 August 2013, 17:57:10


Quote from: tedrux on 21 August 2013, 17:20:17
doc you never answered my question : what is your recommendation for suicide? besides don't do it.
if some one is going to do it and you can spare them unecesary pain then you should. so shoot: how
would you do it?


Yes...I answered your question
https://dkn255hz262ypmii.onion.to/index.php?topic=147607.msg1441472;
topicseen#msg1441472
My thread is about risk and harm reduction in drug use, not about suicide. I can
understand your arguments, but my service here is providing information about health
and drugs. I would not have problems in discussing this subject in a face-to-face,
personal interview but not in through Internet.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Flyerz1934 on 22 August 2013, 19:01:59

      How bad is drug consumption while a teen? The news always says that its huge...
      Want to hear that from a doctor.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Janusdidgeridoo on 22 August 2013, 22:35:07

      Hi doc!

      Can you tell me more about health concerns regarding aMT and 2C-E, I am
      especially worried about possible neurotoxicity? I know both substances are quite
      rare/unknown/new and I have come to believe scientific studies of these drugs
      are rather limited. I have read that antioxidants eliminate some of the free
      radicals associated with aMT ingestion.

      Please enlighten me :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 22 August 2013, 23:57:01


Quote


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« Reply #525 on: Today at 06:01 pm »

     Quote

How bad is drug consumption while a teen? The news always says that its huge...


Along these lines is there much or any evidence that alcohol binges can be neurotoxic
in young brains or for that matter mature brains? Dementia is reportedly a symptom
of alcoholism but would the level or type of damage be different at younger ages?

You have talked about the dependency issues being more common in younger, regular
drug users. It reminds me of second language learners who avoid major accents if
they learn to speak a second language before 17 or so. Would it ever be healthy for a
normal young person under 20, to use cannabis every day, or three or four days in
each week, for several years? Given many student's experiences in school with
boredom, anxiety and most of all, dislike of school in general, this pattern of use
seems common.


Regarding a tangential matter, do you think there is anything to the Rosetta Stoned
phenomenon where people think they know more than they do? This is more a
footnote to your observations as I'm thinking you are more based in pharmacological
solutions than environmental. Do you believe mota consumption leads to significant
learning problems or does it act as an enhancer which I could use by the way. Clearly.

Pretty clean but not

Soberman

or

Sodaman

or

Superman
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: putinwork62 on 23 August 2013, 06:30:27

      What is the best drug for Anxiety?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tymczasowe on 23 August 2013, 17:40:55

      Hi Doc,



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     Great job, just sent some spare coins your way, I strongly encourage encourage
     everybody else to do the same (BTW Erowid also has a fundraiser at the moment,
     please also consider sending some coins their way).

     I have some questions that I hope answers to which other users will also find
     valuable:

     1. What kind of drugs for emergency would you recommend to have at hand -
     let's say you are in a remote place and would like to have something when things
     go south with experiments. (Of course I'm not treating them as the replacement
     for proper medical treatment in cases of really dangerous side effects/ODing, just
     in super mild ones).

     So far I tried to have with me:

     - diazepam for bad-trips emergencies with psychedelic drugs

     - prednisone and some antihistamines for every new drug in case of being allergic
     for any cutting agent or active substance (also doing allergy test with very small
     dose with each new substance/batch)

     - some drinkable electrolytes supplements from pharmacy for dehydration (for
     MDMA and stimulants)

     - mild stims (ephedrine) if me or friend shall feel that new depressant shall go to
     strong (GHB, opioids etc.)

     - proton pump inhibitors when taking things that maybe harsh on a stomach (like
     bigger amounts of plants ;) also always before drinking)

     - modafinil in case of drugs that tends to induce partial amnesia or downers that
     make sleepy (it works PERFECTLY for this -- you loose less from the experience
     and from what I researched is very safe drug)

     - sphygmomanometer (for blood pressure measuring for those unfamiliar with
     the name) and glucose meter for checking if everything is okay in some cases

     I would also love to know what's your opinion on the last one, as I know that
     mixing uppers and downers is wrong because it may interact or promote dose
     abuse, but I'm talking only about "emergency" use

     I also do electrolytes and vitamin supplements prophylactically before and after
     testing most substances.

     So, what would you add to these/would you modify that?

     2. Friend has elevated blood pressure and is significantly overweight -- is there
     any blood pressure lowering drug that could be taken temporarily to counteract
     the heightening effect of some stimulants (coke in different forms, amphetamine


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      analogue family, some psychedelics)? I'm not talking about constant treatment,
      I'm just talking about 2-3 times a month at most experiments, each time with
      something different. In my country getting something prescribed for this reason
      is impossible due to legal issues with drugs (use and possession is illegal).

      Alternatively, is there any fast acting drug that could be taken once pressure
      would go too high that could be added to the kit I'm asking about in first
      question? (Also, as I said we have pretty decent electronic sphygmomanometer
      at hand during experiments so we can control it - so any advice about when such
      drug/s shall be taken can also be of value).

      Also, if they are types of lowering blood pressure drugs that may have dangerous
      interactions with any of drugs from mentioned categories I would appreciate
      heads-up (I try to research such things but of course I can get sometimes
      drowned within amount of medical, specialized info).

      Many thanks in advance and take care.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 August 2013, 18:52:21


Quote from: DoctorX on 22 August 2013, 17:57:10
Quote from: tedrux on 21 August 2013, 17:20:17
 doc you never answered my question : what is your recommendation for suicide? besides don't do
 it. if some one is going to do it and you can spare them unecesary pain then you should. so shoot:
 how would you do it?

Yes...I answered your question
https://dkn255hz262ypmii.onion.to/index.php?topic=147607.msg1441472;topicseen#msg1441472
My thread is about risk and harm reduction in drug use, not about suicide. I can understand your
arguments, but my service here is providing information about health and drugs.I would be happy to
discuss this subject in a face-to-face interview but a drug health and safety forum is the wrong place
to address this subject.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 August 2013, 19:06:03


Quote from: GenerationRambo on 21 August 2013, 23:44:33
DoctorX.

First i want to say thanks for a great work in this thread and its very learning and intresting!
My question is (and i do ask for forgiveness in case its already been asked). Ive been usin cocain for
about 8 months now on and of. The latest 8 months maybe a gram in month give or take a little. How
damaging is this for the heart? Besides that i try to take care of myself i train 4-6 times a week and
try to eat healthy. My father resently had a heart attack so there is a risk of bad genetics in this case.


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I really love to put some luxury on the everyday life like this but how bad is it for me? =) Regards
Rambo ;)


It is very difficult to estimate individual risks with illegal drugs. It wolud be neccesary
to have big epidemiological studies with accurate information about patterns of use.
There are some studies on tobacco and alcohol that are useful for these substances.
But for the rest of substances it is far more difficult.
Cardiovascular risks depend on many factors: genetic factors, age, sex, blood
pressure, cholesterol, diet, obesity, diabetes...it is very difficult to estimate the weight
of cocaine use in an individual among these factors. The fact of familiar antecedents of
cardiovascular disease should be considered as an additional risk factor, but not as an
irreversible indicator.
The way of use of cocaine is also important. You say "one gram a month more or less"
but, obviously, it is not the same to use one gram one night (once a month) than four
times 250 mg. According to medium doses of cocaine use, one gram a month does not
seem a tremendous excesive quantity, although I don´t mean with this that it is
absolutely sure.
In your case, as a risk reduction measure, it would be important to control other
possible cardiovascular factor risks (weight, blood pressure, tobacco use...) I don´t
reccomend to use at the same benzodiacepines and alcohol as "downers" (as you say
in the following message). The mixture of these two substances can increase adverse
and toxic effects from benzos. Leaving cocaine use only for special situations, and not
integrating it as an habit or usual activity will also help.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 August 2013, 19:19:01


Quote from: Flyerz1934 on 22 August 2013, 19:01:59
How bad is drug consumption while a teen? The news always says that its huge... Want to hear that
from a doctor.


Well...general questions mean general answers. So, in general, I agree with that idea.
That is one of the clear ideas of drug epidemiology. The younger onset of drug use,
the higher possibilities of harms related to drugs. This is valid both for legal (tobacco
and alcohol, widely used by teenagers) and illegal drugs (in general, cannabis is the
most used drug by teens).
 It does not mean that any pattern of use of teenagers will destroy its life. Many
teenagers use drugs in a occasional way or a limited time in their lifes without relevant
negative consequences. But a young use is a risk factor for problems. Physical,
psychological and social factors are related to this, as maturity on life makes easier to
manage drugs (as many other dangerous things in life).
http://www.ncbi.nlm.nih.gov/pubmed/19630711
http://psycnet.apa.org/psycinfo/1988-98105-000
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 August 2013, 19:39:12


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Quote from: Janusdidgeridoo on 22 August 2013, 22:35:07
Hi doc!

Can you tell me more about health concerns regarding aMT and 2C-E, I am especially worried about
possible neurotoxicity? I know both substances are quite rare/unknown/new and I have come to
believe scientific studies of these drugs are rather limited. I have read that antioxidants eliminate
some of the free radicals associated with aMT ingestion.

Please enlighten me :)


Well....i´m sorry enlightening is not one of my abilities :D
AMT was discovered in the sixties of last century. There was some investigation in
animals during 70s and 80s and, as far as I know, there are no evidences of
neurotoxicity in animals. Its analog alpha-ethyl-tryptamine seems to have neurotoxic
potential at very high doses in animals. There are also some reports on human toxicity
and deaths related to this substance
http://www.ncbi.nlm.nih.gov/pubmed/1722753
http://www.ncbi.nlm.nih.gov/pubmed/16105268
Data on 2C-E are even more scarce. There is a lack of animal or experimental data. In
my personal opinion and according to its molecular structure and prevalence of use, it
is unlikely that neurotoxicicy is one of its problems. On the other hand there is a
recent report on cerebral toxicity in humans. I think (I insist, this is only my personal
opinion) that this case has to be considered as a rarity and not as a frequent risk
http://www.ncbi.nlm.nih.gov/pubmed/23077393
Role of antioxidants is only theoretical speculation. If it is not clear the existence or
toxic dosage of this substance, even less an hypothetical protective role of
antioxidants.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 August 2013, 19:43:31


Quote from: putinwork62 on 23 August 2013, 06:30:27
What is the best drug for Anxiety?


"Anxiety" is a symptom that can be present in many different diseases; anxiety can
appear as "crisis" (acute episodies) or as a "state". Each one of these conditions has
its own therapeutical management. Benxodiacepines are used in acute crisis and ISRS
(paroxetine, sertraline, citalopram) or other antidepressives are more useful and safer
for anxiety manteined on time. Evaluation of anxiety and the best way to treat it
should always be personalized. I think this is too complex to give advice through
Internet.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 23 August 2013, 20:41:11




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Quote
Quote from: Flyerz1934 on August 22, 2013, 06:01 pm

   How bad is drug consumption while a teen? The news always says that its huge... Want to hear
that from a doctor.


Well...general questions mean general answers. So, in general, I agree with that idea. That is one of
the clearest ideas derived from drug epidemiology research. The earlier the onset of drug use, the
higher the possibilities of problems related to drug use will be. This is valid both for legal (tobacco and
alcohol which are widely used by teenagers) and illegal drugs (in general, cannabis is the drug of
choice for teens).
 It does not mean that all patterns of use by teenagers will ultimately destroy their lives. Many
teenagers use drugs in a occasional way or for limited time in their lives without relevant negative
consequences. But early use is a risk factor for later problems. Physical, psychological and social
factors are related to this, as maturity is gained by a longer time on the planet makes it easier to
manage drugs along with many other dangerous things.


DoctorX,

Do you think teens are able to make a clear judgement about their drug use being out
of control or having a potential large negative for their future lives? Seems many
adults are unable to control their own compulsions, dependencies, and addictions, so it
may be unreasonable to expect teens to do any better? No? Which recovery program
seems to have the best success with alcohol and pot troubles? What about when there
are multiple drugs involved in the person's recovery program? I'm thinking I want the
Lindsay Lohan type where you stay for a few months on the ocean front with great
chairs, fancy meals, and professional coaches. Table tennis, shuffle board and
checkers matches to while (sic, and no, I am not clear why I'm using this word, "sic" I
mean) away the day. Swimming, resting, and reading provide more engaged
moments.

Physical therapy would be nice too since a few old football injuries need
attention. Sorry to write a book but there is a lot to think about here. Lindsay
cancelled her vacation to Europe because she had planned to hang out with
DocX. Oprah convinced her this would be a bad idea. Wow! Europe, the Pacific Ocean
what's next? A small island in the South Pacific where an eccentric millionaire feeds
her healthy food and gives her rubdowns. Her drug of choice was alcohol not
cocaine. I thought I saw coke eyes or a severe case of not sleeping enough, also
known as tiredness. l suppose getting two or three DUIs should have clued me in but I
missed that. Despite her problems with too much partying, Lindsay is still someone I
would like to wrestle playfully, no strings attached.


Soberism

for one and for all
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: NorvilleRogers on 23 August 2013, 23:15:12



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      DoctorX,

      I am prescribed Vyvanse 60mg which I take everyday at like 7 in the morning.
      Coming up is my buddys bachelor party where there will undoubtedly be cocaine.
      If I chose to partake, would I be making a big mistake by combining these two
      stimulants? Everything I read says do not combine because of cardiovascular
      issues, but they dont reference a time layover. I know about when the medicine
      starts to dissipate from my system as my eyes become foggier and my thoughts
      become jumbled together. This usually occurs around 5-6 that night, but can last
      till 8 depending on how much i eat that day. Now the cocaine would not be
      ingested until like 9-10 in the evening probably even later than that. With 12+
      hours in between my vyvanse dose and cocaine, would it be safe to partake in
      the cocaine, or are there still too many traces of the amphetamine in my system?
      If thats the case then more than likely if i decide that day to participate, i wont
      take the vyvanse. Thanks! Love the Thread



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: SadSwede on 24 August 2013, 14:25:48

      I have a question regarding out phasing (dont know the correct english term)
      Benzos - mainly Clonezapam, I don't know the exact dosage but say that I have
      roughly taken 2mg per day for 7-8 months now. My own physician gave me a
      fast schedule with Diazepam 5mg: [Week 1] Half a pill in the morning, 1 pill in
      the evening [Week 2] Half morning, half evening [Week 3] half evening. I
      personally thought this schedule to be too fast since Clonezapam is around 10
      times stronger than Diaz, but he told me there is no magic out-phasing schedule,
      I will still have withdrawals irregardless.
      What are your opinions on this schedule? He gave me more pills than I need for
      this schedule in case I would feel it not working out, so I could go as long as 6
      weeks instead of 3. The reason I'm not going CT is that I am starting college
      soon and I tried CT couple of months ago and it made my brain sooo slow... This
      is my main concern, not being able to concentrate for 2 cents.

      Great thing that you are here for us!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: phoboss on 24 August 2013, 16:13:16

      I'd just like to thank Drx for being such a help to this community and a big
      thanks for the time you take to answer and help out the same, good on you Drx I
      think this is a brilliant idea and I'm sure you've helped loads of people even
      though I've never asked you anything myself but from your replies I can see your
      a good person with a good heart thanks again Drx much luv, phoboss.


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      DOCTOR X IS THE MAN/WOMAN XXX MUCH LUV



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 25 August 2013, 00:54:36

      How long does heroin withdrawal last?
      Everywhere i read it says that its over after 5 to 7 days. I quit heroin after 2-3
      months of everyday use and today is my 9th day (will be starting the tenth day in
      several hours) and the withdrawal isnt going away. I have a very achy back and
      legs and im constantly getting chills and goosebumps, and I have terrible anxiety
      and depression and the worst part is that I havent slept more than 2 or 3 hours a
      nite since the 1st nite. My body (especially my legs) is very restless at night and i
      feel like i have electricity running thru my body.
      So my question is that will this last much longer or is it almost over? I know each
      person is different but is this normal?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Vanquish on 25 August 2013, 01:07:18


Quote from: sofish89 on 25 August 2013, 00:54:36
So my question is that will this last much longer or is it almost over? I know each person is different
but is this normal?


Kratom would be your best bet. Should almost instantly get rid of your lingering
withdrawal symptoms.
PAWS (Post Acute Withdrawal Syndrome) can persist for weeks, to months, to years.
It's really down to individual body chemistry, substance, duration, and amount taken.
Shoot me a PM if you need more information.

Vanquish
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 25 August 2013, 05:09:46

      Thanks alot Vanquish you were really helpful! +1



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Railgun on 25 August 2013, 06:20:26

      I'm in my twenties and have two co-morbid mental illnesses. I take medication
      for them, which seems to work-but it makes me VERY tired. So tired that I had to

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      leave my doctorate program because I could really not stay awake or motivated
      enough for serious concentration.

      Should I try Modafinil? I don't like caffeine because it tends to make me more
      jittery than focused.

      Also, I feel as though marijuana has a stabilizing effect on my disorders.
      Strangely, with the higher quality cannabis I get here, I do not notice as much
      cognitive blunting (burn out) afterwards. Would it be okay to keep this, or will I
      inevitably have a major cognitive decline?

      Thanx
      Rails



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 August 2013, 13:10:06


Quote from: tymczasowe on 23 August 2013, 17:40:55
Hi Doc,

Great job, just sent some spare coins your way, I strongly encourage encourage everybody else to do
the same (BTW Erowid also has a fundraiser at the moment, please also consider sending some coins
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So far I tried to have with me:

- diazepam for bad-trips emergencies with psychedelic drugs

- prednisone and some antihistamines for every new drug in case of being allergic for any cutting
agent or active substance (also doing allergy test with very small dose with each new substance/
batch)

- some drinkable electrolytes supplements from pharmacy for dehydration (for MDMA and stimulants)

- mild stims (ephedrine) if me or friend shall feel that new depressant shall go to strong (GHB, opioids
etc.)

- proton pump inhibitors when taking things that maybe harsh on a stomach (like bigger amounts of
plants ;) also always before drinking)

- modafinil in case of drugs that tends to induce partial amnesia or downers that make sleepy (it
works PERFECTLY for this -- you loose less from the experience and from what I researched is very
safe drug)



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- sphygmomanometer (for blood pressure measuring for those unfamiliar with the name) and glucose
meter for checking if everything is okay in some cases

I would also love to know what's your opinion on the last one, as I know that mixing uppers and
downers is wrong because it may interact or promote dose abuse, but I'm talking only about
"emergency" use

I also do electrolytes and vitamin supplements prophylactically before and after testing most
substances.

So, what would you add to these/would you modify that?

2. Friend has elevated blood pressure and is significantly overweight -- is there any blood pressure
lowering drug that could be taken temporarily to counteract the heightening effect of some stimulants
(coke in different forms, amphetamine analogue family, some psychedelics)? I'm not talking about
constant treatment, I'm just talking about 2-3 times a month at most experiments, each time with
something different. In my country getting something prescribed for this reason is impossible due to
legal issues with drugs (use and possession is illegal).

Alternatively, is there any fast acting drug that could be taken once pressure would go too high that
could be added to the kit I'm asking about in first question? (Also, as I said we have pretty decent
electronic sphygmomanometer at hand during experiments so we can control it - so any advice about
when such drug/s shall be taken can also be of value).

Also, if they are types of lowering blood pressure drugs that may have dangerous interactions with
any of drugs from mentioned categories I would appreciate heads-up (I try to research such things
but of course I can get sometimes drowned within amount of medical, specialized info).

Many thanks in advance and take care.


1.- Some of the drugs you propose seem reasonable in the indications you suggest,
other not so in a pharmacological point of view. Benzos can be very useful in some
stimulant or psychedelic complicated situation, although more incisive drugs
(sublingual alprazolam or lorazepam) seem better in these cases. Prednisone or
antihistaminic can control allergic reactions, although in this case it should be very
reccomendable search for medical help if this reaction is not quickly controlled.
Dehydration from MDMA is really uncommon, and pharmacy electrolytes taste is in
general awful. Any soft-drink is suitable for this purpose.
I disagree with use of "mild stimulants" to treat problems with depressants. Neither
ephedrine, modafinil and any other stimulants are used in the treatment of
intoxication with depressants. So there is no evidence of efficacy of this, and I think
also that there can be negative, idiosincratic effects. Naloxone and flumazenil are
selective antidots of opioids and benzodiacepine, respectively, and may be very useful
in these circumpstances. But GHB, cannabis or alcohol intoxication is never treated
with stimulants.

2.- It is important to distinguish if that person has a diagnosis of arterial hypertension
or not. There is a general confussion between isolated high blood pressure registrs
(very common and not necessarily pathological) and arterial hypertension disease. In
this last case it would be necessary a personal evaluation of risks.
But in general, common dosages and occasional use of classical drugs produce
moderate raises in blood pressure, limited in time, and there is no need of medication
to diminish risks. There is no evidence that using antihypertensive drugs before using

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recreative drugs has any health benefit.
As a curiosity, only carvedilol and doxazosine have been used in combination with
MDMA in clinical trials. In the case of cocaine, it is very important to avoid its
combination with selective beta-blockers (propanolol, atenolol...) as it can increase
cardiovascular risk
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 August 2013, 13:22:33


Quote from: NorvilleRogers on 23 August 2013, 23:15:12
DoctorX,

I am prescribed Vyvanse 60mg which I take everyday at like 7 in the morning. Coming up is my
buddys bachelor party where there will undoubtedly be cocaine. If I chose to partake, would I be
making a big mistake by combining these two stimulants? Everything I read says do not combine
because of cardiovascular issues, but they dont reference a time layover. I know about when the
medicine starts to dissipate from my system as my eyes become foggier and my thoughts become
jumbled together. This usually occurs around 5-6 that night, but can last till 8 depending on how
much i eat that day. Now the cocaine would not be ingested until like 9-10 in the evening probably
even later than that. With 12+ hours in between my vyvanse dose and cocaine, would it be safe to
partake in the cocaine, or are there still too many traces of the amphetamine in my system? If thats
the case then more than likely if i decide that day to participate, i wont take the vyvanse. Thanks!
Love the Thread


Half-life of dexamphetamine is 10-12 hours. It is necessary this time to lower 50%
amphetamine levels in body, and additional 10-12 hours to diminish it to 75%.
Depending on the cause of the prescription and your general both physical and mental
health state, you can contemplate the possibility of avoiding your medication 1-2
days, in the case you are using cocaine that day. In order to estimate the risks, it is
also very important to consider the dosage of cocaine. Moderate ocassional amounts
have probably very limited risks, even in the case you don´t suspend your medication.
If you use larger quantities, probably the risks are higher.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 August 2013, 13:31:30


Quote from: SadSwede on 24 August 2013, 14:25:48
I have a question regarding out phasing (dont know the correct english term) Benzos - mainly
Clonezapam, I don't know the exact dosage but say that I have roughly taken 2mg per day for 7-8
months now. My own physician gave me a fast schedule with Diazepam 5mg: [Week 1] Half a pill in
the morning, 1 pill in the evening [Week 2] Half morning, half evening [Week 3] half evening. I
personally thought this schedule to be too fast since Clonezapam is around 10 times stronger than
Diaz, but he told me there is no magic out-phasing schedule, I will still have withdrawals irregardless.
What are your opinions on this schedule? He gave me more pills than I need for this schedule in case
I would feel it not working out, so I could go as long as 6 weeks instead of 3. The reason I'm not
going CT is that I am starting college soon and I tried CT couple of months ago and it made my brain
sooo slow... This is my main concern, not being able to concentrate for 2 cents.

Great thing that you are here for us!


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I don´t know if your doctor had a particular reason for prescribing that dosage, but, in
a pharmacological point of view, 2 mg of clonazepam are equivalent to 30-40 mg of
diazepam. So that should be, at first at in general, the dosage useful and tapering
down could be done in 4-6 weeks.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 August 2013, 13:38:43


Quote from: sofish89 on 25 August 2013, 00:54:36
How long does heroin withdrawal last?
Everywhere i read it says that its over after 5 to 7 days. I quit heroin after 2-3 months of everyday
use and today is my 9th day (will be starting the tenth day in several hours) and the withdrawal isnt
going away. I have a very achy back and legs and im constantly getting chills and goosebumps, and I
have terrible anxiety and depression and the worst part is that I havent slept more than 2 or 3 hours
a nite since the 1st nite. My body (especially my legs) is very restless at night and i feel like i have
electricity running thru my body.
So my question is that will this last much longer or is it almost over? I know each person is different
but is this normal?


Tolerance and dependence depend on many personal factors. In general, the idea "5-7
days" for heroin abstinence ii right but some people have mild symptoms lasting 48
hours and, in other cases as yours last longer. Probably symptoms will progresivelly
diminish in following days. It is useful symptomatic management of pain, diarrhea and
other physical symptoms. Use of benzodiacepines can improve sleep.

I don´t agree with the idea of using kratom. Mitragyna speciosa (kratom) acts on μ-
opioid receptor agonist like morphine, codeine or heroin. It probably relieves
symptomps of abstinence but continues acting on opioid human system, and it will
delay further abstinence symptoms that will appear later.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bobhope333 on 25 August 2013, 14:01:06


Quote from: DoctorX on 25 August 2013, 13:38:43
Quote from: sofish89 on 25 August 2013, 00:54:36
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agonist like morphine, codeine or heroin. It probably relieves symptomps of abstinence but continues
acting on opioid human system, and it will delay further abstinence symptoms that will appear later.
The sleeping disturbance can go on for months, the leg aches can be dependent on
the degree of addiction- I did a home detox after a year of using up to 10 grams a day
smoked of No3 heroin- good quality (60% heroin by weight on average- UK police
were kind enough to get some of it forensically tested. He he he!), I was still getting
unbearable aches in my legs 2 months later, mainly at night.
Withdrawals can be very much affected by stress- and can be alleviated by exercise-
you really won't feel like it but should force yourself, it really makes a difference, but
as I said, if you get into a stressful situation, the withdrawals can reappear with a
vengeance- I believe this is connected with the fact that you tend to produce too much
adrenaline when in withdrawals, which intensifies your bad feelings- if you are
exercising, you are burning up the adrenaline rather than it floating round your body!
The worst thing you can do after you have started to feel better is to take any opiate
as this will take you right back to the beginning again, it can be very tempting to just
alleviate the withdrawals for a day for a rest, BUT REFRAIN, honestly, it is the worst
thing to do. All you can do is take each day as it comes- it will take time! Also
remember that once you have shaken it fully, it's as if your brain is hard wired to
opiates- if you resume your habit, it takes a fraction of the use it would a novice to
regain your addiction!
Hope some of this is some help, the longer you have been using, the more ingrained
your use will get, so get off it earlier than later.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 25 August 2013, 16:36:44

      in a post you wrote that ketamin in our opinion is addictive.

      what are your parameters you use to judge if a substance is addictive?

      can you please categorize a few substances and explain why you think they are
      addictive or not.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Andromeda on 26 August 2013, 02:23:11

      LSD, DMT, and Psylocibin.

      How damaging are they to the human brain, and what citations can you give to
      support your argument?

      Thank you.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: sofish89 on 26 August 2013, 04:20:55


Quote from: bobhope333 on 25 August 2013, 14:01:06

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you right back to the beginning again, it can be very tempting to just alleviate the withdrawals for a
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shaken it fully, it's as if your brain is hard wired to opiates- if you resume your habit, it takes a
fraction of the use it would a novice to regain your addiction!

What do u mean "after you have started feeling better" ? Do you mean in the week or
two after quitting opiates or do you mean if someone quits heroin and 2 months later
(while still having PAWS) he slips up and does heroin one night that the withdrawals
will go back to the beginning again??

And what do you mean that my brain is hardwired to opiates, is that permanent, and
what is"fraction of use", can one time be enough?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 August 2013, 15:53:01


Quote from: Railgun on 25 August 2013, 06:20:26
I'm in my twenties and have two co-morbid mental illnesses. I take medication for them, which seems
to work-but it makes me VERY tired. So tired that I had to leave my doctorate program because I
could really not stay awake or motivated enough for serious concentration.

Should I try Modafinil? I don't like caffeine because it tends to make me more jittery than focused.

Also, I feel as though marijuana has a stabilizing effect on my disorders. Strangely, with the higher
quality cannabis I get here, I do not notice as much cognitive blunting (burn out) afterwards. Would it
be okay to keep this, or will I inevitably have a major cognitive decline?

Thanx
Rails


 It is impossible to give any advice or orientation without knowing what is the exact
diagnosis of your two mental illnesses and the medications you have been used.
Modafinil is only recommended in narcolepsy, obstructive sleep apnoea/hypopnoea
syndrome and shift work sleep disorder. Technical sheet of modafinil says that
“Caution should be exercised in giving modafinil to patients with a history of
psychiatric disorders including psychosis, depression, mania, major anxiety, agitation,
insomnia or substance abuse”, so it doesn't seem very useful in your case. I think
you'd better ask your doctor and search for the best medication for you.

The most noticeable neurocognitive effect from cannabis is a subtle alteration of short

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time memory (memory used, for example, to remember and learn new data). This
effect depends on cannabis dosage, frequency and individual characteristics (some
people are very susceptible to this even with low doses, other don’t feel it even with
high dosages). It is reversible after a few weeks of complete abstinence. There are no
other “cognitive declines” associated to cannabis use.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 August 2013, 15:55:27


Quote from: bobhope333 on 25 August 2013, 14:01:06
Quote from: DoctorX on 25 August 2013, 13:38:43
 Quote from: sofish89 on 25 August 2013, 00:54:36
  How long does heroin withdrawal last?
  Everywhere i read it says that its over after 5 to 7 days. I quit heroin after 2-3 months of
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  withdrawal isnt going away. I have a very achy back and legs and im constantly getting chills and
  goosebumps, and I have terrible anxiety and depression and the worst part is that I havent slept
  more than 2 or 3 hours a nite since the 1st nite. My body (especially my legs) is very restless at
  night and i feel like i have electricity running thru my body.
  So my question is that will this last much longer or is it almost over? I know each person is
  different but is this normal?

 Tolerance and dependence depend on many personal factors. In general, the idea "5-7 days" for
 heroin abstinence ii right but some people have mild symptoms lasting 48 hours and, in other cases
 as yours last longer. Probably symptoms will progresivelly diminish in following days. It is useful
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feel like it but should force yourself, it really makes a difference, but as I said, if you get into a
stressful situation, the withdrawals can reappear with a vengeance- I believe this is connected with
the fact that you tend to produce too much adrenaline when in withdrawals, which intensifies your bad
feelings- if you are exercising, you are burning up the adrenaline rather than it floating round your
body!
The worst thing you can do after you have started to feel better is to take any opiate as this will take
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day for a rest, BUT REFRAIN, honestly, it is the worst thing to do. All you can do is take each day as it
comes- it will take time! Also remember that once you have shaken it fully, it's as if your brain is hard
wired to opiates- if you resume your habit, it takes a fraction of the use it would a novice to regain
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Hope some of this is some help, the longer you have been using, the more ingrained your use will get,
so get off it earlier than later.




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Very interesting and constructive information, thanks +1!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 August 2013, 15:56:19


Quote from: flashlight5 on 25 August 2013, 16:36:44
in a post you wrote that ketamin in our opinion is addictive.

what are your parameters you use to judge if a substance is addictive?

can you please categorize a few substances and explain why you think they are addictive or not.


In the strict sense and technically, “dependence” or “addiction” is defined by the
Diagnostic and Statistical Manual of Mental Disorders (DSM) published by the
American Psychiatric Association:

http://www.uscourts.gov/uscourts/federalcourts/pps/fedprob/2006-09/
accountability_table1.html

The diagnosis implies some internationally accepted criteria: tolerance, dependence
and/or lose of control of the substance use. There are many other definitions for
dependence, but this is the most common.
So, addiction potential of substances is not a question of personal opinion, but on data
based on neurochemistry, animal models and, over all, studies on population. Some
substances as heroin, cocaine, alcohol, tobacco or ketamine have higher potential of
addiction than others as MDMA or LSD. (View Table 3 of following link)
http://www.sciencedirect.com/science/article/pii/S0140673607604644
In the concrete case of ketamine, there are enough scientific data to consider that
dependence is one of the possible harms associated to its use. This does not mean
that it is an unavoidable consequence of every pattern of use, but it is a risk to
consider.

http://www.ncbi.nlm.nih.gov/pubmed/12075653
http://www.ncbi.nlm.nih.gov/pubmed/11476262
http://www.ncbi.nlm.nih.gov/pubmed/20214100
http://www.ncbi.nlm.nih.gov/pubmed/12762561
http://www.ncbi.nlm.nih.gov/pubmed/23444938
http://www.ncbi.nlm.nih.gov/pubmed/16869851
http://www.ncbi.nlm.nih.gov/pubmed/10402883
http://www.ncbi.nlm.nih.gov/pubmed/8166324
http://www.ncbi.nlm.nih.gov/pubmed/3247410
http://www.ncbi.nlm.nih.gov/pubmed/23882190

The case of other recreative drugs, as MDMA or LSD (and psychedelics in general) is
opposite. Treatment presentations for dependence involving MDMA or LSD as a
principal problem drug are rare. They have a low potential for dependence, although
they can have other different risks.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: boogiesteve on 27 August 2013, 01:41:53

      Hi DoctorX,

      Thanks for giving us this information. It's extremely valuable. I have one
      question:

      My friends and I are planning to take LSD. Most of the group has done it before
      but myself and my friend a first timers. I take no medication at all and am a fit
      and healthy person. My best friend is taking 120mg per day of cymbalta for
      major depressive disorder and general anxiety disorder. He has smoked a lot of
      marijuana lately and doesn't have any problems but is a little concerned about
      potential side effects LSD might have when combined with cymbalta. What would
      be your advice?

      Thanks.

      Boogiesteve.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: kuddo on 27 August 2013, 09:28:49

      Hi DoctorX
      Really appreciating the time you spend on this forum. Thank you!

      A friend of mine has had some complications for 4 days now after comsuming
      MDMA. During the night he did not feel any unusual negative effects, they began
      the day after and include vomiting every day, almost constant nausea and an
      upset stomach.

      It was almost 1½ years since his last encounter with MDMA, so he's not a heavy
      user at all. In total he consumed 300-350 mg (but he's quite big (~100 kg) oral
      and nasal. Also he drank quite a lot of water/juice. He fell asleep OK. Also worth
      noting is that he's used MDMA a number of times before and never had these
      kind of quite severe complications.

      His problems are less troubling now after 4 days. But the nausea is still there to
      some extent. He also says that his sensitivity to alcohol has increased the last
      years. He gets much more hung over than before.

      I on the other hand consumed the same MDMA and had no such problems, or
      other, at all. Neither of us did take more than usual. For me it was a very smooth
      experience, both during the night and the days after. Further we did not feel it
      was a stronger experience than usual, or being more warm.



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      Can it be his liver/kidneys? Other causes for this?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bobhope333 on 27 August 2013, 10:05:08


Quote from: sofish89 on 26 August 2013, 04:20:55
Quote from: bobhope333 on 25 August 2013, 14:01:06

 The worst thing you can do after you have started to feel better is to take any opiate as this will
 take you right back to the beginning again, it can be very tempting to just alleviate the withdrawals
 for a day for a rest, BUT REFRAIN, honestly, it is the worst thing to do. Also remember that once
 you have shaken it fully, it's as if your brain is hard wired to opiates- if you resume your habit, it
 takes a fraction of the use it would a novice to regain your addiction!

What do u mean "after you have started feeling better" ? Do you mean in the week or two after
quitting opiates or do you mean if someone quits heroin and 2 months later (while still having PAWS)
he slips up and does heroin one night that the withdrawals will go back to the beginning again??

And what do you mean that my brain is hardwired to opiates, is that permanent, and what is"fraction
of use", can one time be enough?
No, it wasn't very clear, what I meant was, say you are addicted, you stop to do a
detox, you get 5 days in, at this point you are over the hump, you don't feel quite as
bad, but you decide to do a little heroin as a "little-pick-me-up", this is the worst you
can do, as your withdrawals will go back to the beginning again, albeit, not as
intensely, but all the 5 days you spent getting better will have been wasted. Even
after a couple of weeks, it will interfere with your recovery, you won't go back to
withdrawing, but the aches in your legs will intensify and the lethargy will most likely
worsen for a few days.
As for the hard-wiring, it is certainly long-term as in years, probably permanent,
though I believe some drugs can reverse this- such as dmt. I think the jury is out for
being able to say that definitively- it needs more research. When I say "fraction of
use", I mean fraction of the use that it took you to get addicted to it in the first place,
ie, One can generally take heroin for a week or more without getting properly addicted
(though if you used for over a week, you could certainly expect to suffer some
discomfort after use is stopped!). After you have had years of addiction, and you have
fully detoxed, your brain is "hard-wired" and it will only take a few days of use to get
your addiction back, ie, if you then stop after the couple of days use, you will get all
the cravings back and your body will feel like shit!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: peps on 27 August 2013, 14:09:02

      Hello DoctorX and everyone.

      I am new to this forum, to SR and to drugs in general. I am thinking of trying
      some LSD and 2C-b. But from what I've read, psychedelics are strictly forbidden

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      for people who have circulatory system conditions. I have a vegeto-vascular
      dystonia, and I afraid that 2C-b will only make it worse. Please, explain this to
      me.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 August 2013, 15:19:47


Quote from: Andromeda on 26 August 2013, 02:23:11
LSD, DMT, and Psylocibin.

How damaging are they to the human brain, and what citations can you give to support your
argument?

Thank you.


LSD, DMT and psilocybin are not neurotoxic. So, from a organic point of view, they are
safe and not toxic physically to human brain cells at any dosage. There is no need to
add citations to this. In science, demonstration must always be positive. If anyone
stated that any of these three substances are neurotoxic, he should demonstrate the
scientific studies to prove his argument. LSD, DMT, and psilocybin have been widely
studied from more than 60 years in animal models, neuroimaging and neurochemical
studies without evidence of neurotoxicity.
A different question is mental health issues. In general, psychedelics don’t produce
mental health problems in general population
http://www.ncbi.nlm.nih.gov/pubmed/23976938
but can trigger mental health symptoms or problems over all in susceptible, pre-
morbid psychopatological personalities. The occurrence of long-term problems is
uncommon but possible.
http://www.ncbi.nlm.nih.gov/pubmed/19040555
http://www.ncbi.nlm.nih.gov/pubmed/9875725
http://www.ncbi.nlm.nih.gov/pubmed/17207120
Even more rare (anecdotic) are other disorders as Hallucinogen Persisting Perceptual
Disorder (HPPD)
http://www.ncbi.nlm.nih.gov/pubmed/12609692
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 August 2013, 15:20:52


Quote from: sofish89 on 26 August 2013, 04:20:55
Quote from: bobhope333 on 25 August 2013, 14:01:06

 The worst thing you can do after you have started to feel better is to take any opiate as this will
 take you right back to the beginning again, it can be very tempting to just alleviate the withdrawals
 for a day for a rest, BUT REFRAIN, honestly, it is the worst thing to do. Also remember that once


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 you have shaken it fully, it's as if your brain is hard wired to opiates- if you resume your habit, it
 takes a fraction of the use it would a novice to regain your addiction!

What do u mean "after you have started feeling better" ? Do you mean in the week or two after
quitting opiates or do you mean if someone quits heroin and 2 months later (while still having PAWS)
he slips up and does heroin one night that the withdrawals will go back to the beginning again??

And what do you mean that my brain is hardwired to opiates, is that permanent, and what is"fraction
of use", can one time be enough?


In general, people who have suffered a dependence problem are prone to relapse. The
process of desintoxication/detoxification implies deactivating neuronal circuits
overactivated by the use of the substance. Time necessary to recover depends on
personal-psychological factors, type of substance, dosage, route of administration…If
someone quits heroin and 2 months later slips up, the probabilities of problems are
much higher than if you had never used opiates. It does not mean that you will fall
immediately but risks are higher.
Think about tobacco as an easier example. Most people dependent of tobacco can’t
use it occasionally again once they have quitted. There are exceptions to this rule but,
in general, the example is valid for opiates.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cyanspore on 28 August 2013, 00:08:17

      I like you. i like you very much. Thank you for being accurate


Quote from: DoctorX on 27 August 2013, 15:19:47
Quote from: Andromeda on 26 August 2013, 02:23:11
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but can trigger mental health symptoms or problems over all in susceptible, pre-morbid
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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: aciddeath on 28 August 2013, 02:18:04

      I have heard the opiates slow down peristalses..
      From a brain/body standpoint, what exactly is happening to the systems of the
      body during daily opiate use?
      Are there ways to be healthier when using opioid pain medications?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 August 2013, 15:35:26


Quote from: boogiesteve on 27 August 2013, 01:41:53
Hi DoctorX,

Thanks for giving us this information. It's extremely valuable. I have one question:

My friends and I are planning to take LSD. Most of the group has done it before but myself and my
friend a first timers. I take no medication at all and am a fit and healthy person. My best friend is
taking 120mg per day of cymbalta for major depressive disorder and general anxiety disorder. He has
smoked a lot of marijuana lately and doesn't have any problems but is a little concerned about
potential side effects LSD might have when combined with cymbalta. What would be your advice?

Thanks.

Boogiesteve.


There are no clinical data about combination between LSD and duloxetine. Anecdotic
reports from users suggest that duloxetine diminish psychedelic effects from LSD.
That is congruent with pharmacokinetic studies of serotonin reuptake inhibitors and
psychedelics, so is reasonable to think that duloxetine can reduce LSD effects.

In this kind of situations (people under psychotropic prescription drugs using
psychedelics) it is important to consider not only the pharmacological interaction, but
also the possible impact on the undelyinig disorder. A major depressive disorder and
general anxiety disorder could be a reason enough to warn against LSD use, at least
during pharmacological treatment. Effects of psychedelics are somehow more
unpredictable than other drugs, but in people with mental health problems the
possibilities of negative experiences are higher.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 August 2013, 15:36:51


Quote from: peps on 27 August 2013, 14:09:02
Hello DoctorX and everyone.



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I am new to this forum, to SR and to drugs in general. I am thinking of trying some LSD and 2C-b.
But from what I've read, psychedelics are strictly forbidden for people who have circulatory system
conditions. I have a vegeto-vascular dystonia, and I afraid that 2C-b will only make it worse. Please,
explain this to me.


“Vegetative-vascular dystonia” is a very uncommon diagnosis in Werstern European
and EE.UU. medicine. It is a mixture of several autonomic dysfunctions, like
orthostatic hypotension or postural orthostatic tachycardia syndrome ( changes in
blood pressure standing up and down). Symptoms can be very uncomfortable, but in
general don´t mean severe risks or organic damage (unless they have faints or falls
as a consequence).

Cardiovascular effects of LSD are, in general, moderate. Changes in blood pressure
and heart rate are more related with emotional responses to psychological LSD effects
than a direct effect of the substance. It is possible that negative effects of LSD have
more impact on a person diagnosed of vegetative-vascular dystonia. If symptoms
appear it is important to remain lied down to avoid falls. Cardiovascular effects of 2C-
B are not studied. On the one hand is a problem in order to estimate risks, on the
other hand psychological effects of 2C-B at low-medium dosages (5-15 mg) are, in
general, more easy to handle with than LSD.

If you are "new to drugs" it is very important that you search for reliable information
about the substances you are planning to take. Erowid is a great point to start:
http://www.erowid.org/chemicals/lsd/lsd.shtml
http://www.erowid.org/chemicals/2cb/2cb.shtml


Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 August 2013, 15:44:30


Quote from: aciddeath on 28 August 2013, 02:18:04
I have heard the opiates slow down peristalses..
From a brain/body standpoint, what exactly is happening to the systems of the body during daily
opiate use?
Are there ways to be healthier when using opioid pain medications?


Opiates interact with different systems of the body. The effects depend on the opiate
used, route of administration, pattern of use. Opiates act in different receptors all over
the body. In brain, they act on neuronal circuits that regulate pleasurable conducts,
and also in receptors modulating pain. With daily use, there are modifications in these
cerebral circuits that are responsible of developing problems as pharmacological
tolerance (need to increase dosages in time to obtain the same effects) and
dependence/addiction

General organic effect include:



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-        Slow breathing
-        Decreased heart rate
-        Depressed appetite and thirst
-        Diminished sexual desire
-        Increased nausea and vomits
-        Itching skin
-        Constipation

The healthiest way to use opioid pain medications is only using them for pain and
when there are medical reasons. Risks of dependence and adverse effects are always
there. Some adverse effects can be managed with medication. Although tolerance to
nausea develops in 5-7 days, there are drugs that can be used in this period
(haloperidol, ondansetron…). These drugs have their own adverse effects, so they
should only be used in clinical settings and with medical advice. Antihistaminics can be
useful to control itching and some laxatives (lactulose, polyethilenglycole…) can be
used in case of constipation.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: peps on 28 August 2013, 20:40:09


Quote from: DoctorX on 28 August 2013, 15:36:51
“Vegetative-vascular dystonia” is a very uncommon diagnosis in Werstern European and EE.UU.
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Cardiovascular effects of 2C-B are not studied. On the one hand is a problem in order to estimate
risks, on the other hand psychological effects of 2C-B at low-medium dosages (5-15 mg) are, in
general, more easy to handle with than LSD.
Thanks. Though I heard that it's quite notable and important fact about psychs (esp
2c-b) and cardiovascular conditions. Quoting two separate people (one of which tried
the substance, the other one heard and read about it a lot) "In general, those who
have circulatory and/or psychic conditions should avoid using psychedelics at all,
nevertheless, best bet will be 2c-b and only sublingually" (I thought that he meant not
snorting it, which surely feels much more impactful). And other one told me about 2c-
b that "People with VVD should think twice before even trying this drug. Because it
can reach for your VVD and amplify it, especially if you do 2c-berian therapy often
enough."
They didn't tell me anything about LSD I didn't read earlier somewhere.
And thank you for your concern, I am quite well informed about trips, dosages, sitters
and on how to avoid bad trips without strong medications.
Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: Bluto on 28 August 2013, 22:41:32

      Learning and Cocaine.

      Doctor -in the news today:
      Clearnet: http://www.huffingtonpost.com/2013/08/26/cocaine-decision-
      making_n_3818400.html


Quote

Cocaine Rewires Brain, Overrides Decision-Making After Just One Use, Says Study
Posted: 08/26/2013 6:10 pm EDT | Updated: 08/27/2013 12:41 pm EDT

A new study at UC San Francisco's Ernest Gallo Clinic and Research Center has revealed that cocaine
may rewire the brain and drastically affect decision-making after just one use.

While similar studies have revealed such rewiring in long-term use, the new study's results are
especially alarming, showing that the brain can be altered after one dose.

Using live mice, researchers from both UC San Francisco and UC Berkeley studied the frontal lobe --
the area of the brain that handles decision-making and memory -- when cocaine was introduced to
the body. After one dose, researchers found substantial growth of new dendritic spines, which are
"tiny, twig-like structures that connect neurons and form the nodes of the brain’s circuit wiring."

According to researchers, these new spines rewired the brain to seek cocaine, explaining why the
search for the drug might override other priorities in human users.

"We've long known that when you become a repeated drug user, the search for more drugs tends to
dominate your attention and decision-making," Linda Wilbrecht, an assistant professor of psychology
and neuroscience at UC Berkeley and the lead author of the study, explained to The Huffington Post.
"But it's quite shocking that these neurological changes happened after just one use."

A series of brain scans exhibited how the spines changed over several days after exposure to cocaine:
(relevant pictures in article)
Quote
The changes were evident not just in the mice's brain scans, but in the animals' behavior.

Before exposure to cocaine, the mice explored two chambers, differentiated by scent and design, and
selected a preference. They were then given cocaine and placed in the chamber they did not prefer.
Once put back in the chambers without the drug, the mice overwhelmingly selected the chamber they
did not prefer, presumably seeking more cocaine.

“The ones that developed the biggest change in preference for the cocaine side were also the ones
that grew the most spines,” Wilbrecht told the LA Times.

"We have limited real estate in the brain, and this shows how drugs dominate what its users think
about," she told HuffPost. "Drug exposure fuels drug use, potentially at the expense of other
priorities."

However, Wilbrecht explained, because our brains regularly grow and lose new spines, she is hopeful.

"The frontal cortex regulates decision-making and, as we grow up, we make decisions in an
increasingly habitual manner," she said. "But the brain can rewire, and it is rewired by lots of
experiences. So even though it was so much more rewired by the exposure to cocaine than it usually

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is, it can return to normal. I see this as evidence that recovery is possible."


I've had a very positive learning experience with cocaine as an undergraduate.
Basically, I was failing an organic chemistry class and needed an A on the final in
order to pass the course. I had to memorize a ton of crap and I thought it was
impossible.
One benefit I had was that all the test material was derived from homework and
previous test material. I had the answers to all of these but still would have to
memorize an inordinate amount of material to pass.

A few days prior to the test I got a little cocaine and resisted the urge to "party" (ie
get very high) with it. I started creating a huge list of flash cards for the relevant
nomenclature and worked on a Leitner system of 4 boxes. I would go through the list
of cards and as I memorized every third card (in the last box) -I would 'bump' with
cocaine.

Memorizing the actual chemical reactions were a bit different. I ended up rote
memorizing the steps presented in the homework solution outline; again bumping with
cocaine only when I was able to repeat the steps.

In the end I passed the class. I don't remember any of the material long term. I've
never (quite frankly) had to know anything about organic chemistry in my professional
life so there is a lack of context.

I'm not looking for validation. Illegal cocaine has many adulterants and funds too
many narco-terrorists for validation. (Of course both of these issues would go away if
it was legal.) Cocaine affects everyone differently and some people -I feel; just can't
handle their drugs.

So what is my question... do you think that this is a placebo effect or do you think that
one can cram like this. I don't deny that I really didn't keep the knowledge from the
class and that it was temporary at best. I have to (once again) study for a test and
I'm looking for something to help me. This new test is more contextual than that one
and perhaps the subject matter is more boring. I've read things about low doses of 2C-
D although I've never tried it. What are your thoughts on drug aided learning?


Title: Re: It's not Lupus
Post by: Sooperknot on 29 August 2013, 12:02:05

      This question is directed at both Doctor X, and also at all DMT users reading the
      thread.

      For the past three months the woman described below has continued to
      experience a range of psychotic delusions, often of a paranoid nature. The
      psychiatric symptoms are not present constantly -- on some days she seems
      positive and perfectly normal, while other days I feel like she ought to be


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      physically restrained to prevent harming herself and others; though I lack the
      medical authority to do so.

      The patient continues to firmly believe that her one and only DMT experience,
      three-and-a-half months ago, was THE cause of all her psychological problems,
      and not merely one element in a complex of interacting psychological factors.

      Of particular concern is a recent claim she made:


Quote from: patient
I have been doing a lot of research and it seems that it is common knowledge among DMT users that
you should NOT be sitting on a chair as we were, and that you should not attempt to talk to someone
who is tripping, which both you and [another person present during her trip] did. Apparently, both are
very dangerous.


I am not exactly naive about DMT, but I have NEVER heard of these items of "common
knowledge" among users. If you're NOT supposed to do DMT while sitting on a chair,
what IS the appropriate posture, and why? I could certainly see that some DMT users
may not want to be spoken to during their trips; and if that's the case, they could
make their wishes known. However I'm not aware that this is some kind of universal
law. Has ANYBODY heard of something like these universal rules of doing DMT?


Quote from: DoctorX on 14 June 2013, 18:57:46
Quote from: Sooperknot on 11 June 2013, 15:41:27
 A mid-forties female has been suffering recurrent anxiety episodes that lead to respiratory distress
 with hyperventilation syndrome. Following a particularly serious attack of this type, a medical
 screening and detailed exam showed "no evidence of any type of acute emergency process at this
 time." BP at the time was mildly elevated -- enough to suggest ongoing treatment for hypertension.

 The patient's subjective experience of the recent, particularly serious attack includes the following:
 - A multitude of voices shouting in her head, mixed with an overwhelming clamour of noise in
 general
 - "I felt like I was dying"
 - Extreme confusion about her physical location. At different times during the episode, she clearly
 stated her location as two different places that are separated by 100 miles or more.

 The patient has a history of "seizures" that have been recurring infrequently for more than 20
 years. Information about the exact nature of these episodes is sparse, but some of the incidents did
 lead to ER visits and medical exams. At no time did any medical exams produce a diagnosis of any
 organic process causing these "seizures," and they have always been attributed to general anxiety.
  For much of this historical period she has been a very heavy smoker of cannabis. Light drinker, 1/4
 pack per day cigarette smoker, no other drugs of abuse.

 Physically the patient is very slender. Her measured body temperature tends to be lower than
 normal, yet her skin feels warm to the touch -- warmer than an average person. She states that
 she has had "thyroid problems"in the past but we have no specific information about those.

 Two weeks prior to the most recent spate of anxiety attacks, the patient used DMT for the first
 time. This was her first genuine psychedelic experience of any kind. In the immediate aftermath of
 the trip she reported the usual feelings of wonder, awe, and amazement, expressing a desire to do


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 it again as soon as possible and try a higher dose to achieve "breakthrough."

 However in the two week period that followed, this already slender woman lost 10 lbs, became
 increasingly anxious and irritable, and finally began having the acute anxiety attacks that
 culminated in something resembling a psychotic break.

 The patient believes that the DMT trip caused, or at least precipitated, her psychiatric symptoms.

 Any thoughts?

It is important to consider that it is not possible to give concrete diagnosis based on Internet
information, although you have explained very well and detailed the situation. There is only one thing
that sounds strange in the story. The fact that " a multitude of voices shouting in her head, mixed
with an overwhelming clamour of noise in general" does not coincide with panic attacks. There are
some rare diseases (like temporal epilepsy) that can curse with symptoms like that. I´m not stating
that is the cause of the problem, I´m only pointing one possibility and the idea that, in general,
auditive alucinations are not typical of panic or anxiety.

Of course DMT can trigger a psychotic problem. It is an uncommon situation but, in my experience
this can happen more frequently with DMT than other drugs. In general, these episodies occur in pre-
morbid, predisposed personalities. The symptoms you describe could indicate this (once more, it is
only a possibility, I can´t be 100% sure). Anyway, if she is experiencing psychotic symptoms I think
she should search for professional help. DMT psychosis usually have an excelent response to
antipsychotics and 2-3 months are enough for most patients. It is important also to avoid DMT and
psychedelics in general.

Title: Re: It's not Lupus
Post by: flashlight5 on 29 August 2013, 20:21:47


Quote from: Sooperknot on 29 August 2013, 12:02:05

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their trips; and if that's the case, they could make their wishes known. However I'm not aware that
this is some kind of universal law. Has ANYBODY heard of something like these universal rules of
doing DMT?
[/quote]

well, unfortunately the prohibition of drugs is more efficent in avoiding good
information to get to users than the drugs themselfs.

I think this is fairly common sense, if somebody is beamed away as he will be on DMT
for 10 min, let him take his trip. also, if sitting on a chair and doing a strong dose of
DMT, you are likely to fall off. A sofa will be perfect. I wouldn't lie down, as this might
cause trouble breathing.

Do some more reading on the subject. also, there is a docu on detroid from drugs inc
(motor city rush or something). there you can see two guys actually smoking DMT and
talking about it. just seing that will let you understand why you don't want to talk to
them during the trip. Or even just after coming down. also many videos of people


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talking about using DMT can be found on YT.

doc might supply some rules to you, but there is good info out there too.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: boogiesteve on 30 August 2013, 03:34:09

      Thanks so much for your detailed reply. We appreciate it.

      Thanks again.

      Boogiesteve.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 August 2013, 11:29:30


Quote from: kuddo on 27 August 2013, 09:28:49
Hi DoctorX
Really appreciating the time you spend on this forum. Thank you!

A friend of mine has had some complications for 4 days now after comsuming MDMA. During the night
he did not feel any unusual negative effects, they began the day after and include vomiting every day,
almost constant nausea and an upset stomach.

It was almost 1½ years since his last encounter with MDMA, so he's not a heavy user at all. In total
he consumed 300-350 mg (but he's quite big (~100 kg) oral and nasal. Also he drank quite a lot of
water/juice. He fell asleep OK. Also worth noting is that he's used MDMA a number of times before
and never had these kind of quite severe complications.

His problems are less troubling now after 4 days. But the nausea is still there to some extent. He also
says that his sensitivity to alcohol has increased the last years. He gets much more hung over than
before.

I on the other hand consumed the same MDMA and had no such problems, or other, at all. Neither of
us did take more than usual. For me it was a very smooth experience, both during the night and the
days after. Further we did not feel it was a stronger experience than usual, or being more warm.

Can it be his liver/kidneys? Other causes for this?


I´m sorry I missed to answer your question…I reviewed and I should have done
yesterday…sorry •
Intranasal use of MDMA facilitates apparition of adverse and toxic effects. If nausea/
vomiting is the only symptom, ha can take some liquids and there are no other alarm
signs (strong abdominal pain, neurologic symptoms, fever, change of skin or eyes
colour…), it is probable that symptoms will disappear in following days. A toxic effect
on liver is possible, although tipically this happens 1-2 weeks after MDMA and it is
very uncommon. Intranasal way also facilitates neurotoxicity and should be avoided. If
symptoms don´t improve or appear some different, you should seek for medical


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advice.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 August 2013, 11:31:37


Quote from: Bluto on 28 August 2013, 22:41:32
Learning and Cocaine.

Doctor -in the news today:
Clearnet: http://www.huffingtonpost.com/2013/08/26/cocaine-decision-making_n_3818400.html

Quote

 Cocaine Rewires Brain, Overrides Decision-Making After Just One Use, Says Study
 Posted: 08/26/2013 6:10 pm EDT | Updated: 08/27/2013 12:41 pm EDT

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 especially alarming, showing that the brain can be altered after one dose.

 Using live mice, researchers from both UC San Francisco and UC Berkeley studied the frontal lobe --
 the area of the brain that handles decision-making and memory -- when cocaine was introduced to
 the body. After one dose, researchers found substantial growth of new dendritic spines, which are
 "tiny, twig-like structures that connect neurons and form the nodes of the brain’s circuit wiring."

 According to researchers, these new spines rewired the brain to seek cocaine, explaining why the
 search for the drug might override other priorities in human users.

 "We've long known that when you become a repeated drug user, the search for more drugs tends to
 dominate your attention and decision-making," Linda Wilbrecht, an assistant professor of psychology
 and neuroscience at UC Berkeley and the lead author of the study, explained to The Huffington Post.
 "But it's quite shocking that these neurological changes happened after just one use."

 A series of brain scans exhibited how the spines changed over several days after exposure to
 cocaine:
(relevant pictures in article)
Quote
 The changes were evident not just in the mice's brain scans, but in the animals' behavior.

 Before exposure to cocaine, the mice explored two chambers, differentiated by scent and design,
 and selected a preference. They were then given cocaine and placed in the chamber they did not
 prefer. Once put back in the chambers without the drug, the mice overwhelmingly selected the
 chamber they did not prefer, presumably seeking more cocaine.

 “The ones that developed the biggest change in preference for the cocaine side were also the ones
 that grew the most spines,” Wilbrecht told the LA Times.

 "We have limited real estate in the brain, and this shows how drugs dominate what its users think
 about," she told HuffPost. "Drug exposure fuels drug use, potentially at the expense of other
 priorities."

 However, Wilbrecht explained, because our brains regularly grow and lose new spines, she is
 hopeful.


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 "The frontal cortex regulates decision-making and, as we grow up, we make decisions in an
 increasingly habitual manner," she said. "But the brain can rewire, and it is rewired by lots of
 experiences. So even though it was so much more rewired by the exposure to cocaine than it
 usually is, it can return to normal. I see this as evidence that recovery is possible."

I've had a very positive learning experience with cocaine as an undergraduate. Basically, I was failing
an organic chemistry class and needed an A on the final in order to pass the course. I had to
memorize a ton of crap and I thought it was impossible.
One benefit I had was that all the test material was derived from homework and previous test
material. I had the answers to all of these but still would have to memorize an inordinate amount of
material to pass.

A few days prior to the test I got a little cocaine and resisted the urge to "party" (ie get very high)
with it. I started creating a huge list of flash cards for the relevant nomenclature and worked on a
Leitner system of 4 boxes. I would go through the list of cards and as I memorized every third card
(in the last box) -I would 'bump' with cocaine.

Memorizing the actual chemical reactions were a bit different. I ended up rote memorizing the steps
presented in the homework solution outline; again bumping with cocaine only when I was able to
repeat the steps.

In the end I passed the class. I don't remember any of the material long term. I've never (quite
frankly) had to know anything about organic chemistry in my professional life so there is a lack of
context.

I'm not looking for validation. Illegal cocaine has many adulterants and funds too many narco-
terrorists for validation. (Of course both of these issues would go away if it was legal.) Cocaine affects
everyone differently and some people -I feel; just can't handle their drugs.

So what is my question... do you think that this is a placebo effect or do you think that one can cram
like this. I don't deny that I really didn't keep the knowledge from the class and that it was temporary
at best. I have to (once again) study for a test and I'm looking for something to help me. This new
test is more contextual than that one and perhaps the subject matter is more boring. I've read things
about low doses of 2C-D although I've never tried it. What are your thoughts on drug aided learning?


There are not many neuropharmacological studies to evaluate cocaine as a congnitive
enhancer. Studies on memory are little and give no clues about its efficacy or not.
Even in the case of efficacy, you should consider negative effects of cocaine: anxiety,
restlessness, irritability, impulsivity…that can play a role in your performance.

There are some studies on amphetamines for this purpose, although, in general,
studies are designed with patients with neurological diseases (ADHD, Parkinson,
Alzheimer…) and they may not representative of effect on young, healthy people. They
are done in laboratory conditions, and its repercussion in real life conditions can be
relative. One of the best designed studies on this issue is this:
http://www.ncbi.nlm.nih.gov/pubmed/22884611
Results show that mixed amphetamine salts have no more than small effect on
healthy cognition, although the drug is subjectively viewed as cognitively beneficial.
A recent complete review of cognitive enhancers shows that, in healthy people, mental
training seems far more effective than drugs to improve memory.
http://www.sciencedirect.com/science/journal/00283908/64
Title: Re: It's not Lupus

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Post by: DoctorX on 30 August 2013, 11:32:24


Quote from: Sooperknot on 29 August 2013, 12:02:05
This question is directed at both Doctor X, and also at all DMT users reading the thread.

For the past three months the woman described below has continued to experience a range of
psychotic delusions, often of a paranoid nature. The psychiatric symptoms are not present constantly
-- on some days she seems positive and perfectly normal, while other days I feel like she ought to be
physically restrained to prevent harming herself and others; though I lack the medical authority to do
so.

The patient continues to firmly believe that her one and only DMT experience, three-and-a-half
months ago, was THE cause of all her psychological problems, and not merely one element in a
complex of interacting psychological factors.

Of particular concern is a recent claim she made:

Quote from: patient
 I have been doing a lot of research and it seems that it is common knowledge among DMT users
 that you should NOT be sitting on a chair as we were, and that you should not attempt to talk to
 someone who is tripping, which both you and [another person present during her trip] did.
 Apparently, both are very dangerous.

I am not exactly naive about DMT, but I have NEVER heard of these items of "common knowledge"
among users. If you're NOT supposed to do DMT while sitting on a chair, what IS the appropriate
posture, and why? I could certainly see that some DMT users may not want to be spoken to during
their trips; and if that's the case, they could make their wishes known. However I'm not aware that
this is some kind of universal law. Has ANYBODY heard of something like these universal rules of
doing DMT?


Quote from: DoctorX on 14 June 2013, 18:57:46
 Quote from: Sooperknot on 11 June 2013, 15:41:27
  A mid-forties female has been suffering recurrent anxiety episodes that lead to respiratory distress
  with hyperventilation syndrome. Following a particularly serious attack of this type, a medical
  screening and detailed exam showed "no evidence of any type of acute emergency process at this
  time." BP at the time was mildly elevated -- enough to suggest ongoing treatment for
  hypertension.

  The patient's subjective experience of the recent, particularly serious attack includes the following:
  - A multitude of voices shouting in her head, mixed with an overwhelming clamour of noise in
  general
  - "I felt like I was dying"
  - Extreme confusion about her physical location. At different times during the episode, she clearly
  stated her location as two different places that are separated by 100 miles or more.

  The patient has a history of "seizures" that have been recurring infrequently for more than 20
  years. Information about the exact nature of these episodes is sparse, but some of the incidents
  did lead to ER visits and medical exams. At no time did any medical exams produce a diagnosis of
  any organic process causing these "seizures," and they have always been attributed to general
  anxiety. For much of this historical period she has been a very heavy smoker of cannabis. Light
  drinker, 1/4 pack per day cigarette smoker, no other drugs of abuse.



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  Physically the patient is very slender. Her measured body temperature tends to be lower than
  normal, yet her skin feels warm to the touch -- warmer than an average person. She states that
  she has had "thyroid problems"in the past but we have no specific information about those.

  Two weeks prior to the most recent spate of anxiety attacks, the patient used DMT for the first
  time. This was her first genuine psychedelic experience of any kind. In the immediate aftermath
  of the trip she reported the usual feelings of wonder, awe, and amazement, expressing a desire to
  do it again as soon as possible and try a higher dose to achieve "breakthrough."

  However in the two week period that followed, this already slender woman lost 10 lbs, became
  increasingly anxious and irritable, and finally began having the acute anxiety attacks that
  culminated in something resembling a psychotic break.

  The patient believes that the DMT trip caused, or at least precipitated, her psychiatric symptoms.

  Any thoughts?

 It is important to consider that it is not possible to give concrete diagnosis based on Internet
 information, although you have explained very well and detailed the situation. There is only one
 thing that sounds strange in the story. The fact that " a multitude of voices shouting in her head,
 mixed with an overwhelming clamour of noise in general" does not coincide with panic attacks.
 There are some rare diseases (like temporal epilepsy) that can curse with symptoms like that. I´m
 not stating that is the cause of the problem, I´m only pointing one possibility and the idea that, in
 general, auditive alucinations are not typical of panic or anxiety.

 Of course DMT can trigger a psychotic problem. It is an uncommon situation but, in my experience
 this can happen more frequently with DMT than other drugs. In general, these episodies occur in
 pre-morbid, predisposed personalities. The symptoms you describe could indicate this (once more, it
 is only a possibility, I can´t be 100% sure). Anyway, if she is experiencing psychotic symptoms I
 think she should search for professional help. DMT psychosis usually have an excelent response to
 antipsychotics and 2-3 months are enough for most patients. It is important also to avoid DMT and
 psychedelics in general.


Discussions about causes of mental health problems and the role of psychedelics are
theoretical. In a practical case, it is not really important if she believes that her
problem has been “caused”, “trigged” or “exaggerated” by DMT use. The thing is, as
you say, that a person is suffering from periodic symptomps that seems psychotic in
their nature (disorientation, voices shouting in head, anxiety…).n this case a real face
to face medical evaluation is important for obvious reasons. Some rare epilepsies look
similar to this women's symptoms. maybe is the consequence of DMT use or maybe
not, but it would be important to clarify the diagnosis and use a specific treatment in
order to reduce her symptoms and avoid problems (for her and for other people).
Some psychotropic drugs, used for weeks or maybe months, are extremely effective
for this problems. We don´t know what is the role of DMT in this case, but, as a
preventive measure, she should avoid using psychedelics.
There is no logical reason not to stay sitting down while using DMT. In fact, to sit
down or to lie down are the best way to avoid falls or accidents in a modified state of
consciousness. The closer one's head is to the ground the better since falls are a
common risk factor for most drugs. On psychedelics, some people prefer to
concentrate in their inner world and avoid communication. For other people is
different. But there is no “sacred rule” that prohibits oral communication and this
should not trigger any psychotic problem.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Janusdidgeridoo on 30 August 2013, 16:38:44

      Hi Doc! Thanks for helping all of us - you are making the world a safer place!

      Concerning the two phenethylamines 2C-T-2 and 2C-T-7, can you tell me more
      about neurotoxicity? I know research is scarce, but if you know about any
      experiments done or can make a somewhat safe logical judgement that would be
      great!

      You rock my world

      Janusdidgeridoo



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: hopeful7 on 30 August 2013, 20:39:45

      Hi! Thanks for answering all these questions.

      I asked in another forum, but do you know if fentynal will show up in my drug
      test at the pain clinic? I was tested when I came in to pick up my regular
      medications (morphine). I made sure to take some that morning so they would
      show up, but I was taken by surprise with the U.A., because they usually do that
      during my appointments, NOT when I am just picking up med slips. Anyway,
      YEARS ago, the same thing happened at a different clinic, but I hadn't take any
      of my regular meds and NOTHING showed up (which can also be an issue). This
      gives me hope that maybe they won't catch the fentanyl in my urine analysis?
      Plus, I would think they would have called by now. I don't want to be surprised
      when I go to pick up my med slips on the 12th or when I go to my next
      appointment in October.

      Any thoughts?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Trippinmonkey on 31 August 2013, 08:18:52

      http://dkn255hz262ypmii.onion/index.php?topic=208921.0

      Not sure if it adds anything... but almost everything can be mixed.. yes even
      alcohol benzo's ketamine and ghb.

      But, it's dangerous.

      You can be on a lot of meds, which would suck because drugs dont work like their


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      should anymore, you need more, you spend more, you'll lose more.

      But being really anxious is also bad.
      Not sure if this is alright.. but try to relax.. combinations can be done. Then
      again, some people die from 1-2 drugs alone..



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Trippinmonkey on 31 August 2013, 10:01:37

      Adding this:
      http://dkn255hz262ypmii.onion/index.php?topic=208932.0

      After the mdpv my hearth rate must have been 200+
      After benzo's (75mg oxa) and beer it's lower...

      Now when I do not take benzo's (and 75mg is a lot, and sometimes I need
      10mgs valium + beer to not shake like shit... and I cant shake like shit because I
      need amph as well to calm down a bit).

      This is going terribly wrong and I hope this thread can help a bit...

      I hate taking benzo's... Perhaps not care and take a lot and antipsychotics and
      get a lot of weed for a week.. or what?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Trippinmonkey on 31 August 2013, 10:05:38

      Oh and mxe works, but then I cant walk normally all day. Plus once I was
      convinced that if I washed speed with acetone and then with ethanol + ether and
      burning it it would become pure really fast.
      Ofcourse a lot of speed evaporated and what was left of fucking much grams was
      ash...


      Besides that it was very beatiful seeing all my speed being burned and the whole
      room being a gas chamber I've had no advantage. And all my drugs were and are
      gone (probably decided it kills me and threw it away)...



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: seldom on 31 August 2013, 13:32:27

      OPIOIDS
      I tried poppy pod tea, opium and oxycontin.

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      None of them produced any feelings of comfort or relaxation.
      I only got slight nausea and itching.
      Another guy who took the same drugs said the effects were nice.
      I wonder why they don't work for me. It's a puzzle. (Not that it would be a
      problem, this stuff is too dangerous to play around with anyway.)
      I am also on SSRIs. Could they interfere with opioids?
      Thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 August 2013, 17:44:07


Quote from: Janusdidgeridoo on 30 August 2013, 16:38:44
Hi Doc! Thanks for helping all of us - you are making the world a safer place!

Concerning the two phenethylamines 2C-T-2 and 2C-T-7, can you tell me more about neurotoxicity? I
know research is scarce, but if you know about any experiments done or can make a somewhat safe
logical judgement that would be great!

You rock my world

Janusdidgeridoo


There are no scientific investigation data in humans about 2C-T-2 (2,5-dimethoxy-4-
ethylthiophenethylamine) and 2C-T-7 (2,5-dimethoxy-4-propylthiophenethylamine) .
There are only a few studies about its general metabolism in rats and even data on
animal neurochemistry are scarce. Nevertheless, they are substances with 15-20
years of recreative human experience, even have been sold as “legal party pills”
during the mid-nineties and, with this perspective, the possibility of important Public
Health problems seem limited.
Because of its chemical structure(phenethylamine derivatives substituted with an
alkylthio group) it is theoretically possible that 2C-T-7 and, to a lesser extent, 2C-T-2
could have some monoaminooxidase inhibitor effect, that could facilitate MDMA
toxicity. There are no deaths associated to 2C-T-2 use, but 2C-T-7 seems to be very
toxic if used by insufflation, even at moderate dosages
http://www.ncbi.nlm.nih.gov/pubmed/14607005
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 August 2013, 17:56:52


Quote from: hopeful7 on 30 August 2013, 20:39:45
Hi! Thanks for answering all these questions.

I asked in another forum, but do you know if fentynal will show up in my drug test at the pain clinic? I
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do that during my appointments, NOT when I am just picking up med slips. Anyway, YEARS ago, the
same thing happened at a different clinic, but I hadn't take any of my regular meds and NOTHING
showed up (which can also be an issue). This gives me hope that maybe they won't catch the
fentanyl in my urine analysis? Plus, I would think they would have called by now. I don't want to be
surprised when I go to pick up my med slips on the 12th or when I go to my next appointment in
October.

Any thoughts?


In general, drug test are specific. Each drug (or group of drugs) has their own specific
test to react positive. Although fentanyl is an opiate, the chemical structure is very
different from morphine or heroin, which leads to different methods of metabolism in
the body. So it would be necessary an specific test for fentanyl. These test exist:
http://www.ncbi.nlm.nih.gov/pubmed/21281622
But in general are used for investigation and is not available in most hospitals or
clinics as routine screening drug test.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 August 2013, 18:04:21


Quote from: Trippinmonkey on 31 August 2013, 10:05:38
Oh and mxe works, but then I cant walk normally all day. Plus once I was convinced that if I washed
speed with acetone and then with ethanol + ether and burning it it would become pure really fast.
Ofcourse a lot of speed evaporated and what was left of fucking much grams was ash...


Besides that it was very beatiful seeing all my speed being burned and the whole room being a gas
chamber I've had no advantage. And all my drugs were and are gone (probably decided it kills me and
threw it away)...


I don´t know exactly what kind of question or thought you try to say. In your
messages you communicate disconfort, anxiety, nuissance. In my opinion, drugs
should be used for experimentation, auto-knowledge, fun, exploration of different
states of consciousness...but you seem to be suffering. This should be enough to think
about the role drugs are playing in your life, if you feel good with this and the ways to
change it, alone or with help of other people.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 31 August 2013, 18:16:30


Quote from: seldom on 31 August 2013, 13:32:27
OPIOIDS
I tried poppy pod tea, opium and oxycontin.
None of them produced any feelings of comfort or relaxation.
I only got slight nausea and itching.
Another guy who took the same drugs said the effects were nice.
I wonder why they don't work for me. It's a puzzle. (Not that it would be a problem, this stuff is too
dangerous to play around with anyway.)
I am also on SSRIs. Could they interfere with opioids?


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Thanks.



Anti-drug propaganda has promoted the idea that opiates are so extremely
pleasurable that, with an occasional use, you will get a high much better than the best
of your orgasms multiplied by hundred, so you will become irremediabily addicted for
ever. Of course, opiates have very pleasurable effects (and that is one of the causes of
the high addictive potential), but the effects you say (nausea, itching and
constipation) are also part of the opioid experience. With regular use there is some
tolerance to these effects, and that makes easy to take notice of pleasurable effects.
The problem is that the development of tolerance is associated to a higher risk of
addiction, and, as you say, it is a dangerous game.
There are also individual differences. Some people don´t notice too much these
negative physical effects. Logically, they are more prone to have problems with
opioids.
Use of SSRI should not interfere significantlly with effects, as different cerebral routes
are involved.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chimchu on 01 September 2013, 06:33:06

      I hope im not double posting but i did a quick search and came up with nothing.


      What is the acceptable time frame to inject after prepping a shot of H? I
      sometimes prep a shot and later decide not to take it, leaving it in the fridge for a
      few hours before taking it. I reheat it with worm water under the sink, and it
      seems fine. I have heard people holding onto prepped rigs for several days before
      shooting them.

      What would be Safe? I use sterilized everything and distilled bottled water. I
      know immediately would be "safest" but if one waited how long is to long to wait
      before shooting it?

      Thank ya DOC

      Chim



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: happyhippy on 01 September 2013, 23:34:08

      I hope yawl passing what coin you can this guys way . He / She / They / It
      putting in a lot of effort , that .0003 btc sitting in you account aint going to buy
      you anything but it would show gratitude to someone who seems to care




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mdm4 on 02 September 2013, 00:22:44

      Hi DoctorX, great thing your doing here! ;D

      I have a condition called idiopathic intracranial hypertension, and take
      acetazolamide for it. Do you think there is an increased risk for me taking mdma?
      I have taken it a few times now and been fine.

      Just wondering what you thought, I read something about pressure on the brain
      and somebody dieing after drinking too much, and as I already have a problem
      controlling the pressure in my head got me a little worried! :-\



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 02 September 2013, 06:07:53

      ld 95 in humans pentobarbital oral pill/ how much zopfran?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 September 2013, 08:39:26


Quote from: chimchu on 01 September 2013, 06:33:06
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later decide not to take it, leaving it in the fridge for a few hours before taking it. I reheat it with
worm water under the sink, and it seems fine. I have heard people holding onto prepped rigs for
several days before shooting them.

What would be Safe? I use sterilized everything and distilled bottled water. I know immediately would
be "safest" but if one waited how long is to long to wait before shooting it?

Thank ya DOC

Chim


As you say, the 100% safest is immediate use of steril material. It is difficult to
calculate exactly the risks, but basically it depends on the conditions of conservation.
If syringe, water and needles are sterilized and mixture is kept on the fridge (re-
heating after as you say) probably "a few hours" does not increase risks too much.
Cleanliness of needle is the most important part, so you should use a clean steril new
one for injection. Leaving at air conditions syringes is not so important than needle,
that should always be new. Waiting "several days" will undoubtedly contaminate the
preparation, increasing risk of infectious problems.

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 September 2013, 08:56:23


Quote from: mdm4 on 02 September 2013, 00:22:44
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Just wondering what you thought, I read something about pressure on the brain and somebody dieing
after drinking too much, and as I already have a problem controlling the pressure in my head got me
a little worried! :-\


It is unlikely that ocassional use of moderate MDMA dosages has a negative
repercussion in your disease. MDMA itself does not affect intracraneal pressure. But
this is possible in concrete situations. Hyperthermia is the most feared MDMA
complication and an adequate hydration is recommended while on MDMA. But drinking
too much water can be very dangerous, also. There are described cases of cerebral
oedema in people taking excessive amount of water (more than 5-10 liters) under
MDMA effects. In this case intracraneal pressure increases and consequences would be
even worse in people with previous intracraneal hypertension. So it is enough to drink
"normal" amounts of water (or better, isotonic drinkings) to avoid this problem.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 02 September 2013, 13:09:38

      Two short questions about Ketamin:

      Recent studies suggest that K can help with depressions. What doeses are used i
      taht studies and how are they administered?

      Also, have you heard about people using small doses of K to practise sports? Eg.
      to take different advantage of the different "feeling for your body" ?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 September 2013, 19:41:14


Quote from: flashlight5 on 02 September 2013, 13:09:38
Two short questions about Ketamin:

Recent studies suggest that K can help with depressions. What doeses are used i taht studies and how
are they administered?

Also, have you heard about people using small doses of K to practise sports? Eg. to take different
advantage of the different "feeling for your body" ?


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Recent studies show that ketamine has strong antidepressant properties. Typical
dosage is 0.5 mg/kg intravenous in infussion in 30-40 minutes; oral route seems also
effective at that dosage (0.5 mg/kg). The effect is fast and strong but not lasting in
time, it disappears in hours or days and further dosages do not reply this effect. With
actual knowledge, Ketamin may prove useful in a select group of patients but current
medical knowledge looks to other treatments as the first line against depression
http://www.ncbi.nlm.nih.gov/pubmed/23661785
http://www.ncbi.nlm.nih.gov/pubmed/23805864
http://www.ncbi.nlm.nih.gov/pubmed/23825857
http://www.ncbi.nlm.nih.gov/pubmed/23893490
I have never heard about small doses of K and sports...and in fact it sounds a bit
bizarre 8)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 02 September 2013, 20:59:36


Quote from: DoctorX on 02 September 2013, 19:41:14
I have never heard about small doses of K and sports...and in fact it sounds a bit bizarre 8)


I had 2 professional athlets (martial arts) tell me they did use it for that purpose and
credited K with helping them to improve quite a bit. I tried it too, but not enought
times to say if it does any good. as it dissociates you from you body, the idea does not
sound to weird to me, especially when talking about sport where you must drill the
same moves over and over again (like in martials arts). people also talk about K
improving their dancing skills in club settings.

might be studied in the future... :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 02 September 2013, 22:17:21

      Too bad this is all 007 and stuff, I have lost replies that undoubtedly would have
      been widely read and reported about, maybe anyway...

      1) The drug closest to providing sex like intensity is__ ?

      2) Why do people die after ingesting MDMA? Are high performance sports drinks
      any better than water?

      3) Is Gareth Bale worth all those millions?

      4) What drugs can be used to enhance football prowess?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Hamburgler21 on 03 September 2013, 05:07:31

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      DoctorX thanks for posting and replying often in the thread, your contributions
      are much appreciated! I apologize if this was already addresses but hard to skim
      40 pages quick :(

      With regard to rectal administration (plugging) of medicine and recreational
      substances. Is it a generally safe method of administration for long term periods,
      if its done carefully in moderation? Ive researched this topic and see that some
      medicine is regularly used this way ie Morphine Sulphate Suppositories. What
      about pure Amphetamine Sulphate, I know it can be done safely on occasion, but
      what about extended periods of use (low dose, pure Amp Sulphate dissolved in
      water solution). Clearly there are risks with insufflation, and we know all about
      the long term damage coke and amp can cause to sensitive nasal membranes
      over time. However, many times its the cut or the dry power doing the damage
      right, rather than a neutral PH saline solution? Im specifically asking about pure
      Amphetamine Salts, not MDMA or Methamphetamine....

      Also, Amp Sulphate just how severe is its Hepatotoxicity? This is another point of
      confusion from my research, but from what I read its relatively mild on the liver,
      even with chronic use as compared to something like Acetaminophen...

        Thanks for any feedback on this!!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 03 September 2013, 11:20:58


Quote from: cleansober on 02 September 2013, 22:17:21
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reported about, maybe anyway...

1) The drug closest to providing sex like intensity is__ ?

2) Why do people die after ingesting MDMA? Are high performance sports drinks any better than
water?

3) Is Gareth Bale worth all those millions?

4) What drugs can be used to enhance football prowess?


With you it is a bit difficult to distinguish between questions and jokes, but I will try…

1) It depends on the intensity of your sexual life

2) Toxicity and deaths caused by MDMA are exaggerated by media and anti-drug
propaganda. Hyperthermia, hyponatremia and acute hepatotoxicity are the three main
causes of MDMA related deaths. Exposition to excessive heat, or combination of heat


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and humidity, that crushes the body heat-regulating mechanisms can cause dead in
combination with MDMA. But in real life this happens very rarely. An article published
in British Medical Journal in 2002 showed that deaths related to ecstasy are
statistically similar to those produced by aspirin.
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1123822/
It does not mean that MDMA is “ intrinsically safe”, and the user’s behaviour is
fundamental to avoid problems. But the “Russian roulette” image does not seem
coherent with scientific data. Fortunately, MDMA is safe from a pharmacological point
of view in acute administration compared with many legal and illegal drugs.In theory,
using isotonic drinks is better than water in order to avoid hyponatremia risks,
although the risk of hyponatremia is small drinking reasonable amounts of liquid.

3) & 4) No comment…

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: fractalglobal on 03 September 2013, 22:58:22

      I recently asked this question to a friend of mine who works as a pediatric
      neurologist but he was unsure of the answer.

      Cocaine acts as a reuptake inhibitor of seratonin/dopamine/norepinephrine,
      meaning that the pharmacodynamics of the drug specifically does not result in
      increased production of the aforementioned neurotransmitters. Given this, why
      is there a reported "rush" when users inject/snort the drug? Logically, I'd expect
      that specifically acts as a reuptake inhibitor would only provide a rush if the
      production/depletion cycle was quite short.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: girl on 04 September 2013, 01:05:32

      Thanks for doing this thread!

      My pupil size is uneven during amphetamine and/or GHB usage. Why ? High
      blood pressure? Friend said that drugs that work on dopamine can cause this
      effect.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 September 2013, 08:27:39


Quote from: Hamburgler21 on 03 September 2013, 05:07:31
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can cause to sensitive nasal membranes over time. However, many times its the cut or the dry power
doing the damage right, rather than a neutral PH saline solution? Im specifically asking about pure
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Also, Amp Sulphate just how severe is its Hepatotoxicity? This is another point of confusion from my
research, but from what I read its relatively mild on the liver, even with chronic use as compared to
something like Acetaminophen...

 Thanks for any feedback on this!!


In general, rectal administration of drugs implies some changes in its distribution and
effects. A higher proportion of the drug reaches brain without passing through liver an
it produces a faster onset, shorter peak, and shorter duration than the oral route. The
absorption can be conditioned by the presence and quantity of faeces in rectum and
colon, but in general dosages should be 10-20% lesser than oral route. In moderate
use and using hygienic measures risks should not be different to oral route and there
are no communicated cases of serious adverse effects using this route (although it is
not very common). Not every drug is suitable for this method, but morphine, cocaine
and amphetamine work.
Amphetamines can produce hepatotoxicity, in general in a dose-dependent way. It is a
possible problem for this substance but not a very common problem in moderate
doses/frequencies.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: 0rezme on 04 September 2013, 08:42:52

      Hi DoctorX!

      What you're offering here is simply amazing, big thanks for this. I'm new here
      but I'll definitely donate some coins to you whenever I can.

      I'll describe my question in spanish first since is my native language and we can
      understand each other better. Below I'll transcribe it to english for the rest.

      ESPAÑOL:
      No tengo muchisima experiencia con drogas fuertes. He tomado algunas pastillas
      de extasis en un pasado (hace 5-6 años y nunca más). Fumo marihuana
      ocasionalmente, un par de secas por semana. Y en este ultimo tiempo he
      probado LSD en dos ocasiones (medio 'tab' en cada ocasión).
      Estoy queriendo hacer uso de LSD y MDMA de calidad, pero no unicamente para
      recreación, si no que estoy buscando una experiencia mas "espiritual" si se
      quiere, trabajar ciertos aspectos de mi personalidad.

      Soy un joven de 25 años, saludable, aunque bastante ansioso y un poco obsesivo

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     en general, tiendo a sobre-preocuparme y sobre-pensar todo, me resulta dificil
     relajarme por completo y "dejarme ir". He ido al psicologo durante un buen
     tiempo, no tengo ninguna patología psicologica/psiquiatrica, ni nada por el estilo,
     simplemente soy ansioso y me cuesta relajarme. Es algo que me gustaría
     mejorar y creo que este tipo de experiencias (junto con otras como meditar,
     modificar ciertos habitos de mi vida, etc) me pueden ayudar.

     Como la salud es algo muy importante para mi estoy buscando que estas
     experiencias sean lo menos dañinas posibles. He leido algunas guias sobre el
     MDMA (rollsafe.org me gustó bastante) y LSD. Dado que el acido solo me produjo
     cierta ansiedad durante el viaje, he leido que combinarlo con MDMA puede
     ayudar a que uno se relaje y pueda tener un viaje mas ameno.

     Entonces mis pregunta son:
     Cual seria la mejor forma en terminos de dosis, tiempos y suplementos de
     abordar dicha experiencia?
     Hay algun suplemento de los que recomiendan en rollsafe.org que no deberia
     ingerir si voy a tomar LSD?
     Deberia tomar 1 dosis (100-200ug) de LSD + 1 de MDMA (100mg) o por
     combinarlas deberian ser menos de cada una?
     Basicamente cualquier información sobre el uso combinado de estas dos
     sustancias me seria muy útil.

     Perdón por la extensión de mi pregunta, es la obsesión manifestandose jajaja.

     --------

     ENGLISH:
     I don't have much experience with 'strong' drugs. I've taken some exctasy pills in
     the past (5-6 years ago and never more). I smoke weed ocassionaly, some puffs
     a week. Lately I've taken LSD in two ocassions (half a tab each time).
     I'm willing to make use of quality LSD + MDMA, not only for recreation, but
     seeking to have a more 'spiritual' experience that allows me to work on some
     aspects of my personality.

     I'm a 25-year old healthy male, altough I'm a bit anxious and obsessive in
     general, I tend to over-think and over-worry a little and it's hard for me to relax
     completely, to "let go". I've done therapy for a good time in the past and I don't
     have any real psychological/psychiatric pathology, I'm just an anxious and hard-
     to-relax guy. That's something I'd want to work on and I think these kind of
     experiences (along with others like meditation and modifying certain habits of my
     life) can help me.

     Because health is something important to me, I want these experiences to be as
     harmless as possible. I've read some MDMA (rollsafe.org is great) and LSD
     guides. Considering acid alone made me a bit anxious during the trip, I've read
     that combining it with MDMA can help one to relax and have a better trip.



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      So my questions are:
      Which would be the best way in terms of dose, times and supplements to
      approach this experience?
      Is there any of the rollsafe.org recommended supplements that I should take if
      I'm also doing LSD?
      Should I take 1 dose (100-200ug) of LSD + 1 of MDMA (100mg) or because I'm
      combining them I should take less of each?
      Basically, any information about combining both substances would be helpful.

      Sorry for the long question, it's the obsession manifesting itself hahaha.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TorXic on 04 September 2013, 09:25:19

      you don't need supplements for LSD.

      don't take LSD and MDMA at the same moment, there are other threads on
      candyflip where you can find more info, not medical one.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Real_Drugs on 04 September 2013, 10:06:45

      Hi Doc!

      I am curious as to how much damage smoking off of aluminum/tin foil causes,
      and if you know any safer alternatives.

      Thanks.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 September 2013, 15:53:45


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I recently asked this question to a friend of mine who works as a pediatric neurologist but he was
unsure of the answer.

Cocaine acts as a reuptake inhibitor of seratonin/dopamine/norepinephrine, meaning that the
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Human brain is a very complex structure. In fact, we don´t know perfectly how it
works. Compared to other human organs (stomach, liver...) knowledge about human
consciousness and mechanisms of action of drugs that act on brain is much limited.
This is a valid idea for illegal drugs and also for prescription drugs as antidepressives,
which mechanisms of actions are based in experimental and animal models.
There are different theories about mechanisms of reinforcing drugs, but the most
accepted is the circuits of rewards. Explained in an easy way, there are neuronal
circuits that produce "pleasure", and are genetically created to rewards activities that
are necessary for survival of the species: drinking , eating or having sex for example.
These activities are perceived as pleasurable and repeated by activation of an ancient
cerebral circuit present in all vertebrates: the dopaminergic-mesocorticolimbic way.
According to this hypothesis some drugs produce "rush" (and are able to cause
repeated self-administration and dependence) because they overload this circuits. This
hypothesis is based in animal models and have some critics actually, but is the most
admitted to explain effects of several drugs.
This article explains these concepts in a deep way:
http://ciitn.missouri.edu/2007009/group25_drugaddiction.pdf
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 04 September 2013, 16:18:21


Quote from: girl on 04 September 2013, 01:05:32
Thanks for doing this thread!

My pupil size is uneven during amphetamine and/or GHB usage. Why ? High blood pressure? Friend
said that drugs that work on dopamine can cause this effect.


I am not sure what you mean with "uneven". If you mean "assimetry" or that both
pupils do not have the same size I think you should consult with a doctor. I´m not
scaring you, I don´t mean that it is necessary a severe health problem. Pupilar
assimetry can be a symptom of different neurological disease or maybe only a
variation of normality. If you don´t have any other symptom probably is the second
chance (a constitutional difference) but it would be better if your doctor or
ophtalmologist explored the motility of your eyes to be sure that there is no problem.
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There are no medical/scientific reports on combination of LSD and MDMA. So most of
the information comes from experiences from users. Organic toxicity and risk of
severe adverse effects of this combination seems low, as there no exist toxicological
reports of this combination. Anyway, it is important to have enough experience with
both substances and take all risk-reduction and common sense measures. As both
substances act on serotonin receptors and have sinergistic properties, I would
recommend reducing dosages of both. It is better to repeat further experiences than
being overwhelmed or disconnected.

About timing, there are all kind of opinions. I think there is not a unique, right way to
do this. For people without experience or anxiety, MDMA first has the adventage to
induce a calm state of consciousness that will make easier the LSD. On the other hand
experience can be too long and after-effects more noticeable. Using LSD first has the
inconvenient that psychedelic effects can be more noticeable than empathogenic, but
is much shorter. 1.5-2 hours between substances seems a reasonable timing.

Anyway, personal reactions and effects can be difficult to predict and it is important to
act with caution, in a safe environment, good company and common sense

I recommend you the Spanish forum in www.energycontrol.org, there are several
posts about candyflipping and you can ask for more opinions
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: girl on 04 September 2013, 20:34:06


Quote from: DoctorX on 04 September 2013, 16:18:21
Quote from: girl on 04 September 2013, 01:05:32
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the same size I think you should consult with a doctor. I´m not scaring you, I don´t mean that it is
necessary a severe health problem. Pupilar assimetry can be a symptom of different neurological
disease or maybe only a variation of normality. If you don´t have any other symptom probably is the
second chance (a constitutional difference) but it would be better if your doctor or ophtalmologist
explored the motility of your eyes to be sure that there is no problem.


Thanks for your reply. I looked it up on Wikipedia (https://en.wikipedia.org/wiki/
Anisocoria) and one of the causes is ¨Pharmacological agents¨ which is probably the
cause because it does not happen when I am sober or on a small amount of drugs.

[off-topic]The picture on your website should be made into a Good Guy meme: ¨Good
Guy Doctor, answers your questions for free on Silk Road.¨ ;) [/off-topic]
Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: chimchu on 05 September 2013, 01:12:16


Quote from: DoctorX on 02 September 2013, 08:39:26
Quote from: chimchu on 01 September 2013, 06:33:06
 I hope im not double posting but i did a quick search and came up with nothing.


 What is the acceptable time frame to inject after prepping a shot of H? I sometimes prep a shot and
 later decide not to take it, leaving it in the fridge for a few hours before taking it. I reheat it with
 worm water under the sink, and it seems fine. I have heard people holding onto prepped rigs for
 several days before shooting them.

 What would be Safe? I use sterilized everything and distilled bottled water. I know immediately
 would be "safest" but if one waited how long is to long to wait before shooting it?

 Thank ya DOC

 Chim

As you say, the 100% safest is immediate use of steril material. It is difficult to calculate exactly the
risks, but basically it depends on the conditions of conservation. If syringe, water and needles are
sterilized and mixture is kept on the fridge (re-heating after as you say) probably "a few hours" does
not increase risks too much. Cleanliness of needle is the most important part, so you should use a
clean steril new one for injection. Leaving at air conditions syringes is not so important than needle,
that should always be new. Waiting "several days" will undoubtedly contaminate the preparation,
increasing risk of infectious problems.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 September 2013, 09:08:07


Quote from: Real_Drugs on 04 September 2013, 10:06:45
Hi Doc!

I am curious as to how much damage smoking off of aluminum/tin foil causes, and if you know any
safer alternatives.

Thanks.


There have been some cases published of a rare cerebral disease called progressive
spongiform leukoencephalopathy in people using aluminium or tin foil to smoke heroin.
http://www.ncbi.nlm.nih.gov/pubmed/10563626
http://www.ncbi.nlm.nih.gov/pubmed/16419370
http://www.ncbi.nlm.nih.gov/pubmed/19515634
Considering the high number of heroin smokers and the rarity of this problem, the
causal association is inconclusive. Boiling point of heroin is 273ºC and melting and
boiling point of aluminium are 660ºC and 2400ºC. So the metal does not vaporize to a
significant extent. Impurities of heroin or plastic covering aluminium foil can be a
problem, the last can be avoided using the matt surface instead the brilliant one (in
commercial aluminium foil for wrapping food) and passing quickly a flame over the

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surface to burn plastic.
A glass pipe (the kind used for meth) can be an alternative, although it is easier to
burn and waste heroin.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 05 September 2013, 15:08:17


Quote from: girl on 04 September 2013, 20:34:06
Quote from: DoctorX on 04 September 2013, 16:18:21
 Quote from: girl on 04 September 2013, 01:05:32
  Thanks for doing this thread!

  My pupil size is uneven during amphetamine and/or GHB usage. Why ? High blood pressure?
  Friend said that drugs that work on dopamine can cause this effect.

 I am not sure what you mean with "uneven". If you mean "assimetry" or that both pupils do not
 have the same size I think you should consult with a doctor. I´m not scaring you, I don´t mean that
 it is necessary a severe health problem. Pupilar assimetry can be a symptom of different
 neurological disease or maybe only a variation of normality. If you don´t have any other symptom
 probably is the second chance (a constitutional difference) but it would be better if your doctor or
 ophtalmologist explored the motility of your eyes to be sure that there is no problem.

Thanks for your reply. I looked it up on Wikipedia (https://en.wikipedia.org/wiki/Anisocoria) and one
of the causes is ¨Pharmacological agents¨ which is probably the cause because it does not happen
when I am sober or on a small amount of drugs.

[off-topic]The picture on your website should be made into a Good Guy meme: ¨Good Guy Doctor,
answers your questions for free on Silk Road.¨ ;) [/off-topic]


Notice that Wikipedia entry says: "Pharmacological agents will cause anisocoria if
instilled in one eye". Anisocoria caused by oral route seems, at least, unusal.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: girl on 05 September 2013, 22:08:04

      Non-native English speaker so I didnt notice that.
      Maybe it has something to do with blood pressure, it gets insanely high with the
      combination GHB (sometimes combined with amphetamine). Trying to quit now,
      if this eye thing doesn't happen again I will not seek a doctor. Thanks for the
      advice.
      Will pass you some BTC.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Real_Drugs on 06 September 2013, 04:07:55

      Thank you.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Havacle on 06 September 2013, 04:27:11

      Doctor X: I have a rather unique problem, I think.

      It appears that GHB does not work on me. I have bought it from a reputable
      vendor (xanax king), and have taken it always on an empty stomach in varying
      does, from 1 to 6 grams. Effects range from nothing on the low end, to mild
      positive effects in the middle, to felling kind of fucked up at 6 grams. Little 20
      min nap, and I was fine and pretty sober feeling. What gives?

      I will note that I have abused etizolam recently, a couple months ago, almost
      every day for about 2 months in doses ranging from 2-12 mg. I now get greatly
      reduced effects from the etizolam. And xanax for that matter. Although they
      definitely still work, and I still enjoy them. Could this be related the
      ineffectiveness of the ghb?

      Thank you for your time.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 06 September 2013, 14:26:09


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xanax for that matter. Although they definitely still work, and I still enjoy them. Could this be related
the ineffectiveness of the ghb?

Thank you for your time.


Cross-tolerance is a pharmacological phenomenon, in which there is a decrease in
response to one drug due to frequent exposure to another similar acting drug. This
phenomenon is described between alcohol and GHB ( people who use alcohol
frequently develops tolerance not only to alcohol, but also to GHB). This phenomenon
is not described between GHB and benzodiacepines, but according to its mechanism of
action, seems a very likely possibility. It is possible (at least in theory) that abuse of
etizolam or alprazolam creates some degree of resistance to GHB, diminishing effects.


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Probably this phenomenon will diminish with several months of abstinence of
depressors. It is important also never use GHB and benzos at the same time, as toxic
effects will appear more easily.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Havacle on 06 September 2013, 18:02:56


Quote from: DoctorX on 06 September 2013, 14:26:09
Quote from: Havacle on 06 September 2013, 04:27:11
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etizolam or alprazolam creates some degree of resistance to GHB, diminishing effects.

Probably this phenomenon will diminish with several months of abstinence of depressors. It is
important also never use GHB and benzos at the same time, as toxic effects will appear more easily.


That seems most likely to me. However, alprazolam or etizolam will still knock me out
at higher doses, but the ghb won't put me into a coma for four hours as it should. But
the body is a complex thing. You're right that a break is in order. Thank you for the
reply.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mrmrmr on 06 September 2013, 20:06:23

      Dear Dr. X,

      I wonder if you could tell me if it's dangerous to take amphetamines while also
      taking Moclobemide, a reversible MAOI, which only slightly (and reversibly?)
      inhibits MAO-B, and mostly works on MAO-A. Both would be taken in "therapeutic
      doses", ie. no more than 600mg Moclobemide a day and small amounts of
      amphetamine throughout the day.

      I know that one should never take amphetamines with "regular" MAOIs and I also


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      know that one should never take the way more serotonergic MDMA with
      Moclobemide, but from my understanding and the few results a search on Google
      revealed regular amphetamines should not be a problem, unless taken in huge
      quantities.
      Is my understanding correct? Or might there be other problems (as far as I
      understand the obvious problem would be causing a hypertensive crisis), like
      increased neurotoxicity if taken together? Or might there even be less
      neurotoxicity? (A study found that Ritalin could lessen the neurotoxic effects of
      methamphetamine and probably amphetamines as well, even though I have to
      little knowledge to understand the mechanism behind that process, so I thought
      maybe this reversible MAOI might even have a similar effect)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 07 September 2013, 19:08:15


Quote from: mrmrmr on 06 September 2013, 20:06:23
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Both would be taken in "therapeutic doses", ie. no more than 600mg Moclobemide a day and small
amounts of amphetamine throughout the day.

I know that one should never take amphetamines with "regular" MAOIs and I also know that one
should never take the way more serotonergic MDMA with Moclobemide, but from my understanding
and the few results a search on Google revealed regular amphetamines should not be a problem,
unless taken in huge quantities.
Is my understanding correct? Or might there be other problems (as far as I understand the obvious
problem would be causing a hypertensive crisis), like increased neurotoxicity if taken together? Or
might there even be less neurotoxicity? (A study found that Ritalin could lessen the neurotoxic effects
of methamphetamine and probably amphetamines as well, even though I have to little knowledge to
understand the mechanism behind that process, so I thought maybe this reversible MAOI might even
have a similar effect)


Side effects and interactions of moclobemide are much less important than non-
selective MAOIs as phenelzine and tranylcypromine. There are not reported cases of
toxicity or deaths in association with amphetamine. In fact the technical sheet of
moclobemide does not mention anytjing about amphetamine although it states that
"The pharmacologic action of systemic regimens of sympathomimetic agents may
possibly be intensified and prolonged by concurrent treatment with moclobemide.".
That means that, at least in theory, it should be recommendable diminishing doses of
amphetamine if using moclobemids simultaneously.
If you are using "small amounts of amphetamine" neurotoxicity should not be a
problem of importance. Anyway, there are no data to estimate if use of moclobemide
could improve or worsen this hypothetical problem
Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: mrmrmr on 07 September 2013, 20:46:27

      Dear Dr. X,

      thanks a lot for your reply, that was very helpful indeed.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: orbital on 09 September 2013, 09:37:09

      I'm using Nardil for depression from a long time. I have read that I have to be
      very careful with drugs...what drugs can I use?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: duce0800 on 09 September 2013, 15:06:15

      Hey DoctorX,

      I tried LSD and MDMA on separate occasion and enjoyed both very much, but
      candyflipping is just the best thing ever in my experience. I read somewhere that
      in order to use MDMA safely 2-3 times a year is the max. I follow this rule right
      now but I wonder if it is safe to do it more often. The best answer I could wish for
      is like 6 times a year, I'm not going to do it more than that anyway. I also read
      your post about candyflipping where you state "As both substances act on
      serotonin receptors and have sinergistic properties, I would recommend reducing
      dosages of both." I would like to up my dose of LSD but I don't think I need that
      much MDMA. Last time I did it I ended up puking out most of my MDMA and still
      had the best time ever. So I would like to take between 360-450ug of LSD (3
      tabs), how much MDMA can I take safely?
      I found this combinations so great because I was very euphoric and my thought
      train was like when I looked one step back in thinking it was too broad to
      understand, like life, stuff, things etc. Do you know any other drugs or
      combinations that could set me in such a mindspace and is there like a scientific
      name for that?

      Thank you very much for your time, I wouldn't go see my regular doctor to ask
      stuff like this, so yeah :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 09 September 2013, 16:17:25


Quote from: orbital on 09 September 2013, 09:37:09


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I'm using Nardil for depression from a long time. I have read that I have to be very careful with
drugs...what drugs can I use?


Nardil (Phenelzine) is a very effective drug, but it belongs to a family of drugs (MAOI)
with many pharmacological interactions (prescription drugs, illegal drugs and foods, as
you know). It is particularly dangerous to mix with MDMA and, probably,
amphetamine derivatives (meth, MDA...)
http://www.ncbi.nlm.nih.gov/pubmed/2884326
http://www.ncbi.nlm.nih.gov/pubmed/1346952
It has been used for treatment of cocaine dependence, so probably interactions are
not dangerous
http://www.ncbi.nlm.nih.gov/pubmed/3235232
Interactions with benzos and weed are not notified, so they probably don´t exist.
According to pharmacological mechanisms it is possibly safe with opiates, GHB and,
maybe, ketamine, although you should consider the problems of these drugs.
Anyway, you should also consider the impact that using drugs can have, not only in a
pharmacological point of view (pharmacological interactions), but also in your
depression. Some drugs an patterns of use can affect this.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: redalloverthelandguyhere on 09 September 2013, 22:14:38

      Good evening doctor, a flying visit so will cut to the chase.

      Easiest or most commonly 'cut'; drug? We voted cocaine in my works because we
      know idiots using 10% (at most) and coke is almost 'normal' now, a lot of kids
      get peer group pressure aged 12+ to use drugs.

      So what do think sir?

      What is the most common easy to fake or dulite drug?

      Alcohol is easy but no pub will water down Whiskey!

      But coke dealers will cut 9-1 with their 'coke'.

      LSD is hard to fake but with all these RCs out there who knows.

      First to synth a substance to mimic coke will be a multi millionaire in months.

      And I hate fakers.

      Thanks doc, oh, I caught the clap but I'll be ok,

      Redalloverthedoctorssurgery



Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: TorXic on 10 September 2013, 00:02:35


Quote from: redalloverthelandguyhere on 09 September 2013, 22:14:38

Alcohol is easy but no pub will water down Whiskey!


they put cheap whiskey in expensive bottles :\

Quote from: redalloverthelandguyhere on 09 September 2013, 22:14:38

First to synth a substance to mimic coke will be a multi millionaire in months.


I read MDPV is similar, didn't tried yet. but you need to cut cause .1 of MDPV make
you crazy.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 10 September 2013, 13:08:45

      Dear Redalloverandtheguyhere,

      Could you advise us what your name means, if you don't mind of course.

      Seems to me DrX should know what people have bought like vendors do.


      Mr. Cleansober



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 10 September 2013, 19:35:52

      Hi DoctorX

      I hope you can answer my question. Last week i took teaspoonful of Phenibut at
      8.pm night. I have never used it before, but i hoped relaxing effects. After two
      hours of consuming i didn't notice any major effects and decided to go to sleep.
      In the mirror of bathroom i noticed my pupils were slightly dilated(and i had blur
      in my vision), reminding me of MDMA. I felt suddenly anxious and after sitting to
      a chair i shacked or shivered(no temperature feelings) about 10 minutes until it
      stopped. Since i didn't feel otherwise much different than usual except "maybe"
      bit less anxious that usual(i have anxiety disorder) i went to sleep that was
      extremely disturbing. Not really relaxing as promised and morning i had my usual
      anxiety.
      What happened? Did i took too much/little or could it be Phenibut doesn't fit to
      me as substance at all? Because i dont know what happened, i haven't tried it
      second time so far.

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      Thank you for your time.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: iamcanada on 11 September 2013, 05:09:12

      Hey doctorX

      if you have time to help me here I would appreciate it http://dkn255hz262ypmii.
      onion/index.php?topic=211153.0



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 September 2013, 08:37:24


Quote from: duce0800 on 09 September 2013, 15:06:15
Hey DoctorX,

I tried LSD and MDMA on separate occasion and enjoyed both very much, but candyflipping is just the
best thing ever in my experience. I read somewhere that in order to use MDMA safely 2-3 times a
year is the max. I follow this rule right now but I wonder if it is safe to do it more often. The best
answer I could wish for is like 6 times a year, I'm not going to do it more than that anyway. I also
read your post about candyflipping where you state "As both substances act on serotonin receptors
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I found this combinations so great because I was very euphoric and my thought train was like when I
looked one step back in thinking it was too broad to understand, like life, stuff, things etc. Do you
know any other drugs or combinations that could set me in such a mindspace and is there like a
scientific name for that?

Thank you very much for your time, I wouldn't go see my regular doctor to ask stuff like this, so
yeah :)


Recommendations about MDMA dosage are based in personal reports and general
characteristics of the substance. There is not a rule for frequency, but, in general, it is
recommended not to use it in a regular way. Ann Shulgin said that " I found out, for
myself, that using MDMA more often than four times a year was not wise", but other
authors recommend "twice a year" or "no more than once a month". In general, once
a year is better than once a month, and much better than every weekend. I think that
6 times a year can be an adequate pattern of use,if used properly and with caution.

450 ug of LSD is a really very heavy dosage. I don't think it is an adequate dosage for
candyflipping, neither for LSD alone. If you have calculated this dosage according to a
seller, it is very possible that real dosage is much lesser. In our Drug Testing Service


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(www.energycontrol.org), most LSD marketed as "150 ug" contain really 40-50 ug
when submitted to analytical quantification techniques. If you feel that 3 tabs is good
for you, that's right, but be careful when testing a new batch, as quantity of LSD in
different batchs can be very variable. 100 ug of LSD in combination with 80-100 mg of
MDMA is enough for a first experience, according to users experiences and
communications. These sources say that MDMA + 2C-B can be an interesting
combination, both in quality of the experience and pharmacological safety.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 September 2013, 08:54:24


Quote from: redalloverthelandguyhere on 09 September 2013, 22:14:38
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In a non-controlled market, all drugs can be adulterated. This depend on many factors
(number of persons that manipulate a determined batch, geographical situation...) but
most important is physical characteristics: presentation in powder, liquid or crystal are
much easier to adulterate than pills or blotters. Levamisole (an anti-parasit drug) is a
common adulterant for cocaine, that, in high dosages can produce dermatological or
immunological problems. Aproximatelly 50% of cocaine incautations have some
degree of this adulteration. Speed only contains normally 5-15% of amphetamine, the
rest is normally caffeine or paracetamol.
Other significant adulteration is for LSD: in street market some 25-NBomE blotters are
being sold as LSD. MDMA pills are, in general, less adulterated, although in some
moments and places they contain different substances as pyperazine derivatives (m-
CPP)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 September 2013, 09:03:46


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Quote from: findingcure on 10 September 2013, 19:35:52
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didn't feel otherwise much different than usual except "maybe" bit less anxious that usual(i have
anxiety disorder) i went to sleep that was extremely disturbing. Not really relaxing as promised and
morning i had my usual anxiety.
What happened? Did i took too much/little or could it be Phenibut doesn't fit to me as substance at
all? Because i dont know what happened, i haven't tried it second time so far.

Thank you for your time.


Phenibut is a phenyl derivative of GABA. Investigation and human experience with this
substance is very limited. Supossed properties are reduction of stress and anxiety,
improvement of impaired sleep, and potentiation of the effects of tranquilizers,
narcotics, and neuroleptics. But data are limited and there is not a well stablished
dosage in humans, so "a teaspoon full" is an undetermined dosage that could be not
enough or, more probably, a very high dosage. People with anxiety disorders are more
prone to have uncommon reactions to some psychotropic drugs. I would recommend
to try another substance for improve your sleep, or better, talk with your doctor and
search for an adequate pharmacological alternative
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 11 September 2013, 09:06:19


Quote from: iamcanada on 11 September 2013, 05:09:12
Hey doctorX

if you have time to help me here I would appreciate it http://dkn255hz262ypmii.onion/index.php?
topic=211153.0


I am sorry that through Internet is impossible to offer help of this kind. But your
symptoms and antecedents (heavy use of ketamine) seem so important to
recommend to seek for immediate medical evaluation, to rule out the possibilitiy of
severe problems.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: neo67 on 11 September 2013, 18:04:24

      Hey Doc,

      Not sure if you can help me out here but i have a question regarding sexual
      health......


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      I have recently received some Viagra, i don't necessarily need it but i wanted to
      try and boost my sexual performance.So to try it out, i took half a 100mg pill,
      waited about half an hour and then started masturbating. However,as i began
      masturbating, i felt an uncomfortable feeling in my lower penis, not pain as such,
      just an aching sensation.

      Is this normal with Viagra usage, is it safe to continue usage? I can still feel a
      slight aching sensation in my lower penis when i become aroused now. Should i
      be worried? Would you recommend stopping use of the Viagra?

      Many thanks Doc, your work here is much appreciated i have to say.




Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: flashlight5 on 12 September 2013, 01:21:31

      what could be problematic concerning large doses of lsd (.5 mg+) ?
      weren't doses of even 1mg+ used in therapy ?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: d8rk3n on 12 September 2013, 02:31:38

      Hey Doc,

      I've got a few questions:

      1. Is it OK to take MDMA or psychedelics whilst on terbinafine? I read that
      terbinafine inhibits one of the enzymes that metabolizes MDMA, although it's not
      clear how important that particular enzyme is or if this would be dangerous.

      2. Is using noopept or piracetam in combination with MDMA likely to cause harm?
      From reading it looks like these racetam drugs do not cause any damage and I
      can't see how it would make MDMA more harmful.

      3. In your opinion how probable is it that 2C-x-NBOMe's cause long-term damage
      (with normal dosages)? I have so far (perhaps naively) assumed that since it's
      pharmacology and short-term effects are so similar to DOx that it probably won't
      cause any long term damage (unless you overdose).

      Thanks very much!




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 September 2013, 09:38:21


Quote from: neo67 on 11 September 2013, 18:04:24
Hey Doc,

Not sure if you can help me out here but i have a question regarding sexual health......

I have recently received some Viagra, i don't necessarily need it but i wanted to try and boost my
sexual performance.So to try it out, i took half a 100mg pill,waited about half an hour and then
started masturbating. However,as i began masturbating, i felt an uncomfortable feeling in my lower
penis, not pain as such,just an aching sensation.

Is this normal with Viagra usage, is it safe to continue usage? I can still feel a slight aching sensation
in my lower penis when i become aroused now. Should i be worried? Would you recommend stopping
use of the Viagra?

Many thanks Doc, your work here is much appreciated i have to say.


I don´t think your symptoms can be related to use of silfenafil. Common adverse
effects include headache, flushing, nasal congestion or impaired digestion, but local
symptoms in penis are very rare. Sildenafil could cause priapism ( erect penis does
not return to its flaccid state) although it is extremely rare. And it is very strange also
that a single, ocassional dose, could cause symptoms persisting in time.
By the way, in healthy young persons I think 25 mg should be enough as a recreative
dosage for most people. Increasing dose causes more adverse effects.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 12 September 2013, 16:57:23


Quote from: flashlight5 on 12 September 2013, 01:21:31
what could be problematic concerning large doses of lsd (.5 mg+) ?
weren't doses of even 1mg+ used in therapy ?


LSD is considered to be a very pharmacologically safe substance. LSD is not
associated with disease or damage to any organ or system. Several hundred studies in
various animal species have indicated the low toxicity of LSD and long-term effects are
not demonstrated. The most common acute adverse effects of LSD are all
psychological: anxiety, panic attacks, a prolonged unpleasant experience (or “bad
trip”) and psychotic reactions. Transient anxiety or depression after taking LSD have
been reported. In general, these reactions are more frequent in people using large
doses. So a high dose will have a greater chance to produce these effects but there
are not long-term consequences.
In the fifties and sixties of last century there were some therapeutic studies with high
doses of LSD but they did not show benefits compared to normal doses. Actual
protocols dosage is 200 ug.
http://www.maps.org/research/lsd/swisslsd/LDA1010707.pdf

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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: findingcure on 12 September 2013, 17:26:40

      I just want to Thank You for answering me :) DoctorX

      cheers



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tymczasowe on 13 September 2013, 00:28:54

      Hi Doc,

      Many thanks for answers!

      I have some new questions.

      1. In one place in this thread you say:


Quote
you could try short-acting well-studied psychedelics like psilocibin, 2C-B or 4-Aco-DMT


Is that correct? Erowid states that 4-Aco-DMT is still considered research chemical.
[clearnet] http://www.erowid.org/chemicals/4_acetoxy_dmt/4_acetoxy_dmt.shtml

Didn't you mean 5-Meo-DMT?

Also, in other place:

Quote
In my opinion, if you are planning to stop a LSD trip because is too long, one alternative is to choose
another short-acting psychedelic instead (4-AcO-DMT or even psilocybes).


Again, 5-Meo-DMT is much shorter lasting than 4-Aco-DMT, so maybe you meant this
one? (I know that it is considered really strong though).

2. Benzos and driving -- which of the top four most popular anxyliotic benzos you
know to be safest to use when one has to drive? Apart from obvious conclusion that
everybody needs to test how affects his or hers body etc. I'm more interested is there
are studied contradictions for some of the specific benzos (I'm interested in diazepam,
clonazepam, alfoprazolam and lorazepam especially since they are most common and
easy to get). I'm talking about occasional use in very stressful situations.

Thanks a lot again!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 13 September 2013, 12:36:27

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Quote from: d8rk3n on 12 September 2013, 02:31:38
Hey Doc,

I've got a few questions:

1. Is it OK to take MDMA or psychedelics whilst on terbinafine? I read that terbinafine inhibits one of
the enzymes that metabolizes MDMA, although it's not clear how important that particular enzyme is
or if this would be dangerous.

2. Is using noopept or piracetam in combination with MDMA likely to cause harm? From reading it
looks like these racetam drugs do not cause any damage and I can't see how it would make MDMA
more harmful.

3. In your opinion how probable is it that 2C-x-NBOMe's cause long-term damage (with normal
dosages)? I have so far (perhaps naively) assumed that since it's pharmacology and short-term
effects are so similar to DOx that it probably won't cause any long term damage (unless you
overdose).

Thanks very much!


1. There is a big difference between theorical interactions and pharmacological
interactions with clinical relevance. Many of these interactions don't have importance
in real conditions. There are no cases reported in scientific literature of adverse events
or toxicity associating MDMA and terbinafine. Clinical protocols of MDMA research in
humans do not exclude people using this drug, so the combination is probably safe.

2. There are no reports of toxicity in combinating MDMA and piracetam. By the way,
piracetam does not have demonstrated effects in healthy people. Probably there is no
impact by combinating two drugs, piracetam seems harmless but useless also.

3. There is no way to predict toxicity of drugs according only to its chemical structure.
We can take the example of alcohol. Ethanol is the main component of alcoholic
drinks. If you quit one single atom of carbon you will have methanol, that is extremely
toxic for human optic nerve and can make blind with a toxic dosage. 2C-NBOME family
are substances with no human experience and short and long time risks are
impredictible. Classic hallucinogens (LSD, psilocibin, DMT...) have a much higher
profile of security
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: fractalglobal on 13 September 2013, 19:07:30


Quote from: DoctorX on 04 September 2013, 15:53:45
Quote from: fractalglobal on 03 September 2013, 22:58:22
 I recently asked this question to a friend of mine who works as a pediatric neurologist but he was
 unsure of the answer.

 Cocaine acts as a reuptake inhibitor of seratonin/dopamine/norepinephrine, meaning that the


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 pharmacodynamics of the drug specifically does not result in increased production of the
 aforementioned neurotransmitters. Given this, why is there a reported "rush" when users inject/
 snort the drug? Logically, I'd expect that specifically acts as a reuptake inhibitor would only provide
 a rush if the production/depletion cycle was quite short.

Human brain is a very complex structure. In fact, we don´t know perfectly how it works. Compared to
other human organs (stomach, liver...) knowledge about human consciousness and mechanisms of
action of drugs that act on brain is much limited. This is a valid idea for illegal drugs and also for
prescription drugs as antidepressives, which mechanisms of actions are based in experimental and
animal models.
There are different theories about mechanisms of reinforcing drugs, but the most accepted is the
circuits of rewards. Explained in an easy way, there are neuronal circuits that produce "pleasure", and
are genetically created to rewards activities that are necessary for survival of the species: drinking ,
eating or having sex for example. These activities are perceived as pleasurable and repeated by
activation of an ancient cerebral circuit present in all vertebrates: the dopaminergic-mesocorticolimbic
way. According to this hypothesis some drugs produce "rush" (and are able to cause repeated self-
administration and dependence) because they overload this circuits. This hypothesis is based in
animal models and have some critics actually, but is the most admitted to explain effects of several
drugs.
This article explains these concepts in a deep way:
http://ciitn.missouri.edu/2007009/group25_drugaddiction.pdf


Sorry it took so long for me to reply, I havn't been on the forums in quite a while.

If I understand your response correctly, you are saying that the rush I referred to is
due to the physical process of administering the drug itself, I assume through some
positive/negative re-enforcement dynamics. Does this mean that first time users
shouldn't experience an initial rush whatsoever?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Davey Jones on 14 September 2013, 00:18:03

      Hey Doc, I had a buddy of mine went on a binge doin coke, and in the middle of
      his party he swore he saw me and someone else he knew go into the hotel room
      next to his and he claimed he could hear us talking about him thru the wall so he
      goes and gets the manager and has him open the door and no one was there so
      he thinks we ran off and were messing with him. Seems like he was hallucinating
      and had a little break with reality. Is there anything that can stabilize him
      besides opiates? Benzos possibly?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: d8rk3n on 14 September 2013, 03:52:36

      Thanks for answering so quickly :)

      I'd like to discuss the third point a little though:


Quote from: DoctorX on 13 September 2013, 12:36:27


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3. There is no way to predict toxicity of drugs according only to its chemical structure. We can take
the example of alcohol. Ethanol is the main component of alcoholic drinks. If you quit one single atom
of carbon you will have methanol, that is extremely toxic for human optic nerve and can make blind
with a toxic dosage. 2C-NBOME family are substances with no human experience and short and long
time risks are impredictible. Classic hallucinogens (LSD, psilocibin, DMT...) have a much higher profile
of security


The example with alcohol is certainly a good demonstration of how the chemical
structure doesn't tell you anything on its own, but I think that we have more
information about NBOMes than to just say we have no idea at all about how safe it is.
The 25I-NBOMe have been tested in man by what must be a fairly large number of
people by now, and it is known that they are not so horribly toxic as to make you drop
dead or go blind with high probability. The receptor affinity/efficacy is also known, so
we know that it isn't really acting anywhere other than at 5HT2A &5HT2C. If it had
never been tested in man, we wouldn't know if it also acts as a reuptake inhibitor or
an allosteric modulator etc. at a totally different site by chance.

We do know that it can cause severe vasoconstriction, seizures and death; particularly
in higher doses. These effects are very similar to DOB, which shares the property of
having a very high efficacy at the 5HT2A receptor when compared to classical
psychedelics (LSD/Mescaline/4-HO-DMT etc.). It seems to me to that the safety
profiles of drugs such as LSZ and AL-LAD are probably quite similar to that of LSD and
4-HO-DMT, whereas the safety of 25I-NBOMe is probably similar to that of DOB
(obviously nothing is definite but I don't think it's unreasonable to think this is likely).

What I want to know is if a similar line of reasoning can be followed for the long-term
effects. I don't really know what can cause long-term effects, other than highly
reactive molecules damaging parts of the cell (e.g. degradation of axons by MDMA
when the enzymes to prevent this are at too high of a temperature, or having too
much of a reactive chemical in the liver so that there is not enough enzyme to go
round). Are there mechanisms by which long-term damage has been caused, but
would be totally unpredictable and wouldn't show significant short-term symptoms?

Note: I am in no way trying to argue that RCs are safe, it's obviously much better to
stick to drugs that are known to be safe.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: quagga on 14 September 2013, 17:21:54

      Hello dear Dr. Fernando:

      I really consider your post as a priceless help to guide our experiences. So I´d
      like to discuss my experience to get your opinion.

      More than a year ago I discovered the help of psychedelics as synergistic tools in
      the understanding of my vision of cosmos.

      Along some months, I experimented few but greatly rewarding experiences with
      Salvia divinorum, ayahuasca, magic mushrooms and HBWR.

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      I considered all these experiences as very insightful and overally pleasant, but at
      some point I suffered a few weeks of stress at my job and severe familiar
      problems. These circumstances maybe added to the effects of some of my
      tryptamine experiences led me to an acute episode of anxiety that made me visit
      the doctor and start a treatment.

      At first, my prescription was citalopram an alprazolam... and that was the
      beginning of the worse week of my life. In fact I use to say I´ve visited paradise
      (specially one of my ayahuasca experiences) and hell (that terrible week with
      citalopram).

      After that, my psychiatrist changed the citalopram for sertaline, and that was the
      beginning of my recovery. In fact, in less than two months, with the help of my
      psychiatrist, the treatment and my wife, gradually my point of view of all the
      problems sorrounding me improved totally (of course, I did not dare to take
      entheogens during that recovery proccess.)

      And that brings me to the present day. About one month ago, my psychiatrist
      considered that I was ready to quit gradually my sertraline treatment (in fact quit
      taking alprazolam some months ago because I no longer needed it).

      Some weeks ago, I began cautiously to try Salvia, HBWR, DMT and tentative
      doses of 25-I-NBOME, allylescaline, LSD and 2-CB.

      I succeeded to get pleasurable experiences with all of them. Nevertheless There
      is a significant difference with my old experiences: The visuals are almost
      absolutely gone! The other effects are still there with my previously known
      substances, but when took 25-I-NBOME, allylescaline, LSD and 2-CB, did it to
      experiment the visuals and could not perceive them with any of these.

      I´m quite sad about this issue. I´m still reducing my sertraline gradually to
      minimize the bad effects and I have the hope to recover my inner sight as soon
      as my brain gets to its pre-sertraline state.

      My question for you is, do you think I´ll recover my ability to feel the visuals? Is
      there anything you could recommend me to do or to take in order to reopen my
      eye?


      Thanks a lot in advance, Dr.

      Peace.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 14 September 2013, 19:11:00



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Quote from: tymczasowe on 13 September 2013, 00:28:54
Hi Doc,

Many thanks for answers!

I have some new questions.

1. In one place in this thread you say:

Quote
 you could try short-acting well-studied psychedelics like psilocibin, 2C-B or 4-Aco-DMT

Is that correct? Erowid states that 4-Aco-DMT is still considered research chemical. [clearnet] http://
www.erowid.org/chemicals/4_acetoxy_dmt/4_acetoxy_dmt.shtml

Didn't you mean 5-Meo-DMT?

Also, in other place:

Quote
 In my opinion, if you are planning to stop a LSD trip because is too long, one alternative is to
 choose another short-acting psychedelic instead (4-AcO-DMT or even psilocybes).

Again, 5-Meo-DMT is much shorter lasting than 4-Aco-DMT, so maybe you meant this one? (I know
that it is considered really strong though).

2. Benzos and driving -- which of the top four most popular anxyliotic benzos you know to be safest to
use when one has to drive? Apart from obvious conclusion that everybody needs to test how affects
his or hers body etc. I'm more interested is there are studied contradictions for some of the specific
benzos (I'm interested in diazepam, clonazepam, alfoprazolam and lorazepam especially since they
are most common and easy to get). I'm talking about occasional use in very stressful situations.

Thanks a lot again!


1.- There is no universal definition for "research chemicals". 4-AcO-DMT is really a
prodrug for psilocin, it was syntethized and marketed in the sixties of last century and,
in my personal opinion, it is a bit exagerated to consider it as a "research chemical".
In that thread we were talking about psychedelics compared to LSD. Experience with
4-AcO-DMT is shorter than LSD but qualitatively similar. 5-MeO-DMT is not active
orally, its effects are very short (minutes) and very different to classical psychedelics.
That´s why I talked about 2C-B or 4-AcO instead of 5-MeO in that example

2.- I have been searching about this issue but I haven´t find anything clear. The
general idea is that benzodiacepines impairs driving, and risks of accidents are higher
under its effects. Some studies show that risks are higher in ocassional users than in
regular, probably by tolerance development. I have only found specific studies on
Lorazepam, showing that a dose of 2 mg produces more potent effects than heavy
alcohol:
http://www.ncbi.nlm.nih.gov/pubmed/24007754
I think in this sense is more important the dosage than the concrete benzo, obviously
avoiding those with a more sedative profile. Anyway, benzos and driving are never a


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very good combination.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tastylures on 15 September 2013, 08:12:02

      Hello,
      Two questions further down:
      A friend's goldfish has been buying (probably illicitly) morphine for back/sciatica
      pain. It always had an addictive personality and used opiates for recreational
      purposes sometimes. Usually it tried to keep the dose to a minimum 25mg-50mg
      once or twice a day, sometimes three times. And sometimes when the fish has a
      rough day or does hard exercise that agitates it's back, it will say F**K it and
      take a whole 100mg-180mg. It doesn't like the constipation that goes hand in
      hand with any sort of prolonged use, nor does it like feeling controlled by a
      substance.

      It has decided that it wants to investigate suboxone as a method for
      discontinuing use in conjunction with physical therapy.

      So, the goldfish's questions are:
      1) Would the 8mg/2mg suboxone seem like a standard dose? How often should
      this 180 pound fish take said dose? The half life would seem to suggest possibly
      as infrequently as once every three days...

      2) Are opiates gentle on the body? The fish has GI issues from NSAIDs and
      decided liver damage is likely from Tylenol (both used as pain relief at times, and
      from past abuse of opioid-containing products, and concurrent alcohol
      consumption). It would appear that since there are opioid receptors throughout
      the body, it would be a substance that is expected to be consumed, biologically
      speaking. It also seems to slow down aging and doesn't harm any organs (so
      long as one takes time away from it every other day enough to poop). Is this
      correct? Or what causes physiological damage/what is damaged?

      Thank you very much for your response, the fish is "itching" to know!
      You can also PM me.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 September 2013, 10:38:31


Quote

Sorry it took so long for me to reply, I havn't been on the forums in quite a while.

If I understand your response correctly, you are saying that the rush I referred to is due to the
physical process of administering the drug itself, I assume through some positive/negative re-
enforcement dynamics. Does this mean that first time users shouldn't experience an initial rush


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whatsoever?


Well, in a pharmacological point of view, all drugs act physically on different parts of
the body and their effects are always explained by these interactions. This is valid for
legal prescription drugs and for any other kind of drug. In fact I think to distinguish
between “physical” and “psychological” is somehow artificial. Psychological effects of
drugs have a neurological correlation and vice versa.

“Rush” is uncommon in first experiences with some drugs. Effects of drugs are
explained mainly by neuropharmacology but there are also psychological and social
factors. Learning processes are important to recognize and process effects of drugs, so
first experiences are not necessarily the best. Regular use is more associated with
“rush” than occasional experiences. But, for example, administration of intranasal
placebo (local anesthesic) to cocaine addicts can produce physical effects (tachycardia,
raise of blood pressure) similar to cocaine. So even placebo effect can explain ( a part)
of some drug effects.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 September 2013, 10:52:26


Quote from: Davey Jones on 14 September 2013, 00:18:03
Hey Doc, I had a buddy of mine went on a binge doin coke, and in the middle of his party he swore
he saw me and someone else he knew go into the hotel room next to his and he claimed he could
hear us talking about him thru the wall so he goes and gets the manager and has him open the door
and no one was there so he thinks we ran off and were messing with him. Seems like he was
hallucinating and had a little break with reality. Is there anything that can stabilize him besides
opiates? Benzos possibly?


I think it sounds more like a paranoid reaction than hallucination. There is no real
break with reality but a false belief that he could hear you talking about him in a bad
way. Paranoid reactions are very typical of high dosages of stimulants (cocaine,
amphetamines or methamphetamine). If this disappears in a few hours, nothing else
is necessary to do. Anyway, some people are prone to this effect and he should know
this and be very careful with stimulant dosages. He should think about this once the
cocaine effects have passed, analyzing the situation again and realizing that this was
not true.

If these unreal ideas persist hours or days after cocaine use or if the paranoid ideas
are out of reality (for example, you and your friends are aliens that are laughing at
him) it should be necessary medical-psychiatric evaluation and specific medication. It
is not worthy to try benzos (or worse, opiates) without medical prescription. A
paranoid person can be dangerous (for himself or others), as he feels fear. He could
feel, for example, that he is going to be poisoned if he is offered medication. So, if the
strange ideas do not disappear in a few hours I would recommend medical evaluation
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 15 September 2013, 20:32:10


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Quote from: d8rk3n on 14 September 2013, 03:52:36
Thanks for answering so quickly :)

I'd like to discuss the third point a little though:
Quote from: DoctorX on 13 September 2013, 12:36:27
 3. There is no way to predict toxicity of drugs according only to its chemical structure. We can take
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 blind with a toxic dosage. 2C-NBOME family are substances with no human experience and short
 and long time risks are impredictible. Classic hallucinogens (LSD, psilocibin, DMT...) have a much
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The example with alcohol is certainly a good demonstration of how the chemical structure doesn't tell
you anything on its own, but I think that we have more information about NBOMes than to just say
we have no idea at all about how safe it is.
The 25I-NBOMe have been tested in man by what must be a fairly large number of people by now,
and it is known that they are not so horribly toxic as to make you drop dead or go blind with high
probability. The receptor affinity/efficacy is also known, so we know that it isn't really acting anywhere
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a reuptake inhibitor or an allosteric modulator etc. at a totally different site by chance.

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doses. These effects are very similar to DOB, which shares the property of having a very high efficacy
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seems to me to that the safety profiles of drugs such as LSZ and AL-LAD are probably quite similar to
that of LSD and 4-HO-DMT, whereas the safety of 25I-NBOMe is probably similar to that of DOB
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What I want to know is if a similar line of reasoning can be followed for the long-term effects. I don't
really know what can cause long-term effects, other than highly reactive molecules damaging parts of
the cell (e.g. degradation of axons by MDMA when the enzymes to prevent this are at too high of a
temperature, or having too much of a reactive chemical in the liver so that there is not enough
enzyme to go round). Are there mechanisms by which long-term damage has been caused, but would
be totally unpredictable and wouldn't show significant short-term symptoms?

Note: I am in no way trying to argue that RCs are safe, it's obviously much better to stick to drugs
that are known to be safe.


I am sorry but I don’t agree with some of your arguments. I understand your
reasoning but I think it is not based in right ideas. Compared with classical
recreational drugs, even with drugs like GHB or ketamine, life of 25I-NBOME is very
short. The number of persons that have used it is really limited compared with many
substances. It was synthetized in 2003 and first reports of recreational use are no
longer than two years. Chemical and pharmacological properties are based in
incomplete in-vitro and animal studies and there are not enough data to know about
its security, neither short and long term. Maybe you are right when you say that it is
not “horribly toxic” as it is true that it is being tested by hundreds (maybe thousands)
of persons in this moment, persons that are acting as guinea pigs as animal data on
25I-NBOME are scarce.

I understand the logical reasoning under your hypothesis about toxicity, but it is a

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theoretical speculation. It may be right or maybe not. The only way to evaluate long-
time effects of drugs is waiting years or decades until these effects appear. This
happens to prescription drugs: some of them are retired from market years after
commercialization because of unexpected serious adverse long-time effects . There
are many recent examples in human pharmacology (clozapine, rosiglitazone,
celecoxib, rimonabant…). Knowledge about its chemical structures has not been useful
to predict toxicity or long time effects.

I think the ketamine example can be illustrative enough. Ketamine has been used in
human and animal anesthesia during more than 50 years. And a serious, long time
toxic effect (hemorrhagic cisthopaty, ketamine bladder) has only been described in the
last 5 years, associated to the exponential growth in its recreational use in the last two
decades. This effect is probably associated with intranasal route and very intensive
patterns of use, as it has not been described in 50 years of clinical use in animals or
humans. And I think it shows the difficulties to predict toxic effects even with
relatively known drugs.

 I don´t like to sound alarmist and maybe I am repetitive advising against new drugs.
Everyone should be free to take their decisions but having all the data. And, as you
say in your last line, it's obviously much better to stick to drugs that are known to be
safe.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Rastaman Vibration on 16 September 2013, 04:32:22

      Hi Doctor,

      What are the harmful effects, if any, of taking small doses of LSD on a fairly
      regular basis? I have been experimenting with doses of less that 15 micrograms.
      I am currently taking 5 micrograms once a week. Is this harmful in any way?
      Would it be harmful to take 5 micrograms of LSD more frequently, such as 3
      times a week?

      Thank you for your time



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 September 2013, 08:48:19


Quote from: quagga on 14 September 2013, 17:21:54
Hello dear Dr. Fernando:

I really consider your post as a priceless help to guide our experiences. So I´d like to discuss my
experience to get your opinion.

More than a year ago I discovered the help of psychedelics as synergistic tools in the understanding of


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my vision of cosmos.

Along some months, I experimented few but greatly rewarding experiences with Salvia divinorum,
ayahuasca, magic mushrooms and HBWR.

I considered all these experiences as very insightful and overally pleasant, but at some point I
suffered a few weeks of stress at my job and severe familiar problems. These circumstances maybe
added to the effects of some of my tryptamine experiences led me to an acute episode of anxiety that
made me visit the doctor and start a treatment.

At first, my prescription was citalopram an alprazolam... and that was the beginning of the worse
week of my life. In fact I use to say I´ve visited paradise (specially one of my ayahuasca experiences)
and hell (that terrible week with citalopram).

After that, my psychiatrist changed the citalopram for sertaline, and that was the beginning of my
recovery. In fact, in less than two months, with the help of my psychiatrist, the treatment and my
wife, gradually my point of view of all the problems sorrounding me improved totally (of course, I did
not dare to take entheogens during that recovery proccess.)

And that brings me to the present day. About one month ago, my psychiatrist considered that I was
ready to quit gradually my sertraline treatment (in fact quit taking alprazolam some months ago
because I no longer needed it).

Some weeks ago, I began cautiously to try Salvia, HBWR, DMT and tentative doses of 25-I-NBOME,
allylescaline, LSD and 2-CB.

I succeeded to get pleasurable experiences with all of them. Nevertheless There is a significant
difference with my old experiences: The visuals are almost absolutely gone! The other effects are still
there with my previously known substances, but when took 25-I-NBOME, allylescaline, LSD and 2-CB,
did it to experiment the visuals and could not perceive them with any of these.

I´m quite sad about this issue. I´m still reducing my sertraline gradually to minimize the bad effects
and I have the hope to recover my inner sight as soon as my brain gets to its pre-sertraline state.

My question for you is, do you think I´ll recover my ability to feel the visuals? Is there anything you
could recommend me to do or to take in order to reopen my eye?


Thanks a lot in advance, Dr.

Peace.


Changes in psychedelic effects are very probably related to the action of SSRI
(sertraline). SSRI action is not immediate, but gradual, and it takes several weeks to
revert some of the neurobiological changes induced. The effects of 25-I-NBOME,
allylescaline, LSD and 2-CB depend on serotonin so it is logical that sertraline has
effect on this.

In my opinion, using psychedelics for personal growth or spiritual purposes makes
necessary that use is sporadic, ocassiona, selecting very well time, substance and
setting. I think it is more important to integrate and learn from the experiences in the
normal life, non-alterated state of consciousness than the experience itself. Once you
have learnt something with a substance it is no worthy repeating and repeating again.
I think psychedelics should be used ocassionaly (no more than once a month, or less if
possible) when used for spiritual or personal growth. If you are trying different


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substances every week you will have a psychedelic salad but it is very difficult to learn
something there.

Anyway, if you have been passing a bad mood time,I think it should be wise to wait
until your complet recovery before you start using psychedelics again
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 16 September 2013, 09:10:21


Quote from: tastylures on 15 September 2013, 08:12:02
Hello,
Two questions further down:
A friend's goldfish has been buying (probably illicitly) morphine for back/sciatica pain. It always had
an addictive personality and used opiates for recreational purposes sometimes. Usually it tried to keep
the dose to a minimum 25mg-50mg once or twice a day, sometimes three times. And sometimes
when the fish has a rough day or does hard exercise that agitates it's back, it will say F**K it and take
a whole 100mg-180mg. It doesn't like the constipation that goes hand in hand with any sort of
prolonged use, nor does it like feeling controlled by a substance.

It has decided that it wants to investigate suboxone as a method for discontinuing use in conjunction
with physical therapy.

So, the goldfish's questions are:
1) Would the 8mg/2mg suboxone seem like a standard dose? How often should this 180 pound fish
take said dose? The half life would seem to suggest possibly as infrequently as once every three
days...

2) Are opiates gentle on the body? The fish has GI issues from NSAIDs and decided liver damage is
likely from Tylenol (both used as pain relief at times, and from past abuse of opioid-containing
products, and concurrent alcohol consumption). It would appear that since there are opioid receptors
throughout the body, it would be a substance that is expected to be consumed, biologically speaking.
It also seems to slow down aging and doesn't harm any organs (so long as one takes time away from
it every other day enough to poop). Is this correct? Or what causes physiological damage/what is
damaged?

Thank you very much for your response, the fish is "itching" to know!
You can also PM me.


1) First of all, I would not recommend the fish to do this on his own. Guidelines for
detoxification from heroin using subuxone are clear, but it is not so easy using oral
morphine. I think it would be easier just tappering down oral morphine dosage. If pain
is being a problem, it should be necessary controlling it with an adequate medication,
otherwise pain would be an added problem to achieve detoxification.

Anyway, in order to start a detoxification from opiates, subuxone 2 mg/ 0.5 mg is
more adequate than subuxone 8/2. First dosage should be used when first signs of
abstinence appear. Initial induction dosage (first day of treatment) should nbe in the
rank of 2/0.5 ( 1 pill) to 8/2 mg (4 pills). In the following days dosage should be
adjusted to a maximum of 24/6 mg, dependind on physical and psychological
symptoms, and then tappering down during several weeks (rate depend on initial
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2) Opiate toxicity for human body is very low. The main problems are tolerance,
dependence, psychological symptoms and constipation. But opiates are not adequate
for all kinds of pain. In fact, there are much better options for back pain/ciatic than
morphine.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tastylures on 16 September 2013, 10:54:05


Quote from: DoctorX on 16 September 2013, 09:10:21

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heroin using subuxone are clear, but it is not so easy using oral morphine. I think it would be easier
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Thank you for the response!

Pain has definitely been a problem for relapse because when no potent substance is
used, it cannot perform exercise such as running or picking up dirty clothing from the
floor. Quitting morphine cold turkey doesn't cause withdrawls that are super intense,
just a day or two of feeling a little lame. But then the pain comes back and makes all
24 hours of the day excruciating. So, an illicit use of this substance has allowed sleep
and normal ADL's. There is definitely an addiction issue beyond physical symptoms
arising from the euphoria that morphine, oxy, H, or any opiate provides.

1)So, would the suboxone reduce the cravings for opiates as the pain issue heals
(hopefully) through physical therapy and an epidural steroid? And, would it help to
mitigate the pain in the meantime?

2)You said that morphine is not the most effective drug for this type of pain. What is
more effective/better suited for lumbar issues/sciatica? Marijuana actually helps as
much or more than morphine sometimes, or, it can complete the relief when MS isn't
taking it all away.

The info is very useful! Thank you very much!
Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: quagga on 16 September 2013, 13:44:47


Quote from: DoctorX on 16 September 2013, 08:48:19
Quote from: quagga on 14 September 2013, 17:21:54
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 Thanks a lot in advance, Dr.

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repeating again. I think psychedelics should be used ocassionaly (no more than once a month, or less
if possible) when used for spiritual or personal growth. If you are trying different substances every
week you will have a psychedelic salad but it is very difficult to learn something there.

Anyway, if you have been passing a bad mood time,I think it should be wise to wait until your
complet recovery before you start using psychedelics again


Thanks for your answer, Fernando. I really appreciate your devotion in helping us,
people hungry for answers...

Peace.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Druedude on 16 September 2013, 13:55:57

      I have had major depression and anxiety for years... I've tried every med
      available for these conditions ( just started prestiq last week )
      Several months ago, hemroid surgery left me with a stricture (found by
      colonoscopy).
      After taking 10 mg Percocet for a few weeks, I realized that my depression,
      panic, anxiety, was greatly reduced. I have quit taking opiates for a few days, on
      several occasions - I start with a nervous breakdown and about 4 days later just
      feel back to my "normal" levels of depression and anxiety. A few days of that,
      and I'm back to percs. What is the real reason that treating depression, anxiety,
      fymbromyelga, etc. with opiates is such a huge no-no? Aside from the obvious
      media and government hype about how awful they are. I'm thinking long-term, it
      is safer than alcohol in several respects; I have a doctor in the family who has
      almost eluded such?
      Also have a private question I will PM.

      Thank you,



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Internal Freedom on 17 September 2013, 03:20:40

      Ive read that anti-oxidants can be used to combat MDMA neurotoxicity and
      reduce most of the damage it causes to the human brain. Specifically, I read that
      Alpha Lipoic Acid is one of the best anti-oxidants for such a thing because it helps
      combat free radicals. I recently took 90mg MDMA and 30mg MDA at the same
      time. An hour before taking it I took: 1g Vitamin C, 200mg ALA, and 100mg Co-
      Enzyme Q10. During the experience I also took 200mg of ALA every hour for 6
      hours until I had finally consumed around 1.5g of it by the end. I also took some

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      before going to bed, and in the morning the next day when I woke up. The next
      day, my insides has essentially liquified from all the ALA im assuming and I had
      extreme diarrhea for a couple hours but felt fine other then that.

      The next few days my mood was actually lifted and I felt fantastic. My question
      is: Is it necessary to take a fair dose of Anti-Oxidants (such as 200mg of ALA)
      every hour to fully combat neuro-toxicity from free radicals, or is one dose before
      taking MDMA, during it, and after it ok? As much as I would like to think the
      constant redosing of anti-oxidants helped, the "shitty" experience the next day
      was really a downside and would not make me want to do that on every trip.

      Thanks! 8)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 September 2013, 08:35:31


Quote from: Rastaman Vibration on 16 September 2013, 04:32:22
Hi Doctor,

What are the harmful effects, if any, of taking small doses of LSD on a fairly regular basis? I have
been experimenting with doses of less that 15 micrograms. I am currently taking 5 micrograms once
a week. Is this harmful in any way? Would it be harmful to take 5 micrograms of LSD more
frequently, such as 3 times a week?

Thank you for your time


Toxicity of LSD to human organ or systems is extremely low. Threshold is 20
micrograms, so 5 micrograms will not have probably noticeable effects. LSD causes
pharmacological tolerance very quickly. This can be noticeable even once a week, so
three times a week will cause that possible subtle effects will dissapear if not
increasing dosage. With these pattern of use toxic effects are not expected, but
neither biological activity.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 September 2013, 08:51:14


Quote from: tastylures on 16 September 2013, 10:54:05
Quote from: DoctorX on 16 September 2013, 09:10:21

 1) First of all, I would not recommend the fish to do this on his own. Guidelines for detoxification
 from heroin using subuxone are clear, but it is not so easy using oral morphine. I think it would be
 easier just tappering down oral morphine dosage. If pain is being a problem, it should be necessary
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 detoxification.

 Anyway, in order to start a detoxification from opiates, subuxone 2 mg/ 0.5 mg is more adequate


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 2) Opiate toxicity for human body is very low. The main problems are tolerance, dependence,
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 there are much better options for back pain/ciatic than morphine.

Thank you for the response!

Pain has definitely been a problem for relapse because when no potent substance is used, it cannot
perform exercise such as running or picking up dirty clothing from the floor. Quitting morphine cold
turkey doesn't cause withdrawls that are super intense, just a day or two of feeling a little lame. But
then the pain comes back and makes all 24 hours of the day excruciating. So, an illicit use of this
substance has allowed sleep and normal ADL's. There is definitely an addiction issue beyond physical
symptoms arising from the euphoria that morphine, oxy, H, or any opiate provides.

1)So, would the suboxone reduce the cravings for opiates as the pain issue heals (hopefully) through
physical therapy and an epidural steroid? And, would it help to mitigate the pain in the meantime?

2)You said that morphine is not the most effective drug for this type of pain. What is more effective/
better suited for lumbar issues/sciatica? Marijuana actually helps as much or more than morphine
sometimes, or, it can complete the relief when MS isn't taking it all away.

The info is very useful! Thank you very much!


1) Yes, subuxone, if used properly, will reduce the craving for opiates. But I don´t
think it will have a significant impact on pain

2) I think you should ask this to your doctor. Prescription is much more than giving a
drug for each problem. It would be necessary to know exactly what is your "lumbar
issue", what image tests have been performed and the results, what drugs have you
used previously, possible interactions and contraindications....There can be used
different drugs: Non-steroidal-antiinflamatory drugs (ibuprofen, naproxen,
aceclofenac...), analgesics (metamizole), steroids, gabapentin, tryciclic
antidepressives...can be different options dependind on the characteristics of patient.
It is not that I don´t want to give you the information, but I think that information
through Internet is only valid and adequate to a limit, and sometimes (as your case) is
necessary a personalized professional evaluation.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 17 September 2013, 10:07:03


Quote from: Druedude on 16 September 2013, 13:55:57
I have had major depression and anxiety for years... I've tried every med available for these
conditions ( just started prestiq last week )
Several months ago, hemroid surgery left me with a stricture (found by colonoscopy).
After taking 10 mg Percocet for a few weeks, I realized that my depression, panic, anxiety, was
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government hype about how awful they are. I'm thinking long-term, it is safer than alcohol in several
respects; I have a doctor in the family who has almost eluded such?
Also have a private question I will PM.

Thank you,


Opiates have antidepressant and antipsychotic properties. There is enough evidence
about this, although opiates are not usually prescribed for this. There are drugs that,
at least in theory, are pharmacologically safer, less toxic, less addictive and with less
adverse effects than opiates. Of course there are also other factors, and moral
prejudices against opiates are one of them. Even with pain management, the principal
medical indication for opiates, prescription is much lower than it should be due to
these prejudices and this has been shown in different studies.

There is some evidence that oxicodone can be useful in very severe depressions:
http://www.ncbi.nlm.nih.gov/pubmed/10588427
http://www.ncbi.nlm.nih.gov/pubmed/22901349
http://ajp.psychiatryonline.org/article.aspx?articleid=173886#R15612BCFGBDJI
http://www.opioids.com/antidepressant/opiates.html

This does not mean that is the best drug, or indicated for every kind of depression. I
can't even say if it is adequate for you or not. But there is a logic in the fact your
symptoms improve with Percocet. You should discuss this with your physician, and
search for the best option for you, valorating all pros and cons.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TorXic on 17 September 2013, 13:51:43


Quote from: Internal Freedom on 17 September 2013, 03:20:40
Ive read that anti-oxidants can be used to combat MDMA neurotoxicity and reduce most of the
damage it causes to the human brain. Specifically, I read that Alpha Lipoic Acid is one of the best anti-
oxidants for such a thing because it helps combat free radicals. I recently took 90mg MDMA and 30mg
MDA at the same time. An hour before taking it I took: 1g Vitamin C, 200mg ALA, and 100mg Co-
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finally consumed around 1.5g of it by the end. I also took some before going to bed, and in the
morning the next day when I woke up. The next day, my insides has essentially liquified from all the
ALA im assuming and I had extreme diarrhea for a couple hours but felt fine other then that.

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from free radicals, or is one dose before taking MDMA, during it, and after it ok? As much as I would
like to think the constant redosing of anti-oxidants helped, the "shitty" experience the next day was
really a downside and would not make me want to do that on every trip.

Thanks! 8)


you forgot 5-htp ;) for serotonine, and green tea extract as anti-oxidant



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btw, while waiting for DoctorX answer, you can find some info on ***CLEARNET***
rollsafe.org, and other sites too.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: redalloverthelandguyhere on 17 September 2013, 16:26:29

      Hi Doctor, hope your well (like if your not, were all going to wonder how good a
      doc you are!)

      So, my thing is the usual colds going around. I always say the best palative for a
      cold is to eat 2 grams of hash and stay inside, keep warm but wrap up and walk
      a few miles, likely before eating the 2 or 1 gram of hash.

      Smoking hash will obviously not help a cold or flu, so eating it, I would argue that
      it is a good thing to do.

      However, not every likes cannabis so this 'cure' or palative for a common cold is
      for cannabis lovers only.

      2 grams for hardened tokers
      1 gram for little tokers
      Half gram for non tokers.

      Don't drive for 24 hr after you ingest.

      Watch some nice DVDs or something.

      Do take that walk!

      I would also like to say to everyone - please do walk, if you can. Walking is THE
      best preventative medicine (unless you live in Compton or some bad area)

      Thanks doc!

      In advance!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Internal Freedom on 17 September 2013, 19:03:39


Quote from: TorXic on 17 September 2013, 13:51:43
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btw, while waiting for DoctorX answer, you can find some info on ***CLEARNET*** rollsafe.org, and
other sites too.
5-HTP is taken afterwards, I was referring to harm reduction from anti-oxidants not
regenerating lost serotonin. Ive read several reports saying 5-htp before or during the


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roll changes it somewhat which I would like to avoid. As I said, I took ALA/Vit C/
COQ10 instead of gren tea extract. It doesn't matter what anti-oxidant you take in my
experience, as long as you take enough to fight all free radicals swimming around in
your brain.

The idea for this experiment I did, (with taking 200mg of ALA every hour during the
roll) I actually got from RollSafe, which is why I asked the doctor here. I followed the
rollsafe guidelines and was not expecting the after-effects the next morning :P

My question was more regarding the prevention of damage through anti-oxidants and
how long the anti-oxidants effects will last before they start becoming less effective
and free radicals start forming again. I appreciate your advice though
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Railgun on 17 September 2013, 20:13:26

      Doctor, I'm kind of desperate. I am more than willing to pay for aid. Because it's
      personal, I have PGPed it and have left my PGP key as well. It's kind of urgent--
      thank you.

      -----BEGIN PGP MESSAGE-----
      Version: GnuPG v1.4.11 (GNU/Linux)

      hQIMA48DvU9vhQRxAQ//bPc9sgIxtpv4QYLJ5xmcd7hH2xttL2FU71RwWMVw1cwN
      UFRPl8BbZO5torDy24Nv66SRZoN+hg98lgU7gll0U8uOy7qg5wkx8L/TpLukUV4C
      FYjHimjApqL4fSPlb+WADUFFU2opXEcprMPq3Hq3Ji9+D6WG6oXnuPg2zsF64WoO
      hjcr+76Lx+w/RXtcyKmY5iNn+NKYqLVSVrih0vIcBS/Ki1BPaSj3yt1LP+7uMwG6
      WOaOHQ0/cl8S3d7PFlj6VNiI89ROlt3MLqzN5kwnl1Ae/FevMNZtBQFmtR6ooGbO
      FirnprxHr3KRHmo4FDVgp4/Lwh5cQSJXHBtFqSFuxv3Xpw9gssRlrS2RKeBAAbHH
      HlMP8MHGatE9/q6RL0AladyovFTx4dbgf8meA5F/J2EwQ8KLMuunYGX6beS3ml7c
      Tq5iaYmBBtMCjAaEVybUNALwFkD3acOZ4sUmYhnt7YPxYOlNgNfchJ3JHB3uTueL
      NwQPKoa5FYIV3UHRtNEOJg8QWgwT54r6YVsoEleX7zbS5h0BUpP+6A0faNwttnQ8
      G7r0rTIz1uMf2dk5OcmYwpHJRpjhaCr3p7IgkahBt95mQVbRR8Ms+rqxIefiThS0
      R3DSfuTyF3p3jbAw51GH5OCYfzLPX/fMggPQRVh2mLHACp8s72TR0hyS4JRXKAPS
      6wHNV8nok2GPt6BQtH0gqcpABnmSXOwdbb2kdTAtkbfakGpx8QYEefoy8VnnIaRj
      16WLfJSxwth0sue/p9VLjZKsbiL7YgVTdW3DnKhS7OPanrncnINqSDSlZZ8R9KX2
      PVUGCUnSp4uBG7+ZzSb6KjYt7GZA/VBCEdUSzsjBkeiSSGx4iArdbMeR7LpeV2EC
      2yvgAGkAtjOEAQWI9MhXTtZqp/nAjcyo68PaUW9jt2FlsXWIAGafAtDXkbt95DBF
      gUbYufM1ZxA0RV2P2XwyQ0oUns1RF1+VtzPEHP8/DpcsYSQ4mqJ7yRp6I88kjSes
      JYJvQLuY4Qzb/EVuYvj3ZxwyvKaG24Qa37ywmQ7f/lnhynvIIqyH3QQw2wek2rR4
      oh5LaZH25YWxDNV/ORRIfFX/B0n1rIZy2OL4PjTlkOi1cKxuGRxEoz/6KNYTBfUa
      DGXnizNDSHNmElEDDshERn93kCKqD8R7XiGrR8Y5I72dmp9M8Oc/0KMo2nwO7UIS
      L6ic70t1e2J2BkBZWvKcqUUB88sl2HF8lAleAPs8TAqGbD4CZlikv/vF1T/fioLe
      X0RyfmxNFvm0lHHci0FHDqukUpIAoEWEmgaVRpyk7kaiDPn2oyzMQHP12wcthkvA
      XF5Z1Xl9liORfZ3dnapFluND+fmRLYMgTu2aEYgRK9NB5tttyPWQqzLGFqlgOycD
      o7KoeOrMGgWoc0z1uHz0sO7iZaXSxAg0kyCMKq5v51IAqAfmtPCRlb3LGSY2Et1n
      0vd4S9gItnC/KmK5222gdcCKR6LIDH9ctbbDGa4ulNlZf2MCR7MMN3c2EB5Glg7f
      3+EdLRri9fSJ+QE+/X2Lf5Zy5oJDaNfEowR8iNKP12zsYtJrPqhB5M9eYDX57SXs

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     fRh06pBCffUe4OS5Ku75HQ/Lu/bCWPhwQpK84J17U3Fb5akAQyd21/ZNEVMnT37p
     MLfZbcxfKNFgbI+lsjXySnN0FfoTq8lAcol+Fr4sKzsbOcjnizwnRM198pvxfWTC
     DW+bdlFb/HJ7B3WjhKd4kwJ3Dg16NcHaDtlVyLtwWBVGybDI+yZnfDonztbpDWOA
     wxMgt2x98OQwqBiD1jE6rX70ySvPxjLM3oglGN/vWipOXPjiuPRMKcocPrrE3v5a
     rBvJdbocXDQUtdFt0EgkA362jn3w0k3huDl/VyBB71OnhEewrpk8xwSjSWXqXnw2
     eOZVmtfQnf2/TGADHyiljBjtqi3/wIBLKa/1TuR/Yn+q7Gw8ep0TvrrysBc1tQro
     ogfM/IVKDM4VosQ6xbg8eFQxdmZnQNHVJqUIeJFbBUqANV4CnsvkOqciaUEKbcA+
     SQA6kCF0FHyuBAcfO0e2hJf6KSKvmKqVlgcQmGGd9tA0Y0aI08T+yBZ1LHwwSRoA
     tDmt3bfig6KorpL4gJuwrLZLiUkOov6FbMyh2uHaYShuFBBS5gaHNk0wzbqLWctl
     e045kLGABeqyZ+Z72CXeY8pGYtVoi7l4EZaAoxbzpBq2DfgtibE33FPedYhvNYrN
     VniVXxDDumqBJIDSQEYZ1vxsnl7zaOAKa/kjPpdyDsD0OPZvOuXEgnH9yZu8vWok
     4EgUo/wZd8Vuo6thFpkYzOlp+9ebYKc8daf5y/L8nzhG0tq66NcIgugs4xf9Lkni
     khSRqQkSS7iVRk5zUKxMoFads9fAe1I3bRaHiIJa//IbEPvNcBudL/SvkCo3vxb3
     TPzGtvvEG7fXBkZIKfk6qTo1Z36Qc7GWpi87zr0RTFOQw736RwPZIfS0YO4GyRTP
     u3MSTYarXAXKA+F7tUhUi6sMgpeM/Z3zO+dVJd+HCWgbbbMv
     +QM0wqT0p68w6n2H
     Ey2bbb+0cDl0eVDkyY6sU5aPNAGb3gsMApCUSmZjpNkUU4pFtusgrjuvH0Gi5E9j
     TflODjoLe2LsU49TSMoEL1PTQNZl8tCeHLMlI0cJAaFnjVdZiTjQg4YssUS+FrHv
     /XI2NrstaVi0KgK9NKfThZ5ZPSEKBgTyySGNP90BC+bJhGMVNtPxgtRTx3zfU08U
     YqYM4boUPWsQu7l24gDncClrV82kiLCaxD2EgmJUSIzBkJmi0aj47zMPa8cWqjwt
     gaVRDEcSSpsqS4DahU1EgWe7F2LJzPwl/hgftlE6HuenjS6bzupwVuzFPPz/0CqO
     NJOW0E0yQPwrpRSS9BwC6GTKaq2OvjUgS8l9rTIuaG1iYpSAiZ/FYxd705KtXQ7H
     PsA4MjBPau5X3jaliYKGCDgblw9rquF9YY5XqTOLFnbq/TinFZHRw2eMnjGLoi+i
     NC+S7kKP3mfwZ6SFouturf0eXrp74BKlSQc++axM3MYaDaTxkLvL0zYDZww8+AVu
     w4hwHi6ocSKLXaN/m9ZT16nSN
     +FUoMMMfQQWVx43wSvGS2GeFzmw68QSPlUwDF5q
     8fMLahMSJmVke0BGF4s3OOeuKgrPaJsFlaPvSrwXQeMTxgwTGhI5ovCb0Ut/5/l4
     MvHBVphnP0AR+g9Ss5/63g0211akNvODiI8ytVcaR8Cg+6trXu2yhQ866eKom9SG
     4RqWQUyKyp3fJBNxyN2bZqlKTI3tIaEC+y7t8ASLFA4cx+pl+F5TS13zlZCSD9pB
     05gV/kQZnvbhkBTnjSkBWbK69j3cDEFFWqdjTsaSwp85MLWp7q3HrooIAqHxI2WJ
     Q3v/s73vk70gvOfgN8o5BRLJZ5Cvw7XXQi+HmLhO+5zn6f9haKjSmo+73CPTgCjJ
     ji/1RTvxKULFs1j2cjR65tsb5nVfrZiWoDzyrD95ayxdZR4+UJ74nJdIaxtqIaPC
     n+ytcvRvwvu/V8FhrWnfIqRu18XJ/RaDBlMXA5vhUT4/4t4+00O3UygJ/TWKaQQ/
     hM2WqyHAxjAfTUnPQ5PZdno2CLd7VbIEA+8K+CR6mi2b76S0dxQv6E1B3IGZogsS
     eY0HOhVIK+1KlY8/+j/nx/FonCCujkgQaMtmBHYCMkUQeu7/UmPbOXGVz+9fECvf
     eELj+vwGrb0BVIxQdoChRvus/Z/9ETj8RKToaYyc180sShCGdsGRchJUnv0WvY7L
     cFzGAJmRR5GnaBC13GTVEnD9NK6uHlHbgcnQ68tRcy7eALt7lkgm2W9DSwXd2v/G
     Ta5R4i8e/3kZfVJVu66C7sNwttmXM5Mph5IBGVKZMBaFyOKBrt60kqxULKFMQOKP
     FyafmZ655OBPvE3YjqxVI2nuTXblu2xcMOQnrwDDjBo1LcNnyoMhCEfS0thpD35x
     NIl/c1WPfqZvtLtZqW7lI9yJyQFQ1UES6uXj5xVhTESz9bVTZfzOCwJbUMnkRBNP
     JXEhiJPvUvW68mw8Xa1GxT3iYidNQl3eaw3Dtj4Ttxm4XjsDBxbgG7L8J+NEJcxe
     7ImX0xeTrvAANQcLsjjvp/MdsVbOYiSu1vvxtqExpi9ajnJPTMoCcaU5Go97Fp9C
     XYaJcVlkwr7kponcF+wP2W/8qkKzNTt11Go66Y2bqxU7U5TAeduXulQr4NlUw9b9
     UJj2FGBVATN8WqV1pkLvBPdiG2eBuhwK8N3mK1UBgCXLd
     +meJQqsX3NhNK4t02S1
     y24HLd/4iRSZFATyoW/joM8jUxbtjYWNpZawKhpDtw9uGnAnDKQLtAJl08vmHBfJ
     zLVVWg==

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     =2afK
     -----END PGP MESSAGE-----




     This is my public key for response:
     -----BEGIN PGP PUBLIC KEY BLOCK-----
     Version: GnuPG v1.4.11 (GNU/Linux)

     mQINBFI4nMsBEADEFL0kypoQ6CbS7Tq7gQpPBKZDGt
     +6vAOKQOjmeR5lj0TONDMH
     mF+g98ZFtWnPvWLXr/slObww6LpfLeq7T9yZNbNzNCj8RsdwEHkrCDQ66/x90sd3
     rwIwMs58G5AKwxAi1ToDqP
     +GpzVcOGMDUWOEZ2QiH3suHZaEDxszACESl8OEWQi9
     sLVDYWpXSYryEvR2kRvs3JhRi0Vlux7Q1QtjUtG0ziP6BEGm5ZLyReXQzyqkP4jm
     qTkBAPpWmNkgCHQCSQ8xz/ud6eoSXrQm/T4YEK1YpmSPASMFaPsZPaKg4uiZdpIO
     G/EN67z93pD79vh5uKoO7n8IFzuW4jh5jUC0lHQydUKP4+TgQ67MO/CmAcLMM8jR
     tzKzyEhqJE3TFDKM60E2r7nb24OKVlgQxQBGuPVWnYQ8SuPOq8tGlIfwmuosQy2z
     ZppGxHVRBdA1OazyUfYbNLOCR8QJIs7/kq5T1ZNd4Sg67DcTa4LwyeVFkwyh10IM
     JaI4ayYAxndBJ7S9+xWB16WQE5Jw436ctBHJbQiSaD2YoHSfRqmi2KA+brP5l07p
     hr4VuDcFZlNsibxQvEK0Zqp5yoKVqEXft04/MCdvR7e3Nk0iUq+nJ4WMT4z6rkIJ
     HPn0NCEK/u0SSy3ZnWQaFIe8AuLEIW+v++c8k4urf3cvRIueRfkVVdl8UQARAQAB
     tBxyYWlscyAoTm9wZSkgPHJhaWxzQGxvbC5jb20+iQI+BBMBAgAoBQJSOJzLAhsD
     BQkJZgGABgsJCAcDAgYVCAIJCgsEFgIDAQIeAQIXgAAKCRDfLncqWKQb6T9ED/9m
     XKAvd78XTVrRtnHuXxZpPTWMWUMPi0Q2OdjyQAQMPCimUqJ6jlhtTLF/q4j3etY3
     RfIJ3a25U5xylxsHggAJDBozPxUQNJeQFQKVi24J04qbprsL66MQdA0jWVhEM/8e
     a8ijJKOe59A6RzxRuqA5ifJvr7lK97KL2AkH/Hhepo+TptAdARieQaWxOn48tbOa
     jZg2ZFmUX0wNb7Qsu6rgSblUH2GZi3WJBHnmPO6uvA2DsNH2sbYj
     +DmVJZHaWAg0
     xS8teGJ5kahIya7OZEyjxGGL7dHIJ9KLaltKeRAKjChjaiVMeBFSUNC1lsfINSsF
     UFHi0KQ4J3lUyx7K2Az6PGYpfxz4bWrSZlxm20DoPAEQtPXmOxYY+Tw3MxvGhfPg
     IyD5vHLnXOR0GqjUQXIWimvtgB6iamZrXHXnMbp+HS/0CGeNgfx/JRGL8sIwGBtV
     b2moDJQghnel3BlOuo6FL1ywd4H0T6VRoNETqO+GNPaTfYWmEAUs6jnUjcZSX/RK
     zo5gPSNIETD4PA4XdOXN7raiBsVcaotacSMgvucm9Pa3HDItRtX3sqG4+xbSa/Mt
     gRW72aFuitpLwtfgQ3GDoINK6nHYLv7uN1C14fxMqts1HdRI5Kcz/SIpzXdMT2Nw
     YbANgBccp+6YCEogWG2vFTW8GQQ++vO3w4ZU2lvOfbkCDQRSOJzLARAAsHftvJQi
     H2gyTr28wb6a2pmjsIm3VB76MiypgWFu+/gSvPlM6TBi3g+/Qhe0s0OYHJc+bsEd
     ARl40kl/a9rcXopWYY15SUcuKN6eMknEBmfTU6pIlwzibLtdF7kVzODJ7VhTJhMq
     PqLE0NH17U1WtyDPWqG8sZuYcwWTyZD9o7vGqEPq8PAGN9HpgweJLMxdoltq7oBt
     o7p6PDXmjnB18l+f1Gapx8BC1rGh3ei+tHms0DL/hLjvAPGcFNATUN7+h4zujHhJ
     d0nhGL6GJouxFBnapvCpmfuqnZbq7lmdqmLVPoXczZEn3XjTlbNCgbwb7f/FIR3H
     tSxWszPjBnIwTej9NvFH0Oi7KKQO2TmhXsjzPmVj+8SZ1xz6rJuaMI71QXPzUs73


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      snWsudOR7qFkL+HPvbSElJ1Lyd/FFjHtphqRapYeaS+m9N+t79q2CyVR0E9l6nQV
      NEuVydP0OlbxHGdwUFAaIQb+I9Na1Wl+kscL2lIg0ydnlA7mckah8TBSqOF4lrZv
      tdMBr1YyrKbKthvrdvUDHHJaaDskSAjci93HmB51fjdZgVWCwT8aEvPL0OXxs39/
      UwVu2wYngK8lCUh/HR7H5JDJ9JsqT/UjU4owAgMKy4+WckI2++uI4bnLinfQFVQq
      ULTwIuylWUwlAyJCodL96HnMmhXW7gM9xa8AEQEAAYkCJQQYAQIADwUCUjicywIb
      DAUJCWYBgAAKCRDfLncqWKQb6RSgEACVwtO/0RVZ0KMWwkNAdR3kAgDQn/
      SwSvAi
      7FOok+1suL6VG0bHM1jI7zVtgAU+5XNue9aJ061tU1MutWEyDicmj7a2PcbSvnOK
      AIIU9dKevq9XTMvJb4C+8navOuxZQnzRJMp7J8FCMXvA0yiJbTsKw2Z5Hxrg45Yn
      I7OYWExAzjY+bbQl82eyyPPfZjw/94vDtqGq44FmQacOnfaUEj8bMCwkwcUsYDEA
      jFXKmybVwycv0HoWk/n5B3KiydgXGr7oc8w+HvNt9VBK2AAFZAAB
      +Ez7WO9SQXxz
      KrociV0zyMCtAH073s/jmAC3OXIL78/4rZ/SuRkTGfD8zDs7OvFdIWo9pj1y7v+a
      zT6bds3KsaEW4HbmFjaEzfCAtIiw/O/HXiUbUG7BGxaylaoLJaJyxSv410FusVdl
      +bjAqoSagSG+Wo43ToExeMq+CUcSiFOR6ZW8Q0vS2V5GRV5kLIcxHNPsZ8yeRI/E
      luK3G+ab2xC8rLObQ+z1SKr00Qv1UukqJ/
      +mOzR85lWTQXmOLRdx8zmmzn/5sEZb
      7soWxAK5pAzQ3z1uoGa87tfyel96pQ4W2NkcXR63IHT/e0l6mg7lhhdyZOdJPJoX
      KJXlTnd4sB4gPr8c67TFzBTFm+08JlB10vWMTTa4SsgsKdMlpZc+TW8lgD9IKxrD
      VfFQ3Cm3JQ==
      =BWdi
      -----END PGP PUBLIC KEY BLOCK-----



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TorXic on 17 September 2013, 20:23:33


Quote from: Internal Freedom on 17 September 2013, 19:03:39
Quote from: TorXic on 17 September 2013, 13:51:43
 you forgot 5-htp ;) for serotonine, and green tea extract as anti-oxidant

 btw, while waiting for DoctorX answer, you can find some info on ***CLEARNET*** rollsafe.org, and
 other sites too.
5-HTP is taken afterwards, I was referring to harm reduction from anti-oxidants not regenerating lost
serotonin. Ive read several reports saying 5-htp before or during the roll changes it somewhat which I
would like to avoid. As I said, I took ALA/Vit C/COQ10 instead of gren tea extract. It doesn't matter
what anti-oxidant you take in my experience, as long as you take enough to fight all free radicals
swimming around in your brain.

The idea for this experiment I did, (with taking 200mg of ALA every hour during the roll) I actually got
from RollSafe, which is why I asked the doctor here. I followed the rollsafe guidelines and was not
expecting the after-effects the next morning :P

My question was more regarding the prevention of damage through anti-oxidants and how long the
anti-oxidants effects will last before they start becoming less effective and free radicals start forming
again. I appreciate your advice though
ops sorry! I read fast and missed some points.

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btw 5-htp can be taken previous roll too, not 24h before or after, too increase
serotonine level, I have no idea if it's true.

Thanks for your questions, I'm interested too, but MDMA it's one of the most studied
substance and it's already hard to say what can prevent damage :S
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Rastaman Vibration on 17 September 2013, 22:18:25


Quote from: DoctorX on 17 September 2013, 08:35:31
Quote from: Rastaman Vibration on 16 September 2013, 04:32:22
 Hi Doctor,

 What are the harmful effects, if any, of taking small doses of LSD on a fairly regular basis? I have
 been experimenting with doses of less that 15 micrograms. I am currently taking 5 micrograms
 once a week. Is this harmful in any way? Would it be harmful to take 5 micrograms of LSD more
 frequently, such as 3 times a week?

 Thank you for your time

Toxicity of LSD to human organ or systems is extremely low. Threshold is 20 micrograms, so 5
micrograms will not have probably noticeable effects. LSD causes pharmacological tolerance very
quickly. This can be noticeable even once a week, so three times a week will cause that possible
subtle effects will dissapear if not increasing dosage. With these pattern of use toxic effects are not
expected, but neither biological activity.


Thanks for answering my queston, Doc! A small donation has been made to your tip
jar ;D

Many blessings to you and your family!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 17 September 2013, 23:32:58

      what is death?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Railgun on 18 September 2013, 00:49:28


Quote from: tedrux on 17 September 2013, 23:32:58
what is death?


No offense, but can we keep this a troll-free/non-philosophical zone. This is an
invaluable resource for a lot of people here who would otherwise be shunned as soon
as they mentioned drugs.


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: greengrandpa on 18 September 2013, 02:41:37

      Hello Doctor, thank you for your good work !
      i want to know what are the best things to eat after an mdma night to preserve
      the brain? like vitamines herbs or something like that , thank you !
      Kind regards



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tedrux on 18 September 2013, 04:58:04

      im not doing either, I just don't know what death is. so I would like to be told by
      a doctor.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 September 2013, 13:50:12


Quote from: Internal Freedom on 17 September 2013, 03:20:40
Ive read that anti-oxidants can be used to combat MDMA neurotoxicity and reduce most of the
damage it causes to the human brain. Specifically, I read that Alpha Lipoic Acid is one of the best anti-
oxidants for such a thing because it helps combat free radicals. I recently took 90mg MDMA and 30mg
MDA at the same time. An hour before taking it I took: 1g Vitamin C, 200mg ALA, and 100mg Co-
Enzyme Q10. During the experience I also took 200mg of ALA every hour for 6 hours until I had
finally consumed around 1.5g of it by the end. I also took some before going to bed, and in the
morning the next day when I woke up. The next day, my insides has essentially liquified from all the
ALA im assuming and I had extreme diarrhea for a couple hours but felt fine other then that.

The next few days my mood was actually lifted and I felt fantastic. My question is: Is it necessary to
take a fair dose of Anti-Oxidants (such as 200mg of ALA) every hour to fully combat neuro-toxicity
from free radicals, or is one dose before taking MDMA, during it, and after it ok? As much as I would
like to think the constant redosing of anti-oxidants helped, the "shitty" experience the next day was
really a downside and would not make me want to do that on every trip.

Thanks! 8)


Some aspects of this issue have been previously discussed in the thread. Here are a
bit of information about neurotoxicity of MDMA, after-effects and the role of
supplements:

http://dkn255hz262ypmii.onion/index.php?topic=147607.75
http://dkn255hz262ypmii.onion/index.php?topic=147607.90
http://dkn255hz262ypmii.onion/index.php?topic=147607.msg1166735;
topicseen#msg1166735

The question is, none of the pre-load or post-load guidances are based on scientific

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research in humans because these studies do not exist. Studies with mega-doses of
MDMA and mega-doses neuroprotective agents are performed in order to understand
the mechanisms of neurotoxicity. But doses used, both of MDMA and neuroprotectives
are never extrapolable to humans.
The main study on alpha-lipoic acid and MDMA is this:

http://www.ncbi.nlm.nih.gov/pubmed/10619665

They used 20 mg/kg of MDMA and 100 mg/kg of ALA twice a day injected to achieve
the neuroprotective effect. So you (supposing a weight of 70 kg) would have to inject
1400 mg of MDMA and 7 gr of ALA to do this. Please don't try because you will
definetly die, as the rats do.

There is no evidence that ocassional, moderate dosages of MDMA produce
neurotoxicity in humans. There is no evidence of efficace for neuroprotective to
diminish neurotoxicity neither for after-effects. 30-50% of the effect of any pain-killer
is explained by placebo effect, so the role of ALA (and any other supplement) is
unknown, and probably useless. Using MDMA moderately and in controlled settings is
the best way to avoid this problems. All the rest is probably harmless but useless too.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 September 2013, 13:55:31


Quote

you forgot 5-htp ;) for serotonine, and green tea extract as anti-oxidant

btw, while waiting for DoctorX answer, you can find some info on ***CLEARNET*** rollsafe.org, and
other sites too.


I regret all the objections made in previous message done for Alpha-lipoic-acid are
applicable to 5-HTP and green tea extract. Harmless but without any evidence of
usefulness.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 September 2013, 13:58:20


Quote from: redalloverthelandguyhere on 17 September 2013, 16:26:29
Hi Doctor, hope your well (like if your not, were all going to wonder how good a doc you are!)

So, my thing is the usual colds going around. I always say the best palative for a cold is to eat 2
grams of hash and stay inside, keep warm but wrap up and walk a few miles, likely before eating the
2 or 1 gram of hash.

Smoking hash will obviously not help a cold or flu, so eating it, I would argue that it is a good thing to
do.

However, not every likes cannabis so this 'cure' or palative for a common cold is for cannabis lovers


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only.

2 grams for hardened tokers
1 gram for little tokers
Half gram for non tokers.

Don't drive for 24 hr after you ingest.

Watch some nice DVDs or something.

Do take that walk!

I would also like to say to everyone - please do walk, if you can. Walking is THE best preventative
medicine (unless you live in Compton or some bad area)

Thanks doc!

In advance!


I'm sorry but there are not scientific data for supporting the idea. If you are a heavy
cannabis user and feels right for you, I can't convince you not to do that. But, in
general, I can't reccomend that for cold or flu. I agree with the idea of not driving
while your treatment...:)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 18 September 2013, 14:17:34


Quote from: Railgun on 17 September 2013, 20:13:26
Doctor, I'm kind of desperate. I am more than willing to pay for aid. Because it's personal, I have
PGPed it and have left my PGP key as well. It's kind of urgent--thank you.



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zo5gPSNIETD4PA4XdOXN7raiBsVcaotacSMgvucm9Pa3HDItRtX3sqG4+xbSa/Mt
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H2gyTr28wb6a2pmjsIm3VB76MiypgWFu+/gSvPlM6TBi3g+/Qhe0s0OYHJc+bsEd
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d0nhGL6GJouxFBnapvCpmfuqnZbq7lmdqmLVPoXczZEn3XjTlbNCgbwb7f/FIR3H
tSxWszPjBnIwTej9NvFH0Oi7KKQO2TmhXsjzPmVj+8SZ1xz6rJuaMI71QXPzUs73
snWsudOR7qFkL+HPvbSElJ1Lyd/FFjHtphqRapYeaS+m9N+t79q2CyVR0E9l6nQV
NEuVydP0OlbxHGdwUFAaIQb+I9Na1Wl+kscL2lIg0ydnlA7mckah8TBSqOF4lrZv
tdMBr1YyrKbKthvrdvUDHHJaaDskSAjci93HmB51fjdZgVWCwT8aEvPL0OXxs39/
UwVu2wYngK8lCUh/HR7H5JDJ9JsqT/UjU4owAgMKy4+WckI2++uI4bnLinfQFVQq
ULTwIuylWUwlAyJCodL96HnMmhXW7gM9xa8AEQEAAYkCJQQYAQIADwUCUjicywIb
DAUJCWYBgAAKCRDfLncqWKQb6RSgEACVwtO/0RVZ0KMWwkNAdR3kAgDQn/SwSvAi
7FOok+1suL6VG0bHM1jI7zVtgAU+5XNue9aJ061tU1MutWEyDicmj7a2PcbSvnOK
AIIU9dKevq9XTMvJb4C+8navOuxZQnzRJMp7J8FCMXvA0yiJbTsKw2Z5Hxrg45Yn
I7OYWExAzjY+bbQl82eyyPPfZjw/94vDtqGq44FmQacOnfaUEj8bMCwkwcUsYDEA
jFXKmybVwycv0HoWk/n5B3KiydgXGr7oc8w+HvNt9VBK2AAFZAAB+Ez7WO9SQXxz
KrociV0zyMCtAH073s/jmAC3OXIL78/4rZ/SuRkTGfD8zDs7OvFdIWo9pj1y7v+a


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I answer on PM. Please use PM for encrypted messages.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: l1llykins on 19 September 2013, 07:36:50

      I saw the link to this thread on the main site. +1 for taking the time out to
      answer all these questions :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 19 September 2013, 09:30:25


Quote from: tedrux on 17 September 2013, 23:32:58
what is death?


In medicine there is a difference between "clinical death": cessation of breathing and
heart beat and "biological death":lack of cerebral electrical activity, that indicates that
a person is definetly and irreversibly dead. Clinical death can be reversed (by
techniques of cardio pulmonar resucitation. Biological death no.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 19 September 2013, 09:56:25


Quote from: greengrandpa on 18 September 2013, 02:41:37
Hello Doctor, thank you for your good work !
i want to know what are the best things to eat after an mdma night to preserve the brain? like
vitamines herbs or something like that , thank you !
Kind regards


We were talking yesterday about this:
https://dkn255hz262ypmii.onion.lu/index.php?topic=147607.
msg1546636#msg1546636
Supplements have no efficacy proved and there is no need for a concrete alimentation.
It is not proved that common occasional recreative dosages of MDMA (120-140 mg
and a booster of a half two hours later) have neurotoxic effects. And it is no proved
that any supplement would be effective in human in neurotoxicity produced by high
dosages or frequencies of MDMA. So, to preserve the brain the only way is using

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MDMA safely and with moderation. Lack of appetite is a typical after effect so you
should eat sweet or soft meals, but it is no related to brain
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 19 September 2013, 17:42:02

      DoctorX,

      Do you think the pain killing properties of marijuana might cause lack of response
      in the affected individual's pain receptors which could result in an avoidable
      injury? For example, a runner who feels no pain, or less pain than normal, causes
      damage to his health by running too much while high. I suppose the same thing
      could happen with any pain killing drug if it does happen at all. Too much
      happiness.

      Police and public health officials report certain drugs seem to cause some users
      to be unstoppable or react in extremely aggressive manner. We read reports of
      how someone was hyped up on something and it took six people to subdue
      them. Can you comment on this reported aggressive reaction some users have
      to some drugs?

      Why is it that whenever there is a report of violence associated with drug
      purchases gone bad, it is always a fact that drugs, or the personal craving for
      drugs among loser criminal types, caused the senseless violence? Poverty has no
      blame for these wanton evil acts. This may require the rest of my life to figure
      out, but at least now the drugs are safer to buy, here, on the dark web.
      Governments have defacto become drug distribution networks. Ironic isn't it?

      By the way Doc didn't mean to dis you bout the x instead of X. What is your
      preference anyway?

      Thanks,

      Clean



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tymczasowe on 20 September 2013, 00:30:29

      Hi Doc,

      Many thanks again! And some follow-up questions:

      1. If any type benzo + driving is bad idea in general then is there any good
      medicine for acute anxiety control that doesn't impair driving?

      2. I heard of nausea on some stronger opiates (on lighter I had no problem with
      it though), like methadone, and that drugs used to treat locomotive nausea are of

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      no use (if this is incorrect please correct).

      So my question is: what would be recommended drugs to deal with it, and
      thietylperazinum will be okay? (Have already at hand so it would make things
      easier. I saw leaflet on these and it says only to "inform doctor" if using
      painkillers or sedatives (among others), no other or direct warnings of
      interactions. Also - will it be effective for nausea caused by strong opiates?

      Additionally - the same questions for 4-MeO-DMT (it's great and unique
      experience, but I get strong nausea during peak that is a lot

      3. Is nicotine and caffeine okay with opiates in general or are a no go? (I'm
      asking because they are also stims -- especially snuffed tobacco have strong
      stimulating effect for me).

      4. You've recommended "more incisive" benzo for bad trip emergency, like
      sublingual alprazolam or lorazepam -- on the Road there is only sublingual
      lorazepam. And when I look at benzos comparison charts, it has much longer
      time to peak/onset of action (2-4 hours), while normal alprazolam or diazepam
      have 1-2 or 1-1,5. So question is if sublingual lorazepam will be faster to act, or
      is it better idea to use alprazolam (and crush it for faster absorption or
      something)

      Thanks again!

      (BTW I've sent again some coins your way, also encourage strongly anybody else
      to do it -- please don't just say you appreciate Doc's time and help, but show that
      you do)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Td1j83TftR on 20 September 2013, 04:47:11

      Dr. X,

      Hello I have a problem called Patulous Eustachian Tube, it is basically a type of
      dysfunction in the eustachian tube. I have tried many different things like
      stimulants adderral, benzos, ssri, nothing really seems to help or is very short
      lasting. I have issues with focusing/brain fog/out of it lightheaded feeling all of
      the time and also I have very distorted hearing. They think it could be related to
      my TMJ like a muscular issue but were not sure. It causes me a lot of social
      anxiety since I can hear my voice echoing inside my head and also from the out
      of it feeling stupid feeling. It feels like I am off balance in a way. Ive also always
      had acid reflux but once the ear issue started, I started having issues with gluten
      intolerance and processed foods. It does say online that gluten, dairy, soy can
      make the ear issue worse so there seems to be a correlation. Marijuana does help
      me to relax and not care about the issue as much but it also can make me very


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      lazy/tired not wanting to do as much. I was just curious if you possibly knew of a
      certain strain that could be helpful to me or any other type of medicine or
      treatment that may help my focusing out of it issues or make it easier to cope
      with all of my symptoms.

      Thanks,
      Td



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Rotaluc on 20 September 2013, 14:22:12

      DoctorX, let me first say you're awesome for doing this. :)

      I have a question about tolerance. First some short history:

      I've taken pseudoefedrine. The first day (60mg) was awesome. The second day
      (60mg) I had some clear effects, but my thoughts also quickly became dark.
      Signs I believe I had depleted my dopamine. When I take it now, all it does is
      clear up my sinuses so I'm not taking it anymore (unless I have a cold). The first
      two days, pseudoefedrine took my visual snow: https://en.wikipedia.org/wiki/
      Visual_snow away.

      I've taken caffeine. 200-300mg does absolutely nothing for me when I had a
      good night sleep, so I guess my adenosine levels are just fine. At 600mg (yes I
      know I am insane) I got some decent effect, but it was only once I took 800mg (I
      know, it's a lot) that I really felt great. At 800mg it also took my visual snow
      away. Due to side effects, I lowered the dose again and tapered off. After I had
      been clean for a week (apart from some very low amounts in milk chocolate), I
      once again took 800mg. This time I had far fewer side effects, but the positive
      effects were not as pronounced either. My visual snow did not go away this time.

      Apart from some very low amounts in milk chocolate, I stopped using caffeine.

      Now I'm on modafinil. A fairly low dose of just 100mg/day. I really liked the first
      few days. But in less than a week, I feel like the effects are not as strong
      anymore. I'm afraid once again I might be developing tolerance.

      This madness has to stop. Not using medication is not an option for me (believe
      me, I would if I could). I just have to stop developing tolerance.

      I've read about anti-tolerance drugs, NMDA-antagonists like dextromethorphan or
      (prescription) memantine. Would this be the way to go?



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mrmrmr on 20 September 2013, 18:27:04

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      Dr. X,

      Now that was interesting. Yesterday I had what I'd guess was a panic attack
      (high BP (up to 173/100 when I was able to measure), high HR, scared shitless,
      sweating, chest pain, and so on). I'm not sure what exactly caused it, but I guess
      it was dosing up amphetamine too fast in only a few days (a week or so) with
      Moclobemide being present, and maybe the (not related to both drugs) little
      sleep I had the last weeks.
      Just to be specific: I was at 3x8mg d/l-amphetamine throughout the day, and I
      only had slightest if any changes in BP throughout the day, while also taking
      600mg moclobemide as prescribed. The amphetamine worked wonders for my
      adhd even after the in that case undesired euphoria disappeared, and only in the
      afternoon I felt a bit "wired". The panic attack happened in the evening, probably
      three or four hours or so after the last dose.
      Of course I stopped taking any amphetamine the next day and will probably only
      and carefully try it again when I get my hands on some dextroamphetamine,
      because without the l-amphetamin it should probably have less effect on
      noradrenaline and so cause less bp issues or anxiety, as far as I know.

      So now my question is: If something like that happened again, could/should I
      take a benzo as it seems to be recommended for "general" amphetamine
      overdoses and/or rebound, or would the combination of moclobemide,
      amphetamine and a benzo do bad things? From what I know moclobemide only
      slows the breakdown of the benzos and one should take a smaller dose.
      And if it would be the right option in an situation like that, is there any
      recommended benzo for that purpose? I might be able to get some sublingual
      lorazepam, would that be OK? And at which dose?

      Thanks again for your work, by the way, I guess I should get some coin and send
      it to you asap. :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: gunhit on 21 September 2013, 12:29:04


Quote from: DoctorX on 17 September 2013, 10:07:03
Quote from: Druedude on 16 September 2013, 13:55:57
 I have had major depression and anxiety for years... I've tried every med available for these
 conditions ( just started prestiq last week )
 Several months ago, hemroid surgery left me with a stricture (found by colonoscopy).
 After taking 10 mg Percocet for a few weeks, I realized that my depression, panic, anxiety, was
 greatly reduced. I have quit taking opiates for a few days, on several occasions - I start with a
 nervous breakdown and about 4 days later just feel back to my "normal" levels of depression and
 anxiety. A few days of that, and I'm back to percs. What is the real reason that treating depression,
 anxiety, fymbromyelga, etc. with opiates is such a huge no-no? Aside from the obvious media and


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 government hype about how awful they are. I'm thinking long-term, it is safer than alcohol in
 several respects; I have a doctor in the family who has almost eluded such?
 Also have a private question I will PM.

 Thank you,

Opiates have antidepressant and antipsychotic properties. There is enough evidence about this,
although opiates are not usually prescribed for this. There are drugs that, at least in theory, are
pharmacologically safer, less toxic, less addictive and with less adverse effects than opiates. Of course
there are also other factors, and moral prejudices against opiates are one of them. Even with pain
management, the principal medical indication for opiates, prescription is much lower than it should be
due to these prejudices and this has been shown in different studies.

There is some evidence that oxicodone can be useful in very severe depressions:
http://www.ncbi.nlm.nih.gov/pubmed/10588427
http://www.ncbi.nlm.nih.gov/pubmed/22901349
http://ajp.psychiatryonline.org/article.aspx?articleid=173886#R15612BCFGBDJI
http://www.opioids.com/antidepressant/opiates.html

This does not mean that is the best drug, or indicated for every kind of depression. I can't even say if
it is adequate for you or not. But there is a logic in the fact your symptoms improve with Percocet.
You should discuss this with your physician, and search for the best option for you, valorating all pros
and cons.


Hi Doctor

Thanks very much for all the information in these Q&A it's very helpful.

A bit about my history - I have used caffeine regularly since 14-15y.o. and am a daily
'addict'
- Alcohol regularly since 18y.o.
- Cannabis since 19y.o. (irregular)
- Codeine since 19.y.o (rarely)
Used to be addicted to tobacco but have quit for over a year now.
- Have used MDMA a few times.
- Maybe couple lines of ritalin.

I am in my early twenties still but am having trouble getting motivated. There is a
history of alcohol addiction in the family and unfortunately I find it quite enjoyable
myself. I have managed to give it up entirely in the past for 1-2 months at a time.
Cannabis I can go without easily for six months at a time in fact, I've only smoked a
few times in about the last 8 months.

What I'm wondering is if genetics may have led me down paths of addiction? My
father is a daily drinker, only stopped for the week or so when hospitalised for 3 heart
attacks now in the past few years.

Also my thoughts always seem so constant like I just can't stop worrying about
things? I've managed to reduce my alcohol consumption to just one or two drinks per
week; Haven't binged since 3 months ago.
I talk to people that say in the days after using MDMA that they feel 'scattered' or


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down. For me it is just "back to normal feeling" definitely not happy the week after but
it's still like my thoughts are always leaving me to be a "dreamer"

These days I am regularly sober except for caffeine use.

My biggest problem is that after 3 years of university study I quit because of a lack of
motivation. I also seem very indecisive all the time. Alcohol and cannabis are probably
two things that I enjoy.

In fact since my reduced consumption of substances lately I have become even more
withdrawn socially then when I used to go out partying with friends; or just generally
being chatty. Actually that's what I miss about smoking cigarettes.

I know this is hard for you to answer as you have said before it depends on the
individual, but in your professional opinion would it be better to treat depression/
anxiety symptoms (or just general malaise) with drugs/pharmaceuticals? Or would
abstinence from all substances be better?


I am also asking as I was concerned when my brother went onto antidepressants -
notably "Pristiq" He didn't even last two months and went off them because they were
making him feel so bad. Actually he is a almost daily pot smoker and finds that better.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 September 2013, 14:57:56


Quote from: cleansober on 19 September 2013, 17:42:02
DoctorX,

Do you think the pain killing properties of marijuana might cause lack of response in the affected
individual's pain receptors which could result in an avoidable injury? For example, a runner who feels
no pain, or less pain than normal, causes damage to his health by running too much while high. I
suppose the same thing could happen with any pain killing drug if it does happen at all. Too much
happiness.

Police and public health officials report certain drugs seem to cause some users to be unstoppable or
react in extremely aggressive manner. We read reports of how someone was hyped up on something
and it took six people to subdue them. Can you comment on this reported aggressive reaction some
users have to some drugs?

Why is it that whenever there is a report of violence associated with drug purchases gone bad, it is
always a fact that drugs, or the personal craving for drugs among loser criminal types, caused the
senseless violence? Poverty has no blame for these wanton evil acts. This may require the rest of my
life to figure out, but at least now the drugs are safer to buy, here, on the dark web. Governments
have defacto become drug distribution networks. Ironic isn't it?

By the way Doc didn't mean to dis you bout the x instead of X. What is your preference anyway?

Thanks,

Clean



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Definitely not. “Pain” is a general word for very different physical sensations. It is not
the same the kind of pain produced by a sprained ankle (inflammatory pain), pain
produced by constipation (visceral pain) or herpes (neuropathic pain). In fact cannabis
is more effective for neuropathic pain than for other kind of pain. And all analgesic
medications don’t just make disappear completely painful sensations, but only
diminish it.
Drugs do not “cause” these reactions, but increase previous characteristics of
personality. Violent behaviour is more frequent after stimulant use but not everybody
become aggressive after taking these drugs. Alcohol is other drug frequently related to
aggressive behaviour.
I prefer X rather than x ;)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 21 September 2013, 15:30:38


Quote from: tymczasowe on 20 September 2013, 00:30:29
Hi Doc,

Many thanks again! And some follow-up questions:

1. If any type benzo + driving is bad idea in general then is there any good medicine for acute anxiety
control that doesn't impair driving?

2. I heard of nausea on some stronger opiates (on lighter I had no problem with it though), like
methadone, and that drugs used to treat locomotive nausea are of no use (if this is incorrect please
correct).

So my question is: what would be recommended drugs to deal with it, and thietylperazinum will be
okay? (Have already at hand so it would make things easier. I saw leaflet on these and it says only to
"inform doctor" if using painkillers or sedatives (among others), no other or direct warnings of
interactions. Also - will it be effective for nausea caused by strong opiates?

Additionally - the same questions for 4-MeO-DMT (it's great and unique experience, but I get strong
nausea during peak that is a lot

3. Is nicotine and caffeine okay with opiates in general or are a no go? (I'm asking because they are
also stims -- especially snuffed tobacco have strong stimulating effect for me).

4. You've recommended "more incisive" benzo for bad trip emergency, like sublingual alprazolam or
lorazepam -- on the Road there is only sublingual lorazepam. And when I look at benzos comparison
charts, it has much longer time to peak/onset of action (2-4 hours), while normal alprazolam or
diazepam have 1-2 or 1-1,5. So question is if sublingual lorazepam will be faster to act, or is it better
idea to use alprazolam (and crush it for faster absorption or something)

Thanks again!

(BTW I've sent again some coins your way, also encourage strongly anybody else to do it -- please
don't just say you appreciate Doc's time and help, but show that you do)


1.- In general, benzos and driving are a bad idea but the degree of driving impairment
depends on characteristics of the benzo and dosage. Main risk is sedation and


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increasing risk of crashing but it is not the same flunitrazepam 2 mg (would be very
risky) than 1.5 bromazepam, for example (probably much safer). To be honest,
doctors forget very frequently warning about this to patients when prescribing benzos.
One possible option would be a beta-blocker (propranolol). This drug affect only on
the somatic-organic component of anxiety leaving mental functions unaffected.
Propanolol is contraindicated in persons with asthma and some arterial problems.
In clinical use of opiates, haloperidol and chlorpromazine are elective drugs to treat
nausea associated to opiates. Adverse and psychoactive effects of these drugs make
them unadequate for most recreative users, I think adverse effects should be greater
than desired effects, but in theory they should be the most effective drugs. Serotonin
antagonists (ondansetron) are effective but very expensive. Metoclopramide and
antihistaminics could be adequate too, but it also has a sedative effect. Effect of
thietylperazinum is probably weak but risk of interactions is very low.
There is a lot of experience with opiates, as they are used in medicine. But advice of 4-
AcO is much difficult, as there is no clinical experience. Combination with the
previously mentioned drugs probably affect to the psychedelic experience (except,
maybe, antihistaminics)
3.- No clinical guide says that opiates prescription or dosage should be modified in
people using nicotine or caffeine so, in general, risks, effects and problems are similar
to no users.
4.- Lorazepam is more easily sublingual-absorbed than other benzos. Time to peak is
much shorter for lorazepam used by sublingual than oral route, so that is why it
should be a good option.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 22 September 2013, 05:18:57

      DocX,

       Do you prefer to be addressed as DoctorX , DocX, X, or as I have only seen
      once, Doctor X? What about your real name? Personally I like the X along,
      simple yet many hidden meanings can be assigned to it. Perhaps my many years
      of repeatedly studying the elements of algebra have contributed to my being
      partial to the horizontal or X axis? In fact, I do prefer horizontal over the vertical
      so is seems my bias is a learned one. I prefer to be called and call myself, Clean
      when attempting to evoke levity or informality while in serious situations
      Cleansober seems better, but whatever, as long as I'm not called an inmate.


      Clean



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 22 September 2013, 06:07:33

      Gunhit's September 21, 2013, 11:29 am question is a great one I think. He hits
      on a huge issue when he says, "

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Quote
My biggest problem is that after 3 years of university study I quit because of a lack of motivation.
" What percentage of your fellow students do graduate? Many universities have quite
low graduation rates so this may be normal. There are some radicals out there who
say universities are huge failures and students are their victims. You don't lack
motivation, you lack an interest in boring lectures with no practical value or payout.

Quote
I know this is hard for you to answer as you have said before it depends on the individual, but in your
professional opinion would it be better to treat depression/anxiety symptoms (or just general malaise)
with drugs/pharmaceuticals? Or would abstinence from all substances be better?


My unprofessional recommendation is for you to study tantric yoga kamasutra type
sex practices. Although sensual sex is not a drug it is the most fun possible while
awake. Before you know it you will be hanging fifty pound weights off your testicles
and liking it. If you get lucky you may even find a partner.
A quote taken from the internet regarding erectile dysfunction drugs follows:

Quote
In fact, Caverject produces perfect erections — with or without sexual excitement. And because it is
so effective, Caverject is used by adult film models during production. In fact, I am told that several
studios include money in their video budgets for supplies of Caverject and/or Viagra (often for men in
their late teens or early 20's). Other companies place the responsibility on the models by stipulating in
their contract that an erection must be maintained during the hours of the shoot or the model will not
be paid in full.
 And I thought it was normal to have two hour erections. I wonder what drug they use
to stop erections lasting longer than four hours?

Also if you drink just one or two drinks a week the last three months, I would think
alcoholism would be a surmountable foe on your way to your unreachable dream.

Good luck and I look forward to reading X's reply.

Clean



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 September 2013, 12:12:50


Quote from: Td1j83TftR on 20 September 2013, 04:47:11
Dr. X,

Hello I have a problem called Patulous Eustachian Tube, it is basically a type of dysfunction in the
eustachian tube. I have tried many different things like stimulants adderral, benzos, ssri, nothing


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really seems to help or is very short lasting. I have issues with focusing/brain fog/out of it lightheaded
feeling all of the time and also I have very distorted hearing. They think it could be related to my TMJ
like a muscular issue but were not sure. It causes me a lot of social anxiety since I can hear my voice
echoing inside my head and also from the out of it feeling stupid feeling. It feels like I am off balance
in a way. Ive also always had acid reflux but once the ear issue started, I started having issues with
gluten intolerance and processed foods. It does say online that gluten, dairy, soy can make the ear
issue worse so there seems to be a correlation. Marijuana does help me to relax and not care about
the issue as much but it also can make me very lazy/tired not wanting to do as much. I was just
curious if you possibly knew of a certain strain that could be helpful to me or any other type of
medicine or treatment that may help my focusing out of it issues or make it easier to cope with all of
my symptoms.

Thanks,
Td


Cannabis or psychoactives can be useful for management of symptoms of several
diseases but they are not always the best option for all of them. In your case
(patulous Eustachian tube) I don`t think that psychoactives may help you. Varieties of
cannabis rich in cannabidiol (CBD) have a more relaxant effect than those rich in
tetrahydrocannabinol (THC) although, as you say, they can make you tired/lazy. There
are some more specific treatments (as estrogen nasal drops) or oral administration of
saturated solution of potassium iodide) or even surgical therapy. Ask
an otorhinolaryngologist for the best option

Cannabis or ps
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: gunhit on 22 September 2013, 12:13:19

      Cleansober,

      Thanks very much for your perspective. I take it into serious account.

      Actually I could do with better sex. I have a medical condition that effectively
      leaves me with one useful nut. The women always wonder why it takes so long
      for me to cum, even after couple hours going straight it still doesn't happen for
      me.

      gunhit



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 September 2013, 12:27:46


Quote from: Rotaluc on 20 September 2013, 14:22:12
DoctorX, let me first say you're awesome for doing this. :)

I have a question about tolerance. First some short history:



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I've taken pseudoefedrine. The first day (60mg) was awesome. The second day (60mg) I had some
clear effects, but my thoughts also quickly became dark. Signs I believe I had depleted my dopamine.
When I take it now, all it does is clear up my sinuses so I'm not taking it anymore (unless I have a
cold). The first two days, pseudoefedrine took my visual snow: https://en.wikipedia.org/wiki/
Visual_snow away.

I've taken caffeine. 200-300mg does absolutely nothing for me when I had a good night sleep, so I
guess my adenosine levels are just fine. At 600mg (yes I know I am insane) I got some decent effect,
but it was only once I took 800mg (I know, it's a lot) that I really felt great. At 800mg it also took my
visual snow away. Due to side effects, I lowered the dose again and tapered off. After I had been
clean for a week (apart from some very low amounts in milk chocolate), I once again took 800mg.
This time I had far fewer side effects, but the positive effects were not as pronounced either. My
visual snow did not go away this time.

Apart from some very low amounts in milk chocolate, I stopped using caffeine.

Now I'm on modafinil. A fairly low dose of just 100mg/day. I really liked the first few days. But in less
than a week, I feel like the effects are not as strong anymore. I'm afraid once again I might be
developing tolerance.

This madness has to stop. Not using medication is not an option for me (believe me, I would if I
could). I just have to stop developing tolerance.

I've read about anti-tolerance drugs, NMDA-antagonists like dextromethorphan or (prescription)
memantine. Would this be the way to go?


Tolerance is a intrinsic characteristic of some drugs; depending on the drug it takes
more or less time to develop. There is no significant tolerance in two days to
pseudoefedrine, the change of effects you explain in two days should be explained by
other factors (probably, psychological predisposition) but not for pharmacological
tolerance. In clinical use of modafinil there is no need to increase the dosage after a
week of use. It is not a question of pharmacological tolerance, it is probably the way
you are using the drug that makes increase dosage.
It is not clear in your message why do you need to use medication. If your problem is
visual snow, in general use of psychoactives (except some benzos like clonazepam)
increases symptoms. If you are suffering other condition it seems that your auto-
medication with stimulants is not helping, so you may consider asking a doctor for
your best treatment option.
Dextromethorphan or memantine are not useful for diminishing tolerance in clinical,
real-life situations.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 22 September 2013, 12:41:12


Quote from: mrmrmr on 20 September 2013, 18:27:04
Dr. X,

Now that was interesting. Yesterday I had what I'd guess was a panic attack (high BP (up to 173/100
when I was able to measure), high HR, scared shitless, sweating, chest pain, and so on). I'm not sure
what exactly caused it, but I guess it was dosing up amphetamine too fast in only a few days (a week
or so) with Moclobemide being present, and maybe the (not related to both drugs) little sleep I had
the last weeks.


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Just to be specific: I was at 3x8mg d/l-amphetamine throughout the day, and I only had slightest if
any changes in BP throughout the day, while also taking 600mg moclobemide as prescribed. The
amphetamine worked wonders for my adhd even after the in that case undesired euphoria
disappeared, and only in the afternoon I felt a bit "wired". The panic attack happened in the evening,
probably three or four hours or so after the last dose.
Of course I stopped taking any amphetamine the next day and will probably only and carefully try it
again when I get my hands on some dextroamphetamine, because without the l-amphetamin it should
probably have less effect on noradrenaline and so cause less bp issues or anxiety, as far as I know.

So now my question is: If something like that happened again, could/should I take a benzo as it
seems to be recommended for "general" amphetamine overdoses and/or rebound, or would the
combination of moclobemide, amphetamine and a benzo do bad things? From what I know
moclobemide only slows the breakdown of the benzos and one should take a smaller dose.
And if it would be the right option in an situation like that, is there any recommended benzo for that
purpose? I might be able to get some sublingual lorazepam, would that be OK? And at which dose?

Thanks again for your work, by the way, I guess I should get some coin and send it to you asap. :)


I am not sure that moclobemide and amphetamine combination is a good idea.
Moclobemide is much safer than other MAOIs but combination with amphetamine
should be done with caution. It is possible (but not sure) that combination of both
substances has caused your problem. It is possible that d-amphetamine has fewer
effects, but I do not recommend combining with moclobemide, anyway.

Combination of benzos with moclobemide and amphetamine is probably safe.
Lorazepam 1 mg sublingual is useful for panic attacks. But we can`t be sure that your
problem was this. So if you are suffering again it should be prudent to confirm
diagnosis before using benzos.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mrmrmr on 22 September 2013, 14:45:40

      Thanks a lot, once more.

      I have to admit I'm a bit reluctant not to try d-amph and moclobemide, because I
      neither want to give up the moclobemide (since it is the first thing to help with
      my chronic depression) nor want to leave the adhd untreated. But I'll be very
      careful indeed, even more careful than before, because that was not a situation
      I't like to be in again.

      Maybe I'll be able to have all this done and surveilled by a doctor, but I doubt it.
      It's hard enough to acually find one who'd be willing to prescribe (d-)
      amphetamine, much less one who'd prescribe it with moclobemide and/or give
      advice on benzos without thinking I'm only "in it for the drugs".

      I actually tried to have a doctor check me out when I felt able to do anything
      again. But since I was better once I had arrived there I was just sent home and
      told to "relax".




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 22 September 2013, 20:29:23

      Dear Mr. Gunhit,

      Seems cum flow trouble would be a separate symptom from the nut issue? I'm
      not a docter, can't even spell it, but maybe you need acupuncture to open up the
      kumdulini?

      Does anyone read this stuff I write? Sometimes I think my jokes fall so flat they
      are like the sound in the forest that no ones hears, does it exist? Can anyone
      point out the joke in the previous sentence. Ok, let me try again.

      Dear Mr. Gun,

      Perhaps you should start with only 15 pounds with the weight lifting routine given
      your health condition.

      Clean


      Furthermore, what are the limits of legitimate questions here? Should I ask X
      about my back pain since who knows, I might get a pain killer and end up
      needing to know how to kick it? Doc X has already told us he cannot provide
      enlightenment to questioners. He admits he is flawed therefore all his advice
      must be taken with a grain of salt. Until he can speak infallibly then all his
      answers are potentially flawed. Sorry to be so harsh, but I am trying reconcile
      web reality with real reality. I'm seeking the perfect flame of web reality to stoke
      my inner gps.

      Also, how can I mention the "MUSE of Europe" that appears to be ready soon in a
      cream application and get no comments? Can you imagine, men putting cream
      on their penises that initiates perfect two hour hard-ons? First men will need to
      get over their shyness about putting creams and oils and lord knows what on
      their "Johnsons".

      Additionally should we be calling X by his real name? And what it his preference
      in all this?

      Thanks for the memories.

      Love you all,

      Cleansober


      Clean, still editing...




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 September 2013, 15:06:39


Quote from: DoctorX on 21 September 2013, 14:57:56
Quote from: cleansober on 19 September 2013, 17:42:02
 DoctorX,

 Do you think the pain killing properties of marijuana might cause lack of response in the affected
 individual's pain receptors which could result in an avoidable injury? For example, a runner who
 feels no pain, or less pain than normal, causes damage to his health by running too much while
 high. I suppose the same thing could happen with any pain killing drug if it does happen at all. Too
 much happiness.

 Police and public health officials report certain drugs seem to cause some users to be unstoppable or
 react in extremely aggressive manner. We read reports of how someone was hyped up on
 something and it took six people to subdue them. Can you comment on this reported aggressive
 reaction some users have to some drugs?

 Why is it that whenever there is a report of violence associated with drug purchases gone bad, it is
 always a fact that drugs, or the personal craving for drugs among loser criminal types, caused the
 senseless violence? Poverty has no blame for these wanton evil acts. This may require the rest of
 my life to figure out, but at least now the drugs are safer to buy, here, on the dark web.
 Governments have defacto become drug distribution networks. Ironic isn't it?

 By the way Doc didn't mean to dis you bout the x instead of X. What is your preference anyway?

 Thanks,

 Clean

Definitely not. “Pain” is a general word for many different physical sensations. It is not the same a
runner`s pain produced by a sprained ankle (inflammatory pain), pain produced by constipation
(visceral pain) or pain as herpes (neuropathic pain). In fact cannabis is more effective for neuropathic
pain than for other kind of pain. And all analgesic medications don’t just make disappear completely
painful sensations, but only diminish it.
Drugs do not “cause” these reactions, but increase pre-existing characteristics of personality. Violent
behaviour is more frequent after stimulant use but not everybody become aggressive after taking
these drugs. Alcohol is another drug frequently related to aggressive behaviour.
I prefer X rather than x ;)

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 September 2013, 15:37:49


Quote from: gunhit on 21 September 2013, 12:29:04
Quote from: DoctorX on 17 September 2013, 10:07:03
 Quote from: Druedude on 16 September 2013, 13:55:57
  I have had major depression and anxiety for years... I've tried every med available for these
  conditions ( just started prestiq last week )
  Several months ago, hemroid surgery left me with a stricture (found by colonoscopy).


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 After taking 10 mg Percocet for a few weeks, I realized that my depression, panic, anxiety, was
 greatly reduced. I have quit taking opiates for a few days, on several occasions - I start with a
 nervous breakdown and about 4 days later just feel back to my "normal" levels of depression and
 anxiety. A few days of that, and I'm back to percs. What is the real reason that treating
 depression, anxiety, fymbromyelga, etc. with opiates is such a huge no-no? Aside from the
 obvious media and government hype about how awful they are. I'm thinking long-term, it is safer
 than alcohol in several respects; I have a doctor in the family who has almost eluded such?
 Also have a private question I will PM.

 Thank you,

Opiates have antidepressant and antipsychotic properties. There is enough evidence about this,
although opiates are not usually prescribed for this. There are drugs that, at least in theory, are
pharmacologically safer, less toxic, less addictive and with less adverse effects than opiates. Of
course there are also other factors, and moral prejudices against opiates are one of them. Even with
pain management, the principal medical indication for opiates, prescription is much lower than it
should be due to these prejudices and this has been shown in different studies.

There is some evidence that oxicodone can be useful in very severe depressions:
http://www.ncbi.nlm.nih.gov/pubmed/10588427
http://www.ncbi.nlm.nih.gov/pubmed/22901349
http://ajp.psychiatryonline.org/article.aspx?articleid=173886#R15612BCFGBDJI
http://www.opioids.com/antidepressant/opiates.html

This does not mean that is the best drug, or indicated for every kind of depression. I can't even say
if it is adequate for you or not. But there is a logic in the fact your symptoms improve with Percocet.
You should discuss this with your physician, and search for the best option for you, valorating all
pros and cons.

Hi Doctor

Thanks very much for all the information in these Q&A it's very helpful.

A bit about my history - I have used caffeine regularly since 14-15y.o. and am a daily 'addict'
- Alcohol regularly since 18y.o.
- Cannabis since 19y.o. (irregular)
- Codeine since 19.y.o (rarely)
Used to be addicted to tobacco but have quit for over a year now.
- Have used MDMA a few times.
- Maybe couple lines of ritalin.

I am in my early twenties still but am having trouble getting motivated. There is a history of alcohol
addiction in the family and unfortunately I find it quite enjoyable myself. I have managed to give it up
entirely in the past for 1-2 months at a time. Cannabis I can go without easily for six months at a time
in fact, I've only smoked a few times in about the last 8 months.

What I'm wondering is if genetics may have led me down paths of addiction? My father is a daily
drinker, only stopped for the week or so when hospitalised for 3 heart attacks now in the past few
years.

Also my thoughts always seem so constant like I just can't stop worrying about things? I've managed
to reduce my alcohol consumption to just one or two drinks per week; Haven't binged since 3 months
ago.
I talk to people that say in the days after using MDMA that they feel 'scattered' or down. For me it is
just "back to normal feeling" definitely not happy the week after but it's still like my thoughts are
always leaving me to be a "dreamer"



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These days I am regularly sober except for caffeine use.

My biggest problem is that after 3 years of university study I quit because of a lack of motivation. I
also seem very indecisive all the time. Alcohol and cannabis are probably two things that I enjoy.

In fact since my reduced consumption of substances lately I have become even more withdrawn
socially then when I used to go out partying with friends; or just generally being chatty. Actually
that's what I miss about smoking cigarettes.

I know this is hard for you to answer as you have said before it depends on the individual, but in your
professional opinion would it be better to treat depression/anxiety symptoms (or just general malaise)
with drugs/pharmaceuticals? Or would abstinence from all substances be better?


I am also asking as I was concerned when my brother went onto antidepressants - notably "Pristiq"
He didn't even last two months and went off them because they were making him feel so bad.
Actually he is a almost daily pot smoker and finds that better.


The role of genetics in human diseases is, in general, less important than people think.
Several morphological characteristics are genetically determined. For most diseases,
there is a genetic predisposition but there exist also environmental factors that
condition the fact that an illness appear and its severity. Genetic diseases are rare and
none of them is psychological. So characteristics of personality (impulsivity, shyness,
addictive behaviours…) have a hereditary component that implies a certain tendency,
modulated by education, motivation, determination, personal decisions and life-
experience. So the fact that in your family there is an alcohol problem does not mean
that it is “genetically” transmitted to you.
I can`t be sure if in your case it is better to treat depression/anxiety with drugs or
not. But I don`t think that auto-medicate psychological symptoms with psychoactives
is a good idea, regardless if they are legal or not. In fact I don`t think auto-
medication is good, except if you have a flu or something like that. On the one hand,
there is the knowledge factor. Drug prescription is much more than choosing a drug
depending on symptoms. But, most important, a person can`t be objective with
himself. I`m a doctor but, when I have a health problem I search for an independent,
unbiased opinion. If we are talking about psychological problems and psychoactive
drugs I think this is particularly important. Cannabis can be useful for certain
psychological conditions but, in general, it is not a good antidepressant.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 23 September 2013, 15:40:16


Quote from: mrmrmr on 22 September 2013, 14:45:40
Thanks a lot, once more.

I have to admit I'm a bit reluctant not to try d-amph and moclobemide, because I neither want to give
up the moclobemide (since it is the first thing to help with my chronic depression) nor want to leave
the adhd untreated. But I'll be very careful indeed, even more careful than before, because that was
not a situation I't like to be in again.

Maybe I'll be able to have all this done and surveilled by a doctor, but I doubt it. It's hard enough to
acually find one who'd be willing to prescribe (d-)amphetamine, much less one who'd prescribe it with


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moclobemide and/or give advice on benzos without thinking I'm only "in it for the drugs".

I actually tried to have a doctor check me out when I felt able to do anything again. But since I was
better once I had arrived there I was just sent home and told to "relax".


I made some commentaries about auto-medication in the previous post. Maybe can
interest you
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: mimififi on 23 September 2013, 17:20:20

      Hi doc, thank you so much for your advices is really helpful :)

      I would like to ask about drug consumption related to sports practice and
      exercise. Recently I've been training to run marathons and taking gym workouts,
      although I've been doing sports in a semi-competitive level almost all my life. I
      try to have a healthy diet and a healthy lifestyle in general.

      Sometimes I do drugs like cannabis, LSD, 25-nombs, mdma, 2-cb and cocaine,
      never mix them and always having control with dose, purity, time between
      experiences, etc. Getting to the point:

      - if I take any of them and the next day I have a sport practice, will it affect my
      performance?
      - how many time should I wait after a "high" to have a 100% physical recovery?
      - any of those drugs is hurting directly my physical gains?
      - any warning about this topic?

      thank you and keep on the road!!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Mr Hazlo on 23 September 2013, 20:24:05

      Hi Doc X, quick question:

      A friend of mine wants to try MDMA but she has vasculitis and is not sure if she
      can take it. Can she? I'm not sure about how MDMA affects blood.

      Thank you verrrry muchh!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: chakrakhan87 on 24 September 2013, 02:56:24

      Hello DoctorX, and thank you SO much for your time and generous advice. It is
      so appreciated.


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      My history:
      I have been a recreational user of oral oxycodone for about 2 years. I started off
      feeling a great buzz with just 7.5 mg of oxycodone, and now two years later it
      takes me 30mg to feel the same buzz. (Tolerance is a lovely thing.) When I
      make an oxy purchase, I usually go a little nuts and take about 60mgs over the
      course of a day, usually 5 times per week. When I run out, it's no big deal. I
      don't get terrible withdrawals-- just some (mostly amusing) restless legs/arms
      which go away with one 50mg tramadol before bed for a few days and that's it.
      (I'm lucky.)

      My question:
      I have to get a wisdom tooth pulled in a few weeks. Am I going to be in agony as
      I try to ease the legitimate tooth pain because of my opiate tolerance? Should I
      make sure I have a stockpile of oxy for when I get my tooth pulled? I know my
      dentist will prescribe me a few 5mg hydrocodones, but I can't imagine they'll be
      very helpful.

      What will happen, heaven forbid, if I need surgery or something someday? Will
      any medication be able to ease my legitimate pain? Would I have to tell my
      doctor about my oxy use?

      Thanks again.
      --chakrakhan

      ps: For the record, I feel VERY blessed that I don't feel any physical or
      psychological addiction t oxy. I enjoy it very much, but if you told me I could
      never have it again, I'd say "OK" and then I'd go have a sandwich.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 September 2013, 11:27:46


Quote from: mimififi on 23 September 2013, 17:20:20
Hi doc, thank you so much for your advices is really helpful :)

I would like to ask about drug consumption related to sports practice and exercise. Recently I've been
training to run marathons and taking gym workouts, although I've been doing sports in a semi-
competitive level almost all my life. I try to have a healthy diet and a healthy lifestyle in general.

Sometimes I do drugs like cannabis, LSD, 25-nombs, mdma, 2-cb and cocaine, never mix them and
always having control with dose, purity, time between experiences, etc. Getting to the point:

- if I take any of them and the next day I have a sport practice, will it affect my performance?
- how many time should I wait after a "high" to have a 100% physical recovery?
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- any warning about this topic?

thank you and keep on the road!!

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The effects of taking drugs the day before a sport practice depend on many factors
(kind of drug, dosage, degree of physical activity, tolerance…). In general, you should
be careful if you are using stimulants (cocaine, amphetamines, MDMA…) and
practising sport the day after, as there might be residual effects on blood pressure or
heart rate. 1-3 days seems a reasonable time to wait before doing intense sport,
although it depends on substance and dosage. It is not the same a few puffs of
cannabis than a high dosage of LSD or MDMA. If used occasionally and in controlled
conditions, there are no data to suppose that these substances could affect your
physical gains. The exception is 25-NBOMe family. As I have explained several times
in this thread, the lack of data about its effects and toxicity make these substances
much more risky (at least, potentially) than cannabis, LSD, 2C-B, MDMA or cocaine
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 September 2013, 11:43:45


Quote from: Mr Hazlo on 23 September 2013, 20:24:05
Hi Doc X, quick question:

A friend of mine wants to try MDMA but she has vasculitis and is not sure if she can take it. Can she?
I'm not sure about how MDMA affects blood.

Thank you verrrry muchh!


Vasculitis is a wide group of disorders that destroy blood vessels by inflammation.
Many vasculitis are limited to the skin, with limited damage to small superficial areas,
in other cases other organs are affected (lungs, heart, kidney…). MDMA has
immunosuppressive properties, so if she is using prednisone, cyclophosphamide or
other immunomodulating drugs commonly used for vasculitis she should not take
MDMA. There are anecdotic reports of renal vasculitis associated to MDMA, it is
possible that people with previous vasculitis are prone to this effect, although it is not
confirmed:
http://www.ncbi.nlm.nih.gov/pubmed/10193849
http://www.ncbi.nlm.nih.gov/pubmed/9794581
Anyway, it should be necessary to know exactly the kind of vasculitis and
pharmacological treatment to assess risks.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 24 September 2013, 12:04:42


Quote from: chakrakhan87 on 24 September 2013, 02:56:24
Hello DoctorX, and thank you SO much for your time and generous advice. It is so appreciated.

My history:
I have been a recreational user of oral oxycodone for about 2 years. I started off feeling a great buzz
with just 7.5 mg of oxycodone, and now two years later it takes me 30mg to feel the same buzz.
(Tolerance is a lovely thing.) When I make an oxy purchase, I usually go a little nuts and take about


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get terrible withdrawals-- just some (mostly amusing) restless legs/arms which go away with one
50mg tramadol before bed for a few days and that's it. (I'm lucky.)

My question:
I have to get a wisdom tooth pulled in a few weeks. Am I going to be in agony as I try to ease the
legitimate tooth pain because of my opiate tolerance? Should I make sure I have a stockpile of oxy
for when I get my tooth pulled? I know my dentist will prescribe me a few 5mg hydrocodones, but I
can't imagine they'll be very helpful.

What will happen, heaven forbid, if I need surgery or something someday? Will any medication be
able to ease my legitimate pain? Would I have to tell my doctor about my oxy use?

Thanks again.
--chakrakhan

ps: For the record, I feel VERY blessed that I don't feel any physical or psychological addiction t oxy.
I enjoy it very much, but if you told me I could never have it again, I'd say "OK" and then I'd go have
a sandwich.


Oxycodone causes drug tolerance (need to increase of dosage to achieve the desired
effects). It also causes cross-tolerance with all strong opiates that work through opioid
receptors (hydrocodone, fentanyl, heroin, morphine, codein, methadone…). If you are
ever prescribed any of these medications and you are a regular user of oxycodone,
you will need higher dosages to achieve analgesic effects, so you you should tell your
doctor abour your oxycodone usage, or suffer pain ;(
 Tolerance and cross-tolerance dissapear or diminish substantially in several weeks of
abstinence. This effect of cross tolerance is not applicable to other non-opioid
analgesic (nonsteroidal anti-inflammatory drugs, analgesics…) or anaesthetics.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: gunhit on 24 September 2013, 12:09:24

      Thanks DoctorX for your reply. I do understand where you mean we shouldn't be
      objective on ourselves. That's a very good point.


      Cleansober, I don't think we should take the docs advice "with a grain of salt."
      Reading the responses he gives in this forum, he tends to point out the
      limitations of both his knowledge and of the wider medical research.

      Oh P.S. I see what you mean by the "acupuncture" I think it's a bit extreme. Blue
      balls are bad enough haha



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 24 September 2013, 13:47:59

      Gunman,

      I'm joking about the acupuncture but maybe it can work and I'm sure a qualified

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      poker has painless needle insertion. Looked up the subject to find this:


Quote
By pressing an acupuncture point located halfway between the anus and scrotum, the ejaculation can
be reversed into an improved orgasm and the semen is recycled from the full prostate and reabsorbed
into the blood.


I wonder if they use actual needles at that point, might be tricky spot?

Clean

DoctorX,

Quote
Cannabis can be useful for certain psychological conditions but, in general, it is not a good
antidepressant.


Could you tell us what those psychological conditions are? Want to make sure that is
why we are smoking cannabis and not some made up foolishness.


Any comment on why certain drugs seem to be associated with physical
movement? Why is it slackliners are, by slacklining admitting to also using weed. Each
drug seems to draw out of its users a common activity preference. I wonder if it is
better to be active and smoke weed, or inactive and not smoke?

still editing, too much happiness

Cleansober
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 25 September 2013, 09:02:07



      DoctorX,


Quote
Cannabis can be useful for certain psychological conditions but, in general, it is not a good
antidepressant.


Could you tell us what those psychological conditions are? Want to make sure that is
why we are smoking cannabis and not some made up foolishness.


[/quote]


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Anxiety disorders, basically. Some persons (but not all) improve their symptoms of
anxiety using cannabis. For some people cannabis has an an anxiolytic effects,
although paradoxically it can trigger anxiety in other persons. This can be explained by
differences in personality and differences in cannabis composition. Cannabis rich in
THC ( tetrahydrocannabinol) is, in general, more psychoactive than cannabis rich in
CBD ( cannabidiol), that possess more relaxing qualities. Strains of the plant with a
ratio THC/CBD 1/1 are the most suitable for therapeutic use.
Recent studies have shown that CBD has also antipsychotic properties. Although
cannabis use is not recommended in persons suffering psychotic disorders it is
possible that CBD has a role as a drug for management of this disease.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Jackpot on 25 September 2013, 10:29:53

      Hi there Doc! I spammed my way to 50 posts just to come here and ask you
      some questions :)

      I LOVE MDMA, and clubbing without taking MDMA is, for me, like eating cake
      without sugar, or something like that. That sucks, but still, because of
      neurotoxicity, tolerance, depression and loss of magic, I want to find a good
      stimulant replacement so I can keep MDMA for moments which are more special.
      What I'm concerned about at the time of finding this replacement, is: First, health
      safety (neurotoxicity, abuse potential, addictive potential, health risks). Second,
      tolerance. And third/fourth/fifth would be either of the MDMA's best effects
      (empathogen, entactogen, euphoria, uninhibitedness, etc).

      And as far as I researched, the best option I found seems to be 2C-B. Which
      leads me to some other questions:

      1- Is there any risk on doing 2C-B every weekend or even more frequently?
      Maybe supposing I'll be using it specially in low doses so I can get the stimulant
      effects rather than the psychedelic effects?

      2- What can you suggest about redosing 2C-B and mixing with MDMA on the
      same short period of time (let's say, one night)?

      3- Finally, is there any interaction between cannabis and 2C-B?

      I think that's it for now, thank you VERY much, your help is priceless.

      [EDIT: I'm in the age range of 22-27, healthy, and low weighted]



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 25 September 2013, 15:25:45

      Dear Mr. Jackpot,


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      You did exactly what I did; spam to 50 and tell Fernando he is great.
      What does neurotoxicity really mean and what does clubbing mean? As FC has
      pointed out earlier, the brain is a very complex thing-a-ma-bob. Treat it kindly.
      Now for the hard part. Since there are drugs out there that can give a man a
      perfect erection for two hours, why does anyone care about any other drug? Oh
      wait I forgot, it's a function of age and I'm over 40. I'm afraid to make an
      appointment with a real live face to face doctor. Stop taking drugs young fellow.

       Hope you don't mind I'd like to try and guess your land of origin. England,
      outside of London a wee bit? Or maybe more likely a former colony. ha ha.
      Clubbing is a European term from what I know about it. So how about Germany?
      of course tell me only lies to prevent tracking, however remote the chance might
      be.

      Clean-up-people



      X,

      Do you think aggression personality disorder is in some cases treatable with
      cannabis? Or do you feel there are better anxiolytics and/or treatment modalities
      out there for calming our savage beasts?

      If symptoms improve for some anxiety conditions might irritability and
      intolerance be a form of social anxiety or some other neurosis treatable other
      ways?

      Do you find an online interview is as good or worse than the diagnostic results
      from an in person examination? It seems to me that getting a real world (online
      or otherwise) doctor is important to avoid problems.

      Would MedissimoX sound funny or mean negative things as a translation of
      DoctorX,

      Clean,

      still editing LCT, local computer time=1046am. I wonder if putting the time down
      fires up the NSA/DEA/Policíaissimo computers? The long arm of the law is lurking
      here we know that much.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 25 September 2013, 18:22:32

      Updated previous post at least 25 times today. Yes I need a hobby besides SR.



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      CS



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Oerlikon20mm on 25 September 2013, 18:43:34

      First to help answer few questions then I will introduce myself to those who don't
      know who I am.

      chakrakhan87,you surely are blessed with absence of hellish WD,I can only envy
      you!
      To answer you a question.
      Although immensely popular in USA Oxycodone is very lousy pain medicine
      considering high
      number of people getting addicted from legit use,price and very short period of
      duration is main problem.
      Especially if you defeat SR mechanism! Even pure pharma grade heroin is much
      better in any way you can count!

      Since you are O addict with such tolerance already and if your doctor won't give
      you more I strongly advise you to stockpile something strong and long lasting like
      Oxymorphone (Opana) and Methadone.
      (have great and cheap contact for last one)

      You will probably like Opana more since it's long lasting Oxycotin on euphoric
      steroids. ;-) It's my favorite rec-drug by far among opiates. Unfortunately Oral
      BA is extremely low (cca. 9%) so NOT extracting is waste of very expensive
      goods. Since potency ican drastically differ in different people,sometimes nearing
      potency of Fent to some people don't OD by accident! Titrate your dose slowly
      until you find the sweet spot. IV for best rush in your life,IM for longer acting
      pain relief. Since you are already taking almost identical molecule (oxycotin) it
      should be sligtly more than 2x as potent,but still,start slowly! As much as
      pinhead can kill opiate naive person!

      But I prefer Methadone for non-fun use over anything since it's EXTREMLY long
      lasting and great oral BA.
      It was my painkiller of choice when I was medic during the war.
      Far superior to morphine to whom many people are a bit allergic and best for
      those who are already long on opiates,illicit or legal. Only downside is that it can't
      be used IM in emergency.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Oerlikon20mm on 25 September 2013, 19:12:52

      Jackpot

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      Can't agree more with you on MDMA bro!
      It's not a drug,but probably something Angels lost while raving! ;D

      I was MDMA cook and fanatical user for years,introduced it to countless people
      and took it every week or two,until magic was gone... :(
      That hurts like loosing best,cutest and sexiest girl on Earth!

      I am live example that MDMA neurotoxicity is over exaggerated at least x100
      times but I also
      had habit of harm reduction by preloading and postloading with loads of vitamins
      and supplements.

      Best medicine for MDMA blues is opiates,especially up to 0,5mg Buprenorphine if
      you are opiate naive.

      To boost MDMA effects,avoid follow up doses,return some magic and extend
      experience up to 8h with single dose (at least in my case) there is one trick...but
      being very risk,potentially deadly to some people I am not comfortable sharing it
      publicly. It can lead to fatal Serotonine syndrome unless you are extremely
      depressed and in that case resistant. I mean depressed beyond words and
      resistant to all legal medicine.
       If you are,then you might be safe (I know I am! Took the combo 100+ times)
      and feel free to PM me.

      I usually don't recommend to other people what I do cus in most cases combos
      and dosages I take without consequence are fatal to ordinary Joe.
      Dangerous chemicals and drugs alike!

      As for fair replacement,there is something good in store: beta-ketone-MDMA
      (Methylone) and 4-MAR.
      4-mar is obscure but piss easy to make in kitchen,just don't let subtle effect and
      euphoria fool you into
      re-dosing which leads to seizure and death. On the plus side it's said to be almost
      entirely non-neurotoxic at normal doses,at least in animals. But lab animals are
      in my experience lousy surrogate for that kind of feedback...Same mg/kg of one
      chemical that will kill human won't kill 5 rats and vice versa.
      No wonder totalitarian states like 3rd Reich were exponentially better in finding
      new and effective medicines
      when their scientists had as much best possible test subjects as they pleased!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 25 September 2013, 19:31:00

      0,



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      Not sure the 3rd Reich had much good data from all their experimentation. At
      least that was the story a decade or two ago when I last looked at the history
      books.

      Wonder if X knows this trick too?

      Sober



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: metacontxt on 25 September 2013, 19:51:23

      I really hope you guys are sending some BTC DrX's way. He's giving specialist,
      bespoke advice. Stuff that other doctors wouldn't tell you about because they
      simply don't know. What you're learning here costs in the real world, big time. So
      if he's helped you, do the right thing.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Oerlikon20mm on 26 September 2013, 00:02:12

      So,introduction... Why the hell do I give advice to others...
      I am not Doctor of medicine like DrX who selfishly helps you with his profession
      and life-school but I am not that far.
      Instead telling you my life story I will be brief and just mention my qualifications
      and how I gained massive experience in some fiels of interest here:
      Due the severe treatment resistant depression since early teens I tried pretty
      much everything psychoactive in search for cure.
      I have Organic chemistry PhD,specialized in benzene compounds (pretty much all
      drugs are!)
      Tried to specialize bio-chemistry too,learned a lot abut drug mechanics but never
      ended it,my country was attacked.Left book,grab FN FAL and I volunteered,that
      was much more important than any PhD in the world!
      Command quickly realized I am good candidate for field medic,which I passes
      and learned a lot about medicine there.Quickly I was stationed at infirmary
      Introducing methadone as standard first-line pain killer for my battalion and
      supplying it with my own money at first instead of morphine cus of better/longer
      effects and less side effects.(after two soldier died of morphine related allergy
      complications) Even used MDMA on stabilized post op. patients when methadone
      run out,after that,everyone wanted it! Not only is it a great pain killer but best
      shock treatment and best gift imaginable to dieing individual.
      Got nickname "Angel of Mercy" by soldiers! One of the things I am most proud in
      my life. After the war,instead of free and proud country there was anarchy,
      poverty & misery.
      Deserters and cowards became rich and war heroes bumps with skyhigh rate of
      suicide.

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      Incompetent and malignant politicians;bad bunch of capitalists robbing us of
      future and even worse bunch of commies destroying our past only cemented
      social situation. So,I did what I knew best,which was pretty easy in anarchy and
      became good at it,Breaking Bad good in my best period.
      Don't want to brag but anything related to MDMA and opiates,including their
      unconventional use I mentioned and personal massive (ab)use until I found
      harmony and self-discipline in drug use that really helped a lot with my condition.
      That was my second "PhD". :)Also tried to help my brothers in arms with PTSD
      using MDMA and common sense.
      So,I might not be as good as doctor of medicine selfishly helping you here here
      but if my massive experience and self-experimentation and sheer luck to survive
      all that can help anyone prevent death and suffering and have a good time feel
      free to PM me since I am not much on the forum.

      So,I am torn in the eye of LE and psychiatry, living proof that drugs are just a
      mighty tool that can give hope and heal instead of destroying life,just with
      enough intelligence to use them properly and bit of self-discipline!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 26 September 2013, 03:22:56


Quote from: Oerlikon20mm on 26 September 2013, 00:02:12
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am not that far.
Instead telling you my life story I will be brief and just mention my qualifications and how I gained
massive experience in some fiels of interest here:
Due the severe treatment resistant depression since early teens I tried pretty much everything
psychoactive in search for cure.
I have Organic chemistry PhD,specialized in benzene compounds (pretty much all drugs are!)
Tried to specialize bio-chemistry too,learned a lot abut drug mechanics but never ended it,my country
was attacked.Left book,grab FN FAL and I volunteered,that was much more important than any PhD in
the world!
Command quickly realized I am good candidate for field medic,which I passes and learned a lot about
medicine there.Quickly I was stationed at infirmary Introducing methadone as standard first-line pain
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Incompetent and malignant politicians;bad bunch of capitalists robbing us of future and even worse
bunch of commies destroying our past only cemented social situation. So,I did what I knew best,which
was pretty easy in anarchy and became good at it,Breaking Bad good in my best period.
Don't want to brag but anything related to MDMA and opiates,including their unconventional use I
mentioned and personal massive (ab)use until I found harmony and self-discipline in drug use that


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really helped a lot with my condition. That was my second "PhD". :)Also tried to help my brothers in
arms with PTSD using MDMA and common sense.
So,I might not be as good as doctor of medicine selfishly helping you here here but if my massive
experience and self-experimentation and sheer luck to survive all that can help anyone prevent death
and suffering and have a good time feel free to PM me since I am not much on the forum.

So,I am torn in the eye of LE and psychiatry, living proof that drugs are just a mighty tool that can
give hope and heal instead of destroying life,just with enough intelligence to use them properly and
bit of self-discipline!


Dear 20mm,

Your story brings a serious side into what we are learning here. What do you mean in
the last line where you say, "...just with enough intelligence to use them properly and
bit of self-discipline!"?

Are you at all afraid of LE because of your SR activities?

Csober


Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Jackpot on 26 September 2013, 08:24:14


Quote from: cleansober on 25 September 2013, 15:25:45
Dear Mr. Jackpot,

You did exactly what I did; spam to 50 and tell Fernando he is great.
What does neurotoxicity really mean and what does clubbing mean? As FC has pointed out earlier,
the brain is a very complex thing-a-ma-bob. Treat it kindly.
Now for the hard part. Since there are drugs out there that can give a man a perfect erection for two
hours, why does anyone care about any other drug? Oh wait I forgot, it's a function of age and I'm
over 40. I'm afraid to make an appointment with a real live face to face doctor. Stop taking drugs
young fellow.

 Hope you don't mind I'd like to try and guess your land of origin. England, outside of London a wee
bit? Or maybe more likely a former colony. ha ha. Clubbing is a European term from what I know
about it. So how about Germany? of course tell me only lies to prevent tracking, however remote the
chance might be.


Clean, I'm sorry but I think I didn't get your point. What do you mean when you
mention drugs that can give a man an erection? How is it related with face to face
appointments, and why do you finalize telling me to stop taking drugs? Not
questioning you, It's just that English is not my native language, and with this I'm also
popping your balloon, because you didn't guess my land of origin ;)

Is the police really into reading random posts in these forums? I'm not at all afraid to
be caught (but I hope that's not a mistake).
Title: Re: Ask a Drug Expert Physician about Drugs & Health


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Post by: DoctorX on 26 September 2013, 09:39:54


Quote from: Jackpot on 25 September 2013, 10:29:53
Hi there Doc! I spammed my way to 50 posts just to come here and ask you some questions :)

I LOVE MDMA, and clubbing without taking MDMA is, for me, like eating cake without sugar, or
something like that. That sucks, but still, because of neurotoxicity, tolerance, depression and loss of
magic, I want to find a good stimulant replacement so I can keep MDMA for moments which are more
special. What I'm concerned about at the time of finding this replacement, is: First, health safety
(neurotoxicity, abuse potential, addictive potential, health risks). Second, tolerance. And third/fourth/
fifth would be either of the MDMA's best effects (empathogen, entactogen, euphoria, uninhibitedness,
etc).

And as far as I researched, the best option I found seems to be 2C-B. Which leads me to some other
questions:

1- Is there any risk on doing 2C-B every weekend or even more frequently? Maybe supposing I'll be
using it specially in low doses so I can get the stimulant effects rather than the psychedelic effects?

2- What can you suggest about redosing 2C-B and mixing with MDMA on the same short period of
time (let's say, one night)?

3- Finally, is there any interaction between cannabis and 2C-B?

I think that's it for now, thank you VERY much, your help is priceless.

[EDIT: I'm in the age range of 22-27, healthy, and low weighted]


Well…some people seems that is difficult to find a substitute for MDMA. It properties
make it a unique experience and I don`t think there is anything that can compare, in
particular for clubbing. There is no other drug that combines mild stimulant properties,
sublte pshychedelic effects easy to manage and a deep emotional aspect. So, instead
of searching a “replacement” I think you`d better think about exploring other
psychoactives but do not expect that they are going to give you the same of MDMA or
try to compare with it. Even you could try clubbing sometimes without any drug and
try to evoke previous experiences…Some substances can “teach” you abilities (I´m
thinking in particular about MDMA and sociability) and it can be fun to explore this in a
non-alterated state of consciousness. Anyway, your reasonment for choosing 2C-B is
very logic in your arguments.
1.- Although there are not too many human studies on 2C-B, neurotoxic effects or
long time toxicity seems very unlikely, according to molecular characteristics and
previous human experience. Doing 2C-B once a week or more will get to get bored of
its effects (we can call it tolerance, loss of magic or whatever but to use a unique,
magic, delicate experience as an habit or routine leads to loss of interest sooner or
later). At a stimulant rank 5-10 mg pharmacological tolerance will appear in a few
weeks.
2.- This is a very popular combination that tries to get together emotional aspects of
MDMA and psychedelics of 2C-B. First, you should have enough experience with both
substances. Total dosage used in combination should be 20-30% below than dose
used separated. A reasonable time of 1.5-2 hours between administration is required.

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personal preference. From a risk perspective there are no data about fatal or severe
intoxications, but I insist in being careful with dosages and environments. Interacting
with other persons and setting is, in general, easy with MDMA. Depending on dose of
2C-B and combination this can be more difficult (I´m thinking, for example, in a very
crowded club). 2C-B is very dose-sensitive (effects change in the rank of 2 mg), so I
suggest not to re-dose.
3.- As it happens with other drugs with psychedelic properties, using cannabis while
on 2C-B increases hallucinogenic/psychedelic effects. For some people this can trigger
anxiety or fear, particularly if they are not regular cannabis users.
Thanks for taking the effort to post…and don´t take too seriously cleansober
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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 26 September 2013, 09:41:27


Quote from: cleansober on 25 September 2013, 15:25:45
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bit? Or maybe more likely a former colony. ha ha. Clubbing is a European term from what I know
about it. So how about Germany? of course tell me only lies to prevent tracking, however remote the
chance might be.

Clean-up-people



X,

Do you think aggression personality disorder is in some cases treatable with cannabis? Or do you feel
there are better anxiolytics and/or treatment modalities out there for calming our savage beasts?

If symptoms improve for some anxiety conditions might irritability and intolerance be a form of social
anxiety or some other neurosis treatable other ways?

Do you find an online interview is as good or worse than the diagnostic results from an in person
examination? It seems to me that getting a real world (online or otherwise) doctor is important to
avoid problems.

Would MedissimoX sound funny or mean negative things as a translation of DoctorX,

Clean,


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still editing LCT, local computer time=1046am. I wonder if putting the time down fires up the NSA/
DEA/Policíaissimo computers? The long arm of the law is lurking here we know that much.


There is not pharmacological, standardized treatment for aggressive personalities. In a
clinical setting, if someone is very aggressive and can harm himself or others the
strategy is to knock-out with strong medication (antipsychotics, incisive
benzodiacepines…). But, long time, psychology therapies are much more effective
than drugs. I don`t think cannabis plays a role here, at least for most cases.
An in-person examination is essential to a correct medical evaluation. That is why
diagnosis can`t be made through Internet, so my advices here are general orientation
and can`t replace a complete medical evaluation
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Jackpot on 26 September 2013, 10:13:30


Quote from: DoctorX on 26 September 2013, 09:39:54
Quote from: Jackpot on 25 September 2013, 10:29:53
 Hi there Doc! I spammed my way to 50 posts just to come here and ask you some questions :)

 I LOVE MDMA, and clubbing without taking MDMA is, for me, like eating cake without sugar, or
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 more special. What I'm concerned about at the time of finding this replacement, is: First, health
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Well…some people seems that is difficult to find a substitute for MDMA. It properties make it a unique
experience and I don`t think there is anything that can compare, in particular for clubbing. There is
no other drug that combines mild stimulant properties, sublte pshychedelic effects easy to manage
and a deep emotional aspect. So, instead of searching a “replacement” I think you`d better think
about exploring other psychoactives but do not expect that they are going to give you the same of
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Thanks for taking the effort to post…and don´t take too seriously cleansober commentaries. It is
difficult to know if he is talking seriously or not.


I can't thank you enough!

I know MDMA is just unique and not replaceable. And although I think you have
already understood what I expect out of a "MDMA replacement", let's say one night I
go to some party but I just feel tired, like I need a little boost, mood lifting, and of
course MDMA is not an option. For this, some people recommended me things as
speed. What do you think of speed in terms of safety? It's not safe enough as far as I
know, but I've been told this from a bunch of people.

Now I'm waiting for a 2C-B order, so I'll try it, but hey, It's good to have some other
options.

And I think that's enough of your time for now.

Thank you again!!

EDIT: So you say it's not a good idea to redose 2C-B after a comedown on the same
night, right? Let's say I take 10mg and I got the stimulant effects, then I come down.
If I redose with another 10, I'd be most likely having psychedelic effects, right?
Sounds awesomely versatile :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Oerlikon20mm on 26 September 2013, 20:03:52

      @Cleansober

      Both!

      Drugs are tools,just like guns or electric drill. Neither of them is "evil" or
      "dangerous",only the way how some people that are not qualified,at least to say,


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      to use them are using them is dangerous or worse,evil manner.

      Problem with drugs is that people like Dr. X are not just rare but almost non-
      existent,so you can rarely
      learn from expert on that field who is not only educated but has life experience
      with that matter.
      unlike those full of propaganda and ignorance.
      Where people who can teach you to use guns and tools properly are available if
      you wish to learn.

      Yes,at first I was not comfortable about talking about my history and gory details
      (believe me,I left out 90%!) but then I realized someone might actually
      understand,like you did,how awesome tools
      are we rejecting cus of irrational fear,ignorance and propaganda,realizing we are
      no much better than those who burned scientists in middle age!

      As I said,you need someone hard to find to teach you or experiment on yourself,
      which can be fatal.
      I survived and gained such experience only by protection of some higher force or
      dumb luck.
      After some time of "discovering" drugs,people tend to overdo them and this is
      where problem starts.
      Self-discipline IS possible but just hard to master.

      Am I afraid...never knew that feeling once I understood it,frankly. Not even in
      war. My brain is hardwired differently. It has to do something with hardcore
      depression that killed almost every normal human feeling as form of self defense
      to suffer less and nasty self-inflicting pain/injury OCD type of disorder I had
      before I could walk.

      Closest to it I ever felt is anxiety like when order is too late or I miss the therapy.
      As for LE...they and politicians are more afraid of me because they know I know
      too much about their dirty business and skeletons in closet but they also know I
      am reasonable,non-violent if not provoked,quite,and will remain so as long as I
      have my peace. Most of them actually worked for me for quite a bit!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 26 September 2013, 22:58:37


Quote from: Jackpot on 26 September 2013, 08:24:14
Quote from: cleansober on 25 September 2013, 15:25:45
 Dear Mr. Jackpot,

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 What does neurotoxicity really mean and what does clubbing mean? As FC has pointed out earlier,


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 the brain is a very complex thing-a-ma-bob. Treat it kindly.
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 two hours, why does anyone care about any other drug? Oh wait I forgot, it's a function of age and
 I'm over 40. I'm afraid to make an appointment with a real live face to face doctor. Stop taking
 drugs young fellow.

  Hope you don't mind I'd like to try and guess your land of origin. England, outside of London a wee
 bit? Or maybe more likely a former colony. ha ha. Clubbing is a European term from what I know
 about it. So how about Germany? of course tell me only lies to prevent tracking, however remote
 the chance might be.

Clean, I'm sorry but I think I didn't get your point. What do you mean when you mention drugs that
can give a man an erection? How is it related with face to face appointments, and why do you finalize
telling me to stop taking drugs? Not questioning you, It's just that English is not my native language,
and with this I'm also popping your balloon, because you didn't guess my land of origin ;)

Is the police really into reading random posts in these forums? I'm not at all afraid to be caught (but I
hope that's not a mistake).


Dear Mr. Jackpot, and let me tell you mf's a real oz is a mfn tonne bitch.

The real police are the ones in our minds. What limits do we adhere to slavishly?
Those are more important than any outside authorities. Ten years from now when I'm
running for political office to get an ungodly large pension, some blogger will dig up
my dealings on SR. So much for winning that election. If they ever got hold of my
secret photo album, prison time possible, maybe.

Now on to the important question, your land of origination. English is a second
language, you said , you also told me you popped my bubble. Maybe USA slang but
how about
Northern Europe?

Dear Mr. 20mm,

To quote you:
Quote
Am I afraid...never knew that feeling once I understood it,frankly. Not even in war. My brain is
hardwired differently. It has to do something with hardcore depression that killed almost every normal
human feeling as form of self defense to suffer less and nasty self-inflicting pain/injury OCD type of
disorder I had before I could walk.

Closest to it I ever felt is anxiety like when order is too late or I miss the therapy.
As for LE...they and politicians are more afraid of me because they know I know too much about their
dirty business and skeletons in closet but they also know I am reasonable,non-violent if not provoked,
quite,and will remain so as long as I have my peace. Most of them actually worked for me for quite a
bit!


So you did not find MDMA to relieve your symptoms? Here we go again the difference
between symptoms and cause comes into play. If depression means low efficiency and
general poor mental health then until I write my resume for the first time in 30 years,
my opinion is low, when done it will rise up once again.


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You may be interested in a training group I'm thinking of forming. Don't want to say
too much, but I will say all of our strippers will be pure vegans. Let me know if you are
ready for the most fun and stimulation of your life. Simulation you say, what does that
mean? Sexual healing of course. Still working out the details of my plan. May involve
the mob, not sure yet. If I revel too much my identity will be compromised. I can
wager a big wad of money I'm the only one doing this thing. A nice bonus is I'm
almost certain it's legal in several countries. In fact even in the countries it is against
the law to do what I'm talking about, the laws against it are rarely enforced.




Clean




Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 September 2013, 09:03:05


Quote

I can't thank you enough!

I know MDMA is just unique and not replaceable. And although I think you have already understood
what I expect out of a "MDMA replacement", let's say one night I go to some party but I just feel
tired, like I need a little boost, mood lifting, and of course MDMA is not an option. For this, some
people recommended me things as speed. What do you think of speed in terms of safety? It's not safe
enough as far as I know, but I've been told this from a bunch of people.

Now I'm waiting for a 2C-B order, so I'll try it, but hey, It's good to have some other options.

And I think that's enough of your time for now.

Thank you again!!

EDIT: So you say it's not a good idea to redose 2C-B after a comedown on the same night, right?
Let's say I take 10mg and I got the stimulant effects, then I come down. If I redose with another 10,
I'd be most likely having psychedelic effects, right? Sounds awesomely versatile :)


To evaluate a drug in terms of safety you have to consider many factors: dosage,
frequency of use, pattern of use, pharmacological effects, adverse effects and toxicity,
setting of use and personal characteristics of user. MDMA can be considered a safe
drug if used properly or a very dangerous substance if you eat a pill omelette
everytime you go clubbing.

MDMA, stimulants (cocaine, amphetamine), and, to a lesser extent, GHB and ketamine
are the drugs more frequently used in recreative settings. "Legal highs" (mephedrone,


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MDPV and derivatives) are not recommendable as there is no experience with humans
with these substances and risks are impredictible.

Each drug has its own pleasurable effects (that may not be pleasurable for
everybody), risks and precautions of use. For example, a little increase on MDMA
dosage usually does not have terrible consequences, but that increase on GHB or
ketamine can ruin a night. From a pharmacological point of view, amphetamine
(speed) is a well known substance. Effects are pleasurable for many people and risks
are acceptable if you use it properly (in dosages, frequencies and pattern of use).

Before testing any drug it is important to have enough reliable information about
effects and risks. Erowid is one of the best sources of information in Internet.
http://www.erowid.org/psychoactives/psychoactives.shtml

Redosing 2C-B when effects are diminishing is quite impredictible. Sometimes you will
get psychedelic effects, stimulant, a mix or just tiredness as neurotransmissors have
been liberated enough.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 September 2013, 09:28:23

      I would appreciate if commentaries, opinions, thoughts and contributions are
      limited to the main theme of this thread (drugs, health and risk reduction). All
      contributions, opinions and critics are welcome, but it would be desirable more
      concision in commentaries to questions and not to open paralell conversations
      outside the main theme of this thread 8) 8) 8) 8) 8)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: orbital on 27 September 2013, 09:34:53

      I have moderately high blood pressure (140/90 ). I take enalapril to keep it in
      check, 10mg and it seems to do okay. There is no physical reason for my high BP
      and, after doing all tests, my Doc feels it's caused by anxiety and stress.
      Generally I find that MDMA makes me feel good, but I am worried about the
      dangers of what I'm doing. I weight about 200lbs and my average dose is 100mg
      max.
      Another question…I think I use MDMA in order to attack my depression. I do It
      once or twice a month. Since I started using it my social life has started again. I
      have had personal problems, I want to get rid of my depression but I don`t want
      to depend on drugs my whole life
      Thanks a lot doc



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: fakename709 on 27 September 2013, 11:19:39


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Since I started using it my social life has started again. I have had personal problems, I want to get
rid of my depression but I don`t want to depend on drugs my whole life
Thanks a lot doc
I read an article in which they investigated the possibility to give subpar MDMA doses
everyday to treat depression. But taken once or twice a month it's not effective I
think, other than giving you a good night out.
By my personal experience, if your depression, other than anxiety and such, involves
being weak all day, with no energy and worrying too much about things, I couldn't
recommend enough Modafinil.
It has its risks, it has not been studied a lot, but it's safer than MD I think. Do your
research if you like.
Posting this cause it really helped me a lot and I wanted to share it, but wait the
Doctor for a qualified and focused answer on what you asked.
Take care mate.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Maria Larsson on 27 September 2013, 15:23:11


Quote from: Oerlikon20mm on 26 September 2013, 00:02:12
So,introduction... Why the hell do I give advice to others...
I am not Doctor of medicine like DrX who selfishly helps you with his profession and life-school but I
am not that far.
Instead telling you my life story I will be brief and just mention my qualifications and how I gained
massive experience in some fiels of interest here:
Due the severe treatment resistant depression since early teens I tried pretty much everything
psychoactive in search for cure.
I have Organic chemistry PhD,specialized in benzene compounds (pretty much all drugs are!)
Tried to specialize bio-chemistry too,learned a lot abut drug mechanics but never ended it,my country
was attacked.Left book,grab FN FAL and I volunteered,that was much more important than any PhD in
the world!
Command quickly realized I am good candidate for field medic,which I passes and learned a lot about
medicine there.Quickly I was stationed at infirmary Introducing methadone as standard first-line pain
killer for my battalion and supplying it with my own money at first instead of morphine cus of better/
longer effects and less side effects.(after two soldier died of morphine related allergy complications)
Even used MDMA on stabilized post op. patients when methadone run out,after that,everyone wanted
it! Not only is it a great pain killer but best shock treatment and best gift imaginable to dieing
individual.
Got nickname "Angel of Mercy" by soldiers! One of the things I am most proud in my life. After the
war,instead of free and proud country there was anarchy,poverty & misery.
Deserters and cowards became rich and war heroes bumps with skyhigh rate of suicide.
Incompetent and malignant politicians;bad bunch of capitalists robbing us of future and even worse
bunch of commies destroying our past only cemented social situation. So,I did what I knew best,which
was pretty easy in anarchy and became good at it,Breaking Bad good in my best period.


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Don't want to brag but anything related to MDMA and opiates,including their unconventional use I
mentioned and personal massive (ab)use until I found harmony and self-discipline in drug use that
really helped a lot with my condition. That was my second "PhD". :)Also tried to help my brothers in
arms with PTSD using MDMA and common sense.
So,I might not be as good as doctor of medicine selfishly helping you here here but if my massive
experience and self-experimentation and sheer luck to survive all that can help anyone prevent death
and suffering and have a good time feel free to PM me since I am not much on the forum.

So,I am torn in the eye of LE and psychiatry, living proof that drugs are just a mighty tool that can
give hope and heal instead of destroying life,just with enough intelligence to use them properly and
bit of self-discipline!


MDMA as physical painkiller replacing morphine/methadone? Don't think so buddy. I
smell troll bullshit.
DoctorX have you ever heard about such a thing?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 27 September 2013, 15:42:00


Quote from: DoctorX on 27 September 2013, 09:28:23
I would appreciate if commentaries, opinions, thoughts and contributions are limited to the main
theme of this thread (drugs, health and risk reduction). All contributions, opinions and critics are
welcome, but it would be desirable more concision in commentaries to questions and not to open
paralell conversations outside the main theme of this thread 8) 8) 8) 8) 8)


Trouble is the subject "drugs" seems too big. Correct me if I'm wrong but every
feeling,sensation and emotion we have seems to have a drug related component that
either is on the shelf or soon to be. This in spite of the reported fact there have been
no significant new mental health drugs for decades. Big pharma still rules. To the
wealthy goes the Ritalin.

All questions and comments should adhere to a protocol posted in a subheading under
the main thread. That way pointless points like mine can be filtered out. We want to
use X's limited time the best way possible. Suggestions anyone else?

What guidelines would you suggest for the questioners? I liked how Jackpot laid his
facts out on the table like a patient etherized. What X wants and what we think he
wants may be two different things. And so...are we going to pretend everyone will
read the protocol, understand and follow the guidelines? Few will but life goes on.

Cleansober

Cleansober, editing continues to continue...I should edit out the extra cleansober and
yes it should be capital Cleansober.

waiting for the day one electrical impulse originating from anywhere can be identified
99.99% of the time. After identification the health system can diagnose and cure all
known health issues. Better watch out X, you gonna be looking for work soon. Oh I
saw that video of you break dancing, not bad for an older fellow. The definition of

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older is a dependent variable relative to country of origination death rates. Who lives
the longest, and who lives the best? Do you remember Finland? I wonder what
happened to him? If you are here shout out now.

Too(?) bad, all of this is on the dark web. It would be nice to use other tools than
available on SR. Security always matters. I sometimes wonder if they will ever bust
this whole thing down? Get the small time dealer and user but on the other side of
town the post office does the delivery of "stuff". Ironic, would you agree? I dislike
when I have a inchoate idea and I lose it. I'm almost certain inchoate is a real word.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: noavail on 27 September 2013, 17:52:31

      Hi DoctorX. This is such an incredibly helpful thread and I really appreciate your
      time and patience in addressing our questions.

      I would like to ask you if bronchial or ventolin inhalers are of any benefit to a
      person (who does not have asthma or any known health conditions) who is
      experiencing some breathing difficulties due to opiate use? I'm not referring to
      respiratory depression, but difficulty drawing breath.
      For example, if someone IV's heroin and then feels like they can't inhale enough
      air or can't fill up their lungs. They try to take a deep breath but this still feels
      unsatisfactory as if they're not getting enough air. In this instance resting
      heartrate is not below normal.

      Thank you



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 September 2013, 18:35:57


Quote from: orbital on 27 September 2013, 09:34:53
I have moderately high blood pressure (140/90 ). I take enalapril to keep it in check, 10mg and it
seems to do okay. There is no physical reason for my high BP and, after doing all tests, my Doc feels
it's caused by anxiety and stress. Generally I find that MDMA makes me feel good, but I am worried
about the dangers of what I'm doing. I weight about 200lbs and my average dose is 100mg max.
Another question…I think I use MDMA in order to attack my depression. I do It once or twice a month.
Since I started using it my social life has started again. I have had personal problems, I want to get
rid of my depression but I don`t want to depend on drugs my whole life
Thanks a lot doc


It should be important to have more information. Let´s supposse your blood pressure
is well controlled with medication, you are young, no other diseases, and no other
cardiovascular risk factors (diabetes, tobacco, high cholesterol, obesity...), and, that
your doctor thinks the cause is stress and he hasn´t prescribed you limitations for
your normal life (you can do intense sport, for example). In this case, use of MDMA at
the doses you´ve said is probably sure and you are facing the same low risks as other

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person.
In my opinion there is no pharmacological cure for depression. It is not an organic
disease, but, as you say, caused in general by psychological distress. Antidepressives
(both legal and illegal) can releive symptoms but will not cure definetly the disease.
Medication can help to set you in a psychological situation where you will be able to
deal with the situation, but should be used as a temporal help. And MDMA is not a
good antidepressive for long-time treatment at all. The best way to solution the
problem is to seek for psychological advice. It doesn´t matter if it is a psychiatrist or a
clinical psychologist, but someone with good technical (universitary) formation and
you feel comfortable with. It is very difficult to solve this situations by oneself, there
are parts of oneself that must be seen from "outside", with the help of a good
profesional. Sometimes this process is painful and long in time but is the most
effective way to solve problems like yours.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 September 2013, 18:38:54


Quote from: Maria Larsson on 27 September 2013, 15:23:11
Quote from: Oerlikon20mm on 26 September 2013, 00:02:12
 So,introduction... Why the hell do I give advice to others...
 I am not Doctor of medicine like DrX who selfishly helps you with his profession and life-school but I
 am not that far.
 Instead telling you my life story I will be brief and just mention my qualifications and how I gained
 massive experience in some fiels of interest here:
 Due the severe treatment resistant depression since early teens I tried pretty much everything
 psychoactive in search for cure.
 I have Organic chemistry PhD,specialized in benzene compounds (pretty much all drugs are!)
 Tried to specialize bio-chemistry too,learned a lot abut drug mechanics but never ended it,my
 country was attacked.Left book,grab FN FAL and I volunteered,that was much more important than
 any PhD in the world!
 Command quickly realized I am good candidate for field medic,which I passes and learned a lot
 about medicine there.Quickly I was stationed at infirmary Introducing methadone as standard first-
 line pain killer for my battalion and supplying it with my own money at first instead of morphine cus
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 everyone wanted it! Not only is it a great pain killer but best shock treatment and best gift
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 Got nickname "Angel of Mercy" by soldiers! One of the things I am most proud in my life. After the
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 Deserters and cowards became rich and war heroes bumps with skyhigh rate of suicide.
 Incompetent and malignant politicians;bad bunch of capitalists robbing us of future and even worse
 bunch of commies destroying our past only cemented social situation. So,I did what I knew best,
 which was pretty easy in anarchy and became good at it,Breaking Bad good in my best period.
 Don't want to brag but anything related to MDMA and opiates,including their unconventional use I
 mentioned and personal massive (ab)use until I found harmony and self-discipline in drug use that
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 So,I might not be as good as doctor of medicine selfishly helping you here here but if my massive
 experience and self-experimentation and sheer luck to survive all that can help anyone prevent
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 bit of self-discipline!

MDMA as physical painkiller replacing morphine/methadone? Don't think so buddy. I smell troll
bullshit.
DoctorX have you ever heard about such a thing?


I have never heard about that. And in all the scientific literature about MDMA or
amphetamine derivatives you will never see anything about analgesic properties.
Opiates are the most potent analgesics, that idea is not logical neither based in
scientific evidence.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 27 September 2013, 18:43:56


Quote from: noavail on 27 September 2013, 17:52:31
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have asthma or any known health conditions) who is experiencing some breathing difficulties due to
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For example, if someone IV's heroin and then feels like they can't inhale enough air or can't fill up
their lungs. They try to take a deep breath but this still feels unsatisfactory as if they're not getting
enough air. In this instance resting heartrate is not below normal.

Thank you


Bronchodilators as ventolin are only effective in cases of bronchial obstructions
(asthma or related conditions). It sounds a bit strange to me that someone using
heroin feels difficulty for breathing. There might be different causes (cardiologic,
neurologic, respiratory...) but bronchial obstruction induced by opiates sounds very
unlikely. So I think bronchodilators would be useless, but the important thing should
be knowing the cause of difficulty breathing. The most likely probability should be
respiratory depression but it should be necessary to rule our other dangerous causes.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: gunhit on 28 September 2013, 05:37:15


Quote from: Oerlikon20mm on 26 September 2013, 00:02:12

I have Organic chemistry PhD,specialized in benzene compounds (pretty much all drugs are!)


That's interesting. Benzene ring is a well known carcinogen. I would like to ask is it
possible other drugs are themselves? Could you have any carcinogenic impurities left
over in MDMA for example?


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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 28 September 2013, 09:54:39


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One of the problems of illegal markets is the lack of sanitary control. In theory,
everything is possible in such a market. But in real world conditions these things have
not happened. There are several scientific publications covering the composition of
MDMA pills and crystal. There are also several NGOs and projects that analyze
substances (one of them in Spain, the NGO EnergyControl) Carcinogenic compounds
or benzene derivatives have never been found in drug testing results
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: MrMates on 28 September 2013, 13:12:10

      I have a strange question that has been bothering me.

      There is some very pure Amphetimine on here I have seen post after post of
      people saying 50 or 80 mg keeps them awake for 12 hours now for me to stay up
      on it for 12 hours I'd need at least 300 mg - 400mg so at least 4 x as much as
      them.
      I only take it during the weekend so let my body catch up with any sleep during
      the week but still the amount they take does very little for me and I'd still need
      the 300mg.

      Now about ten years ago I used to do a lot of it for a good few years and then
      settled down and gave it up for 9 years then got divorced and started taking it
      again.

      Would my brain after a Decade still remember how much I needed in those days
      which was a lot to get stimulated from it?

      As I can't work out why I need so much more than the other people taking it as I
      have not caned it seems I need about 4 x as much as them or is it just a natural
      high tolerance to amphetimine that I have? Like I say I have 5 days off during
      the week but still need the same amount , hope this makes some sense as it is
      puzzling me why I need so much more than them.




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Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 29 September 2013, 12:49:41


Quote from: DoctorX on 28 September 2013, 09:54:39
Quote from: gunhit on 28 September 2013, 05:37:15
 Quote from: Oerlikon20mm on 26 September 2013, 00:02:12

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scientific publications covering the composition of MDMA pills and crystal. There are also several NGOs
and projects that analyze substances (one of them in Spain, the NGO EnergyControl) Carcinogenic
compounds or benzene derivatives have never been found in drug testing results


Wait just a minute here, I thought we are carbon based life forms not
benzenwhateritis.

Here is what I think. MDMA is Ecstasy and Molly is the pure form of
mdma? molly=mdma but E is made from mdma.

Question for regular readers: What sort of questions do you want to read
here? Thanks for all thoughts and replies.

X,

Would you say unsanitary conditions is the number one problem with the illegal and
compound drug markets?

Is there any current drug or one in development that causes timed orgasms? Take the
two minute version and have a two minute orgasm, three for three minutes and so
on. If not does any drug approach this functionality? Thanks so much.

How is it that every now and then this thread gets 1K views in a day and then drops
down to a lesser readership? Hit statistics using Tor? At least a weekend project,
potential for a never getting the job done ending.

CS
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: TonicPsyfer on 29 September 2013, 16:44:05

        hey doctorX i have a question, my girlfriend is pregnant and im wondering if
        xanax is bad to take while being pregnant. does it have any adverse effects on

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      the fetus? im talking small doses like 1mg or perhaps 2mg.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bynter on 29 September 2013, 19:47:55

      Replying so that I can follow this thread.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: metacontxt on 29 September 2013, 22:25:23

      Tonic: save the doctor some bother and check out Wikipedia. It's pretty common
      knowledge that pregnant women shouldn't be taking Xanax. If she has a habit,
      time to switch over to Valium and start tapering, I reckon.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: gunhit on 29 September 2013, 22:53:48


Quote from: DoctorX on 28 September 2013, 09:54:39
Quote from: gunhit on 28 September 2013, 05:37:15
 Quote from: Oerlikon20mm on 26 September 2013, 00:02:12

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Thanks again DoctorX
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 September 2013, 03:16:13


Quote from: MrMates on 28 September 2013, 13:12:10
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I only take it during the weekend so let my body catch up with any sleep during the week but still the
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Now about ten years ago I used to do a lot of it for a good few years and then settled down and gave
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Would my brain after a Decade still remember how much I needed in those days which was a lot to
get stimulated from it?

As I can't work out why I need so much more than the other people taking it as I have not caned it
seems I need about 4 x as much as them or is it just a natural high tolerance to amphetimine that I
have? Like I say I have 5 days off during the week but still need the same amount , hope this makes
some sense as it is puzzling me why I need so much more than them.


One very important thing in amphetamine dosage is purity. Amphetamine salts for
intranasal or oral administration (speed) are, in general, the most adulterated
substance in illegal drug markets. Medium purity osciles between 2.5-15%. That´s a
six-fold variation and explain why some people react different to amphetamines.
Recently, other stimulant amphetamines are added (as 4-FA or even PMA) . And in
some countries there is a confussion between meth (far more potent and less
adulterated) and amphetamine. I think this factor is important.
On the other hand, amphetamines generate pharmacological tolerance quickly, and
this tolerance remains weeks or months even with non-daily adiministration. Finally,
as it hapens with many other drugs, some people are more sensitive or resistent to its
effects. It is a question of personal pharmacology :)
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 30 September 2013, 03:29:32


Quote from: TonicPsyfer on 29 September 2013, 16:44:05
hey doctorX i have a question, my girlfriend is pregnant and im wondering if xanax is bad to take
while being pregnant. does it have any adverse effects on the fetus? im talking small doses like 1mg
or perhaps 2mg.


Alprazolam is in cathegory D of FDA classification of drugs and pregnancy. There is
positive evidence of human fetal risk based on adverse reaction data from
investigational or marketing experience or studies in humans. Drugs in class D should
only be administered during pregnancy evaluating if benefits for the mother are very
important and there are no other options. Some authors think that diacepam or
chlorazepoxide should be less risky, although, in general, benzos are contraindicated
during pregnancy.
Active dosage of alprazolam is 0.125 to 2 mg. So "1 or 2 mg" is not a low dose at all.
Probably the risk for the fetus in a esporadic, ocassional use is very low. But if your gf
is using alprazolam regularlly and she is pregnant, I think she should seek professional
advice to search for another way to treat her problems
Title: Re: Ask a Drug Expert Physician about Drugs & Health

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Post by: dynamitehack on 30 September 2013, 06:30:10

      Hi there Doc. Thanks for your service. Couple questions if you have a moment.

      1) Have you ever come across anything about cannabis and REM sleep? I
      recently quit smoking cannabis and have had the most incredible, vivid, wierd,
      personal, and sometimes overwhelming dreams. I have had dreams of this
      magnitude before but it seems like every single night since cessation I've had an
      incredible dream sequence. I was an all day every day smoker for about 12
      years. I was wondering if this phenomenon has ever been studied or documented
      that you know of.

      2) Safrole is carcinogenic, do you think unreacted precursor, byproducts, or
      otherwise unpure MDMA may also be carcinogenic to any extent? i.e. MDMA
      containing MDP2P, bromo-safrole, iso-safrole...might these typical impurities be
      carcinogenic as well?

      3) I've studied MDMA have read that MDMA acts as both a serotonin reuptake
      inhibitor and as a potent agonist of serotonergic neurons owing it's profound
      affects to significant release of and sequestration of serotonin within the synaptic
      cleft. In PiHKAL, Dr. Shulgin speaks about a study that was done in the 70's
      where patients were administered 160mg of MDMA per day and after 7 days
      could not feel any effects from the drug at all showing MDMA a rapid tolerance.
      Some patients were given MDA on the 8th day and were able to get the full
      effects of the drug. I recently tried MDA for the first time but have done MDMA
      >20 times and found differences to be remarkably hard to distinguish. The study
      suggests two completely different mechanisms by which MDA and MDMA act in
      the brain. Can you shed any light on the mechanism of MDA in the brain if there
      is indeed no cross-tolerance between the two drugs?

      Thank you for your service and opinions. I love references too if you have any
      but don't trouble youself please :)



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bobhope333 on 30 September 2013, 09:56:31


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the brain. Can you shed any light on the mechanism of MDA in the brain if there is indeed no cross-
tolerance between the two drugs?

Thank you for your service and opinions. I love references too if you have any but don't trouble
youself please :)
I would also be interested about the sleep thing, that's actually one thing that I look
forward to, after stopping using cannabis. I rarely remember dreams when using, but
get really vivid dreams, that I remember, after stopping.
Years ago, I read something that suggested that cannabis use diminished REM sleep,
is that true (That would explain REM coming back with a vengeance after THC use has
stopped); or, is it just that, after thc cessation, ones sleep is not as deep as normal,
so the dreams are easier to recollect?
I know, after I read that cannabis use reduced REM sleep, I also heard somewhere,
that humans went mad, if deprived of dreams, so I did idly consider whether the two
could be put to together and encourage insanity, lol. That's rather in the realms of
"Reefer Madness" (pun not intended) and "Cocaine Fiends", though.
Interesting stuff though, I find that I do tend to use cannabis as a sleep aid
sometimes.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 30 September 2013, 16:43:41


Quote from: metacontxt on 29 September 2013, 22:25:23
Tonic: save the doctor some bother and check out Wikipedia. It's pretty common knowledge that
pregnant women shouldn't be taking Xanax. If she has a habit, time to switch over to Valium and
start tapering, I reckon.
Mr. meta,

I know what you mean but all our questions could be answered with due diligence and
wiki etc. We may become dependent on X. He always comes up with a little twist on
the stuff we get to on our own. Nuggets of a legal sort.

Dream recording is something I did for nine years, stopping after a major life
event. Great question about sleeping and cannabis. It is easy to have a constant high
on like I do and forget about the pure joys of regular sleep. Work a little lucid
dreaming in there and wow, let the good times roll.

DoctorX,

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You mentioned a comparison of sexual and drug related moral injunctions as a factor
in misunderstanding about the dangers of drugs in general. Do you find very many
users are unable to reconcile their sexual selves with their recreational drug users
selves? Should we be looking for some sexual healing in place of phama healing? For
example:

If women and men can have yogasms, then is there a drug that helps with the
process? Or, how do we learn to do this without looking for the easy way. Maybe we
just need the drugs for a while and then we can relax and perform as desired?

http://www.thedailybeast.com/articles/2011/09/28/yogasms-on-the-rise-instructors-
say-yoga-related-orgasms-are-real.html

Therefore orgasm does not exclusively belong to pleasure. It is trans-substantial and
essentially it belongs to the immaterial spiritual nature within us all.

:P

CS
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: dynamitehack on 30 September 2013, 22:39:40


Quote from: bobhope333 on 30 September 2013, 09:56:31
Quote from: dynamitehack on 30 September 2013, 06:30:10
 Hi there Doc. Thanks for your service. Couple questions if you have a moment.

 1) Have you ever come across anything about cannabis and REM sleep? I recently quit smoking
 cannabis and have had the most incredible, vivid, wierd, personal, and sometimes overwhelming
 dreams. I have had dreams of this magnitude before but it seems like every single night since
 cessation I've had an incredible dream sequence. I was an all day every day smoker for about 12
 years. I was wondering if this phenomenon has ever been studied or documented that you know of.

 2) Safrole is carcinogenic, do you think unreacted precursor, byproducts, or otherwise unpure MDMA
 may also be carcinogenic to any extent? i.e. MDMA containing MDP2P, bromo-safrole, iso-safrole...
 might these typical impurities be carcinogenic as well?

 3) I've studied MDMA have read that MDMA acts as both a serotonin reuptake inhibitor and as a
 potent agonist of serotonergic neurons owing it's profound affects to significant release of and
 sequestration of serotonin within the synaptic cleft. In PiHKAL, Dr. Shulgin speaks about a study
 that was done in the 70's where patients were administered 160mg of MDMA per day and after 7
 days could not feel any effects from the drug at all showing MDMA a rapid tolerance. Some patients
 were given MDA on the 8th day and were able to get the full effects of the drug. I recently tried
 MDA for the first time but have done MDMA >20 times and found differences to be remarkably hard
 to distinguish. The study suggests two completely different mechanisms by which MDA and MDMA
 act in the brain. Can you shed any light on the mechanism of MDA in the brain if there is indeed no
 cross-tolerance between the two drugs?

 Thank you for your service and opinions. I love references too if you have any but don't trouble


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 youself please :)
I would also be interested about the sleep thing, that's actually one thing that I look forward to, after
stopping using cannabis. I rarely remember dreams when using, but get really vivid dreams, that I
remember, after stopping.
Years ago, I read something that suggested that cannabis use diminished REM sleep, is that true
(That would explain REM coming back with a vengeance after THC use has stopped); or, is it just that,
after thc cessation, ones sleep is not as deep as normal, so the dreams are easier to recollect?
I know, after I read that cannabis use reduced REM sleep, I also heard somewhere, that humans went
mad, if deprived of dreams, so I did idly consider whether the two could be put to together and
encourage insanity, lol. That's rather in the realms of "Reefer Madness" (pun not intended) and
"Cocaine Fiends", though.
Interesting stuff though, I find that I do tend to use cannabis as a sleep aid sometimes.



YES, I would also add that I look forward to the dreams now. It's a feeling I've never
had before about dreaming. When the dreams first came back after cessation the
intensity would sometimes shock me awake but never scary like a nightmare, just so
vivid and lucid that I would literally realize I was dreaming so intensely that I felt a
panic to wake up. Now that I have gotten use to the intensity I do not want them to
end and almost everyday I try to go back to sleep after waking to extend the dreams.
Extension of my dreams in the morning is often the most pleasant because I feel like I
can somewhat manipulate what I was dreaming into what I would rather change the
dream into...if that makes sense. This is not a problem just a curiosity.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: thedopestjunkie on 30 September 2013, 23:37:36

      Hello everyone. I have a couple of questions for the doctor.

      I have been using cocaine about once to twice a month for about 5 years now. I
      recently had a nasty sinus infection which I believe was due to the coke use and
      it lasted about two weeks.
      My question is, are there any things that I can do now that I am going off of coke
      for good that may be helpful to my sinuses? I feel like they are not completely
      recovered. Still congested a lot.

      Also I read somewhere that 80% of cocaine has levisamole in it. Can you confirm
      or deny this? From what I understand its a nasty drug and part of the reason Im
      giving it up. Thanks for your contributions to the community. I look forward to
      your response.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 October 2013, 03:22:40


Quote from: cleansober on 29 September 2013, 12:49:41
[ you have any carcinogenic impurities left over in MDMA for example?


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Quote

 Here is what I think. MDMA is Ecstasy and Molly is the pure form of mdma?                      molly=mdma but E is
 made from mdma.

 Would you say unsanitary conditions is the number one problem with the illegal and compound drug
 markets?

 CS

MDMA's most popular name, "Ecstasy", was coined in 1981 by a member of a Los Angeles distribution
network. The distributor, quoted in Bruce Eisner's Ecstasy:The MDMA Story (1989), chose the name
"Ecstasy" because "it would sell better than calling it 'Empathy'. 'Empathy' would be more
appropriate, but how many people know what it means?". So MDMA and "Ecstasy" are the same
thing. I`m not sure about the origin of the name "Molly" but is a recent name for MDMA.
Impurities, adulteration, lack of access to sterile material for injectors, difficulties to measure
dosages...are very important problems associated to sanitary conditions. The fact that drug
distribution is, in many cases, associated to crime is another significative problem.

Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 01 October 2013, 03:50:03


Quote from: dynamitehack on 30 September 2013, 06:30:10
Hi there Doc. Thanks for your service. Couple questions if you have a moment.

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years. I was wondering if this phenomenon has ever been studied or documented that you know of.

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potent agonist of serotonergic neurons owing it's profound affects to significant release of and
sequestration of serotonin within the synaptic cleft. In PiHKAL, Dr. Shulgin speaks about a study that
was done in the 70's where patients were administered 160mg of MDMA per day and after 7 days
could not feel any effects from the drug at all showing MDMA a rapid tolerance. Some patients were
given MDA on the 8th day and were able to get the full effects of the drug. I recently tried MDA for
the first time but have done MDMA >20 times and found differences to be remarkably hard to
distinguish. The study suggests two completely different mechanisms by which MDA and MDMA act in
the brain. Can you shed any light on the mechanism of MDA in the brain if there is indeed no cross-
tolerance between the two drugs?

Thank you for your service and opinions. I love references too if you have any but don't trouble
youself please :)

Quote from: dynamitehack on 30 September 2013, 06:30:10
Hi there Doc. Thanks for your service. Couple questions if you have a moment.

1) Have you ever come across anything about cannabis and REM sleep? I recently quit smoking


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the brain. Can you shed any light on the mechanism of MDA in the brain if there is indeed no cross-
tolerance between the two drugs?

Thank you for your service and opinions. I love references too if you have any but don't trouble
youself please :)


1) There is evidence that both THC and CBD have an impact on REM sleep.
http://www.ncbi.nlm.nih.gov/pubmed/16844117
http://www.ncbi.nlm.nih.gov/pubmed/164314‎
Brain adapts chronic use of cannabis diminishing oniric life, and when cannabis regular
use finishes dreams become vivid during weeks. As far as I know this effect has not
been studied but is a very common complain of regular cannabis users that quit using
it. This effect lasts several weeks but dissapears and dreams are normalized.

2) Data from safrole toxicity come from animal studies and its carcinogenic potential is
low. Dosages of safrole or safrole derivatives as MDMA synthesis sub-products are far
below the minimum carcinogenic dosage in animals. I don´t think that this risk can be
considered significative.
http://ec.europa.eu/food/fs/sc/scf/out116_en.pdf

3) The difference between MDA and MDMA effects is probably related to specific action
of MDA on a subtype of serotonin receptors (5HT-2A). Activation of these receptors
has been linked to psychedelic effects. MDMA does not act on these receptors, at least
at common dosages. The specific effect on 5HT-2A of MDA probably explains the lack
of cross-tolerance. The story you have explained is a anecdotical experimental report
by Shulgin´s team and the lack of cross-tolerance between MDMA and MDA has been
proved on animal models
http://www.lycaeum.org/research/researchpdfs/1990_zacny_1.pdf
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: dynamitehack on 01 October 2013, 05:24:00

       :)
      Thank you very much Doc. This link isn't working though. http://www.ncbi.nlm.


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      nih.gov/pubmed/164314‎

      Thanks for your time and references.



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Jackpot on 01 October 2013, 09:27:08

      Doc, straight and simple:

      What can affect the tactogen nature of MDMA? Quality? purity? setting? dosage?

      Long version:

      I've tried a bit of MDMA last sunday, which I didn't weight because I had no
      scale, but I guess it was around 100mg (small person, almost empty stomach,
      took an antacid, 2gr vitamin C, 32mg caffeine, 325mg aspirin and 200mg Lipoic
      Acid beforehand). When it went up, I was in a cold place waiting for a bus by
      myself, so I didn't have all this "loving everybody" feeling, but what I did feel was
      dizziness and a buzz in all my body. When I ran to the drugstore and called a taxi
      to my girlfriend's, I noticed I was speedy as hell, as I usually am when I roll
      (talking very fast, and my legs moved by themselves when I walked/ran). I didn't
      have this urge for rubbing my skin that I usually feel, though; touching my skin
      felt normal. No jaw clenching either, no difficulty to pee, no difficulty to ejaculate,
      I eventually felt hungry, and duration was short I think (I didn't time it, actually,
      but it felt short). All in all, it felt quite mild outside the 20~ minutes that the
      euphoric peak lasted. This would be my first time to take MDMA in a setting
      which was not in a club.

      Again, thank you very much for your help!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tcobambientAgain on 01 October 2013, 20:02:42

      Hey Dr,

      I'm having hand surgery next Friday and am an occasional heroin user (snort,
      don't shoot) should I stop using at some point before surgery so I don't mess
      something up with the meds they will give me for surgery?

      Thanks!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 October 2013, 02:06:44

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Quote from: thedopestjunkie on 30 September 2013, 23:37:36
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I have been using cocaine about once to twice a month for about 5 years now. I recently had a nasty
sinus infection which I believe was due to the coke use and it lasted about two weeks.
My question is, are there any things that I can do now that I am going off of coke for good that may
be helpful to my sinuses? I feel like they are not completely recovered. Still congested a lot.

Also I read somewhere that 80% of cocaine has levisamole in it. Can you confirm or deny this? From
what I understand its a nasty drug and part of the reason Im giving it up. Thanks for your
contributions to the community. I look forward to your response.


For nasal hygiene in intranasal drug users it is useful cleaning your nose with isotonic
saline solution (there are different commercial brands, some of then including
hyaluronic acid), or simply salted 1% clean water. A limited cycle of intranasal
corticoids (no more of one week of intranasal 0.05% fluticasone) is helpful if there is
no bacterial infection. If this is not enough you should ask for medical evaluation, as
some complications (nasal polyps) should be ruled out.

Levamisole is an antihelmintic (drug for parasites) that has been widely detected in 30-
70% of cocaine samples since 2009. Levamisole is added because it has stimulant
effects, and reacts as cocaine in the “bleach test,” a quick, widely utilized street test
for cocaine purity. Skin problems (vasculitis) and blood diseases ( leukopenia,
agranulocytosis) are related to cocaine adulterated with levamisole. In general, risk
depend on dosage and occasional/sporadic use is low risk. But it depends also in
levamisole concentration, some samples of cocaine can contain up to 30-50% of
levamisole. Levamisole-adulterated cocaine is one of the most important problems
with this drug since 2009.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 October 2013, 02:16:37


Quote from: Jackpot on 01 October 2013, 09:27:08
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a bus by myself, so I didn't have all this "loving everybody" feeling, but what I did feel was dizziness
and a buzz in all my body. When I ran to the drugstore and called a taxi to my girlfriend's, I noticed I
was speedy as hell, as I usually am when I roll (talking very fast, and my legs moved by themselves
when I walked/ran). I didn't have this urge for rubbing my skin that I usually feel, though; touching
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eventually felt hungry, and duration was short I think (I didn't time it, actually, but it felt short). All in


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time to take MDMA in a setting which was not in a club.

Again, thank you very much for your help!


Purity and a correct dosage are fundamental. At least you should use a Marquis/Mecke
reagent to verify that the drug you are taking is really MDMA (if in your country you
can access to a quantification technique that would be the best). And using a scale is
also very important: it can be very difficult to distinguish between 100-150 mg
without a scale and difference of effects in this rank is very important.There are cheap
and simple scales that can be very useful.

In general, empathogenic effect of MDMA is very specific of this drug: your story
sounds a bit strange to me, you would have to verify that your drug was really MDMA.
If this is true, differences on effects would be explained by setting/dosage.But
everytime you buy a new batch of supposed MDMA you should verify purity before
using
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: DoctorX on 02 October 2013, 02:22:22


Quote from: tcobambientAgain on 01 October 2013, 20:02:42
Hey Dr,

I'm having hand surgery next Friday and am an occasional heroin user (snort, don't shoot) should I
stop using at some point before surgery so I don't mess something up with the meds they will give
me for surgery?

Thanks!


 It is unlikely that there are pharmacological interactions between most commonly
anaesthetic drugs and occasional use of heroin. A 24-48 hours period of cleaning out
is reccommended. The main problem should be if, after surgery, you are prescribed
opiates and you have developed tolerance as a consequence of regular use of heroin.
In this case you would need higher doses of prescription opiates as analgesic.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tcobambientAgain on 02 October 2013, 03:26:11


Quote from: DoctorX on 02 October 2013, 02:22:22
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 Thanks!


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problem should be if, after surgery, you are prescribed opiates and you have developed tolerance as a
consequence of regular use of heroin. In this case you would need higher doses of prescription
opiates as analgesic.


OK. Thanks so much.
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: cleansober on 02 October 2013, 03:49:18


Quote
In general, empathogenic effect of MDMA is very specific of this drug: your story sounds a bit strange
to me, you would have to verify that your drug was really MDMA. If this is true, differences on effects
would be explained by setting/dosage.But everytime you buy a new batch of supposed MDMA you
should verify purity before using


Lemme assk yo smtg yoou gonna want them thare thing a ma bobs other der?

Do you know English,
   or only country talk and is country talk really a language or merely a dialect of
English? Clearly so I'd say if I don't say so myself. Words strung together like pearls
on a string lightly grazing the breast of. Does anyone even read this stuff? I'd like to
offer a prize to the first person who responds in any way to this post. But I can't due
to financial restrictions. Therefore go not gentle into the night but rage and fight until
the end. These lines are actually partially remember poems. Who can figure out what
the hell I'm talking about? I would need a team of top doctors working day and night
to figure out my mfg rubik cube. Will anyone guess what writer I'm mimicking now?
Famous strong man, clue, but not a clear cut one.

DoctorX,

Who should take this drug for their betterment and the betterment of society in
general?
Who should not take this drug for whatever reason, to avoid problems greater than
the possible benefits associated to mdma use?

X, do you think drugs for improving sexual performance are useful as permanent
solutions to ED and so on?

You say,"Brain adapts chronic use of cannabis diminishing oniric life, and when
cannabis regular use finishes dreams become vivid during weeks. As far as I know this
effect has not been studied but is a very common complain of regular cannabis users
that quit using it. This effect lasts several weeks but dissapears and dreams are
normalized."

Since I rarely have non-vivid memorable dreams, could it be these dreams are merely


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closer to the conscious awareness and they continue, but like many dreamers find,
they recede into the subconscious mind? Lucid dreamers are always trying to get
"into" their dreams so they can have "fun" while sleeping. My recommendation is
relax, get into the dream and if you see Leonardo Dicaprio run for cover.

Lastly, is this sort of thing that you described as parallel conversations?

CS



How many of you deadbeats out there will buy FC's book when it comes out?

Thanks, I am afraid of bad karma true, but is no karma better than bad?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: Jackpot on 02 October 2013, 08:01:59


Quote from: DoctorX on 02 October 2013, 02:16:37
Quote from: Jackpot on 01 October 2013, 09:27:08
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 Long version:

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 around 100mg (small person, almost empty stomach, took an antacid, 2gr vitamin C, 32mg
 caffeine, 325mg aspirin and 200mg Lipoic Acid beforehand). When it went up, I was in a cold place
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 was dizziness and a buzz in all my body. When I ran to the drugstore and called a taxi to my
 girlfriend's, I noticed I was speedy as hell, as I usually am when I roll (talking very fast, and my
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 actually, but it felt short). All in all, it felt quite mild outside the 20~ minutes that the euphoric peak
 lasted. This would be my first time to take MDMA in a setting which was not in a club.

 Again, thank you very much for your help!

Purity and a correct dosage are fundamental. At least you should use a Marquis/Mecke reagent to
verify that the drug you are taking is really MDMA (if in your country you can access to a
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Thank you doc!! Though I was referring to tactogen effect, as when touching things
feels wonderful.

I'm having a hard time to find a marquis locally. Doing it internationally would take
ages. And better not even think about verifying purity.

The seller I got it from was a massive seller so I guess this MDMA is of standard
quality. I don't think it was methylone though, because the comeback felt so clean I
didn't even notice. I may have just lost the magic or worried too much about the
setting.

Anyway, I'm getting a scale tomorrow and hopefully a marquis reagent too. I'll update
when I get a reagent.

EDIT:
OK; I got a scale now and now I know how much is 100mg. I'd say, for what I can
remember, I had about 50mg, so things now make more sense; it was impossible to
get 100mg with a single fingertip -my size, of course-.

Could that have been a reason why I got all speedy but almost no tactogen effect at
all?
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: bobhope333 on 02 October 2013, 09:24:32


Quote from: DoctorX on 02 October 2013, 02:22:22
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 me for surgery?

 Thanks!

 It is unlikely that there are pharmacological interactions between most commonly anaesthetic drugs
and occasional use of heroin. A 24-48 hours period of cleaning out is reccommended. The main
problem should be if, after surgery, you are prescribed opiates and you have developed tolerance as a
consequence of regular use of heroin. In this case you would need higher doses of prescription
opiates as analgesic.
In relation to this, I'd like to confirm something I was told about cocaine- which my
experience tended to support the apparent truth of.
A good number of years ago, I went to the dentist to have a tooth removed, the few
days prior to this, I had indulged in quite a bit of cocaine (quite a bit for me, that is,
about 2 gram over a couple of days). Inspite of having over 6 injections of local
anesthetic, the pain was unbearable, the dentist couldn't understand why I could still
feel the pain after so many injections, my eyes nearly popped out of my sockets, it
was so bad (I'm usually fairly pain tolerant). Years later a pal told me, he had a similar


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experience, having a pin removed from their thigh or shin, under local anesthetic, he
reckoned that the use of cocaine, the day before, and the day he was in hospital
caused the anesthetic to have limited efficiency to the point of not working.
What is the truth of this? If it is true, then prior knowledge could save someone from a
very unpleasant experience!
Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: thedopestjunkie on 02 October 2013, 12:50:15

      Thanks Doc, keep up the good work!



Title: Re: Ask a Drug Expert Physician about Drugs & Health
Post by: tymczasowe on 02 October 2013, 17:35:26

      Hi Doc,

      Thanks again for answers (and again sent some spare coins your way).

      Some more questions:

      1. Are there any studies for greater bioavailability for drugs absorbed from
      intestines (using entering coating) versus orally taken (absorbed from stomach)?
      For example, people are using MAOIs to take DMT orally -- would DMT be
      available orally if taken with entering coating/capsule? (MAOIs have lots
      interactions). Also, the same for drugs that have very low bioavailability orally
      (some opioids for example). Or would it be roughly the same?

      2. Benzodiazepines + weed -- any contradictions? (I've read a lot of bad reports,
      but most of those had also alcohol mixed -- and mixing benzos with the alcohol is
      stupid in the first place). I must to keep my weed doses low because of high risk
      of anxiety on stronger doses and would like to use benzos to counteract it (if
      there are no indications to not do so).

      3. Scopolamine -- what are physically dangerous doses (I'm talking in
      "recreational"/"experience-seeking" usage range) and if there is any method/drug
      to prevent anterograde amnesia while on it (to remember as much from
      experience as one can)? Or is it impossible due to the anticholinergic nature of
      the drug.

      Also, if there are also some "safety valve" drugs for deliriants (like benzos on
      psychedelics)

      4. If you would strongly recommend against scopolamine use is there any other
      deliriant to be used safely? (I know that all deliriants are not really advised, but
      would just like to try it once).

      5. Are there any muscle relaxants that would not interfere with the psychedelic

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      experience? I tend to have very strong muscle tension (legs would be most
      affected) during psychedelic (LSD, shrooms, 2CB etc.) experience coming up and
      would like to be able to do something with it.

      Also -- if one feels this tension is it better to try to "walk it off" (especially since
      there is a lot of stimulation connected with most of psychedelics) or sit still and
      try to not flex muscles at all?

      Thanks a lot again and take care!

      EDIT:

      6. Do you know of any drugs that use nebulization administration way for
      recreational use? (for example, for quicker onset or improved bioavailability).



Title: Pure drugs
Post by: cleansober on 02 October 2013, 18:28:20

      On the issue of purity of drugs, I have a question for anyone who might know the
      answer. My 28 gram purchase of weed seemed much more like a bushel-basket
      than an oz, however, in the interest of science, I am slowly using this product up.
      After smoking a few days, three or four times a day, I had a digestive problem,
      first throwing up in the early morning and diarrhea later. Some of the best throw
      up sessions I've had since stopping binge drinking or getting a good dose of some
      flu like bug. This must have been a body response to the border weed I was
      smoking and trying to cook up. My wife is very upset I am so selfish as to get
      sick. The upset occurred again, under the same drug use pattern about a week
      later, not quite as bad though. I wonder if I am getting a tolerance built up to
      the cannabis or what? Almost gone, I hope I can avoid reordering!

      Sex addiction may be a good alternative to drug use, think?Talk about tactile
      wonderment, I can feel the flesh of gods or perhaps them touching me, so it
      seems. Alternatively I'm touched. Perhaps sex addiction is as bad as drug
      addiction but it seems like more fun, sex addiction that is.

      DoctorX,

      Mr. T says "EDIT:

      6. Do you know of any drugs that use nebulization administration way for
      recreational use? (for example, for quicker onset or improved bioavailability)."

      What do you thing of the BHO method of using cannabis? Seems very likely to
      cause more than casual use, or not.

      Cleansober


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